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Information to identify the case:
Debtor
                 Bayou Steel BD Holdings, L.L.C.                                       EIN 81−2651984
                 Name


United States Bankruptcy Court District of Delaware                                    Date case filed in chapter 11           10/1/19

Case number: 19−12153−KBO                                                              Date case converted to chapter 7      2/25/20


Official Form 309D (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                     12/17

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue,
assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and
attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.Valid Picture ID is required for access to the J.
Caleb Boggs Federal Building. Additionally, Debtor(s) must also present photo ID plus original verification of his/her
social security number to the Bankruptcy Trustee. If you do not have a photo ID and/or original verification of your
social security number, please contact the Office of the United States Trustee's (302−573−6491).
1. Debtor's full name                  Bayou Steel BD Holdings, L.L.C.
2. All other names used in             dba Bayou Steel Group, fka BD Long Products,
    the last 8 years                   LLC

3. Address                             138 Highway 3217
                                       La Place, LA 70068
4. Debtor's attorney                   Christopher A. Ward                                       Contact phone 302−252−0920
   Name and address                    Polsinelli PC
                                       222 Delaware Avenue, Suite 1101                           Email: cward@polsinelli.com
                                       Wilmington, DE 19801
5. Bankruptcy trustee                  George L. Miller                                          Contact phone 215−561−0950
   Name and address                    1628 John F. Kennedy Blvd.
                                       Suite 950                                                 Email: gmiller@mctllp.com
                                       Philadelphia, PA 19103−2110
6. Bankruptcy clerk's office 824 Market Street, 3rd Floor                                        Hours open: Monday − Friday 8:00 AM −
   Documents in this case may Wilmington, DE 19801                                               4:00 PM
   be filed at this address.
   You may inspect all records                                                                   Contact phone 302−252−2900
   filed in this case at this office
   or online at www.pacer.gov.                                                                   Date: 3/11/20
7. Meeting of creditors                March 31, 2020 at 08:30 AM                       Location:
   The debtor's representative                                                          844 King Street, Room 3209,
   must attend the meeting to be       The meeting may be continued or adjourned to a Wilmington, DE 19801
   questioned under oath.              later date. If so, the date will be on the court
   Creditors may attend, but are       docket.
   not required to do so.

                                                                                                 For more information, see page 2 >




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Debtor Bayou Steel BD Holdings, L.L.C.                                                                        Case number 19−12153−KBO

8. Deadlines                           Deadline for all creditors to file a proof of claim Filing deadline: 5/5/20
   The bankruptcy clerk's office       (except governmental units):
   must receive proofs of claim
   by the following deadlines.         Deadline for governmental units to file a proof Filing deadline: 8/24/20
                                       of claim:
                                       A proof of claim is a signed statement describing a creditor's claim. A proof of claim form
                                       may be filed either electronically or as a paper document. For more information on how to file
                                       a Proof of Claim, visit the Delaware Bankruptcy Court's website at
                                        www.deb.uscourts.gov/claims−information or any bankruptcy clerk's office. If you do not file
                                       a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must
                                       file a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                       Secured creditors retain rights in their collateral regardless of whether they file a proof of
                                       claim. Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court,
                                       with consequences a lawyer can explain. For example, a secured creditor who files a proof
                                       of claim may surrender important nonmonetary rights, including the right to a jury trial.


9. Creditors with a foreign           If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   address                            asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                      United States bankruptcy law if you have any questions about your rights in this case.

10. Liquidation of the                 The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    debtor's property and              property. If the trustee can collect enough money, creditors may be paid some or all of the
                                       debts owed to them, in the order specified by the Bankruptcy Code. To ensure you receive
    payment of creditors'              any share of that money, you must file a proof of claim, as described above.
    claims
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                                       United States Bankruptcy Court
                                           District of Delaware
In re:                                                                                  Case No. 19-12153-KBO
Bayou Steel BD Holdings, L.L.C.                                                         Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
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                               Form ID: 309D                Total Noticed: 4765


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 13, 2020.
db            #+Bayou Steel BD Holdings, L.L.C.,     138 Highway 3217,    La Place, LA 70068-8821
aty            +Alan Goodman,    Breazeale, Sachse & Wilson, L.L.P.,     909 Poydras Street,     Suite 1500,
                 New Orleans, LA 70112-4016
aty            +Alan H. Katz,    Locke Lord LLP,    Brookfield Place,    200 Vesey St., 20th Floor,
                 New York, NY 10281-1006
aty            +Albert Kass,    Kurtzman Carson Consultants, LLC,     222 N Pacific Coast Highway,     Suite 300,
                 El Segundo, CA 90245-5614
aty            +Amy P. Williams,    Troutman Sanders LLP,    301 S. College Street, Suite 3400,      Suite 4700,
                 Charlotte, NC 28202-0902
aty            +Andrew Legrand,    Spera Law Group, LLC,    3110 Canal Street,    New Orleans, LA 70119-6202
aty            +Anson B. Frelinghuysen,    Hughes Hubbard & Reed LLP,     One Battery Park Plaza,
                 New York, NY 10004-1471
aty            +Anthony Resnick,    United Steelworkers,    60 Boulevard of the Allies,     Roam 807,
                 Pittsburgh, PA 15222-1258
aty            +Bayard J. Snyder,    Snyder & Associates, PA,     3801 Kennett Pike,    Suite 201, Building C,
                 Wilmington, DE 19807-2321
aty            +Bradford J. Sandler,    Pachulski Stang Ziehl & Jones LLP,     919 N. Market Street, 17th Floor,
                 Wilmington, DE 19801-3034
aty            +Bradley R. Foxman,    Vinson & Elkins L.L.P.,     Tammell Crow Center,
                 2001 Ross Avenue, Suite 3900,     Dallas, TX 75201-8074
aty            +Brenna Anne Dolphin,    Polsinelli PC,    222 Delaware Ave,    Suite 1101,
                 Wilmington, DE 19801-1621
aty            +Brent B. Barriere,    The Lambert Firm, PLC,     201 St. Charles Ave.,    Suite 4600,
                 New Orleans, LA 70170-4701
aty            +Cayce Peterson,    701 Magazine Street,    New Orleans, L 70130-3629
aty            +Chantelle D’nae McClamb,     Ballard Spahr LLP,    919 North Market Street,     11th Floor,
                 Wilmington, DE 19801-3023
aty            +Christopher Lento,    Louisiana Department of Justice,     1885 N. 3rd Street,
                 Baton Rouge, LA 70802-5146
aty            +Colin Robinson,    Pachulski Stang Ziehl & Jones LLP,     919 North Market Street,     17th Floor,
                 Wilmington, DE 19801-3034
aty             Curtis W. Owen,    Pension Benefit Guaranty Corp.,     1200 K Street, N.W.,     Suite 340,
                 Washington, DC 20005-4026
aty            +Damien Nicholas Tancredi,     Flaster/Greenberg P.C.,    1201 N. Orange Street,     Suite 301,
                 Wilmington, DE 19801-1155
aty            +Daniel C. Kerrick,    Hogan McDaniel,    1311 Delaware Avenue,    Wilmington, DE 19806-4717
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aty            +Daniel J. McGuire,    Winston & Strawn LLP,     35 W. Wacker Dr.,    Chicago, IL 60601-1695
aty             David R. Jury,    General Counsel,    United Steelworkers,    Five Gateway Center, Room 807,
                 Pittsburgh, PA 15222
aty            +David T Queroli,    Richards, Layton & Finger,     920 North King Street,
                 Wilmington, DE 19801-3301
aty            +David William Giattino,    Stevens & Lee, P.C.,     919 North Market Street,     Suite 1300,
                 Wilmington, DE 19801-3092
aty             Douglas M. Chapoton,    5525 Reitz Avenue,    Baton Rouge, LA 70809-3802
aty            +Eric Michael Sutty,    Elliott Greenleaf,    1105 Market Street, Suite 1700,
                 Wilmington, De 19801-1228
aty            +Erin R Fay,    Bayard, P.A.,    600 North King Street,    Suite 400,    Wilmington, DE 19801-3779
aty            +Francis J. Lobrano,    Carver Darden,    147 Keating Drive,    P.O. Box 208,
                 Belle Chasse, LA 70037-0208
aty            +G. David Dean,    Cole Schotz P.C.,    500 Delaware Avenue, Suite 1410,
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aty            +Gary D. Bressler,    McElroy Deutsch Mulvaney & Carpenter LLP,     300 Delaware Ave., Suite 770,
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aty            +Hugh P. Lambert,    The Lambert Firm, PLC,    701 Magazine Street,     New Orleans, LA 70130-3629
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                 Wilmington, DE 19801-1242
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                 Wilmington, DE 19807-1195
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aty            +Jamie Hurst Watts,    Long Law Firm, LLP,    1800 City Farm Drive,     Bldg. 6,
                 Baton Rouge, LA 70806-7500
aty            +Jarret P. Hitchings,    Duane Morris LLP,    222 Delaware Avenue,     Suite 1600,
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aty            +John D. Demmy,    Saul Ewing Arnstein & Lehr, LLP,     1201 North Market Street,     Suite 2300,
                 P.O. Box 1266,    Wilmington, DE 19899-1266
aty            +Karen C. Bifferato,    Connolly Gallagher LLP,     1201 North Market Street, 20th Floor,
                 Wilmington, DE 19801-1165
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                 Wilmington, DE 19801-6103
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aty            +Laura L. McCloud,    Tennessee Attorney General’s Office,     P.O. Box 20207,
                 Nashville, TN 37202-4015
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                 Wilmington, DE 19801-3034
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                 Woodcliff Lake, NJ 07677-7681
aty            +Robert M. Greenbaum,    Smith Kane Holman, LLC,     112 Moores Road, Suite 300,
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aty            +Seth A. Niederman,    Fox Rothschild LLP,    919 North Market Street, Suite 1300,      P.O. Box 2323,
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                 El Segundo, CA 90245-5614
cr             +Long Law Firm,    1800 City Farm Drive,,    Bldg 6,    Baton Rouge, LA 70806-7500
cr             +M. Brashem, Inc.,    14023 NE 8th Street,    Bellevue, WA 98007-4101
cr             +Oracle America, Inc.,    Buchalter, a Professional Corporation,     c/o Shawn M. Christianson,
                 55 2nd St. 17th Fl.,    San Francisco, Ca 94105-3493
cr             +Pacific Foundry Company,    136 Durham Avenue,    Metuchen, NJ 08840-1372
intp           +Port of South Louisiana,    Breazeale, Sachse & Wilson, L.L.P.,     909 Poydras Street,
                 Suite 1500,    New Orleans, LA 70112,     UNITED STATES 70112-4016
trans          +Reliable Companies,    Attn: Gene Matthews,    1007 North Orange Street,     Suite 110,
                 Wilmington, DE 19801-1256
cr             +TN Dept of Env’t and Conservation,     c/o TN Attorney General’s Office,     Bankruptcy Division,
                 P.O. Box 20207,    Nashville, TN 37202-4015
cr             +Union Pacific Railroad Company,     Tonya W. Conley/ Lila L. Howe,
                 1400     Douglas Street, STOP 1580,     Omaha, NE 68179-1001
14723272       +A & E ENGINE & COMPRESSION INC,     1556 MACARTHUR BLVD,    HARVEY, LA 70058-2452
14723273       +A J LABOURDETTE INC,    5417 POWELL STREET, SUITE A,     HARAHAN, LA 70123-2329
14723274       +A ONE AUTO PARTS OF LAFAYETTE,    4611 CAMERON STREET,     LAFAYETTE, LA 70506-1429
14723275       +A TO Z SALVAGE,    PO BOX 220,   30028 CONNIE DR,     HOLDEN, LA 70744-0220
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14723276       +A&H ARMATURE WORKS, INC,     1330 WESTBANK EXPRESSWAY,    WESTWEGO, LA 70094-4712
14723278        A-1 DELIVERY SERVICES, INC.,     PO Box 36906,    Houston, TX 77236-6906
14723277       +A. STUCKI COMPANY,    900 Commerce Drive,     Moon Township, PA 15108-4746
14723279       +A1 ELECTRICAL CONTRACTORS,     2783 LAPALCO BLVD.,    HARVEY, LA 70058-3145
14723280       +A3M VACUUM SERVICES, LLC,     PO Box 727,    LAPLACE, LA 70069-0727
14723281        AAA COOPER TRANSPORTATION,     PO Box 935003,    ATLANTA, GA 31193-5003
14723283       +AARON C. VOLION,    7364 AMITE CHURCH ROAD LOT 7,     DENHAM SPRINGS, LA 70706-1238
14723285        AARON J CHIASSON,    115 VANS LANDE,    DESTREHAN, LA 70047
14723286       +AARON J. ADAMS,    9021 MILAN STREET,     KENNER, LA 70062-7821
14723287       +AARON J. CHAISSON,    115 VANS LANE,    DESTREHAN, LA 70047-4110
14723288       +AARON MAURICE SENETTE,    5832 GLASCO DRIVE,     MARRERO, LA 70072-5106
14723289        AARON PRESTON,    9701 COBENTRY SQUARE DRIVE APT#214,     HOUSTON, TX 77099
14723290       +AASHTO/NTPEP,    444 N. CAPITOL ST. N.W., SUITE 249,     WASHINGTON, DC 20001-1539
14723291       +ABDELHAKIM KHALEK,    808 LACEY LANE,     GRETNA, LA 70056-8690
14723292       +ABEL CARPIO-REYES,    2331 FARRAGUT ST,     NEW ORLEANS, LA 70114-6210
14723293        ABS AMERICAS,    800 WEST COMMERCE ROAD, STE 400,     HARAHAN, LA 70123-3349
14723294       +ABS QUALITY EVALUATIONS,     1701 CITY PLAZA DR,    SPRING, TX 77389-1878
14723295       +ACCURATE FIRE EQUIPMENT,     10528 EAST 12TH ST.,    TULSA, OK 74128-4000
14723296       +ACE American Insurance Company,     PO Box 1000,    Philadelphia, PA 19105-1000
14723297       +ACE DORAN HAULING RIGGING,     1601 BLUE ROCK ST,    CINCINNATI, OH 45223-2579
14723298       +ACI HOLDING LLC dba,    AMERICAN COMBUSTION INTERNATIONAL,      3500 LENOX ROAD, NE, SUITE 1500,
                 ATLANTA, GA 30326-4231
14723299        ACIER BOUCHARD INC.,    550 rue Sagard,     St-Bruno-de-Montarville QC J3V6C2 Canada
14723300        ACIER CMC INC.,    2290 de la Metropole,     Longueuil, QC J4G 1E6 Canada
14723301        ACIER PACIFIQUE, INC.,    845 Munck,    Laval, QC H7S 1A9 Canada
14723302       +ACTION HEAVY HAUL, LLC,    3882 CRATER LAKE AVENUE,     MEDFORD, OR 97504-8931
14723303       +ADAM ARCENEAUX,    1910 LLOYD PRICE AVE,     KENNER, LA 70062-7528
14723304       +ADAM CHAUVIN,    772 AVENUE D,    WESTWEGO, LA 70094-4348
14723305       +ADAM DARDAR,    4757 ORLEANSWAY,    CROWN POINT, LA 70072-7617
14723306       +ADAMS MONCRIEF TRANSPORTS INC,     5404 BIRCHMAN AVENUE,    FORT WORTH, TX 76107-5111
14723311        ADECCO EMPLOYMENT SERVICES,     DEPT. CH 14091,    PALATINE, IL 60055-4091
14723313       +ADMIRAL MERCHANT MOTOR FREIGHT INC,     215 SOUTH 11TH STREET,     Minneapolis, MN 55403-2503
14723314       +ADMIT MEDICAL TESTING,    3401 A BRODHEAD ROAD,     ALIQUIPPA, PA 15001-1284
14723315       +ADOLPH J DELATTE,    274 E 67TH ST,    CUT OFF, LA 70345-2964
14723316       +ADP SCREENING AND SELECTION SERVICE,      301 REMINGTON STREET,    FORT COLLINS, CO 80524-2806
14723317       +ADP, LLC,    1851 N RESLER DRIVE MS-100,     EL PASO, TX 79912-8023
14723318       +ADRAIN WARREN,    2505 VULCAN,    HARVEY, LA 70058-3022
14723319       +ADRIAN JULIEN,    6147 HWY 405,    DONALDSONVILLE, LA 70346-7901
14723320       +ADRIAN PERRILLOUX,    327 CHAD B BAKER,     RESERVE, LA 70084-5018
14723321       +ADRIEN VICKNAIR JR,    257 EAST 6TH ST,     RESERVE, LA 70084-5431
14723322        ADVANCED COMBUSTION INC.,     DBA ACI CANEFCO,    488 BASALTIC ROAD,    CONCORD, ON L4K 5A2 Canada
14723323        ADVANCED MARKETING & PROMOTIONS,     75 DOMINICAN RD STE 102,     LA PLACE, LA 70068-3400
14723324        AFCO STEEL,    710 Thomas Street,    LITTLE ROCK, AR 72202
14723325       +AFFORDABLE MAINTENANCE,    631 1ST AVENUE,     HARVEY, LA 70058-2731
14723326       +AFFORDABLE WELDING US, INC.,     3100 EAST 87TH STREET,    Chicago, IL 60617-3301
14723327       +AFP INDUSTRIES INC,    KNOXVILLE, TN LOCATION,     200-B PERIMETER PARK RD,
                 KNOXVILLE, TN 37922-2243
14723328       +AGGREKO INC,    180 WEST 3RD STREET,    KENNER, LA 70062-7056
14723329       +AGI INDUSTRIES INC,    4612 4TH STREET,     MARRERO, LA 70072-1904
14723330       +AGM CONTAINER CONTROLS INC,     3526 E FORT LOWELL RD,    TUCSON, AZ 85716-1705
14723331       +AGM Container Controls, Inc.,     3526 E. Ft. Lowell Road,    Tucson, AZ 85716-1705
14723332       +AIG,    The Insurance Company of,    the State of Pennsylvania,     175 Water Street,   18th Floor,
                 New York, NY 10038-4976
14723333       +AIMEE H. HINGLE,    236 RIVER POINT DRIVE,     DESTREHAN, LA 70047-4009
14723335       +AIR & HYDRAULIC EQUIPMENT, INC,     821 EAST 11TH STREET,    CHATTANOOGA, TN 37403-3202
14723337       +AIR LIQUIDE LARGE IND US LP,     PO Box 301046,    DALLAS, TX 75303-1046
14723338       +AIR LIQUIDE LARGE IND US LP,     Airgas, USA LLC,    9811 Katy Fwy,    Houston, TX 77024-1273
14723339       +AIR PRODUCTS AND CHEMICALS INC,     7201 HAMILTON BLVD,    ALLENTOWN, PA 18195-1501
14723340       +AIR TEK CONSTRUCTION, INC.,     700 HUDSON STREET,    TROY, AL 36079-8231
14723341       +AIRGAS,    621 EAST 131ST PLACE,    HAMMOND, IN 46327-1008
14723342       +AIRGAS INC LA,    190 JAMES DR EAST, SUITE 150,     ST. ROSE, LA 70087-4058
14723343        AIRGAS MID AMERICA,    5006 MIDDLEBROOK PIKE,     KNOXVILLE, TN 37921-5907
14723344       +AIRGAS MIDSOUTH,    31 N. PEORIA,    TULSA, OK 74120-1622
14723345       +AIRGAS SOUTHWEST, INC.,    1264 1ST. AVENUE,     HARVEY, LA 70058-2402
14723350       +AIRLINE SALVAGE INC.,    6900 AIRLINE DRIVE,     METAIRIE, LA 70003-5153
14723352       +AKIERA M. VERRET,    390 FAIRWAY DRIVE,     LAPLACE, LA 70068-1920
14723353       +ALABAMA CARRIERS INC,    2607 BRICK CHURCH PIKE,     NASHVILLE, TN 37207-4409
14723354       +ALAN M SCHROEDER,    2520 MICHIGAN AVE,     METAIRIE, LA 70003-5424
14723355       +ALAODDIN AYYAD,    705 MARLENE DR,    GRETNA, LA 70056-7639
14723357       +ALBERT BYES,    308 RUBY ST,    TERRYTOWN, LA 70056-3892
14723358        ALBERT HONORE JR,    2700 FRANKLIN AVE,     NEW ORLEANS, LA 70122
14723359       +ALBERT JOSEPH SMITH JR,    6760 CARVER DRIVE,     MARRERO, LA 70072-4516
14723360       +ALBERT PETER BOURG JR,    282 KNOXO ROAD,     TYLERTOWN, MS 39667-7044
14723361       +ALBERT PITRE,    107 DANNY DR,    NEW ORLEANS, LA 70131-1903
14723362       +ALBERT R. MORRIS JR.,    860 ORION ST.,     METAIRIE, LA 70005-2061
14723364       +ALBERT ROBINSON JR,    107 NW 18TH ST,     RESERVE, LA 70084-6801
14723366       +ALBERT TASSIN,    3009 KATE DR,    LAPLACE, LA 70068-5912
14723367        ALBERT WILLIAMS JR,    2341 CHURCH STREET,     VACHERIE, LA 70090
14723368       +ALCO TRANSPORTATION INC,     36253 MICHIGAN AVENUE,    WAYNE, MI 48184-1652
14723370       +ALDIRI GROUP,    431 HOLLANDER STREET,     KENNER, LA 70062-7335
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14723371       +ALDON COMPANY, INC,    3410 SUNSET AVE,    WAUKEGAN, IL 60087-3295
14723372       +ALEJANDRA VERNAZZA,    332 BANNERWOOD DR,    GRETNA, LA 70056-7824
14723373       +ALEJANDRO TREJO-FUENTES,    133 RIVERSIDE DRIVE,     RESERVE, LA 70084-6620
14723374       +ALERE TOXICOLOGY,    883 NORFOLK SQUARE,    NORFOLK, VA 23502-3209
14723375       +ALERE TOXOCOLOGY SERVICES, INC.,     1111 NEWTON STREET,    GRETNA, LA 70053-6339
14723376       +ALEX JOHNSON,    60 MOSS DRIVE,    LAPLACE, LA 70068-6452
14723377       +ALEX MATTHEWS,    319 GOODHOPE,    NORCO, LA 70079-2347
14723378       +ALEX S. WALKER,    405 DAFFODIL STREET,    MOUNT AIRY, LA 70076-2009
14723379       +ALEXANDER D. FORET,    537 WELHAM LOOP,    LAPLACE, LA 70068-3517
14723380       +ALEXANDER P FARMER,    143 W AIRLINE HWY LOT 9,     KENNER, LA 70062-6811
14723381       +ALEXANDER R. MILBURN,    2840 IDAHO AVENUE APT #214,     KENNER, LA 70062-5441
14723382       +ALEXANDER WALKER,    6105 4TH AVE,    MARRERO, LA 70072-2813
14723385       +ALEXS D BORGE,    3525 ARAPAHOE DR,    HARVEY, LA 70058-5438
14723386       +ALFORNCE VEAL,    1916 ESTHER ST,    HARVEY, LA 70058-3512
14723387       +ALFREDO REYES,    1017 HODGSON,    FT.WORTH, TX 76115-4327
14723389       +ALIMAK HEK, INC.,    16920 TEXAS AVENUE L SUITE C 14,     WEBSTER, TX 77598-4016
14723390       +ALL SCRAP METALS, INC.,    2465 Destrehan Ave.,     Harvey, LA 70058-1111
14723392       +ALL STAR FOREST PRODUCTS,    WILLIAM T PRICE, PRESIDENT,     5757 N MCRAVEN ROAD,
                 JACKSON, MS 39209-5604
14723394       +ALL STAR FOREST PRODUCTS INC,     5757 N MCRAVEN ROAD,    JACKSON, MS 39209-5604
14723396       +ALLAN AWE,    1221 W. AIRLINE HWY,    LAPLACE, LA 70068-3718
14723397       +ALLAN BERGER,    5103 ORANGE AVE,    LAFITTE, LA 70067-5521
14723398       +ALLEN J COULON,    5108 ANDREA DR,    BARATARIA, LA 70036-4756
14723399       +ALLEN P. WHITE,    202 SOUTH GRAY AVE,    PICAYUNE, MS 39466-4528
14723400       +ALLEN PAUL BOWERS,    817 DOLPHIN COURT,    KENNER, LA 70065-2978
14723401       +ALLEN TRAFFICANO,    417 GREFFER ST,    HARVEY, LA 70058-4135
14723402       +ALLENISHA C MELANCON,    188 HISTORIC WEST,     GARYVILLE, LA 70051-3208
14723405       +ALLIANCE SOURCE TESTING, LLC,     255 GRANT ST. SE, SUITE 600,    DECATUR, GA 35601-2504
14723406       +ALLIANCE STEEL DISTRIBUTORS,     3000 SE Hidden Way,    Vancouver, WA 98661-8049
14723407       +ALLIANCE TRUCKING INC,    1209 STOWE AVE,    MEDFORD, OR 97501-6612
14723408       +ALLIED CRAWFORD - ATLANTA,    5700 Riverview Industrial Road,     Mableton, GA 30126-2946
14723409        ALLIED CRAWFORD - CINCINNATI,     213 INDUSTRIAL DRIVE,    Franklin, OH 45005-4429
14723410       +ALLIED CRAWFORD - PETERSBURG,     2021 Bessemer Road,    Petersburg, VA 23805-1106
14723411       +ALLIED CRAWFORD ATTALLA,    208 Lee Street S. E.,     Attalla, AL 35954-3606
14723412       +ALLIED CRAWFORD CHARLESTON,     7135 Bryhawke Circle,    North Charleston, SC 29418-3330
14723413       +ALLIED CRAWFORD GREENVILLE,     5211 Edwards Road,    Taylors, SC 29687-2813
14723414       +ALLIED CRAWFORD JACKSON,    212 Apache Drive,     Byram, MS 39272-9151
14723415       +ALLIED CRAWFORD LAKELAND,    1500 Fish Hatchery Road,     Lakeland, FL 33801-9543
14723416       +ALLIED CRAWFORD NASHVILLE,    3719 Amy Lynn Drive,     Nashville, TN 37218-3813
14723418       +ALLIED CRAWFORD STEEL,    5700 Riverview Industrial Road,     Mableton, GA 30126-2946
14723419        ALLIED CRAWFORD STEEL - HARRISBURG,     2751 Spring Garden Drive,     Middletown, PA 17057
14723417       +ALLIED CRAWFORD W MEMPHIS,    1 Afco Road,     West Memphis, AR 72301-7103
14723420       +ALLIED UNIVERSAL SECURITY SERVICES,     433 METAIRIE RD,    METAIRIE, LA 70005-4333
14723591      ++ALLOY SLING CHAINS INC,     ATTN DBA ASC INDUSTRIES,     1406 W 175TH ST,
                 EAST HAZEL CREST IL 60429-1820
               (address filed with court: ASC INDUSTRIES, LTD,       1406 W. 175TH STREET,
                 E HAZEL CREST, IL 60429)
14723421        ALLSTATE BENEFITS,    PO Box 650514,    DALLAS, TX 75265-0514
14723422       +ALPHONSE NMI CARTER JR,    2949 CARDINAL DR,     MARRERO, LA 70072-5807
14723423       +ALPINE METAL TECH NORTH AMERICA INC,     4853 CAMPBELLS RUN RD,    PITTSBURGH, PA 15205-1323
14723424       +ALRO STEEL CORPORATION,    3100 E. High Street,     Jackson, MI 49203-6413
14723425       +ALTAWORX LLC,    22765 US HWY 98,    FAIRHOPE, AL 36532-3499
14723426       +ALTER TRADING CORPORATION,    Attn Director or Officer,     700 OFFICE PARKWAY,
                 ST. LOUIS, MO 63141-7105
14723427       +ALTER TRUCKING & TERMINAL CORP.,     d/b/a ALTER RIVER TERMINAL-ST. PAUL,
                 781 BARGE CHANNEL ROAD,    ST. PAUL, MN 55107-2437
14723428        ALTERON M. DIGGS,    336 EAST 36TH STREET,     RESERVE, LA 70084
14723429       +ALTON COTTON,    114 COTTON STREET,    BELLE CHASSE, LA 70037-1200
14723430       +ALTON GEORGE,    1606 FARRAGUT ST.,    NEW ORLEANS, LA 70114-2926
14723431       +ALTON MOULLIET,    1037 TEAKWOOD DR,    HARVEY, LA 70058-4340
14723434        ALVIN BROWN,    6113 AVE C APT C,    MARRERO, LA 70072
14723435       +ALVIN CHEATTEAM,    1434 PAILET,    HARVEY, LA 70058-3618
14723436       +ALVIN DONTE SMITH,    240 LATIGUE ROAD,    WAGGAMAN, LA 70094-2375
14723437       +ALVIN EDWARDS,    1541 SPANISH OAKS DRIVE,     HARVEY, LA 70058-3056
14723439       +ALVIN HANDLEY,    133 CARITA DR,    AVONDALE, LA 70094-2811
14723440       +ALVIN JOHNSON,    416 FEDERAL DR,    AVONDALE, LA 70094-2456
14723442       +ALVIN NAQUIN,    4924 BARATARIA BLVD,    MARRERO, LA 70072-6631
14723443       +ALVIN RICHARDSON JR.,    1733 ROBIN ST,    MARRERO, LA 70072-3549
14723444       +ALVIN TYRONE COUTO,    3909 E BAMBOO DRIVE,     HARVEY, LA 70058-5820
14723445       +ALVIN VICKNAIR,    198 WEST 17TH STREET,    RESERVE, LA 70084-6230
14723446        ALVIN WILLIAMS,    212 S. HICKORY ST,    GRAMERCY, LA 70052
14723447       +AMAURYS SANTANA-BAEZ,    1033 WHITNEY AVE APT B,     GRETNA, LA 70056-8050
14723448       +AMBER LYNN CASHIO,    121 LAYBURN COURT,    TERRYTOWN, LA 70056-4529
14723449       +AMBROSE DAISY,    39614 HWY 23 BOX 98,    BOOTHVILLE, LA 70041
14723450        AMERI 100 CALIFORNIA, INC/FORMERLY,     ATCG TECHNOLOGY SOLUTIONS INC,     5000 RESEARCH CT STE 750,
                 SUWANEE, GA 30024-6608
14723451       +AMERI ROLLS AND GUIDES,    337 CLOVER RIDGE DRIVE,     LOCKPORT, IL 60441-3299
14723454       +AMERICAN BEARING SUPPLY INC,     PO BOX 10222,    JEFFERSON, LA 70181-0222
14723455        AMERICAN COMMERCIAL BARGE LINE LLC,     1701 E. MARKET ST.,    Jeffersonville, IN 47130-4717
14723457       +AMERICAN DIESEL,    604 TIMESAVER AVE,    HARAHAN, LA 70123-3144
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14723458        AMERICAN EAGLE STEEL CORPORATION,     Ponte Vedra Beach, FL 32004
14723460       +AMERICAN INDUSTRIAL MOTOR SERVICE,     LLC,    235 W OKLAHOMA AVENUE,    MILWAUKEE, WI 53207-2642
14723461       +AMERICAN METAL MARKET,    PO BOX 15127,     NORTH HOLLYWOOD, CA 91615-5127
14723462       +AMERICAN METAL SUPPLY CO,     1250 OLD FERN VALLEY ROAD,     Louisville, KY 40219-1903
14723463       +AMERICAN ROLL GROUP LLC,    Kevin McCaffrey,     28182 N HAYDEN ROAD,    SCOTTSDALE, AZ 85266-9057
14723464       +AMERICAN STATE EQUIPMENT,     Attn Director or Officer,     2055 SOUTH 108TH STREET,
                 MILWAUKEE, WI 53227-1103
14723467        AMERICAN STEEL & ALUMINUM LLC,     Crown Road,    Liverpool, NY 13088
14723469       +AMERIFAB, INC,    3501 EAST 9TH STREET,     INDIANAPOLIS, IN 46201-2509
14723471        AMI Automation LLC,    PO Box 659506,    San Antonio, TX 78265-9506
14723472       +AMI Automation LLC,,    Dan Karl Ilkay,     Corporate Counsel,    6717 Burns Street,
                 Forest Hills, NY 11375-3536
14723473        AMI Automation LLC,,    14408 Maquila Loop, ITC Industrial Park,      Laredo, TX 78045
14723474        AMI Automation LLC,,    AMI Automation LLC,     PO Box 659506,    San Antonio, TX 78265-9506
14723475        AMI Automation, LLC,    14408 MAQUILA LOOP ITC IND.PARK,      LAREDO TEXAS, TX 78045
14723477      #+AMINO TRANSPORT INC.,    223 NE LOOP 820, SUITE 101,     HURST, TX 76053-7352
14723479       +AMMAR DIRI,    4152 LOIRE DRIVE,    KENNER, LA 70065-1784
14723480       +AMOSS TRADING SERVICES,    500 MARKET ST.,     NEW ORLEANS, LA 70130-4620
14723481       +AMTHOR STEEL COMPANY,    1717 GASKELL AVENUE,     Erie, PA 16503-2429
14723482       +AMY M. WAGUESPACK,    25150 PINECREST DRIVE,     PICAYUNE, MS 39466-9323
14723484       +ANABELLY MONCADA-PADILLA,     2112 EUCLID ST,    GRETNA, LA 70056-2931
14723485       +ANCO STEEL COMPANY,    4320 WINFIELD ROAD,     WARRENVILLE, IL 60555-4036
14723487       +ANDERSEN TAX LLC,    71 S. Wacker Drive, Suite 2600,     Chicago, IL 60606-4622
14723488       +ANDERSON LOCK COMPANY, LTD,     850 EAST OAKTON ST.,    Des Plaines, IA 60018-2039
14723489       +ANDREA OBIOL,    649 LAURICELLO AVE,    JEFFERSON, LA 70121-1711
14723490       +ANDREAS SCOTT,    29352 HIGHWAY 11,    PORT SULPHUR, LA 70083-3034
14723491       +ANDREW DENNIS,    5195 ST EMMA,    ST JAMES, LA 70086-7219
14723492       +ANDREW DESPOSITO,    830 ST MAURICE AVE APT C,     NEW ORLEANS, LA 70117-1556
14723494      #+ANDREW M. WILLIAMS,    404 AVE M,    BELLE CHASSE, LA 70037-2799
14723495       +ANDRITZ ASKO INC,    501 W. SEVENTH AVE.,     Homestead, PA 15120-1036
14723497       +ANGELA B. JACOB,    1813 ACADIA DRIVE,    LAPLACE, LA 70068-2607
14723498       +ANGELA M PAYNE,    720 HOOTER ROAD,    BRIDGE CITY, LA 70094-3457
14723499       +ANGELA M. MATHERNE,    153 CREVASSE AVENUE,     LAPLACE, LA 70068-6645
14723500       +ANGIE WARREN,    6719 CARVER DR,    MARRERO, LA 70072-4515
14723501       +ANH THU T TRAN,    14 VICKSBURG COURT,    HARVEY, LA 70058-6117
14723502       +ANH VO,    680 S NIAGARA CRL,    GRETNA, LA 70056-2915
14723504       +ANIXTER NEW ORLEANS,    190 JAMES DR. EAST SUITE 140,     ST. ROSE, LA 70087-4008
14723505        ANNA SALINAS,    519 JEAN LAFITTE BLVD,     LAFITTE, LA 70067-5109
14723506       +ANNETTE M. BLAND,    18 PAMPAS DRIV E,    LAPLACE, LA 70068-6407
14723507       +ANNI HAHN,    2804 KEITHWAY DRIVE,    HARVEY, LA 70058-1921
14723508        ANNIE K. ROSS,    121 GREENHOUSE ROAD,    TRANSYLVANIA, LA 71286
14723509       +ANNYA C ORTEZ PEREZ,    2405 ROMIG DR,    MARRERO, LA 70072-5128
14723511       +ANTARES, LLC,    PO Box 6137,    Metairie, LA 70009-6137
14723514       +ANTHONY ABADIE,    110 W 17TH STREET,    RESERVE, LA 70084-6230
14723515       +ANTHONY BOUDREAUX JR,    3201 ANTIOCH STREET,     PAULINA, LA 70763-2420
14723516       +ANTHONY BROWN,    6113 SECOND AVE,    MARRERO, LA 70072-2805
14723517       +ANTHONY BUCHHOLZ,    2013 STALL DR,    HARVEY, LA 70058-1427
14723518       +ANTHONY C. ALBERT,    108 GASSEN STREET,     LULING, LA 70070-4230
14723519       +ANTHONY CARMADELLE,    985 JEAN LAFITTE BLV,     LAFITTE, LA 70067-4603
14723521       +ANTHONY DURELL BUTLER,    2100 CONSTANTINE DR,     MARRERO, TX 70072-4560
14723522       +ANTHONY GAUTREAU JR,    405 ELM STEET,    LAPLACE, LA 70068-5458
14723523       +ANTHONY J. MADDIE,    400 HICKORY AVENUE,     HARAHAN, LA 70123-4037
14723524      #+ANTHONY JACKSON,    2835 KENT DR,    NEW ORLEANS, LA 70131-4245
14723525       +ANTHONY JOSEPH JACKSON,    1050 CASA CALVO,     NEW ORLEANS, LA 70114-2802
14723526       +ANTHONY LAMONDO JR,    135 HELTZ ST,    GARYVILLE, LA 70051-3309
14723527       +ANTHONY LEGEL,    703 BREAUX DR,    LAPLACE, LA 70068-6505
14723528       +ANTHONY M. DUHON,    409 HISTORIC WEST STREET,     GARYVILLE, LA 70051-3211
14723529       +ANTHONY MADDIE,    474 W AVE,    HARAHAN, LA 70123-4026
14723530       +ANTHONY OSTROWSKI,    504 W. FRISCO DR,     LAPLACE, LA 70068-2700
14723531       +ANTHONY P. PERTUIT,    110 ELM CT.,    WESTWEGO, LA 70094-4028
14723532       +ANTHONY Q PLUMMER,    1632 SOMERSET PL,     MARRERO, LA 70072-4413
14723533        ANTHONY ROBINSON III,    238 BECK STREET,     AMA, LA 70031
14723534       +ANTHONY STEVENSON,    1908 S FOREST LAWN APT A,     TERRYTOWN, LA 70056-4130
14723535       +ANTHONY T. CAMP,    411 N. 3RD STREET,    MCGEHEE, LA 71654-2009
14723536       +ANTHONY T. CANTILLO,    2142 BELLVUE STREET,     PAULINA, LA 70763-2407
14723537       +ANTHONY W. GRAZIANO,    2163 MARION DRIVE,     LAPLACE, LA 70068-1709
14723538        ANTHONY WALKER,    744 EAST MACADOO ST,     NEW SARPY, LA 70078
14723539       +ANTHONY YOUNG,    1244 LOCH LOMAND DR,    HARVEY, LA 70058-3828
14723542       +ANTOINE MCPHERSON,    2560 APOLLO DR,    HARVEY, LA 70058-3004
14723543       +ANTOINE STERLING,    439 JACK STREET,    LAPLACE, LA 70068-4416
14723544       +ANTOINETTE M. DICKERSON,    220 CONCORD DRIVE,     LAPLACE, LA 70068-3327
14723545       +ANTONIO A. CHOPIN,    1813 SOUTH DOWN RD,     LAPLACE, LA 70068-6211
14723546       +ANTONIO DELEON JR,    5153 ORANGE AVE,    LAFITTE, LA 70067-5521
14723547       +ANTONIO F LEYVA JR,    4101 APOLLO DR,    METAIRIE, LA 70003-3001
14723548       +ANTONIO G. PALMISANO,    440 CLAYTON DRIVE,     NORCO, LA 70079-2324
14723549       +ANTONIO HENRY,    1927 ESTHER ST,    HARVEY, LA 70058-3567
14723550       +ANTONIO HERNANDEZ,    2412 CAMBRIDGE DR,     LAPLACE, LA 70068-2310
14723551       +ANVIL ATTACHMENTS,    P.O. BOX 216,    SLAUGHTER, LA 70777-0216
14723557       +APEX OIL COMPANY,    4084 HIGHWAY 44,,    Mt. Airy, LA 70076-2133
14723558       +APPALACHIA BUSINESS COMM,     232 S. PETERS RD.,    KNOXVILLE, TN 37923-5203
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14723559       +APPLICATION ENGINEERING,    2025 COLONIAL DRIVE,     LAPLACE, LA 70068-1807
14723560       +APPLIED INDUSTRIAL,    TECHNOLOGIES, INC.,     Attn Director or Officer,     5516 POWELL STREET,
                 HARAHAN, LA 70123-2221
14723561       +APPLIED INDUSTRIAL TECH,    3200 DRESSER ROAD,     KNOXVILLE, TN 37920-5567
14723563       +APPLIED MAINTENANCE SPEC., INC,     PO Box 209,    BUNA, TX 77612-0209
14723564        AQUIANA SPRINGS WATER,    PO BOX 3333,     SLIDELL, LA 70459-3333
14723565       +ARAMARK UNIFORM & CAREER,    APPAREL, LLC,     6640 FRANKSTOWN AVE,    PITTSBURGH, PA 15206-4156
14723566       +ARCHIBALD U. ALISON JR.,    5616 BRIDGET STREET,     METAIRIE, LA 70003-2126
14723568       +ARCHROCK,    2206 ENGINEERS RD,    BELLE CHASSE, LA 70037-3115
14723572       +AREDEAN GRAHAM III,    168 NW 12TH ST,     RESERVE, LA 70084-6725
14723574       +ARIEL CORDERO,    5313 CROSS CREEK DRIVE,     MARRERO, LA 70072-6653
14723575       +ARL TRANSPORT LLC / DBA ARL,     1155 STOOPS FERRY ROAD,     Moon Township, PA 15108-8920
14723576       +ARMANDO ALVAREZ,    2528 KIRKWOOD DR,    MARRERO, LA 70072-6435
14723577       +ARMANDO AMAYA III,    2409 LYNNBROOK DR,     HARVEY, LA 70058-2130
14723578       +ARMOND LEE,    340 HOMEWOOD DR,    RESERVE, LA 70084-5528
14723579      #+ARMSTRONG TRANSPORT GROUP,     8210 UNIVERSITY EXEC PARK DRIVE,     CHARLOTTE, NC 28262-3595
14723582       +ARTEMIO OLGUIN-GONZALEZ,    190 KATHY DR,     LAPLACE, LA 70068-5675
14723583       +ARTEMUS RHODES,    222 RAMSEY ROAD,    MOUNT OLIVE, MS 39119-5028
14723584       +ARTHUR DEVORE,    325 HOMER ST,    NEW ORLEANS, LA 70114-5723
14723586      #+ARTHUR GILBERT,    924 FIFTH ST,    WESTWEGO, LA 70094-4626
14723587        ARTHUR J. GALLAGHER RISK,    MANAGEMENT SERVICES, INC.,      12750 MERIT DR STE 1000,
                 DALLAS, TX 75251-1200
14723588       +ARTHUR L TRUITT,    1725 ESTHER ST,    HARVEY, LA 70058-3607
14723589       +ARTHUR R. LAMONTE III,    216 WEST HARDING STREET,     DESTREHAN, LA 70047-4209
14723592       +ASHLEY A. BARBARA,    151 MICHAEL STREET LOT E7,     AMA, LA 70031-2151
14723593       +ASHLEY N. MOTON,    166 APPLE STREET,    LAPLACE, LA 70068-6825
14723594       +ASHLEY SLING, INC,    4775 MERDEL COURT,     ATLANTA, GA 30336-2046
14723595        ASHLEY W. GOSSETT,    3286 HWY 44,    GARYVILLE, LA 70051
14723596       +ASHTON M SHEPHERD,    176 WEST 1ST STREET,     EDGARD, LA 70049-2617
14723597       +ASHTON NOEL,    99 TRANQUILITY DR.,    MANDEVILLE, LA 70471-6790
14723598        ASSET EMPLOYMENT GROUP,    8211 E REGAL BLVD,     TULSA, OK 74133
14723599       +ASSOCIATED TERMINALS,    @ GLOBALPLEX, LLC,     9100 SAFETY DRIVE,    Convent, LA 70723-2232
14723605       +AT&T,   Karen A. Cavagnaro,     One AT&T Way, Room 3A104,     c/o AT&T Services, Inc,
                 Bedminster, NJ 07921-2693
14723611        AT&T,   CAROL STREAM, IL 60197-5001
14723617       +AT&T TELECONFERENCE,    PO Box 5002,    Carol Stream, IL 60197-5002
14723618        AT&T TELECONFERENCE,    SERVICES,    PO Box 5002,    CAROL STREAM, IL 60197-5002
14723621       +ATLAS TRUCKING AND LOGISTICS,     20601 TROLLEY INDUSTRIAL DR,     TAYOR, MI 48180-1843
14723623       +ATMOS ENERGY,    PO Box 790311,    St Louis, MO 63179-0311
14723626       +ATS LOGISTICS / DBA SUREWAY TRANSP.,     725 OPPORTUNITY DRIVE,     ST. CLOUD, MN 56301-5886
14723627        ATTALA STEEL INDUSTRIES, LLC,     Kosciusko, MS 39090
14723628       +AUBRY BONCK,    2408 JENNIE ST,    HARVEY, LA 70058-4112
14723629       +AUDIOMETRICS INC,    4510 MARLENA STREET,     BOSSIER CITY, LA 71111-7513
14723630       +AUGUSTA MALVEAUX,    1919 OCONNER ST,    GRETNA, LA 70053-3515
14723631       +AUSTIN ANTHONY ANCAR,    4868 ORLEANS WAY LOT 31,     MARRERO, LA 70072-7671
14723632       +AUSTIN FIRE SYSTEMS LLC,    13580 EADS ROAD,     PRAIRIEVILLE, LA 70769-4433
14723635       +AUTHUR C. GUERRA JR.,    843 GOODHOPE STREET,     NORCO, LA 70079-2465
14723636       +AUTOBODY UNLIMITED,    29144 HWY 644,    VACHERIE, LA 70090-4331
14723638      #+AVENGER LOGISTICS,    5959 SHALLOWFORD ROAD, SUITE 225,      Chattanooga, TN 37421-2215
14723639       +AVIS WILLIAMS,    1239 LAURADALE DR,    NEW ORLEANS, LA 70114-2831
14723641       +AYNARD MILLET,    1127 WHITLOW CT,    LAPLACE, LA 70068-5319
14723642       +AZZ GALVANIZING - MORGAN CITY,     3100 W 7th STREET,    Fort Worth, TX 76107-2795
14723643       +AZZ GALVANIZING - NEW ORLEANS,     2402 ENGINEERS ROAD,     BELLE CHASSE, LA 70037-3191
14723307       +Adams, Stephen J,    213 Lumpkin Road,     Carriere, MS 39426-7321
14723308       +Adams, Tony A,    102 Flanders Avenue,     Harriman, TN 37748-6510
14723309       +Adams, William O,    190 Belle Terre Blvd C,     Box 2451,    Laplace, LA 70069-2451
14723310       +Adams, William Orland,    530 Greenwood Drive,     Laplace, LA 70068-2724
14723312       +Adecco USA Inc,    175 Broadhollow Rd,     Melville, NY 11747-4911
14723334       +Ainsworth, Willis Edward,    Po Box 331,     Loranger, LA 70446-0331
14723336       +Air & Hydraulic Equipment, Inc,     11157 Outlet Drive,     Knoxville, TN 37932-3148
14723351       +AirTek Construction, Inc.,     PO Box 388,    Troy, AL 36081-0388
14723346       +Airgas USA LLC,    Carrie A. Dodson, A/R Specialist,     Central Division BSC,
                 110 W. 7th St., Ste. 1300,     Tulsa, OK 74119-1106
14723348       +Airgas USA, LLC,    Airgas USA LLC,    Carrie A. Dodson, A/R Specialist,      Central Division BSC,
                 110 W. 7th St., Ste. 1300,     Tulsa, OK 74119-1106
14723349       +Airgas USA, LLC,    110 West 7th St. Suite 1400,     Tulsa, OK 74119-1077
14723356       +Albert Bailey,    Albert J. Bailey, EEOC Charge,     Albert J. Bailey,    3001 Yorktowne Dr.,
                 LaPlace, LA 70068-2109
14723369       +Alcorn, Scott A,    566 Clifton Cemetery,     Spring City, TN 37381-5533
14723383       +Alexander, Alex R,    321 Cypress Point Drive,     Laplace, LA 70068-1633
14723384       +Alexander, Charles H,    364 Spruce Street,     Norco, LA 70079-2154
14723388       +Alimak HEK Inc,    12552 Old Galveston Rd Suite A160,      Webster, TX 77598-5427
14723393       +All Star Forest Products Inc,     ALL STAR FOREST PRODUCTS,     WILLIAM T PRICE, PRESIDENT,
                 5757 N MCRAVEN ROAD,    JACKSON, MS 39209-5604
14723395        All Star Forest Products Inc,     All Star Forest Products,     PO Box 7538,
                 Jackson, MS 39284-7538
14723404       +Alliance Source Testing LLC,     255 Grant St SE Suite 600,     Decatur, AL 35601-2504
14723432       +Altum, John,    121 Marble Dr,    Rockwood, TN 37854-6616
14723453       +Ameri100 California Inc,    Divakar Shenoy,     5000 Research Court, Suite 750,
                 Suwanee, GA 30024-6608
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14723452       +Ameri100 California Inc,    785 Orchard Drive Suite 140,      Folson, CA 95630-5558
14723470       +AmeriGas,    107 Iris Avenue,    Jefferson, LA 70121-2805
14723456       +American Commercial Barge Line LLC,     PO Box 610,     Jeffersonville, IN 47131-0610
14723459       +American Guard, Inc,    3519 Patrick Street,     Lake Charles, LA 70605-1728
14723465       +American State Equipment Co., Inc,     Attn Timothy Kraut,     2055 South 108th Street,
                 PO Box 270287,    Milwaukee, WI 53227-7207
14723466       +American State Equipment Co., Inc.,     Timothy Kraut,     2055 S. 108th Street,    PO Box 270287,
                 Milwaukee, WI 53227-7207
14723476       +Amin, Mohammad,    4212 Beaune Dr,    Kenner, LA 70065-1736
14723478       +Amite Metal Recycling,    15261 Hwy 16 East,     Amite, LA 70422-4607
14723486       +Anders, James C,    720 Gordon Avenue,     Harahan, LA 70123-3814
14723496       +Andritz Asko, Inc,    501 West 7th St,     Homestead, PA 15120-1036
14723503       +Anim, Benjamin,    2656 N Rocheblave St,     New Orleans, LA 70117-7549
14723510       +Antares, LLC,    3813 N Causeway Blvd, Suite 250,      Metairie, LA 70002-2043
14723513       +Antares, LLC,    Andrew Legrand,    Spera Law Group, LLC,     3110 Canal Street,
                 New Orleans, LA 70119-6202
14723512       +Antares, LLC,    Spera Law Group, LLC,     Vincent Trombatore, Esq.,     3110 Canal Street,
                 New Orleans, LA 70119-6202
14723540       +Anthony, Debbie Lorine,    19510 Dunson Place Dr.,      Ponchatoula, LA 70454-5199
14723541       +Anthony, Jason Lee,    21071 Weinberger Road,     Ponchatoula, LA 70454-5025
14723556       +Anvil Attachments, LLC,    Alan Murr,     PO Box 216,    Slaughter, LA 70777-0216
14723553       +Anvil Attachments, LLC,    Julie M. McCall,     Kantrow, Spaht, Weaver & Blitzer,
                 445 North Boulevard, Suite 300,     Baton Rouge, LA 70802-5747
14723555        Anvil Attachments, LLC,    Julie M. McCall,     Kantrow, Spaht, Weaver & Blitzer,      PO Box 2997,
                 Baton Rouge, LA 70821-2997
14723554       +Anvil Attachments, LLC,    Kantrow Spaht Weaver & Blitzer APLC,       Julie M. McCall, Shareholder,
                 PO Box 2997,    Baton Rouge, LA 70821-2997
14723562       +Applied Industrial TechnologiesDixie Inc,      c/o Jordan Moore,     1 Applied Plaza,
                 Cleveland, OH 44115-2519
14723569       +Arcuri, Stephen,    585 Roccaforte,    Garyville, LA 70051-3326
14723570       +Ard, Andrew T,    42204 Marblestone Ave,     Prairieville, LA 70769-6331
14723571       +Ardoin, Todd P,    3680 Hwy 307,    Thibodaux, LA 70301-8682
14723573       +Arguello, Alan Joseph,    2200 Severn Ave,     Apt V201,    Metairie, LA 70001-7647
14723580       +Armstrong, Robert J,    7425 Strathmore Dr.,     New Orleans, LA 70128-2426
14723581       +Arney, David M,    122 Bullard Hollow Road,     Harriman, TN 37748-5202
14723590       +Asbury Louisiana,    Patrick Sook,    PO Box 144,     Asbury, NJ 08802-0144
14723620       +Atlas Hose & Gasket Co, LLC,     1010 Saint Mary Street,     New Orleans, LA 70130-5026
14723622        Atmos Energy,    Attn Bankruptcy Group,     Atmos Energy Corporation,     PO Box 650205,
                 Dallas, TX 75265-0205
14723625       +Atmos Energy Corporation,     Attn Bankruptcy,    PO Box 650205,     Dallas, TX 75265-0205
14723633       +Austin Fire Systems, LLC,     Russell Ritchie, President/ Owner,      13580 Eads Road,
                 Prairieville, LA 70769-4433
14723634       +Austin Fire Systems, LLC,     PO Box 411,    Prairieville, LA 70769-0411
14723637       +Autry, Daniel Eugene,    147 Blair Rd,     Harriman, TN 37748-4624
14723640       +Avist, Avron Joesph,    13444 Old Baton Rouge Hwy,      Lot 230,    Hammond, LA 70403-2530
14723644        B W Sinclair Inv,    PO Box 1111,    Wichita Falls, TX 76307-1111
14723645       +B&T EXPRESS INC,    400 MILEY ROAD,    NORTH LIMA, OH 44452-8545
14723646       +BA VAN DANG,    391 MAIN STREET,    BILOXI, MS 39530-2266
14723647       +BABCOCK & WILCOX COMPANY,     2600 E MAIN ST,    LANCASTER, OH 43130-8490
14723648       +BACKGROUNDCHECKS.COM LLC,     12770 COIT ROAD,    DALLAS, TX 75251-1366
14723655       +BANE HAULING & RIGGING,    410 S. HIGH ST.,     WAYNESBORO, TN 38485-2612
14723656       +BANK DIRECT CAPITAL FINANCE,     Rich Twardowski & Megan Shaffer,
                 150 North Field Drive, Suite 190,     Lake Forest, IL 60045-2594
14723658        BANK OF AMERICA,    PO Box 15731,    Wilmington, DE 19886-5731
14723665       +BARBARA JACKSON,    1910 GEORIA AVE,    KENNER, LA 70062-6240
14723666       +BARBARA L PHILLIPS,    5104 TOPAZ DR,     MARRERO, LA 70072-5930
14723668       +BARFIELD ENTERPRISES, INC,     Christine Bossier,     PO Box 218,    NEW BOSTON, TX 75570-0218
14723674       +BARRIERE CONSTRUCTION,    1610 BARRIERE ROAD,     BELLE CHASSE, LA 70037-1813
14723675       +BARRY A BLANCHARD,    5159 FOURTH ST,     LAFITTE, LA 70067-5547
14723676       +BARRY CHOPIN,    118 FAVORITE LANE,    EDGARD, LA 70049-2752
14723677       +BARRY JOSEPH,    124 WEST 3RD STREET,     EDGARD, LA 70049-2723
14723678       +BARRY L. JONES,    184 CYNTHIA CIRCLE,     RESERVE, LA 70084-6822
14723679       +BARRY RAZIANO,    10121 JOEL AVE,    RIVER RIDGE, LA 70123-1550
14723680       +BARRY YOUNG,    121 DOVE STREET,    LAPLACE, LA 70068-4928
14723681       +BASIL CROSSDALE,    2169 PEBBLE BEACH DR,     LAPLACE, LA 70068-1713
14723684       +BATISTE J GIARDINA III,    314 ST CHARLES ST,     NORCO, LA 70079-2358
14723686        BAY STEEL CORPORATION,    STATE DOCK ROAD,     Mobile, AL 36601
14723687       +BAYOU DRAGON TRANSPORT, LLC,     916 TRANSCONTINENTAL DRIVE,      METAIRIE, LA 70001-3145
14723689       +BEACON AIR CONDITIONING & HEAT,     315 E 3RD ST,     KENNER, LA 70062-7103
14723693        BEAR COMMUNICATONS INC,    d/b/a EMCO COMMUNICATIONS & BEARCOM,       4900 12447 Wardline Road,
                 Hammond, LA 70401
14723692        BEAR COMMUNICATONS INC,    d/b/a EMCO COMMUNICATIONS & BEARCOM,       4900 8900 S. Choctaw Dr.,
                 Baton Rouge, LA 70815
14723695        BECKS AUTO SERVICE,    266 BECK STREET,     AMA, LA 70031
14723696       +BECKS AUTOMOTIVE,    755 PAUL MALLARD RD.,     LULING, LA 70070-4343
14723697       +BEEMAC TRUCKING LLC,    2747 LEGIONVILLE RD,     AMBRIDGE, PA 15003-1442
14723698       +BELCO INDUSTRIAL SERVICES, LLC,     40118 CAUSEY ROAD,     PRAIRIEVILLE, LA 70769-5514
14723699        BEMCO MACHINE WORKS, LTD,     6410 KESTREL ROAD,    MISSISSAUGA, ON L5T 1Z8 Canada
14723701       +BENGIMAN ODOM,    1013 MANHATTAN BLVD BLDG #7 APT#108,      HARVEY, LA 70058-4643
14723702       +BENITO MARTINEZ VIGIL,    1144 ORNAGE BLOSSOM ST,      HARVEY, LA 70058-4809
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14723703       +BENJAMIN CARTER,    5552 AMES COURT,    MARRERO, LA 70072-5343
14723704       +BENJAMIN DUECASTER,    777 GOOD HOPE,    NORCO, LA 70079-2433
14723705       +BENNER METALS CORPORATION,     1220 SOUTH STATE COLLEGE BLVD.,     Fullerton, CA 92831-5337
14723706       +BENNETT J. TRICHE,    104 N. LAUREL STREET,     HAMMOND, LA 70401-3036
14723708       +BENNIE JOSEPH JR,    117 E 31ST ST,    RESERVE, LA 70084-5001
14723709       +BENNY FERRELL,    1350 1/2 SOUTH MYRTLE,     METAIRIE, LA 70003-5928
14723710        BENNY RILEY,    126 RILEY LANE,    EMPIRE, LA 70050
14723711       +BERENDSEN FLUID POWER,    404 COMMERCE POINT,     HARAHAN, LA 70123-3202
14723713       +BERKMAN ANDERSON,    512 BELLINA LN,    MARRERO, LA 70072-1004
14723714       +BERMAN BROS. INC.,    2500 Evergreen Avenue,     Jacksonville, FL 32206-3127
14723716       +BERNARD BRADLEY,    2824 VIRGINIA LEE,    MARRERO, LA 70072-6014
14723717        BERNARD REYNAUD,    309 H0MEWOOD,    RESERVE, LA 70084
14723718        BERNARD REYNAUD JR.,    1112 ST. CLAIR LOOP,     LAPLACE, LA 70068
14723719       +BERNARD SMITH,    2463 MARR AVE,    NEW ORLEANS, LA 70114-7843
14723720        BERNARD W COLEMAN JR,    2637 FOLIAGE DR,     MARRERO, LA 70072-5862
14723723       +BERTRAND SPARKS,    1010 ROBINSON AVE,    MARRERO, LA 70072-2905
14723724        BESCO STEEL SUPPLY, INC.,     Birmingham, AL 35232
14723725       +BEST USED TIRES AND AUTO CARE,     73 WESTBANK EXPRESSWAY,    GRETNA, LA 70053-3656
14723727      #+BETH SPIESS,    PO BOX 171 HWY 45,    LAFITTE, LA 70067-0171
14723729       +BETHEL TRANS, LLC,    5778 YOUNGSTOWN POLAND RD,     YOUNGSTOWN, PA 44514-1445
14723730       +BETON, LLC,    211 E. INDUSTRY ST.,    Gonzales, LA 70737-3550
14723731       +BETTY BOSSIER,    114 JILL STREET,    LAPLACE, LA 70068-6630
14723732       +BEVERLY A ECKEL,    167 CAREVASSE AVE,    LAPLACE, LA 70068-6645
14723733       +BEVERLY SNOW AND ICE, INC,     16504 DIXIE HIGHWAY,    MARKHAM, IL 60428-5612
14723735       +BILL K PROVENCE,    246 SOMERSET,    LAPLACE, LA 70068-5212
14723736       +BILLY JO PORCHE JR,    2000 TITAN STREET,     HARVEY, LA 70058-2972
14723737       +BILLY JOE RODRIGUE,    45123 STRINGER BRIDGE RD,     ST. AMANT, LA 70774-4120
14723738        BINATEK,    7951 RUE VAUBAN,    ANJOU, QC H1J 2V1 Canada
14723739       +BINH VIET LE,    2400 RUE NOTRE DAME,    TERRYTOWN, LA 70056-8221
14723740       +BIRMINGHAM INTERNATIONAL,     300 RIVERHILLS BUSINESS PARK,    BIRMINGHAM, AL 35242-5037
14723742       +BIRMINGHAM RAIL & LOCOMOTIVE,     1015 15TH AVENUE,    BESSEMER, AL 35020-4617
14723743       +BIRMINGHAM RAIL & LOCOMOTIVE,     5205 5TH AVENUE NORTH,    Lipscomb, AL 35020-2754
14723744       +BJS FURNITURE & APPLIANCE WAREHOUS,     1605 HWY 190 E.,    HAMMOND, LA 70401-9547
14723745       +BL DUKE,    6470 CANAL BANK ROAD,    FOREST VIEW, IL 60402-4721
14723749       +BLAINE ANTHONY VICTORIANO,     4927 OAK DR,    LAFITTE, LA 70067-5247
14723751        BLAIR LOGISTICS LLC,    3600A RICHARD ARRINGTON JR BLVD N,     BIRMINGHAM, AL 35234
14723754       +BLAIR SERVICES, INC,    325 HICKORY AVENUE,     HARAHAN, LA 70123-4035
14723755       +BLAKE BABIN,    405 ELVIN ST,    LAPLACE, LA 70068-5111
14723756        BLAKE GEORGEL,    142 ANNEX STREET,    NEW SARPY, LA 70078
14723757       +BLANCHER BROTHERS AC & HEATING LLC,     2500 TAFFY DR,    MARRERO, LA 70072-5744
14723759        BLOOM ENGINEERING CO, INC.,     5460 HORNING ROAD,    PITTSBURGH, PA 15251-0254
14723761      ++BLUE CROSS BLUE SHIELD OF LOUISIANA,     P O BOX 98029,    BATON ROUGE LA 70898-9029
               (address filed with court: BLUE CROSS BLUE SHIELD OF LOUISIANA,        5525 REITZ AVENUE,
                 BATON ROUGE, LA 70809)
14723762       +BLUELINE RENTAL LLC,    2450 DESTREHAN AVENUE,     HARVEY, LA 70058-1110
14723764       +BMG METALS, INC.,    950 MASONIC LANE,    RICHMOND, VA 23223-5545
14723765       +BNSF Logistics, LLC,    75 Remittance Drive Suite 1767,     Chicago, IL 60675-1767
14723766       +BNSF Logistics, LLC,    2710 S. 48th Street,     Springdale, AR 72762-6809
14723767       +BNSF RAILWAY COMPANY,    50 S LASALLE ST,     CHICAGO, IL 60603-1008
14723768        BNSF Railway Company,    PO Box 676152,     Dallas, TX 75267-6152
14723771       +BOASSO AMERICA,    100 INTERMODAL DRIVE,     CHALMETTE, LA 70043-4610
14723773       +BOB MCKINNEY,    200 WEST 2ND ST,    LAPLACE, LA 70068-4704
14723775       +BOBBIE JACKSON,    419 4TH STREET,    BRIDGE CITY, LA 70094-3321
14723776        BOBBIE R. MILTON,    1313 N EZIDORE LOT 7A,     GRAMERCY, LA 70052
14723777       +BOBBY CANTRELL,    442 EAST BUTTERFLY CIRCLE,     TERRYTOWN, LA 70056-2732
14723778       +BOBBY D. BOUDREAUX,    182 WEST 18TH STREET,     RESERVE, LA 70084-6234
14723779       +BOBBY ISAAC,    114 FIR STREET,    BOUTTE, LA 70039-3126
14723780       +BOBBY JEROME BARNETT,    921 SOUTH DUPRE ST,     NEW ORLEANS, LA 70125-1343
14723781       +BOBBY LASHLEY CORP,    601 BELL PARK CIRCLE,     WOODSTCOK,, GA 30188-1679
14723782       +BOBBY LINDSEY,    1717 PLAZA DR,    MARRERO, LA 70072-3345
14723783       +BOBBY MILLER,    12947 CYPRESS N HOUSTON RD,     CYPRESS, TX 77429-3145
14723784       +BOBBY WILSON,    333 FIR STREET,    LAPLACE, LA 70068-4650
14723785       +BOH BROS CONSTRUCTION,    730 S TONTI ST,     NEW ORLEANS, LA 70119-7551
14723786       +BOLAND MARINE & INDUSTRIAL LLC,     P O BOX 53287,    #85-048522,    NEW ORLEANS, LA 70153-3287
14723787       +BOMAC CONTRACTORS LTD,    1020 LINDBERGH DRIVE,     BEAUMONT, TX 77707-3623
14723788       +BONNARD MONDESIR,    2013 DUPONT DR,    TERRYTOWN, LA 70056-2738
14723789       +BONNEL FRAZIER,    2240 ROCHELLE STREET,     HARVEY, LA 70058-3259
14723790      #+BOOMERANG TRANSPORTATION, LLC,     4475 W Gandy Blvd,    Tampa, FL 33611-3301
14723791       +BOOMTOWN CASINO HARVEY,    4132 PETERS RD,     HARVEY, LA 70058-1805
14723794        BORRMANN METAL CENTER,    110 WEST OLIVE AVENUE,     Burbank, CA 91502-1895
14723795       +BOSCO BROS LLC,    711 APPLE STREET,    NORCO, LA 70079-2423
14723803       +BOWEN, MICLETTE & BRITT OF LA,     1100 POYDRAS, SUITE 1250,    NEW ORLEANS, LA 70163-1250
14723804       +BOY SCOUTS OF AMERICA,    SOUTHEAST LOUISIANA COUNCIL,     PO BOX 1146,    METAIRIE, LA 70004-1146
14723805       +BOYD BROS TRANSPORTATION INC,     3275 HWY 30,    CLAYTON, AL 36016-3003
14723806        BOYD METALS,    Ft. Smith, AR 72902
14723807       +BRAD DUBREUIL,    1223 DELHOMME,    P O BOX 1408,    SCOTT, LA 70583-1408
14723808       +BRAD GAMBINO,    4449 BAY VIEW DR,    MARRERO, LA 70072-6078
14723809        BRAD SCHOUEST,    4857-B JEAN LAFITTE,    LAFITTE, LA 70067
14723810       +BRAD UNTEREINER,    1520 ALLO ST,    MARRERO, LA 70072-4031
14723811       +BRAD VERDIN,    5116 RANDY ST,    LAFITTE, LA 70067-5428
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14723812       +BRAD WILSON,    100 JENNY COURT,    MONTZ, LA 70068-8976
14723813       +BRADFORD SMITH,    856 N AIRLINE AVE,    GRAMERCY, LA 70052-3634
14723814        BRADFORD SMITH,    6901 SAYER DR,    MARRERO, LA 70072
14723815       +BRADLEY E. HEWETT,    455 ST. CHARLES,    NORCO, LA 70079-2359
14723816       +BRADLEY LEPINE,    204 PINE ST,    WESTWEGO, LA 70094-4037
14723817       +BRADLY VINCENT CHAPRON,    2528 LONG BRANCH DR,     MARRERO, LA 70072-5851
14723818       +BRANCHES BROWN,    2820 YORKTOWN DRIVE,    LAPLACE, LA 70068-2106
14723819       +BRAND SAFWAY,    18321 SWAMP ROAD,    PRAIRIEVILLE, LA 70769-3335
14723820        BRANDEN R. AUGUST,    168 RIVERLANDS DR,    LA PLACE, LA 70068-7106
14723821       +BRANDEN RODI,    5110 AMES BLVD LOT 24,    MARRERO, LA 70072-6474
14723822        BRANDON ANTHONY HAROLD LOVE,     1601 ROSE LANE,    GRAMERCY, LA 70052
14723823       +BRANDON D WILLIAMS,    575 ROBINSON AVENUE,    MARRERO, LA 70072-1624
14723824       +BRANDON D. BUSH,    2710 HUNTSVILLE STREET,    KENNER, LA 70062-5125
14723827       +BRANDON HALL,    3335 DIANA ST,    NEW ORLEANS, LA 70114-1709
14723828       +BRANDON J WYCHE,    4041 N WOODBINE ST,    HARVEY, LA 70058-2240
14723829       +BRANDON LEGER,    114 E 5TH STREET,    RESERVE, LA 70084-5434
14723830        BRANDON LOUQUE,    756 NORTH AIRLINE AVE,    GRAMERCY, LA 70052
14723831       +BRANDON M. MALAIN,    325 CONCORD DR,    LAPLACE, LA 70068-3317
14723832       +BRANDON WALLACE,    1701 MINNESOTA AVE,    KENNER, LA 70062-6029
14723833       +BRANDON WALLIC GILMORE,    1763 SHIRLEY DR.,     NEW ORLEANS, LA 70114-4703
14723834       +BRANDON WATKINS,    8790 SUNNYSIDE DR,    LAPLACE, LA 70068-6004
14723835        BRANDON WILLIAMS,    115 HORACE ST,    NEW OLREANS, LA 70114
14723836       +BRANDY K. WADE,    293 FIR STREET,    LAPLACE, LA 70068-4648
14723837       +BRANNON O. COLE,    2000 E. FRISCO DRIVE,    LAPLACE, LA 70068-2730
14723839       +BRAYLON SHANE SELTZER,    1836 BURNLEY DR,    MARRERO, LA 70072-4520
14723840       +BREAUX PETROLEUM PRODUCTS INC,     237 N BARRIOS STREET,    LOCKPORT, LA 70374-2203
14723842       +BRECHEEN PIPE & STEEL,    2340 AMERICAN WAY DRIVE,     PORT ALLEN, LA 70767-6004
14723843       +BRENT DUPLESSIS,    43243 BAYOU NARCISSE,    GONZALES, LA 70737-7628
14723844       +BRENT E. WHITE,    200 EAST 30TH STREET,    RESERVE, LA 70084-5007
14723845       +BRENT HAHN,    1501 RIDGEFIELD,    LAPLACE, LA 70068-3222
14723846        BRENT LOUQUE,    221 WAYNE STREET,    GRAMERCY, LA 70052
14723847        BRENT ROBERT,    141 ROBERT ST,    AMA, LA 70031
14723848       +BRENT WAGUESPACK,    2125 COLONIAL DRIVE,    LAPLACE, LA 70068-1809
14723849       +BRENTON COLEMAN,    1001 FAIRFAX ST,    TERRYTOWN, LA 70056-8104
14723850       +BRETT WAGUESPACK,    2125 CONONIAL DR,    LAPLACE, LA 70068-1809
14723851       +BRETT WILLIAMS,    144 EVANGELINE RD,    MONTZ, LA 70068-8916
14723853       +BRIAN C. TAYLOR,    5300 CANATELLA STREET,    CONVENT, LA 70723-2100
14723854       +BRIAN CHAPPELL,    528 GARDENIA,    LAPLACE, LA 70068-3016
14723855        BRIAN CHAPPELL JR,    353 S CHURCH ST,    GARYVILLE, LA 70051-3306
14723856       +BRIAN COOK,    305 S. RIVER POINTE,    LAPLACE, LA 70068-2958
14723857        BRIAN COTHERN,    17500 LA HIGHWAY 42,    LIVINGSTON, LA 70754-4305
14723858        BRIAN E. COTHERN,    17500 LA HIGHWAY 42,    LIVINGSTON, LA 70754-4305
14723860        BRIAN LEE MOSCH,    14318 HWY 15 LOT 12,    SAUCIER, MS 39574
14723861       +BRIAN P. LOUQUE,    3498 GEISMAR STREET,    PAULINA, LA 70763-2329
14723862       +BRIANS TOWING SERVICE,    PO BOX 1764,    LAPLACE, LA 70069-1764
14723863       +BRICE LLEWELLYN,    206 UNION LANE,    MONTZ, LA 70068-9042
14723864       +BRIDGE CITY POWER EQUIPMENT,     1509 BRIDGE CITY AVE,    BRIDGE CITY, LA 70094-3231
14723865       +BRIDGET MARIE PATTON,    615 LANG STREET,    NEW ORLEANS, LA 70131-5225
14723866       +BRIGETTE GIEPERT,    503 HERITAGE AVE,    TERRYTOWN, LA 70056-4008
14723869       +BRITT BULLINS,    1500 FOURTH ST SUITE S,    HARVEY, LA 70058-4475
14723871       +BROCK A. BECK,    503 WEST LAWSON STREET,    NEW SARPY, LA 70047-4255
14723872       +BROCKTON TROSS,    3893 TIMBERVIEW LANE,    HARVEY, LA 70058-2010
14723873       +BRODERICK K HEIMS,    4520 S SHERWOOD FOREST SUIT 104 114,     BATON ROUGE, LA 70816-6400
14723874       +BROOKE M. LOPEZ,    841 FOX LANE,    ST. ROSE, LA 70087-3028
14723875        BROTHER FLUENCE,    238 CHERRY STREET,    GRAMERCY, LA 70052
14723876       +BROWN STRAUSS STEEL,    2495 URAVAN STREET,    Aurora, CO 80011-3539
14723883       +BRUCE MICHAEL MCGINNIS,    2329 CAROL SUE AVE,     TERRYTOWN, LA 70056-3013
14723884        BRUCE MITCHELL,    3504 BAYTREE STREET,    ST. JAMES, LA 70086
14723885      #+BRUCE SMITH,    20115 RIVERS RD,    MOUNT VERNON, AL 36560-3212
14723886       +BRUCE WILSON,    1604 ESTALOTE AVE,    HARVEY, LA 70058-3636
14723889       +BRYAN A DAVIS,    717 WOODLAND DR APT. D,    LAPLACE, LA 70068-2144
14723890       +BRYAN BAZILE,    6037 MARIGNY ST,    NEW ORLEANS, LA 70122-5442
14723891       +BRYAN DIAZ - CONTRERAS,    412 GEORGETOWN DRIVE,     KENNER, LA 70065-4106
14723892       +BRYAN ERNST,    120 PECAN LANE,    PORT SULPHUR, LA 70083-2304
14723893       +BRYAN LEE DIRTEATER,    14170 BEAGLE BEND RD,     TICKFAW, LA 70466-1816
14723894      #+BRYAN MATTHEWS,    2343 VICTORIA DR,    HARVEY, LA 70058-3272
14723895       +BRYANT K. WALTER,    708 LASALLE DRIVE,    LAPLACE, LA 70068-2051
14723896       +BRYON BLACK,    6229 AUGUST AVENUE,    MARRERO, LA 70072-3431
14723897        BSE-BADISCHE STAHL ENGINEERING GMBH,     ROBERT-KOCH-STR. 13,    Kehl 8, 77694 Germany
14723898       +BUCHANAN HAULING & RIGGING INC,     4625 INDUSTRIAL ROAD,    FORT WAYNE, IN 46825-5205
14723899       +BUCK KREIHS,    2225 TCHOUPITOULAS,    NEW ORLEANS, LA 70130-2062
14723900       +BUCKLEY TRANSPORT INC,    197 AIRPORT ROAD,    COLUMBIA, MS 39429-9041
14723901       +BUDDY MOORE TRUCKING INC,    925 34TH STREET NORTH,     BIRMINGHAM, AL 35222-1013
14723902        BUDGET AUTO PARTS U PULL IT, INC,     4007 I 10 FRONTAGE ROAD,    PORT ALLEN, LA 70767
14723903       +BUILDERS TRANSPORTATION CO LLC,     3710 TULANE ROAD,    MEMPHIS, TN 38116-3999
14723904       +BULK SYSTEMS & SERVICES, INC,     1226 FREMAUX AVENUE,    SLIDELL, LA 70458-8300
14723910       +BURNELL BELL JR,    6443 EADS ST,    NEW ORLEANS, LA 70122-6513
14723911       +BURNEY BLANCH,    1020 LUCILLE LN,    CRYSTAL SPGS, MS 39059-8734
14723916       +BW TERMINAL,    1805 4TH ST,    HARVEY, LA 70058-4413
14723917       +BYRON BLACKWELL,    2226 N MIRO ST,    NEW ORLEANS, LA 70117-8050
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14723649        Badische Stahl-Engineering GmbH,     13 Robert-Koch-Strasse,     Kehl, 77694 Germany
14723650       +Bailey, Albert Joseph,    Albert J. Bailey EEOC Charge,      Albert J. Bailey,    3001 Yorktowne Dr.,
                 LaPlace, LA 70068-2109
14723651       +Bailey, Cody R,    214 Walker Ave,    Rockwood, TN 37854-3143
14723652       +Bailey, Elgin Lavar,    106 Derek Lane,    Laplace, LA 70068-6486
14723653       +Bailey, Kevin,    127 Caroline Dr,    Hammond, LA 70401-1433
14723654       +Bailey, Leroy J,    1777 Hwy 18,    Vacherie, LA 70090-5374
14723657       +Bank of America,    PO Box 15284,    Wilmington, DE 19850-5284
14723659       +Bank of America N.A.,    PO Box 15284,    Wilmington, DE 19850-5284
14723661        Bank of America NA Prepetition Agent,     Richards Layton & Finger,
                 Mark D Collins, David T Queroli,     920 North King St,     One Rodney Square,
                 Wilmington, DE 19801
14723660       +Bank of America NA Prepetition Agent,     Vinson & Elkins,
                 William L Wallander, B Foxman, M Pyeatt,      2001 Ross Ave Ste 3900,    Trammell Crow Center,
                 Dallas, TX 75201-8074
14723662       +BankDirect Capital Finance,     150 N. Field Dr. Ste 190,     Lake Forest, IL 60045-2594
14723663       +Banken, Jimmy Dawayne,    107 Vistana Lane,     Rockwood, TN 37854-4339
14723664       +Bankston, Chad Michiel,    39649 Gayle Road,     Ponchatoula, LA 70454-7928
14723667        Barfield Enterprises, INc,    2 Barfield Ln,     New Boston, TX 75570
14723669       +Barnes, Jeramie,    720 W. Yorkshire St,     Gonzales, LA 70737-5150
14723670       +Barney, Kristen,    13 Ormond Trace,    Destrehan, LA 70047-2540
14723671       +Barre, Chris Anthony,    6583 Harbourview Dr,     New Orleans, LA 70126-2869
14723672       +Barre, Titus Emanuel,    314 east 6th St,     Edgard, AL 70049-2328
14723673       +Barrett, Shane J,    509 Magnolia Drive,     LaPlace, LA 70068-3038
14723682       +Bassett, Quentracus Latroy,     302 S Mabel,    Bunkie, LA 71322-1845
14723683       +Bates, Michael,    107 Jenny Court,    Montz, LA 70068-8977
14723685       +Baton Rouge Radiology Group,     PO Box 14530,    Baton Rouge, LA 70898-4530
14723688      #+Bayou Steel BD Holdings II, L.L.C.,     138 Highway 3217,     Laplace, LA 70068-8821
14723690       +Beal, Robert A,    1156 Cambridge Drive,     Grayslake, IL 60030-3326
14723691       +Bealer, Hunter Lee,    17656 Tangi Lakes Dr,     apt A,    Hammond, LA 70403-0265
14723694       +Becker Iron & Metal,    1310 Broadway,    Venice, IL 62090-1150
14723700       +Bender, John S,    52022 Ditta Drive,    Loranger, LA 70446-2208
14723712       +Bergeron, Linda M,    1820 Meeker Loop,    Laplace, LA 70068-6144
14723715        Bermco Aluminum,    Birmingham, AL 35202
14723721       +Bernard, Irvin S,    2904 Essex Avenue,    LaPlace, LA 70068-2241
14723722       +Berry, Joshua,    1531 James Ferry Rd,    Kingston, TN 37763-7017
14723726       +Best, James Roland,    424 Riverview St,     Oakdale, TN 37829-3126
14723728       +Bethancourt, Telly Lavon,    2856 S Bank Ln,     Vacherie, LA 70090-4054
14723741       +Birmingham International Forest,     Products LLC,     300 Riverhills Business Park, Ste. 320,
                 Birmingham, AL 35242-5037
14723747       +Black Diamond Commercial Finance LLC,     Fox Rothschild LLP,     Seth A Niederman,
                 919 North Market Street, Suite 300,     Wilmington, DE 19801-3068
14723746       +Black Diamond Commercial Finance LLC,     Winston & Strawn LLP,     Daniel J McGuire,
                 35 W Wacker Dr,    Chicago, IL 60601-1695
14723748       +Black Diamond Commercial Management,     One Sound Shore Drive Suite 200,
                 Greenwich, CT 06830-7251
14723750       +Blair Logistics,    Attn Jake Langley,    PO Box 2287,     Birmingham, AL 35201-2287
14723752       +Blair Logistics, LLC,    Blair Logistics,     Attn Jake Langley,    PO Box 2287,
                 Birmingham, AL 35201-2287
14723753       +Blair Logistics, LLC,    Charley M. Drummond,     400 Century Park South, Suite 224,
                 Birmingham, AL 35226-3925
14723758       +Bliss, Jordan M,    42651 Baystone Avenue,     Prairieville, LA 70769-6491
14723760       +Blount, Mark Duane,    21124 Wells Rd,    Ponchatoula, LA 70454-5302
14723763       +Blystone, Kelly,    1801 Acadia Dr,    LaPlace, LA 70068-2607
14723770       +Boales, Robert R,    25009 Spruce Ln,    Amite, LA 70422-5435
14723772       +Boatwright, Jordan Marc,    113 Matherne Dr,     Des Allemands, LA 70030-3223
14723774       +Bob Unfried,    One Sound Shore Drive,    Ste 200,     Greenwich, CT 06830-7251
14723792       +Booth, Huston,    1912 Van Arpel Dr,    LaPlace, LA 70068-6335
14723793       +Bordelon, Riley P,    11498 Spring Creek,     Hammond, LA 70403-1918
14723796       +Bourgeois, David D,    116 Ellen Drive,    Reserve, LA 70084-6935
14723797       +Bourgeois, Gerald J,    3435 N Angelle,    Paulina, LA 70763-2237
14723798       +Bourgeois, Glenn P,    221 Camelia,    Laplace, LA 70068-3003
14723799       +Bourgeois, Mary L,    3435 N Angelle,    Paulina, LA 70763-2237
14723800       +Bournes, Larry James,    511 Lizardi St,     New Orleans, LA 70117-3854
14723801       +Bowen Miclette & Britt Insurance,     Agency LLC,    1111 North Loop West #400,
                 Houston, TX 77008-4712
14723802       +Bowen, Faron S,    2125 Golfview Drive,    Laplace, LA 70068-2026
14723838       +Bray Jr, Kenneth Charles,    210 Riverview St,     Oakdale, TN 37829-3130
14723841       +Breaux, Donald James,    548 Willowbrook Dr,     Gretna, LA 70056-7924
14723868       +Bright, Jason Joseph,    541 Esplanade Street,     Laplace, LA 70068-2738
14723870       +Broadus, Robby Ethan,    p o box 178,    Petros, TN 37845-0178
14723877       +Brown, Austin Tyler,    57 Diamond Dr,    Monterey, TN 38574-6993
14723878       +Brown, Billy J,    9979 CR 330,    Buffalo, TX 75831-3422
14723879       +Brown, Cass J,    44476 Teal Avenue,    Saint Amant, LA 70774-3534
14723880       +Brown, Craig Allen,    209 Alice St,    Harriman, TN 37748-5133
14723881       +Brown, Dawson Andrew,    740 Pumphouse Road,     Rockwood, TN 37854-3105
14723882       +Brown, Wendell J,    73 Ridgewood Drive,     Laplace, LA 70068-6459
14723887       +Brumfield, Pernal,    119 Warwick St.,    Laplace, LA 70068-5233
14723888       +Brush, Matthew Todd,    104 Highland Drive,     apt 2,    Kingston, TN 37763-4600
14723905       +Burbank, Samuela Marie,    5467 Waterford Lane,     Sorrento, LA 70778-3437
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14723906       +Burd, Joshua Francis,    117 Lulaby Lane,     Rockwood, TN 37854-2760
14723907       +Bureau of Revenue and Taxation,     Property Tax Division,     200 Derbigny Street,
                 Gretna, La 70053-5896
14723908        Bureau of Revenue and Taxation,     Property Tax Division,     PO Box 130,   Gretna, La 70054-0130
14723909       +Burgess, Gregg J,    3550 Grandlake Blvd.,     Apt.# H-102,    Kenner, LA 70065-2487
14723913       +Butler, Deanna B,    1708 Ridgefield Drive,     Laplace, LA 70068-3227
14723914       +Butler, Jerry,    5126 Frenchmen St,    New Orleans, LA 70122-4026
14723915       +Butler, Michael James,     644 Magnolia Avenue,    Laplace, LA 70068-3039
14723918       +C & C MARINE,    P.O. BOX 2253,    HARVEY, LA 70059-2253
14723919       +C&W TRUCKING & SONS INC,     4100 ELM STREET.,    BETTENDORF, IA 52722-6429
14723920       +C.C.C. STEEL INC.,    2576 East Victoria Street,     Rancho Dominguez, CA 90220-6013
14723921        C.M.C. RECYCLING NATIONAL ACCOUNTS,     ATTN 2710,    PO Box 844681,    DALLAS, TX 75284-4681
14723923       +CABAY ROUTE JR,    149 WEST 2ND STREET,    RESERVE, LA 70084-6021
14723924       +CAHABA MATERIALS & PAVING, LLC,     DBA CAHABA TRANSPORTATION,     2517 NABORS ROAD,
                 BIRMINGHAM, AL 35211-5225
14723925       +CAIRO MARINE SERVICE,    701 EAST MAIN STREET,     JACKSON, MO 63755-1525
14723926       +CAJUN AIR LLC,    280 JEAN LAFITTE BLVD,     LAFITTE, LA 70067-5102
14723929       +CALEB JOSHUA EYMARD,    5009 EIGHTY ARPENT,     MARRERO, LA 70072-5111
14723930       +CALMAR CORPORATION,    2420 PIEDMONT ST,     KENNER, LA 70062-7962
14723931       +CALVIN FORBES,    1245 GARDEN RD,    MARRERO, LA 70072-2618
14723932       +CALVIN GAGNEAUX JR,    837 MYSTIC AVE,    GRETNA, LA 70056-4506
14723933       +CAM TRAN,    115 LAVENDER CT,    BELLE CHASSE, LA 70037-1660
14723938       +CAMEO SOLUTIONS INC,    PO Box 970,    San Jose, CA 95108-0970
14723939       +CAMERON M. SINGLETON,    201 EAST LAKEVIEW DRIVE,     LAPLACE, LA 70068-6293
14723940       +CAMILLE ROUSSELL JR,    296 CENTRAL AVE,     EDGARD, LA 70049-2532
14723943        CANADIAN NATIONAL RAILWAY,     PO Box 530164,    ATLANTA, GA 30353-0164
14723944       +CANAM STEEL CORPORATION AZ,     22253 W SOUTHERN AVE,    BUCKEYE, AZ 85326-4976
14723948        CANAM STEEL GROUP,    270 Chemindu Tremblay,     Boucherville, QC J4B 5X9 Canada
14723949       +CANERA MILES,    421 MARVIN GARDENS,    LAPLACE, LA 70068-4213
14723953       +CAPGEMINI AMERICA, INC.,     79 FIFTH AVENUE, 3RD FLOOR,     NEW YORK, NY 10003-3034
14723951       +CAPGEMINI previously Lyons,     20 N Wacker Drive Suite 1750,     Chicago, IL 60606-2965
14723952       +CAPGEMINI previously Lyons,     4940 E State Street,    Rockford, IL 61108-2270
14723956       +CAPITAL COATINGS LLC,    9249 MAMMOTH AVENUE,     BATON ROUGE, LA 70814-2630
14723957       +CAPITAL CONTRACTORS INC.,     1001 NORTH 9TH STREET,    LINCOLN, NE 68508-1114
14723958       +CAPITAL VALVE & FITTING CO LLC,     FOR FALON COMPANY INC.,     9243 INTERLINE AVENUE,
                 BATON ROUGE, LA 70809-1908
14723959        CARBIDE INDUSTRIES LLC,     3204 INDUSTRIAL PARKWAY,    CALVERT CITY, KY 42029
14723960       +CARGILL INC.,    2154 HWY 44,    RESERVE, LA 70084-6328
14723961        CARL A, THOMAS,    19173 GOLDEN GATE,    CONVENT, LA 70723
14723962       +CARL A. DENNIS,    9202 CENTRA PROJECT STREET,     CONVENT, LA 70723-2708
14723963       +CARL EVERY,    2728 DESTREHAN AVE APT A,     HARVEY, LA 70058-6443
14723964       +CARL HILAIRE,    188 KELLER STREET,    HAHNVILLE, LA 70057-2142
14723965       +CARL SAVOIE,    507 AVE G,    MARRERO, LA 70072-1823
14723966       +CARL SCHUBERT JR.,    2545 DOLORES DRIVE,     MARRERO, LA 70072-6413
14723967       +CARL SORDELET,    1813 STALL DR,    HARVEY, LA 70058-2982
14723968       +CARL WILSON,    5116 WESTLAKE DR,    NEW ORLEANS, LA 70126-2860
14723969       +CARLIN LOUPE,    230 ELLEN ST,    AMA, LA 70031-2124
14723970       +CARLINE MGMT CO. INC.,     1414 NORTH BURNSIDE AVE,    GONZALES, LA 70737-2154
14723971       +CARLO CROSS,    510 W B ST,    NORCO, LA 70079-2338
14723972       +CARLOS ALBERTO RAMIREZ MOLINA,     2510 LESTER ST.,    HARVEY, LA 70058-3563
14723973       +CARLOS CAZANAS,    1700 CARRIAGE LANE,    HARVEY, LA 70058-5545
14723974       +CARLOS CHILLA,    1856 CAROL SUE AVE,    TERRYTOWN, LA 70056-4114
14723975       +CARLOS CORTEZ,    3044 MOUNT BLANC DR,    MARRERO, LA 70072-5530
14723976       +CARLOS D PORTILLO-LANZA,     820 BREANON ST,    METAIRIE, LA 70001-4924
14723977       +CARLOS DESALVO,    122 W OAK GROVE,    BELLE CHASSE, LA 70037-4244
14723978       +CARLOS ENRIQUE,    506 W MARLIN CT,    TERRYTOWN, LA 70056-2827
14723979       +CARLOS HORNBROOK,    700 S PETERS,    NEW ORLEANS, LA 70130-1663
14723980       +CARLOS P. LANZA,    820BREANON STREET,    METAIRIE, LA 70001-4924
14723981       +CARLOS SABONGE,    607 AVENUE A,    MARRERO, LA 70072-2118
14723982       +CARLOS VIDES,    835 E WM DAVID PKWY,    METAIRIE, LA 70005-1632
14723983       +CARLOS WILLIAMS,    1240 ESTALOTE AVE,    HARVEY, LA 70058-3748
14723984       +CARLTON GRIMES,    226 RIVER POINT DRIVE,     DESTREHAN, LA 70047-4009
14723987       +CARLTON RAY COLEMAN JR,     43 NEW ENGLAND COURT,    GRETNA, LA 70053-4931
14723988        CARLTON SCALE,    PO BOX 19792,    GREENSBORO, NC 27419
14723991       +CAROL ANN DARR,    319 JOHNSON ST,    ST ROSE, LA 70087-3121
14723992       +CAROL E. GARRITY,    707 URBANDALE STREET,     MARRERO, LA 70072-1029
14723993       +CAROL M DUKE,    492 HWY 628,    LAPLACE, LA 70068-6615
14723994       +CAROL ORAMOUS,    37045 CHAPEL HILL RD,    FRANKLINTON, LA 70438-8817
14723996       +CAROLINA STEEL LOGISTICS,     152 VINEYARD LAKE CIRCLE,     Conway, SC 29527-7879
14723998       +CARRIE A. RAMSEY,    3141 DAWSON STREET,     KENNER, LA 70065-4330
14723999       +CARROLL LERILLE,    2633 MESA DR,    MARRERO, LA 70072-6327
14724000       +CARROLL SIMONEAUX,    1340 MAPLEWOOD DRIVE,     HARVEY, LA 70058-3808
14724001       +CARROLL WILSON,    1100 SILVER LILLY,    MARRERO, LA 70072-2723
14724002       +CARTER MACHINE WORKS,    4280 WEST CURRAHEE STREET,     TACCOA, GA 30577-3379
14724003       +CARTWRIGHT COMMUNICATION,     TECHNOLOGY, INC.,    171 Indian Shadows Drive,
                 Maryville, TN 37801-1547
14724004       +CASEY LYNNE STRAUSS,    302 8TH STREET APT C,     BRIDGE CITY, LA 70094-3256
14724005       +CASHANNA MOSES,    2236 WOODMERE BLVD,    HARVEY, LA 70058-2249
14724008       +CAST BURL,    1313 YORKTOWN DRIVE,    LAPLACE, LA 70068-3602
14724012       +CAZE BUTLER,    2316 JEFFERSON,    HARVEY, LA 70058-6331
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14724013       +CCPI INC.,    838 CHERRY STREET,    BLANCHESTER, OH 45107-1316
14724014       +CDW COMPUTER,    DISCOUNT WAREHOUSE,    200 N MILWAUKEE AVENUE,     VERNON HILLS, IL 60061-1597
14724015       +CECIL S. ANGLIN III,    3832 MORRISWOOD DRIVE,     HARVEY, LA 70058-1933
14724016       +CECIL TERRICE HYATT,    144 PATRICK LANE,     PORT SULPHUR, LA 70083-2705
14724017       +CECILIO CRUZ,    621 DEERFIELD ST,    TERRYTOWN, LA 70056-4451
14724018       +CECO,   3748 N. CAUSEWAY BLVD.,     METAIRIE, LA 70002-7217
14724019        CEDRIC RAGAS,    27900 HWY 23,    PORT SULPHUR, LA 70083
14724020       +CEDRICA L BROWN,    404 SUGAR PINE ST APT. D,     LAPLACE, LA 70068-4828
14724021       +CENTERPOINT ENERGY SERVICES INC,     PO Box 733609,    Dallas, TX 75373-3609
14724024       +CENTRAL OREGON TRUCK COMPANY,     394 NE HEMLOCK AVENUE,    REDMOND, OR 97756-1429
14724025       +CENTRAL STEEL & WIRE,    3000 W. 51ST STREET,     CHICAGO, IL 60632-2198
14724028      ++CERTEX USA INC,    ATTN CHRISTINA BREEZE,     11949 FM 529,    HOUSTON TX 77041-3017
               (address filed with court: Certex USA Inc,       11949 FM 529,    Houston, TX 77041)
14724029       +CERTEX USA, INC,    6200 HUMPHREYS ST SUITE C,     HARAHAN, LA 70123-7800
14724030       +CERTIFIED LABORATORIES,    DIV OF NCH CORPORATION,     285 WALTER ROAD,
                 RIVER RIDGE, LA 70123-2656
14724031       +CERTIFIED STEEL,    1333 BRUNSWICK PIKE,     Lawrenceville, NJ 08648-4502
14724032       +CESAR OLGUIN,    6831 PROMONTORY DR,    GRAND PRAIRIE, TX 75054-7206
14724033       +CESS MATTHEWS,    2349 VICTORIA AVE,    HARVEY, LA 70058-3272
14724034        CGB MARINE AT LAPLACE,    PO BOX 1390,    LAPLACE, LA 70069-1390
14724035        CHAD R. BAZETTE,    18272 HIGHWAY 42,    LIVINGTON, LA 70754
14724037       +CHANCE CHERAMIE,    4205 JEAN LAFITTE,    LAFITTE, LA 70067-5319
14724038       +CHANDLER WILLIAMSON,    2557 RAMSEY ST,    MARRERO, LA 70072-6118
14724039       +CHANELL RICHARDSON,    3001 AUGUSTA STREET,     KENNER, LA 70065-4324
14724041       +CHARLES BRAUD JR,    535 JEAN LAFITTE HWY,     LAFITTE, LA 70067-5109
14724042       +CHARLES D KEGLEY,    37069 FORE RD,    DENHAM SPRINGS, LA 70706-0544
14724043       +CHARLES D NEUSER,    144 HICKORY ST,    RESERVE, LA 70084-5600
14724044       +CHARLES DARR,    318 JOHNSON STREET,    ST. ROSE, LA 70087-3120
14724045       +CHARLES DAVIS III,    508 PLYMOUTH DRIVE,     LAPLACE, LA 70068-2365
14724047       +CHARLES DOUGLAS,    1607 FURMAN ST,    HOUMA, LA 70363-5007
14724048       +CHARLES E HOLMES,    1017 GREFER AVE,    HARVEY, LA 70058-3708
14724049       +CHARLES E. MATTHEWS,    2601 LEXINGTON DR.,     LAPLACE, LA 70068-2370
14724050       +CHARLES E. WATKINS,    428 CORRINE COURT,     LAPLACE, LA 70068-3214
14724051       +CHARLES GERDING III,    3917 MALLARD ST,     METAIRIE, LA 70001-3609
14724052       +CHARLES GREEN JR,    4097 TAYLOR ST,    NEW ORLEANS, LA 70131-1709
14724053       +CHARLES J LACOUR JR,    2640 GEMINI STREET,     HARVEY, LA 70058-2989
14724054       +CHARLES J. CHOPIN,    400 MARVIN GARDENS,     LAPLACE, LA 70068-4214
14724055       +CHARLES J. WILLIAMS JR.,    115 GAIL DRIVE,     LAPLACE, LA 70068-6478
14724056       +CHARLES KRAEMER-BYROM,    917 BEECHGROVE BLVD APT C,     BRIDGE CITY, LA 70094-3816
14724057       +CHARLES LONDON,    52 BEAUREGARD DR,    GRETNA, LA 70053-4853
14724058       +CHARLES MARINO JR,    4825 WADE DR,    METAIRIE, LA 70003-2715
14724059       +CHARLES MARTIN,    432 NW 3RD APT. #D,    RESERVE, LA 70084-6954
14724060       +CHARLES MAXWELL HUDSON,    62 KNOX POLK ROAD,     COLUMBIA, MS 39429-8774
14724061       +CHARLES MCGEHEE,    1812 REDWOOD DRIVE,    HARVEY, LA 70058-3549
14724062       +CHARLES MCGOWAN,    2632 MAX DRIVE,    HARVEY, LA 70058-2277
14724063       +CHARLES ORR,    137 ELIZABETH LANE,    BURAS, LA 70041-3009
14724064       +CHARLES P. LEWIS,    2905 KENWOOD DR,    GRETNA, LA 70056-7803
14724065       +CHARLES P. WILSON JR.,    117 WILSON,    BELLE CHASSE, LA 70037-4219
14724066       +CHARLES PAGART,    2424 JAY ST,    SLIDELL, LA 70460-6656
14724067       +CHARLES R KERLEY,    CITY TREASURER,    PO BOX 433,    HARRIMAN, TN 37748-0433
14724068       +CHARLES STEADMAN,    1910 NIE PARKWAY,    NEW ORLEANS, LA 70131-1914
14724069       +CHARLES W MCGEHEE,    142 8TH STREET,    BRIDGE CITY, LA 70094-3222
14724070       +CHARLES W. GOVE III,    124 CYPRESS GRIVE,     MONTEGUT, LA 70377-3124
14724071      #+CHARLES W/ MAXWELL JR.,    117 RIVERWOOD DR.,     ST. ROSE, LA 70087-3771
14724072       +CHARLIE BENN JR,    542 HOLMES BOULEVARD,     GRETNA, LA 70056-2857
14724073       +CHARLIE CARTER,    322 NW 3RD ST APT 1,    RESERVE, LA 70084-6570
14724074       +CHARLIE NGUYEN,    2623 OAKMERE DR,    HARVEY, LA 70058-5046
14724075       +CHARLIE WHITE,    619 CARMADELLE ST,    MARRERO, LA 70072-1317
14724076       +CHARLOTTE DENISE BOWERS,    1906 JAMES DR,     MARRERO, LA 70072-4828
14724077        CHARYMAR MONTERO,    2808 15 TH ST,    HARVEY, LA 70058
14724078       +CHASE ENVIRONMENTAL GROUP,     200 SAM RAYBURN PKWY,    LENOIR CITY, TN 37771-3352
14724079       +CHASE STEEL COMPANY, LLC,    2656 CHEROKEE HILLS CIRCLE,      Waterford, MI 48328-3190
14724080       +CHAUVIN BROS TRACTOR INC,    105 ENGINEERS ROAD,     BELLE CHASSE, LA 70037-1128
14724081       +CHAZ JOSEPH BARTHELEMY,    2300 LAPALCO BLVD APT 5A,     HARVEY, LA 70058-3065
14724082       +CHAZ MICHAEL FORD,    5836 SEGNETTE DR,    MARRERO, LA 70072-4716
14724083       +CHEM TREAT INC,    15045 COLLECTIONS CENTER DRIVE,     CHICAGO, IL 60693-0001
14724085       +CHEROKEE MILLWRIGHT INC,    1034 ROSS DRIVE,     MARYVILLE, TN 37801-8271
14724091       +CHERYL CABUS,    7405 SAINT RITA ST,    MARRERO, LA 70072-1121
14724092       +CHERYL G VICKNAIR,    1621 WEST FRISCO DR,     LaPlace, LA 70068-2733
14724093       +CHERYL G. JACKSON,    184 EAST 17TH STREET,     RESERVE, LA 70084-5242
14724094       +CHESTER BOUDOIN 111,    3025 MT KENNEDY,     MARRERO, LA 70072-5531
14724096       +CHEVIS D. AKERS,    2107 NAPLECHASE CREST DRIVE,     SPRING, TX 77373-2005
14724097       +CHICAGO, FORT WAYNE,    & EASTERN RAILROAD,     200 MERIDIAN CENTRE, SUITE 300,
                 Rochester, NY 14618-3972
14724098       +CHILDHOOD LEUKEMIA WARRIORS,     FOUNDATION,    427 GATESHEAD DR,    NAPERVILLE, IL 60565-3148
14724100       +CHRIS BICKHAM,    637 TURTLECHREEK LANE,     ST ROSE, LA 70087-3831
14724101       +CHRIS DAVIS,    805 GARDEN ROAD,    MARRERO, LA 70072-1432
14724102       +CHRIS H DOYLE,    3808 LAKE WINNPEG,    HARVEY, LA 70058-5173
14724103       +CHRIS LAFRANCE,    25794 HIGHWAY 23,    PORT SULPHUR, LA 70083-2172
14724104       +CHRISSEAN CHARLES,    410 CORVET ST APT A,     FT WALTON BEACH, FL 32547-3835
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14724105        CHRISTIAN A. COWANS,    840 FOX LANE,     ST.ROSE, LA 70087
14724106        CHRISTIAN WITTE,    134 TRESYLE LANE,     MELVILLE, LA 71353
14724107       #CHRISTINA LEE,    4600 A MCCLURE ST,     BOSSIER CITY, LA 71111
14724108        CHRISTINA M. STUDER,    425 MAGNOLIA AVE,     LA PLACE, LA 70068-3023
14724109        CHRISTINA M. WALKER,    161 MELIUS DRIVE,     RESERVE, LA 70084
14724110       +CHRISTOPHER A. JOHNSON,     135 DEVON ROAD,    LAPLACE, LA 70068-5203
14724111       +CHRISTOPHER BILLIOT,    24170 CARVIST LANE,     ABITA SPRINGS, LA 70420-2161
14724112       +CHRISTOPHER BRADY,    1500 LORENE DR APT 134,     HARVEY, LA 70058-3326
14724113       +CHRISTOPHER FRYE,    2120 N BUTTERFLY CIRCLE,     GRETNA, LA 70056-2733
14724114       +CHRISTOPHER J TAULLI,     2433 RUE JESANN,    MARRERO, LA 70072-6455
14724115       +CHRISTOPHER JOUTY,    444 HWY 628,    LAPLACE, LA 70068-6614
14724116      #+CHRISTOPHER K. NELSON,     2912 MAINE AVENUE APT. B,     KENNER, LA 70065-4749
14724117       +CHRISTOPHER MAURICE PARODI,     409 DR GORMAN DRIVE,     BELLE CHASSE, LA 70037-2204
14724118       +CHRISTOPHER MURR,    122 RHO ST,    BELLE CHASSE, LA 70037-1416
14724119       +CHRISTOPHER NICHOLAS,     9606 BARATARIA BLVD,    CROWN POINT, LA 70072-7587
14724120       +CHRISTOPHER PHILLIP TERRELL,     1256 MICHAEL STREET,     MARRERO, LA 70072-3314
14724121       +CHRISTOPHER STOLTZ,    625 MELODY DRIVE,     METAIRIE, LA 70002-6305
14724122       +CHRISTOPHER TAULLI,    325 SAINT JUDE,     MARRERO, LA 70072-5733
14724123       +CHRISTOPHER VINET,    44135 SIMPSON PL APT 39,     HAMMOND, LA 70403-4725
14724124       +CHRISTOPHER WARNER WILLIAMS,     627 WHITNEY AVE,     NEW ORLEANS, LA 70114-1343
14724125       +CHRISTOPHER WERTZ,    4911 LISA ANN,     BARATARIA, LA 70036-4743
14724128       +CHRISTY A. RODRIGUE,    766 WEST 5TH STREET,     LAPLACE, LA 70068-5500
14724130       +CHUCKY FELDER,    7409 IVY ST,    METAIRIE, LA 70003-6211
14724131       +CIERRA K. HARVEY,    9314 PLYMOUTH STREET APT. 1,      OAKLAND, LA 94603-1667
14724132        CINDEX INDUSTRIES,    LUDLOW TOOLING DIV,     42 PERIMETER RD,    LUDLOW, MA 01056-3802
14724135       +CIRCLE LLC,    1204 ENGINEERS ROAD,     BELLE CHASSE, LA 70037-3219
14724137        CITY OF CHICAGO,    DEPARTMENT OF REVENUE,     8108 INNOVATION WAY,    CHICAGO, IL 60682-0081
14724138        CITY OF CHICAGO 84LB,     PO Box 71528,    CHICAGO, IL 60694-1528
14724139       +CITY OF GRETNA,    P.O. BOX 404,    GRETNA, LA 70054-0404
14724140       +CITY OF GRETNA WATER & SEWAGE DEPT,      P O BOX 404,    GRETNA, LA 70054-0404
14724143       +CITY OF ROCKWOOD,    110 N. CHAMBERLAIN AVE,     ROCKWOOD, TN 37854-2399
14724147        CITY OF TULSA UTILITIES,     TULSA, OK 74187-0002
14724146       +CITY OF TULSA UTILITIES,     Utilities Services,    Tulsa, OK 74187-0001
14724149       +CIVEO OFFSHORE LLC,    P O BOX 187,     BELLE CHASSE, LA 70037-0187
14724150       +CIVES STEEL COMPANY MS,     219 Port Terminal Road,     Rosedale, MS 38769-5500
14724151       +CLARANCE ARMONT JR.,    2184 HIGHWAY 20,     EDGARD, LA 70090-5473
14724152       +CLARENCE ANDERSON JR,     1804 SHORT STREET,    KENNER, LA 70062-7548
14724153       +CLARENCE BOVIE,    177 E. 21ST ST,    RESERVE, LA 70084-5214
14724154       +CLARENCE DUHE JR,    260 HOMEWOOD PLACE,     RESERVE, LA 70084-5526
14724155        CLARENCE DUHE JR.,    2579 MCCARROLL ROAD,     SPRINGFIELD, LA 70462
14724156       +CLARENCE GABRIEL JR,    535 AVONDALE GARDEN,     AVONDALE, LA 70094-2611
14724157        CLARENCE JACKSON,    278 ST CHARLES S,     NEW SARPY, LA 70047
14724158       +CLARENCE JOHNSON,    3097 PRIVATEER BLVD,     BARATARIA, LA 70036-5729
14724159       +CLARENCE LAMBERT,    108 10TH ST,    BRIDGE CITY, LA 70094-3107
14724160        CLARENCE LEE,    292 E. 13TH ST,    RESERVE, LA 70084
14724161        CLARENCE NOBLE,    4102519,    152 APRICOT ST,    LA PLACE, LA 70068
14724162       +CLARENCE ROBERTSON,    1724 SIMON LANE,     VACHERIE, LA 70090-5378
14724163       +CLARENCE ROBINSON,    P O BOX 2310,     RESERVE, LA 70084-2310
14724164       +CLARENCE SARAH,    614 N ELM APT C,     METAIRIE, LA 70003-6020
14724165        CLARENCE WALKER JR,    3779 CHRISWOOD LANE,     HARVEY, LA 70058
14724166       +CLARENCE WALTER JR,    3744 BRANDY LANE,     PAULINA, LA 70763-2269
14724170       +CLAUDE ANDREW ISIDORE,     16251 HWY 15,    DAVANT, LA 70040-3101
14724171       +CLAUDE LEWIS,    POB 265,    732 E HOOVER ST,    NEW SARPY, LA 70078-0265
14724173      #+CLAYTON CREEKMORE,    525 RANDOLPH AVE,     HARAHAN, LA 70123-3738
14724174       +CLEMENT GRAY III,    274 MCREINE RD,     LAPLACE, LA 70068-5663
14724175       +CLEMENT SERVICE STATION INC,     1049 E AIRLINE HWY,     LAPLACE, LA 70068-5241
14724177       +CLEVELAND JOHNSON,    1837 LEE DRIVE,     LAPLACE, LA 70068-6023
14724178       +CLIFFORD FAGGARD, III,     7093 BARATARIA BLVD,    MARRERO, LA 70072-7536
14724179       +CLIFFORD J. TROXLER III,     141 JAUBERT LANE,    LAPLACE, LA 70068-7006
14724180      #+CLIFFORD MCQUILLION,    322B ORMOND MEADOWS,     DESTREHAN, LA 70047-4053
14724181       +CLIFFTON WHITE,    489 KILLONA DRIVE,     KILLONA, LA 70057-3073
14724182       +CLIFTON DIXON,    1240 ESTALOTE AVE,     HARVEY, LA 70058-3748
14724183       +CLIFTON STEEL CO.,    16500 ROCKSIDE ROAD,     MAPLE HEIGHTS, OH 44137-4324
14724184       +CLINE ACQUISITION CORP,     DBA REXNORD INDUSTRIAL SERVICES,     5210 EDWARDS RD,
                 TAYLORS, SC 29687-2814
14724185       +CLINTON JERROD ANDERSON,     1674 CHIPPEWA ST,    NEW ORLEANS, LA 70130-4668
14724186       +CLYDE MADERE JR,    119 TASSIN COURT,     LAPLACE, LA 70068-5438
14724187       +CLYDE MITCHELL,    3030 LEXINGHTON,     KENNER, LA 70065-4427
14724188        CN ILLINOIS CENTRAL RAILROAD,     PO Box 95361,    CHICAGO, IL 60694-5361
14724190        COALMONT ELECTRICAL,    DEVELOPMENT CO.,     22577 HIGHWAY 216,    MCCALLA, AL 35111-2705
14724192        COASTAL CRANE SERVICES, LLC,     1557 AIRLINE HWY,     ST. ROSE, LA 70087
14724193       +COASTAL FIRE,    200 L & A RD. SUITE B,     METAIRIE, LA 70001-6269
14724194        COASTAL PIPE OF LA INC,     P.O. BOX 99,    CARENCRO, LA 70520-0099
14724196        CODY J. ROME,    42029 MAJESTIC HUNTER AVE,     PRAIRIEVILLE, LA 70769-6068
14724197       +CODY MICHAEL METREJEAN,     2525 DOLORES DRIVE,    MARRERO, LA 70072-6413
14724198       +CODY MILES,    721 HULL GEORGE ROAD,     EROS, LA 71238-8524
14724199       +CODY SCHMIDT,    353 GOODHOPE STREET,     NORCO, LA 70079-2347
14724200        COLE PARMER INSTRUMENT COMPANY,     EAST BUNKER COURT,     VERNON HILLS, IL 60061-1844
14724205      #+COLETTE FORBES,    164 CYNTHIA CIRCLE,     RESERVE, LA 70084-6822
14724206       +COLIN C. DUHE,    1609 NORTH SUGAR RIDGE,     LAPLACE, LA 70068-6125
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14724210      ++COLUMBIA GAS,    290 W NATIONWIDE BLVD 5TH FL,     BANKRUPTCY DEPARTMENT,    COLUMBUS OH 43215-4157
               (address filed with court: COLUMBIA GAS OF PENNSYLVANIA,       200 Civic Center Dr., 11th Floor,
                 Columbus, OH 43215)
14724211       +COMBINED TRANSPORT SYSTEMS LLC,     1201 MARINE VIEW ST.,    PORTAGE, IN 46368-1297
14724219       +COMMERCIAL METALS COMPANY,    6565 N. MacARTHUR BLVD., SUITE 800,     Irving, TX 75039-6283
14724220        COMMERCIAL METALS CORPORATION,     CMC RECYC. NATL ACCTS - DEPT 1198,     PO Box 121198,
                 DALLAS, TX 75312-1198
14724221       +COMMERCIAL TRANSPORTATION,    MANAGEMENT SERVICES, INC,     12487 PLAZA DRIVE,
                 CLEVELAND, OH 44130-1056
14724222       +COMMODITY MANAGEMENT SERVICES LTD,     7233 FREEDOM AVE NW,    NORTH CANTON, OH 44720-7123
14724224       +COMPRESSED AIR SYSTEMS, LLC,     217 GUNTHER LANE,    BELLE CHASSE, LA 70037-3157
14724225       +CONCRETE BUSTERS,    6101 RIVER RD,    AVONDALE, LA 70094-2752
14724226       +CONDUCTIX INC.,    10102 F STREET,    OMAHA, NE 68127-1104
14724227        CONE DRIVE OPERATIONS INC.,     840 EAST 12TH STREET,    Traverse City, MI 49685
14724228       +CONLEY MARINE SERVICES,    600 PETERS ROAD,    HARVEY, LA 70058-1705
14724233       +CONNOR A. RICKS,    116 GRETCHEN COURT,    MONTZ, LA 70068-8974
14724234      #+CONNOR R. KEYSER,    4801 COPERNICUS STREET,    NEW ORLEANS, LA 70131-3655
14724235        CONSOLIDATED STEEL INC.,    RT. 609 KENTS RIDGE ROAD,     CEDAR BLUFF, VA 24609
14724236       +CONSTRUCTION UNLIMITED,    1000 JUSTIN ROAD,    METAIRIE, LA 70001-5961
14724237       +CONTINENTAL CONSTRUCTION,    101 WPA RD,    BELLE CHASSE, LA 70037-3101
14724238      #+CONTRACT LEASING CORPORATION,     1 CORPORATE PLACE SOUTH, SUITE 201,     PISCATAWAY, NJ 08854-6116
14724241       +CONTRACTORS SUPPLY COMPANY,     1112 E AIRLINE HWY,    LAPLACE, LA 70068-5236
14724242       +CONTROL CHIEF CORP,    200 WILLIAMS STREET,    BRADFORD, PA 16701-1411
14724244       +COOK COUNTY TREASURER,    PO Box 805438,    CHICAGO, IL 60680-4155
14724245       +COOKSEY STEEL,    801 E. 2ND STREET,    TIFTON, GA 31794-4582
14724246       +COOPER CONSOLIDATED ON BEHALF,     OF CGB LAPLACE MARINE FLEETING,    PO Box 1390,
                 LAPLACE, LA 70069-1390
14724247       +COOPER CONSOLIDATED, LLC.,    9114 Stevedoring Rd,     CONVENT, LA 70723-2842
14724250        COOPER/T. SMITH STEVEDORING,     N. ROYAL STREET, SUITE 1100,    MOBILE, AL 36633
14724251       +CORA WITTE,    2920 LAURIE LANE,    MARRERO, LA 70072-6263
14724252       +CORDAN M. COLEMAN,    316 S. RIVER POINTE,    LAPLACE, LA 70068-2957
14724253       +CORDAZ V. COUTEE,    2329 YORKTOWN DRIVE,    LAPLACE, LA 70068-2319
14724254       +CORE LLC,    10059 N REIGER RD,    BATON ROUGE, LA 70809-4559
14724255       +COREY J. MANSON,    1500 LORENE DRIVE APT 67,     HARVEY, LA 70058-3319
14724256       +COREY JACKSON,    8825 WILLOW STREET,    NEW ORLEANS, LA 70118-1347
14724257       +COREY LADNER,    10212 LAKE PARK AVE,    GONZALES, LA 70737-7948
14724258       +COREY LEON ALLEN,    1137 L B LANDRY,    NEW ORLEANS, LA 70114-2654
14724259       +COREY STEVENS,    337 ARLINGTON DR,    LA PLACE, LA 70068-3301
14724260       +COREY STEVENS,    123 LEWIS STREET,    LAPLACE, LA 70068-6621
14724261       +COREY VICTOR,    1136 N SUGAR RIDGE,    LAPLACE, LA 70068-6136
14724262        COREY VINNETT,    627 BLUEBIRD,    LAPLACE, LA 70068
14724263       +COREYELLE D. STEVENS,    625 LASALLE DRIVE,    LAPLACE, LA 70068-2050
14724264       +CORKY F. HENDERSON,    16 GRIGO LOOP,    LAPLACE, LA 70068-6497
14724266       +CORNELIOUS GILMORE,    6204 6TH ST,    MARRERO, LA 70072-2824
14724267       +CORNELIUS A. CUMMINGS,    424 GREENWOOD DRIVE,     LAPLACE, LA 70068-3229
14724268       +CORNELIUS BALDWIN,    4604 BAYOU DES FAMILLES DR,     MARRERO, LA 70072-6578
14724269       +CORNELIUS J MODICA JR,    417 W LAWSON ST,    DESTREHAN, LA 70047-4253
14724271       +CORTEZ HUNTER,    5021 BARATARIA BLVD,    MARRERO, LA 70072-6679
14724273       +CORY COBENA,    3217 TULIP CT.,    MARRERO, LA 70072-5939
14724274       +CORY SCOTT MEAUX,    2616 CANYON DR,    MARRERO, LA 70072-6320
14724280       +CR3 Partners, LLC,    13355 Noel Road, Suite 310,     Dallas, TX 75240-1565
14724281       +CRAIG A CORE JR,    1239 AVE A,    MARRERO, LA 70072-3945
14724282       +CRAIG A. FAIRLEIGH,    225 GEORGETOWN DRIVE,    KENNER, LA 70065-4049
14724283       +CRAIG D HEBERT,    2628 VULCAN STREET,    HARVEY, LA 70058-2932
14724284       +CRAIG EDWARDS,    2520 VIRGINIAN CLNY,    LAPLACE, LA 70068-2341
14724285       +CRAIG MANUEL,    706 IBERVILLE,    LAPLACE, LA 70068-2017
14724286       +CRAIG TONEY,    1209 ST ROCH AVE,    NEW ORLEANS, LA 70117-8304
14724287       +CRAIGORY D. DEVARE,    2441 HEBERT DRIVE,    LAPLACE, LA 70068-6509
14724289        CRAWFORD METALS - BURLINGTON, ON,     1091 Heritage Road,    Burlington, ON L7L 4Y1 Canada
14724290        CRAWFORD METALS - LONDON, ON,     3101 GORE ROAD,    London, ON N5V 5C8 Canada
14724293       +CRECENCIO JIMENEZ,    5552 AMITE DR,    MARRERO, LA 70072-4902
14724294       +CRESCENT ENERGY SERVICES,    1304 ENGINEERS ROAD,     BELLE CHASSE, LA 70037-3166
14724295       +CRESCENT TRANSPORT, INC,    150 PLAUCHE STREET,     NEW ORLEANS, LA 70123-4124
14724296       +CROIX ENTERGY TECHNOLOGIES,     601 POYDRAS STE 1725,    NEW ORLEANS, LA 70130-6033
14724298       +CROSS SALES & ENGINEERING,    4400 PIEDMONT PKWY,     GREENSBORO, NC 27410-8121
14724299       +CROSSDALE A. BASIL,    20420 NW 20TH AVE,    MIAMI GARDENS, FL 33056-1606
14724302       +CRST MALONE INC,    601 VESTAVIA PARKWAY, SUITE 200,     VESTAVIA HILLS, AL 35216-3773
14724303      #+CRYSTAL BRAXTON,    206 WEST 17TH STREET,    RESERVE, LA 70084-6232
14724304       +CSX TRANSPORTATION,    6737 SOUTHPOINT DRIVE SOUTH J-605,     JACKSONVILLE, FL 32216-6177
14724306       +CTLC,   P.O.BOX 1390,    LAPLACE, LA 70069-1390
14724307       +CULLIGAN WATER CONDITION,    7537 TAGGART LANE,     KNOXVILLE, TN 37938-8996
14724308       +CUMBERLAND PIPE AND STEEL,    11901 Upper Potomac Industrial Park,      Cumberland, MD 21502-5174
14724310       +CURT JOSEPH BOURG,    910 ALLO,    MARRERO, LA 70072-3224
14724311       +CURTIS GREEN,    355 FIR STREET,    LAPLACE, LA 70068-4650
14724312       +CURTIS JOSEPH,    28714 HIGHWAY 23,    PORT SULPHUR, LA 70083-2924
14724313       +CURTIS KEATING,    165 E. 19TH ST,    RESERVE, LA 70084-5222
14724314       +CURTIS LOVE,    128 BEECH GROVE DR,    RESERVE, LA 70084-5502
14724315        CURTIS PYE,    12475 DECK BLVD,    GEISMAR, LA 70734-3132
14724316        CURTIS S DAVIS,    32047 NORTHWESTERN DRIVE,    KENNER, LA 70065
14724317        CURTIS TAYLOR,    2241 LEVY GAUDET STREET,    LUTCHER, LA 70071
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14724318       +CURTIS W. MANNING,    812 N UPLAND AVE,     METAIRIE, LA 70003-6653
14724319       +CURTIS WEBER,    238 AVONDALE GDN RD,    AVONDALE, LA 70094-2606
14724320       +CURTIS WHEELER,    3009 VAN BUREN ST,    GULFPORT, MS 39501-8034
14724321       +CW MOBILE SERVICE, LLC,    708 SARAZEN DRIVE,     GULFPORT, MS 39507-2226
14724322       +CW Mobile Services LLC,    CW Mobile Services LLC,     dba Veterans Metal Recycling,
                 Cody Richard Waite, Owner,     11200 Reichold Rd.,    Gulfport, MS 39503-6011
14724324       +CW Mobile Services LLC,    dba Veterans Metal Recycling,     Cody Richard Waite, Owner,
                 11200 Reichold Rd.,    Gulfport, MS 39503-6011
14724323       +CW Mobile Services LLC,    Cody Waite,     708 Sarazen Dr,   Gulfport, MS 39507-2226
14724325       +CYCLE CONSTRUCTION,    6 EAST THIRD STREET,     KENNER, LA 70062-7025
14724326       +CYCLONAIRE CORPORATION,    2922 NORTH DIVISION AVE,     York, NE 68467-9775
14724327       +CYNTHIA ROGERS ELLERMANN,     2126 S BUTTERFLY CIR,    TERRYTOWN, LA 70056-2735
14724328      #+CYNTHIA TERREBONNE,    4925 DITCHARO ST LOT 14,     LAFITTE, LA 70067-5131
14724329       +CYNTHIA W. BOWIE,    2808 YORKTOWN DRIVE,     LAPLACE, LA 70068-2106
14724330       +CYRIL E GONZALES III,    2691 HIGHLAND DR WEST,     GR, LA 70056-7746
14723922       +Caballero, Lennie Joseph,     76501 Carrol Dr,    Covington, LA 70435-5781
14723927       +Calderone, Dominick V,    P O Box 255,     Kentwood, LA 70444-0255
14723928       +Calderone, Vincent J,    78275 Rodric Dykes Rd,     Kentwood, LA 70444-4033
14723934       +Cambron, Brian,    16098-36 Bluff Road,     Prairieville, LA 70769-3132
14723936       +Cameo Global,    4695 Chabot Dr #101,    Pleasanton, CA 94588-2756
14723937       +Cameo Global,    PO Box 970,    San Jose, CA 95108-0970
14723941       +Campbell, Eric,    1877 Sugar Mill Dr.,     St. Bernand, LA 70085-7208
14723942       +Campbell, Johnny L.,    425 Upland Street,     River Ridge, LA 70123-5465
14723950       +Cannino, Jimmy L,    42090 Jefferson Drive,     Hammond, LA 70403-2156
14723955       +Capgemini America, Inc.,     Annette Meil,    79 Fifth Ave. #300,    New York, NY 10003-3034
14723954       +Capgemini America, Inc.,     Annette Meil, Paralegal,    79 Fifth Ave. #330,
                 New York, NY 10003-3034
14723985       +Carlton Group, Inc.,    Accounts Receivable - Katrina Hamrick,      Calrton Scale,
                 120 Landmark Drive,    Greensboro, NC 27409-9602
14723986       +Carlton Group, Inc.,    PO Box 900013,     Raleigh, NC 27675-9013
14723989       +Carmona, Jose Ricardo,    30 Sarah Street,     Waggaman, LA 70094-5819
14723997       +Carpenter, Matthew Logan,     18310 Dennis Lane,    Lot 12,   Hammond, LA 70403-0784
14724006       +Cassels, Plase Mick,    130 Brinegar Way,     Walland, TN 37886-2460
14724007       +Cassidy, Timothy M,    53235 Lamonica Road,     Independence, LA 70443-4519
14724009       +Castillo, Devin M,    230 Dianne Drive,     Saint Rose, LA 70087-3743
14724010       +Castillo, Xavier A,    621 Mt Vernon Dr,     LaPlace, LA 70068-2236
14724011       +Cavin, Lucas T,    840 Patton Ferry Road,     Kingston, TN 37763-2111
14724026       +Cernich, Oscar P,    630 Pumping Station Rd,     Greensburg, LA 70441-4162
14724027       +Certex USA Inc,    PO Box 201553,    Dallas, TX 75320-1553
14724036       +Chadwick, Darrell L,    205 Lawson Mill Rd,     Apt B,   Kingston, TN 37763-4562
14724040       +Chapman, Charles Aaron,    p o box 242,     Evensville, TN 37332-0242
14724084       +Chemtreat,    5640 Cox Rd Suite 300,    Glen Allen, VA 23060-9297
14724089       +Cherokee Millwright, Inc.,     Dave Bennett,    1034 Ross Drive,    Maryville, TN 37801-8271
14724086        Cherokee Millwright, Inc.,     Robert P. Noell,    Woolf McClane Bright Allen & Carpenter,
                 900 Gay Street, Suite 900,     P.O. Box 900,    Knoxville, TN 37901-0900
14724087        Cherokee Millwright, Inc.,     Woolf McClane Bright Allen & Carpenter,     Robert P. Noell,
                 PO Box 900,    Knoxville, TN 37901-0900
14724088        Cherokee Millwright, Inc.,     Woolf McClane Bright Allen & Carpenter,     Robert P. Noell,
                 900 Riverview Tower,    900 S. Gay Street,     Knoxville, TN 37902-1810
14724090       +Cherry, Cedric Wayne,    511 Janice Lane,     LaPlace, LA 70068-5680
14724099       +Childress, Thomas,    119 Baker St,    Napoleonville, LA 70390-8742
14724127       +Christopher, Justin A,    324 Barnett Circle,     Harriman, TN 37748-6334
14724129       +Chubb,   Attn Chubb Underwriting Department,      202B Halls Mill Road,
                 Whitehouse Station, NJ 08889-3454
14724133       +Cintas Corporation,    112 West Main Street,     Kingsport, TN 37660-4214
14724142        City of Harriman,    PO Box 433,    Harriman, TN 37748-0433
14724141       +City of Harriman,    609 N. Roane Street,     Harriman, TN 37748-2108
14724144       +City of Rockwood, Tennessee,     110 N. Chamberlain Ave,    Rockwood, TN 37854-2309
14724145       +City of Rockwood, Tennessee,     Greg Leffew,    City Attorney,    PO Box 63,
                 Rockwood, TN 37854-0063
14724148       +City of Tulsa, Oklahoma,     Robert R. Edmiston,    175 E. 2nd Street, Ste. 685,
                 Tulsa, OK 74103-3205
14724167       +Clark, Brandon S,    2113 Greenwood Drive,     LaPlace, LA 70068-2042
14724168       +Clark, Daniel N,    2012 Cambridge Drive,     Laplace, LA 70068-2302
14724169        Clark, Franklin Shane,    130 Manning Drive,     Harriman, TN 37748
14724172       +Clavier, Anthony R,    1201 Bullard Avenue,     Metairie, LA 70003-4719
14724176       +Clement, Van James,    423 East Maple Loop,     Laplace, LA 70068-4411
14724189        Coaker, Jared,    195 West Williams Circle,     Rockwood, TN 37854
14724195       +Coco, Reginald L,    P.o. Box 236,    Darrow, LA 70725-0236
14724201       +Cole, Adrian L,    P O Box 872694,    New Orleans, LA 70187-2694
14724204        Cole-Parmer Instruments,     625 E Bunker Ct,    Vernon Hills, IL 60061-1844
14724203        Cole-Parmer Instruments,     Geoff Stevens,    625 E Bunker Ct,    Vernon Hills, IL 60061-1844
14724202       +Coleman, Ashton J,    212 Willow Drive,     Gretna, LA 70053-5015
14724207       +Collins, Steven M,    202 Collins Rd,    Oliver Springs, TN 37840-2726
14724230       +Connector Specialists, Inc.,     PO Box 8988,    Mandeville, LA 70470-8988
14724232       +Conners, Frank James,    7399 Maplewood Dr,     Baton Rouge, LA 70812-1815
14724239       +Contractor and Industrial Supply,     1241 Foster Avenue,    Nashville, TN 37210-4425
14724248       +Cooper, Ronnie J,    43207 Firetower Road,     Ponchatoula, LA 70454-8211
14724249       +Cooper, Steven M,    44059 Silver Oak Drive,     Hammond, LA 70403-8545
14724265       +Cormier, Emery James,    445 Mccellan St,     Ponchatoula, LA 70454-3851
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14724270       +Correa, Demetrius W,    1400 Devonshire Dr,    Slidell, LA 70461-4513
14724272       +Cortez, Francesca L.,    19435 Lemon St.,    Vacherie, LA 70090-3217
14724275       +Cosme Dominguez, Luis Aramis,     209 Worwick St.,    Laplace, LA 70068-5235
14724276       +Costanza, Richard P,    42368 Yokum Road,    Ponchatoula, LA 70454-4924
14724277        Counsel for Leetsdale Industrial II LP,     Helen Sara Ward, Daniel P. Branagan,
                 Cohen & Grigsby, P.C.,    625 Liberty Avenue,     Pittsburgh, PA 15222-3152
14724278       +Counsel for Leetsdale Industrial II LP,     Bayard J. Snyder,    Snyder & Associates, P.A.,
                 3801 Kennett Pike Suite 201, Building C,     Wilmington, DE 19807-2321
14724279       +Cox, Robert D,    20234 Hwy 22,    Ponchatoula, LA 70454-6758
14724288       +Cramp, Christopher Pirela,     499 West McClellan,    Ponchatoula, LA 70454-3851
14724291       +Crawford, Cody Joseph,    354 Plummer Ave,    Pittsburgh, PA 15202-1752
14724292       +Crayton, Edward E,    54526 Straughan Nursery Road,     Loranger, LA 70446-3416
14724297       +Cronimet Corporation,    421 Railroad St,    Rochester, PA 15074-1905
14724300       +Crouch, Don,    368 highland dr,    Laplace, LA 70068-1906
14724301       +Crouch, Dondevelle,    200 Warwick St,    Laplace, LA 70068-5234
14724309       +Curt Brignac,    30676 Hwy 3125,    Paulina, LA 70763-2201
14724331       +D & B METALS, INC,    PO Box 541,    PLEASANT GROVE, UT 84062-0541
14724332       +D & D CONSTRUCTION,    PO BOX 850900,    NEW ORLEANS, LA 70185-0900
14724333       +D&B Metals Inc.,    Jackson Walker LLP,    Michael S. Held,    2323 Ross Avenue, Suite 600,
                 Dallas, TX 75201-2725
14724334       +D&S Hoist and Crane,    3100 Casteel Dr,    Coraopolis, PA 15108-9787
14724335       +D&S INDUSTRIAL CONTRACTING,     3100 CASTEEL DRIVE,    CORAOPOLIS, PA 15108-9787
14724336       +D. WEXLER & SON INC.,    4821 SOUTH ABERDEEN,    Chicago, IL 60609-4391
14724337       +DA & ASSOCIATES,    827 CYPRESS ST,    MORGAN CITY, LA 70380-6331
14724338       +DAKOTA POCHE,    171 JOUTY LANE,    LAPLACE, LA 70068-6635
14724339       +DALE COWANS,    150 LOUISIANA STREET,    WESTWEGO, LA 70094-4162
14724340        DALE ROBERTSON,    122 DURR STREET,    HAHNVILLE, LA 70057
14724341       +DALE YOUNG,    1948 JASPER LANE APT B,    LAPLACE, LA 70068-6271
14724342       +DALES TOWING,    76 1ST STREET,    GRETNA, LA 70053-4745
14724343       +DALLAS LACOMBE,    653 WRIGHT AVE,    TERRYTOWN, LA 70056-4037
14724344       +DALTON REED,    193 HWY 3217,    LAPLACE, LA 70068-8821
14724345       +DAMIAN MULE,    100 IDEAL COURT,    LAPLACE, LA 70068-4933
14724346       +DAMIAN TRUXILLO,    2848 DOLORES DRIVE,    MARRERO, LA 70072-6214
14724347       +DAMIEN LEONARD,    246 FIR ST,    LAPLACE, LA 70068-4649
14724348       +DAMION DENNIS,    248 CHAD B BAKER ST,    RESERVE, LA 70084-5015
14724349        DAMON M. DUHE,    243 PLAISANCE DRIVE,    RACELAND, LA 70394
14724350       +DAMON RIDGLEY,    225 ACADIA DR,    WAGGAMAN, LA 70094-2143
14724351       +DAMON ZENO,    1333 CAMBRIDGE DR,    LAPLACE, LA 70068-3615
14724353       +DANA MUSCARELLO,    612 3RD AVE,    HARVEY, LA 70058-2703
14724354       +DANE B MCCAHILL,    261 NW 4TH ST,    RESERVE, LA 70084-6533
14724355       +DANE SMALLWOOD,    1014 VAN TRUMP ST,    GRETNA, LA 70053-3540
14724356       +DANIEL CARROLL,    300 JOHNSON ST,    ST ROSE, LA 70087-3120
14724357       +DANIEL CASTRILLO,    3836 CHRISWOOD LANE,    HARVEY, LA 70058-2007
14724358       +DANIEL CHANEL SULLIVAN,    730 SUMNER ST,    NEW ORLEANS, LA 70114-1428
14724359       +DANIEL D CHATELAIN II,    720 PASADENA AVE,    METAIRIE, LA 70001-4851
14724360       +DANIEL DOUGLAS III,    465 KILLONA DRIVE,    KILLONA, LA 70057-3073
14724361       +DANIEL FURMAN,    753 LAFAYETTE DR,    LAPLACE, LA 70068-2023
14724362       +DANIEL GUILLOT,    1401 CENTRAL AVE,    WESTWEGO, LA 70094-5311
14724363       +DANIEL J. JONES,    2528 ENGLISH COLONY DRIVE,     LAPLACE, LA 70068-2345
14724364       +DANIEL LACHNEY,    1705 HAMPTON DR,    HARVEY, LA 70058-5102
14724365       +DANIEL MEEKS,    3020 HYMAN PLACE,    NEW ORLEANS, LA 70131-5246
14724366       +DANIEL NORA,    1711 CREOLE STREET,    LAPLACE, LA 70068-6016
14724367      #+DANIEL P NAQUIN,    707 KELLER AVE,    WESTWEGO, LA 70094-4703
14724368       +DANIEL PAUL CAMARDELLE,    129 DORTHY DRIVE,    AVONDALE, LA 70094-2817
14724369       +DANIEL PAUL DUBROC II,    117 ANNE DRIVE,    AVONDALE, LA 70094-2710
14724370        DANIEL PELLEGRIN,    2125 SUWANEE DR,    MARRERO, LA 70072-4821
14724371       +DANIEL POTTER,    149 LAKEWOOD DR,    LULING, LA 70070-6115
14724372       +DANIEL STEWART,    134 CAYOUSE MOUNTAIN RD,    TONASKET, WA 98855-9634
14724374        DANIEL WEBER,    553 RIVER ROAD,    LAPLACE, LA 70068
14724373        DANIEL WEBER,    195 CYPRESS LANE,    GRAND ISLE, LA 70358
14724375       +DANIELE V. GRISOLI,    139 PITRE DRIVE,    ST. ROSE, LA 70087-3222
14724376       +DANIELI CORPORATION,    600 CRANBERRY WOODS DRIVE,     CRANBERRY TOWNSHIP, PA 16066-5230
14724378        DANIELLE M. GALES,    202 E. 13TH STREET,    RESERVE, LA 70084
14724379       +DANIELLE SHIELDS,    624 AVE A,    WESTWEGO, LA 70094-4226
14724380       +DANIJEL DEKOVIC,    609 DOCTOR GORMAN DR,    BELLE CHASSE, LA 70037-2208
14724381       +DANNY CHAMPAGNE,    1905 GIAIISE ST,    MARRERO, LA 70072-4115
14724382       +DANNY DUPONT,    5146 PERKINS ST,    LAFITTE, LA 70067-5220
14724383       +DANNY M POIRRIER,    13485 SHELL HILL LN,    VACHERIE, LA 70090-3225
14724384       +DANNY TALAMO,    2621 FAWNWOOD RD,    MARRERO, LA 70072-5819
14724385       +DANNY WILBANKS,    7540 TERREBONNE ST,    MARRERO, LA 70072-1022
14724386       +DANNYE JONES,    501 W MARLIN CT,    TERRYTOWN, LA 70056-2826
14724387       +DANTERIA C. CHOPIN,    771 E. TERRACE STREET,    DESTREHAN, LA 70047-4317
14724389      #+DARA POCHE,    1215 SPRUCE ST,    WESTWEGO, LA 70094-4758
14724390       +DARIEL HERNANDEZ GARCIA,    209 KILGORE PLACE,     KENNER, LA 70065-4017
14724391       +DARIN BROWN,    1609 HAYDEL DR,    MARRERO, LA 70072-3532
14724392       +DARIUS ALEXANDER,    809 E KINGSWAY DR,    GRETNA, LA 70056-3038
14724393       +DARK HORSE RAIL SERVICE,    43326 ELMO CANNON ROAD,     GONZALES, LA 70737-7543
14724394       +DARNEL G SABIO,    2721 PHIL LN.,    MARRERO, LA 70072-5723
14724395       +DARNELL J. DEVARE,    2800 YORKTOWNE DRIVE,    LAPLACE, LA 70068-2106
14724396        DARON HENRY,    162 E 14TH STREET,    RESERVE, LA 70084
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14724397       +DARREL CLARKS,    1341 MARSHALL DR,    MARRERO, LA 70072-2632
14724398       +DARREL J. OVERLAND,    2008 STALL DRIVE,     HARVEY, LA 70058-1426
14724399       +DARRELL BEARD,    933 MINDEN AVENUE,    KENNER, LA 70062-6837
14724400       +DARRELL DENNIS,    225 EAST 13T ST,    RESERVE, LA 70084-5303
14724401        DARRELL FLOWERS,    1609 906 EAST MACADOO,     DESTREHAN, LA 70047
14724402       +DARRELL KELLY,    1303 HANCOCK ST,    GRETNA, LA 70053-3232
14724403       +DARRELL KIMBLE,    626 BELLANGER ST,    HARVEY, LA 70058-2744
14724404       +DARRELL MORGAN,    238 OAK PARK BLVD,    GARYVILLE, LA 70051-3410
14724405       +DARRELL. CHOPIN,    2612 HELENA STREET,     KENNER, LA 70062-5208
14724406       +DARREN BREAUX,    4336 AMES BLVD,    MARRERO, LA 70072-6306
14724407       +DARREN HUGHES,    2204 KENTUCKY AVE,    KENNER, LA 70062-5947
14724408       +DARREN J PLAISANCE,    814 E CRYSTAL CT,     WESTWEGO, LA 70094-4821
14724409        DARREN J. GAUTIER,    213 EAST 4TH STREET,     EDGARD, LA 70049
14724410        DARREN J. WASHINGTON,    380 POST STREET,     HAHNVILLE, LA 70057
14724411      #+DARRICK MCCCRAY,    736 MOCKINGBIRD ST,     ST ROSE, LA 70087-3818
14724412        DARRIELL WASHINGTON,    286 E 5TH ST,    EDGARD, LA 70049
14724413       +DARRIUS T. DAVIS,    609 REVERE DRIVE,    LAPLACE, LA 70068-2132
14724414       +DARRON ORGERON,    5175 TOUCHARD LN,    LAFITTE, LA 70067-3125
14724415       +DARRYL AUGILLARD,    9236 CENTRAL PROJECT,     CONVENT, LA 70723-2708
14724416       +DARRYL DAVIS,    3133 OHIO AVENUE,    KENNER, LA 70065-4436
14724417       +DARRYL DAVIS,    222 FIR STREET,    LAPLACE, LA 70068-4649
14724419       +DARRYL G. HOORMANN,    127 FARM ROAD,    LAPLACE, LA 70068-5928
14724420       +DARRYL GUILLOT,    204 POST ST LOT 1,    KILLIONA, LA 70057-3050
14724421        DARRYL M. SENIA II,    405 EVERGRE4EN STREET,     LAPLACE, LA 70068
14724422       +DARRYL PATTERSON,    576 NW 2ND STREET,     RESERVE, LA 70084-6507
14724424       +DARRYN CLOUATRE,    5216 AUGUST AVE,    MARRERO, LA 70072-3606
14724425       +DARYL P. ORDOYNE,    517 HIGHWAY 20 LOT 2,     THIBODAUX, LA 70301-7310
14724426       +DASHAWN T. PRESTON,    2013 FLOOD STREET,     NEW ORLEANS, LA 70117-2809
14724427       +DATA CONNECT ENTERPRISE INC,     3405 OLANDWOOD CT,    Olney, MD 20832-1447
14724428       +DAVAUGHN DUNLAP,    114 EAST 25TH STREET,     RESERVE, LA 70084-5125
14724429       +DAVCO MECHANICAL CONTRACTORS, INC,     4248 E 96TH ST N,    SPERRY, OK 74073-4693
14724430      #+DAVID A. FORD,    2828 ELIZABETH ST,    MARRERO, LA 70072-6038
14724431       +DAVID A. REYES-MANZUR,    4427 WARE AVE.,     JEFFERSON, LA 70121-1326
14724432       +DAVID A. SCHEIDEL,    199 HOLLYWOOD PARK,     MONTZ, LA 70068-8941
14724433       +DAVID BAILEY,    2708 MAX DR,    HARVEY, LA 70058-2279
14724434       +DAVID BLOUNT, JR,    811 MAGAZINE STREET,     HAMMOND, LA 70401-2022
14724435       +DAVID BORGES,    140 ROSALIE DR APT C,    AVONDALE, LA 70094-2804
14724436       +DAVID DURDEN,    P O BOX 65,    EMPIRE, LA 70050-0065
14724437       +DAVID E. VALLERY,    665 BAYOUD PAUL LANE,     ST. GABRIEL, LA 70776-5410
14724438       +DAVID EAMES,    185 WEST 1ST STREET,    RESERVE, LA 70084-6013
14724439       +DAVID GAUTHE JR,    572 HWY 628,    LAPLACE, LA 70068-6619
14724440        DAVID H DOWDY,    26145 HUGHES RD,    BUSH, LA 70431
14724441       +DAVID HERNANDEZ,    168 MARIE DR,    AVONDALE, LA 70094-2827
14724442       +DAVID HOLMES,    1629 MANSFIELD AVE,    MARRERO, LA 70072-3309
14724443       +DAVID J GROS,    604 ESPLANADE ST,    LAPLACE, LA 70068-2739
14724444       +DAVID J NELSON,    2617 ILLINOIS AVE.,    KENNER, LA 70062-5512
14724445       +DAVID J RICHARD,    2128 VINEYARD LN,    HARVEY, LA 70058-5932
14724446       +DAVID K. KNIGHT,    168 HOLLYWOOD PK,    MONTZ, LA 70068-8942
14724449        DAVID L SHAW,    169 SOUTH KINLER,    BOUTTE, LA 70039
14724450       +DAVID M SHUMAKER,    2556 JEANNE ST,    MARRERO, LA 70072-6440
14724451       +DAVID M. WAGUESPACK JR.,     715 N. AIRLINE AVE,    GRAMERCY, LA 70052-3633
14724452       +DAVID MANDINA,    209 PI STREET,    BELLE CHASSE, LA 70037-1436
14724453       +DAVID MAYEAUX,    509 PARLANGE LOOP,    LAPLACE, LA 70068-3513
14724454       +DAVID MENDEZ HERNANDEZ,    2405 ROMIG DR,     MARRERO, LA 70072-5128
14724455       +DAVID N. MCMORRIS,    17517 J B AVERETTE ROAD,     LIVINGSTON, LA 70754-5624
14724456       +DAVID N. PALMISANO,    299 E. 12TH STREET,     RESERVE, LA 70084-5313
14724457       +DAVID P. CREWS,    524 OAK ALLEE DRIVE,     LAPLACE, LA 70068-3702
14724458       +DAVID PATRICK SPAHR,    53 GRETNA BLVD,     GRETNA, LA 70053-4953
14724459       +DAVID PAZ,    1104 ISBELL ST,    GRETNA, LA 70053-2240
14724461       +DAVID ROMANO,    1108 MICHAEL ST,    MARRERO, LA 70072-2639
14724462       +DAVID RUIZ,    100 DAVE STREET,    RESERVE, LA 70084-6611
14724463        DAVID SUTTON,    1810 RIVER ROAD,    MONTZ, LA 70068
14724464       +DAVID W LEGENDRE,    18186 DUNNINGTON ACRES DR,     HAMMOND, LA 70401-3728
14724465       +DAVID W WASHINGTON JR,    3121 ALBERT ST,     PULINA, LA 70763-2454
14724466       +DAVID WHITEHEAD,    132 COTTONWOOD DR,    GRETNA, LA 70056-7838
14724467        DAVID WILLIAMS,    2241 S. COURSAULT ST,     LUTCHER, LA 70071
14724468       +DAVID WINTZ,    5129 CAROLINE ST,    PO BOX 294,    LAFITTE, LA 70067-0294
14724469       +DAVIN GABRIEL,    2533 ARIZONA DR,    MARRERO, LA 70072-6105
14724470       +DAVIN ORTEGO,    4020 LEMANS DR,    MARRERO, LA 70072-6230
14724471       +DAVIS DUONG,    449 WESTMEADE DRIVE,    GRETNA, LA 70056-7209
14724472    ++++DAVIS HOSE SUPPLY,    1919 STERCHI ST,    KNOXVILLE TN 37921-4612
               (address filed with court: DAVIS HOSE SUPPLY,       2322 WESTERN AVENUE,    KNOXVILLE, TN 37921)
14724473       +DAVIS ROBINSON,    2812 ELIZABETH ST,    MARRERO, LA 70072-6038
14724480       +DAVONTE T. JOHNSON,    2013 N. SUGARRIDGE,     LAPLACE, LA 70068-6227
14724481       +DAY PITNEY LLP,    Joshua W. Cohen,    195 Church Street,    New Haven, CT 06510-2092
14724483        DEAN BOURGEOIS,    347 WEST HISTROIC ST,     GARYVILLE, LA 70051
14724484       +DEAN HILL JR,    102 PIT RD,    P O BOX 56,    BOUTTE, LA 70039-0056
14724485      #+DEANDRE D. SCOTT,    120 WEST LOOP,    LAPLACE, LA 70068-5011
14724487       +DEANNA GAINEY,    127 WPA ROAD,    BELLE CHASSE, LA 70037-3101
14724488        DEANTHON E ALEXIS,    268 DAFFOUDIL ST,     GARYVILLE, LA 70051
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14724489       +DEAVIN BRITTON,    2729 HUEY P LONG,    GRETNA, LA 70053-6923
14724490       +DEBBIE ANN CHARLES,    3518 LANCASTER ST,     NEW ORLEANS, LA 70131-2256
14724492       +DEBORAH HARDY,    1035 PAILET APT 2,    HARVEY, LA 70058-3760
14724493       +DEBORAH OBRIEN,    124 LIVE OAK DR,    BELLE CHASSE, LA 70037-2618
14724494       +DEBRA BERGERON,    185 KATHY DRIVE,    LAPLACE, LA 70068-5676
14724495       +DEBRA PATE,    177 KENNER DRIVE,    LAPLACE, LA 70068-9035
14724496       +DEDICATED CARRIERS INC.,     JOYCE A. LYLE, PROJECT SPECIALIST,     4627 TOWN N COUNTRY BLVD,
                 TAMPA, FL 33615-4523
14724497       +DEEP SOUTH COMMUNICATION,     20331 HIGHLAND ROAD,    BATON ROUGE, LA 70817-7346
14724498       +DEEP SOUTH OILFIELD CONSTRUCTION LL,     PO DRAWER 850,    BELLE CHASSE, LA 70037-0850
14724499        DEIRDRE TONEY,    181 E 30TH ST,    RESERVE, LA 70084
14724500        DEJUANE JOHNSON,    119 WEST 15TH ST,    RESERVE, LA 70084
14724502       +DELANEY THOMAS WEAVER,    2657 LONG BRANCH DR,     MARRERO, LA 70072-5854
14724505        DELAWARE SECRETARY OF STATE,     PO Box 5509,    BINGHAMTON, NY 13902-5509
14724509        DELBERT A. HYLAND,    101 CHURCH STREET,     GARYVILLE, LA 70051
14724512       +DELTA FABRICATION & MACHINE INC.,     1379 CR 2110,    Daingerfield, TX 75638-4421
14724513       +DELTA PROCESS EQUIPMENT -,     A DXP COMPANY,    8275 FLORIDA BLVD,
                 DENHAM SPRINGS, LA 70726-7850
14724514       +DELTA RIGGING & TOOLS, INC.,     6938 EXCHEQUER,    BATON ROUGE, LA 70809-4901
14724516        DELTA STEEL INC-SAN ANTONIO, TX/,     7355 Roundhouse Lane,    Houston, TX 77078-4528
14724515        DELTA STEEL INC. - HOUSTON, TX,     7355 Roundhouse Lane,    Houston, TX 77078-4528
14724517        DELTA USA INC,    CARNEGIE OFFICE PARK,     BUILDING 2, SUITE 180,    CARNEGIE, PA 15106
14724518       +DEMAG CRANES & COMPONENTS,     CORPORATION,    1643 ALDINE WEST FIELD R,    HOUSTON, TX 77038
14724519       +DEMETRI L. LEWIS,    121 JAMES STREET WEST,     DESTREHAN, LA 70047-5319
14724520       +DEMO DIVA,    6246 Memphis st,    New Orleans, LA 70124-3041
14724521       +DEMOND L. CROSBY,    1414 HANCOCK ST,    GRETNA, LA 70053-3235
14724522       +DEMOND MCCORMICK,    3737 LONGLEAF LANE APT D,     HARVEY, LA 70058-2297
14724523       +DENNIS BUTLER,    1016 ROBINSON AVE,    MARRERO, LA 70072-2905
14724524       +DENNIS OROSCO,    1904 WILLIAMSBURG DR,     LAPLACE, LA 70068-2823
14724525       +DENNIS W. HETLER & ASSOCIATES PC,     161 NORTH CLARK STREET, SUITE 2210,
                 CHICAGO, IL 60601-3221
14724526       +DENNIS WILSON,    1604 ESTATLOTE AVE APT A,     HARVEY, LA 70058-3636
14724528       +DENYAN L. GAINES,    1824 ENGLISH COLONY,     LAPLACE, LA 70068-2840
14724533       +DEREK DEVOOGHT,    3616 TAFT PARK,    METAIRIE, LA 70002-4560
14724534       +DEREK EDWIN THORNTON,    2300 N FRIENDSHIP DR,     HARVEY, LA 70058-3010
14724535       +DERIC CUMMINGS,    2313 HEBERT DR,    LAPLACE, LA 70068-6507
14724537        DERICHEBOURG RECYCLING USA, INC,     Danielle Canga,    7501 WALLISVILLE ROAD,
                 Houston, TX 77020-3543
14724538        DERON SMITH,    161 RIVERLANDS DRIVE,    LAPLACE, LA 70068
14724539       +DERRECK PERRIN,    1151 AVENUE D,    WESTWEGO, LA 70094-5003
14724540       +DERRICK HOLMES,    1435 ELIZARDI BLVD,    NEW ORLEANS, LA 70114-3005
14724541       +DERRICK L CARTER,    1810 LEE DR,    LAPLACE, LA 70068-6000
14724542       +DERRICK R BRYANT,    46 SAWGRASS DR,    LAPLACE, LA 70068-6411
14724543       +DERRIN TURNER,    236 BRIARWOOD,    GRETNA, LA 70056-7828
14724544       +DERRY MCKEE,    909 31ST ST,    KENNER, LA 70065-4378
14724545        DESCO STEEL,    Malvern, PA 19355
14724546        DESHAZO CRANE,    190 AIRPARK IND. ROAD,     ALABASTER, AL 35007
14724548       +DEVANTA KENNARD,    2398 NORTH ALBERT,    LUTCHER, LA 70071-5352
14724549       +DEVIN KYLE MILLER,    412 OAK ROAD,    BELLE CHASSE, LA 70037-2916
14724550       +DEVIN SANDERS,    1240 KING DR,    MARRERO, LA 70072-2706
14724551       +DEVIN TYLER,    5615 27TH ST,    KANSAS CITY, MO 64127-4822
14724552       +DEVIN WELLS,    19821 HAPPY ACRES ROAD,     FRANKLINGTON, LA 70438-3393
14724553       +DEZURIK INC,    250 RIVERSIDE AVE N,    SARTELL, MN 56377-2129
14724554        DF RAIL GROUP,    9400 MO-171,    Carl Junction, MO 64834
14724555       +DI CENTRAL CORPORATION,     1199 NASA PARKWAY, SUITE 101,    HOUSTON, TX 77058-3301
14724557       +DIANE INNERARITY,    566 LESTER STREET,     LAFITTE, LA 70067-5118
14724558       +DICKENS LAGOS,    456 TIMBERLANE DR,    GRETNA, LA 70056-7246
14724563       +DIEGO OROZCO,    540 GROVEWOOD DRIVE,    GRETNA, LA 70056-7914
14724564        DION GALES,    APT B 517 HOMEWOOD PLACE,     LaPlace, LA 70068
14724566       +DIRECT CONNECT TRANSPORTS, INC,     7161 55TH ST. N,    OTSEGO, MN 55128-1706
14724568       +DIRECT ENERGY,    PO Box 32179,    New York, NY 10087-2179
14724569       +DIRECT ENERGY,    Att J. Love,    1001 Liberty Ave Fl 13,    Pittsburgh, PA 15222-3728
14724567       +DIRECT ENERGY,    12 GREENWAY PLAZA,    HOUSTON, TX 77046-1203
14724570       +DISTRIBUTION NOW,    1808 ENGINEERS ROAD,     BELLE CHASSE, LA 70037-3123
14724571       +DIVERSIFIED NONFERROUS,     TECHNOLOGIES, INC,    2101 27TH AVENUE NORTH,
                 BIRMINGHAM, AL 35207-5027
14724573       +DOBBY LACHNEY,    P.O. BOX 1176,    COVINGTON, LA 70434-1176
14724574       +DOCAR TRUCK PARTS & EQUIPMENT,     P.O. BOX 1176,    COVINGTON, LA 70434-1176
14724575       +DOLIA MIDDLETON,    29258 HWY 11,    PORT SULPHUR, LA 70083-2938
14724576       +DOMINICK J. VILLAFRANCO,     748 PAILET AVE,    HARVEY, LA 70058-4042
14724577       +DON A DARCE,    110 SCHLIEF DR,    BELLE CHASSE, LA 70037-2419
14724578       +DON BOHN COLLISION,    Attn Ste,    3800 LAPALCO BLVD.,    HARVEY, LA 70058-2340
14724579       +DON BOHN SERVICE DEPARTMENT,     3737 LAPALCO BLVD.,    HARVEY, LA 70058-2331
14724580       +DON HOLMES,    2921 MARYLAND AVE APT 8,     KENNER, LA 70065-4758
14724581       +DON PAUL LANDRY JR,    809 MATADOR DR,    TERRYTOWN, LA 70056-4502
14724582      #+DONALD BRAUD,    250 W 2ND STREET,    LAPLACE, LA 70068-4704
14724583       +DONALD BREAUD,    250 W 2ND,    LAPLACE, LA 70068-4704
14724584       +DONALD COCO,    1513 AVE G,    MARRERO, LA 70072-3755
14724585      #+DONALD COLTON,    2037 MATHER ST,    MARRERO, LA 70072-4619
14724586       +DONALD DWAYNE MASON,    2133 CONSTANTINE DR,     MARRERO, LA 70072-4560
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14724587        DONALD EUGENE,    621 FIG ST,    GARYVILLE, LA 70051
14724588       +DONALD G. KING,    2305 CAMBRIDGE DRIVE,     LAPLACE, LA 70068-2307
14724589      #+DONALD J MEYER JR,    3104 BRADBURY ST,     MERAUX, LA 70075-2235
14724590       +DONALD J. ST. MARTIN JR.,     2702 DIVISION STREET,    METAIRIE, LA 70002-7008
14724591       +DONALD J. TRISSEL,    979 WHITLOW CT.,     LAPLACE, LA 70068-5315
14724592        DONALD JACKSON,    2616 EAST LEBRAY STREET,     LUTCHER, LA 70071
14724593       +DONALD JUMPIERE,    2420 LESTER ST,    HARVEY, LA 70058-3514
14724594       +DONALD L. NICKLESON,    1602 31ST STREET,     KENNER, LA 70065-4465
14724596       +DONALD M JETHRO,    #13 WISTERIA PLACE,     MARRERO, LA 70072-2426
14724597        DONALD MARKS,    12220 MCCOLL RD,    LAURINBURG, NC 28352-7921
14724598       +DONALD R CLARK,    1245 ABERDEEN DRIVE,     HARVEY, LA 70058-3825
14724599       +DONALD R LUMINAIS,    501 E LOYOLA DR,     KENNER, LA 70065-4119
14724600        DONALD R POCHE,    2664 N COURSEAULT ST,     LUTCHER, LA 70071
14724601       +DONALD ROSE JR,    1105 ELLERSLIE,    LAPLACE, LA 70068-3503
14724602       +DONALD WILLMAN,    2991 ENGINEERS ROAD,     BELLE CHASSE, LA 70037-3150
14724603       +DONALD WILSON,    272 MEADOW DR,    DESTREHAN, LA 70047-3500
14724604       +DONALD WILSON,    1808 ESTHER,    HARVEY, LA 70058-3510
14724605       +DONALD YESSO,    205 WALL BLVD,    GRETNA, LA 70056-7342
14724606      #+DONIVEN MANCHESTER,    10008 CLAIBORNE AVE,     VIOLET, LA 70092-4136
14724607       +DONNA DAVIS,    292 DALE AVE,    GRETNA, LA 70056-7852
14724608        DONNA R. POCHE,    2620 EAST LEBRAY,    LUTCHER, LA 70071
14724609       +DONNELLE HUMPHRIES,    537 RICHARD ST,     GRETNA, LA 70053-4823
14724610       +DONOVAN SANDERS,    114 E 12 ST,    RESERVE, LA 70084-5308
14724611       +DONVAON L WEBRE,    166 EAST 7TH ST,    RESERVE, LA 70084-5419
14724612       +DORA ZUNIGA,    545 URBANDALE ST,    MARRERO, LA 70072-1025
14724613       +DORIS MELANCON,    1709 MANSFIELD AVE,     MARRERO, LA 70072-3311
14724614       +DOROTHY A. SMITH,    421 HISTORIC WEST STREET,     GARYVILLE, LA 70051-3211
14724615       +DOROTHY PRICE,    624 WILLOWBROOK DR,    GRETNA, LA 70056-7926
14724617       +DOUGLAS ASCENCIO,    604 FIELDING AVE,     GRETNA, LA 70056-4025
14724618       +DOUGLAS E. MORENO,    47 DIANNA PLACE,     ST. ROSE, LA 70087-3761
14724619       +DOUGLAS L MAYEUX,    5176 DUELING OAKS AV,     MARRERO, LA 70072-6807
14724620       +DOUGLAS LEE WALKER JR,    1609 WESTMINISTER BL,     MARRERO, LA 70072-4428
14724621       +DOUGLAS MOODY,    5008 REED ST,    MARRER0, LA 70072-5536
14724622       +DOUGLAS TRICHE,    436 GRAND COULEE,    LAPLACE, LA 70068-6652
14724624       +DOYLE A. WAGUESPACK,    261 W. 1ST STREET,     RESERVE, LA 70084-6017
14724625       +DRAGO SUPPLY CO INC,    35610 HWY 30,    GEISMAR, LA 70734-3512
14724626       +DRAPER BOURGEOIS,    1167 N AIRLINE AVE,     GRAMERCY, LA 70052-3005
14724627       +DREDGING SUPPLY,    172 AIRPORT RD,    RESERVE, LA 70084-6946
14724628       +DREW ROBICHAUX,    1525 GLENDALE DRIVE,     LAPLACE, LA 70068-3105
14724629       +DRIVE SYSTEMS INC,    5333 RIVER ROAD STE A,     NEW ORLEANS, LA 70123-5225
14724630       +DROPSA USA INC.,    6645 BURROUGHS AVENUE,     STERLING HEIGHTS, MI 48314-2132
14724632       +DSV ROAD, INC,    3525 EXCEL DRIVE,    MEDFORD, OR 97504-9798
14724631       +DSV Road,    100 Walnut Avenue, Suite 405,     Clark, NJ 07066-1247
14724633       +DUANE EDWARDS,    141 MARIGOLD ST,    MOUNT AIRY, LA 70076-2116
14724634       +DUANE TROXLER,    747 AVE LOUIS QUATROZE,     COVINGTON, LA 70433-6407
14724635        DUBOSE STEEL INC.,    HWY. 24 WEST,    ROSEBORO, NC 28382
14724636        DUCKS ICE, INC,    122 DUCK LANE,    EDGARD, LA 70049
14724638       +DUHON MACHINERY CO, INC,    10460 AIRLINE HWY.,     ST. ROSE, LA 70087-3010
14724643        DUREL ALEXANDER,    143 LEWIS ST,    LAPLACE, LA 70068
14724646       +DURRETT-SHEPPARD STEEL COMPANY,     6800 E BALTIMORE STREET,     Baltimore, MD 21224-1892
14724647       +DWANE SOLAR,    648 1/2 BROWN AVE,    HARVEY, LA 70058-4163
14724648       +DWAYNE D. DUFRECHOU,    5024 BURKE DR.,     METAIRIE, LA 70003-2533
14724649       +DWAYNE GIBSON JR,    2720 ERIN DR,    MARRERO, LA 70072-6522
14724650       +DWAYNE PUGH,    535 MAGNOLIA DR,    MARRERO, LA 70072-1112
14724651       +DWIGHT LOUIS DEGREE,    1012 GREFER ST,     HARVEY, LA 70058-3709
14724652        DWIGHT P. PERRILLOUX,    128 CENTRAL AVE,     EDGARD, LA 70049
14724653       +DWIGHT PERRILLOUX,    130 CHAD B BAKER ST,     RESERVE, LA 70084-5013
14724654       +DYLAN CAMUS,    5102 MCMURPHY ST,    CROWN POINT, LA 70072-7613
14724655        DYLAN J. JOHNSON,    198 CHESTNUT STREET,     LAPLACE, LA 70068
14724656        DYLAN PARUN,    2775 BAYOU COOK RD,    MARRERO, LA 70072
14724657       +DYNAMETRICS,    37836 EUCLIDE AVENUE,    WILLOUGHBY, OH 44094-5909
14724658       +DYNAMIC SECURITY SERVICES,     PO BOX 451,    TUSCUMBIA, AL 35674-0451
14724659       +DYRELLE T. WASHINGTON,    203 WEST 2ND STREET,     EDGARD, LA 70049-2628
14724660      #+DYSTANY A. MITCHELL,    537 GARDENIA STREET,     LAPLACE, LA 70068-3015
14724352       +Dan Karl Ilkay,    Corporate Counsel,    6717 Burns Street,     Forest Hills, NY 11375-3536
14724388       +Dantzler, Jude Anthony,    8044 Gus St,     New Orleans, LA 70127-1050
14724447       +David Kliebert,    Geri Broussard Baloney, Abril Baloney,      Sutherland, Jose Carlos Mendez,
                 The Broussard Baloney Law Firm, APC,      3852 Napoleon Avenue,    New Orleans, LA 70125-4444
14724448       +David Kliebert v Bayou Steel LLC et al,      Geri Broussard Baloney, Abril Baloney,
                 Sutherland, Jose Carlos Mendez,     The Broussard Baloney Law Firm, APC,     3852 Napoleon Avenue,
                 New Orleans, LA 70125-4444
14724474       +Davis, Alton W,    500 Lake Asbury Drive,     Green Cove Springs, FL 32043-9550
14724475       +Davis, Carl P.,    601 Monticello Court,     Laplace, LA 70068-2232
14724476       +Davis, Christopher Lee,    271 Ed Davis Ln,     Spring City, TN 37381-4939
14724477       +Davis, Hunter A,    103 Happy Hollow Rd.,     Harriman, TN 37748-5131
14724478       +Davis, James Robert,    17407 Golf Course Road,     Loranger, LA 70446-2709
14724479       +Davis, Travis A,    42610 South Billville Road,     Hammond, LA 70403-3050
14724486       +Deanna B Butler,    1708 Ridgefield Drive,     LaPlace, LA 70068-3227
14724501       +Delahoussaye, Joshua J,    39220 Arnold Rd.,     Ponchatoula, LA 70454-6186
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14724503       +Delaware Attorney General,     Matthew Denn,    820 N French St,    Carvel State Office Building,
                 Wilmington, DE 19801-3509
14724504       +Delaware Dept of Justice,     Attn Bankruptcy Dept,    820 N French St 6th Fl,
                 Wilmington, DE 19801-3509
14724508       +Delaware State Treasury,     820 Silver Lake Blvd Suite 100,     Dover, DE 19904-2464
14724511       +Delone, Alvin Eugene,    673 Wright Ave.,     Terrytown, LA 70056-4037
14724527       +Denson, Larry D,    2400 Yorktown Drive,     Laplace, LA 70068-2322
14844399       +Department of Labor,    Division of Unemployment Insurance,      P.O. Box 9953,
                 Wilmington, DE 19809-0953
14724532       +Department of Revenue Washington State,      6500 Linderson Way Southwest Suite 102,
                 Tumwater, WA 98501-6561
14724531        Department of Revenue Washington State,      PO Box 47478,   Olympia, WA 98504-7478
14724536       +Derichebourg Recycling USA,     Coface North America Insurance Company,
                 650 College Road East, Suite 2005,     Princeton, NJ 08540-6779
14724547       +Desjardins, Stephen Ray,     101 Emmett Ct,    LaPlace, LA 70068-6757
14724556       +Diamond E Trucking,    C Mitchell,    214 Veterans Blvd,    PO Box 1056,
                 Denham Springs, LA 70727-1056
14724559       +Dickerson, Steven V,    1420 West Airline Hi,     LaPlace, LA 70068-3723
14724561       +Dickinson & Associates,     Lavelle Law, Ltd.,    Timothy M. Hughes, Attorney,
                 1933 N. Meacham Rd., Suite 600,     Schaumburg, IL 60173-4390
14724560       +Dickinson & Associates,     One North LaSalle Street, Suite 800,     Chicago, IL 60602-3987
14724565       +Diproinduca USA Limited,     2528 Medina Road,    Medina, OH 44256-8144
14724572       +Dobbs, David Brian,    23046 Country River Dr,     Ponchatoula, LA 70454-7874
14724616       +Dorris, William Scott,    154 Oak Dr,    Kingston, TN 37763-4701
14724623       +Douglas, Michael A,    P O box 212,    Caryville, TN 37714-0212
14724645       +DuRoucher, Aaron M,    318 Beaupre Drive,     Luling, LA 70070-3212
14724637       +Duhe, David Joseph,    1542 Delta Rd,    Laplace, LA 70068-2906
14724639       +Dumas, Christopher Michael Paul,     13179 Sycamore St,    Vacherie, LA 70090-4501
14724640       +Dunkelberger, Lance E,    117 Dianne,    St Rose, LA 70087-3742
14724641       +Durapau, Brant Joseph,    321 Arlington Drive,     Laplace, LA 70068-3301
14724642       +Durbin, Dennis M,    19453 Vineyard Road,     Hammond, LA 70401-4059
14724644       +Duronslet, Michael Thomas,     2236 Country Club dr,    Laplace, LA 70068-1818
14724661       +E. J. GUIDRY,    243 CEDAR,    RESERVE, LA 70084-5562
14724662       +EARL EVERSON,    1400 TIFFANY DRIVE,    LAPLACE, LA 70068-6239
14724663       +EARL JETHRO,    13 WISTERIA PLACE,    MARRERO, LA 70072-2426
14724664       +EARNEST WILKERSON JR,    124 WILLSWOOD LN,     WAGGAMAN, LA 70094-5926
14724665       +EARRICK WALLACE,    1728 E FRISCO DR,    LAPLACE, LA 70068-2718
14724666       +EASI, LLC,    2501 LEXINGTON AVENUE,    KENNER, LA 70062-5330
14724667       +EAST TENNESSEE METALS COMPANY,     3201 TUCKALEECHEE PIKE,    Maryville, TN 37803-7921
14724669       +EASTERN EXPRESS INC,    312 WEST 35TH AVENUE,     GRIFFITH, IN 46319-1004
14724670       +EASTON GRAY,    1109 COOK ST,    GRETNA, LA 70053-2402
14724672       +ECONOMICAL JANITORIAL SUPPLIES INC,     1420 SAMS AVENUE, SUITE F,     HARAHAN, LA 70123-8100
14724673        ECOVERY LLC,    Loxley, AL 36551
14724674       +ECS SMOKE SCHOOL,    9366 HWY 143,    Farmerville, LA 71241-5508
14724675       +ED HALL,   1612 MARRIE ST,     MARRERO, LA 70072-3518
14724676       +EDDIE COSTON,    6719 CARVER DRIVE,    MARRERO, LA 70072-4515
14724677       +EDDIE HARRIS,    3591 HWY 316,    GRAY, LA 70359-4501
14724678       +EDDIE WHITE,    114 LENNIX STIGUS LANE,     LAPLACE, LA 70068-4617
14724679       +EDDIE WILLIAMS,    12863 HWY 23,    BELLE CHASSE, LA 70037-4157
14724680        EDDRAIN WILLIAMS,    164 STAR TERRACE DR,     RESERVE, LA 70084
14724682       +EDGEWORTH MUNICIPAL AUTHORITY,     WATER AUTHORITY,    313 BEAVER ROAD,    SEWICKLEY, PA 15143-1001
14724683       +EDISON ENERGY, LLC,    545 METRO PLACE SOUTH, SUITE 400,     DUBLIN, OH 43017-3386
14724684       +EDMOND J CHAMPAGNE JR,    739 HANCOCK ST APT D,     GRETNA, LA 70053-2151
14724686       +EDWARD DABNEY,    2324 BELLAIRE LANE,    HARVEY, LA 70058-2207
14724687       +EDWARD J, MCDOWELL JR.,     434 OAK STREET,    ST. ROSE, LA 70087-3731
14724688        EDWARD JOSEPH,    221 GRIFFIN DR,    AMA, LA 70031
14724689       +EDWARD L COLLINS JR,    2325 WOODMERE BLVD,     HARVEY, LA 70058-2250
14724690       +EDWARD ROBERT,    3809 ACCACIA LN,    HARVEY, LA 70058-2169
14724691       +EDWARD SAUL JR,    1201 GARDEN RD,    MARRERO, LA 70072-2618
14724692       +EDWARD TAPLEY, JR.,    462 CELESTINE STREET,     WESTWEGO, LA 70094-4512
14724693      #+EDWARD WATSON III,    110 W. 14TH STREET,     RESERVE, LA 70084-6216
14724695       +EDWIN JOSEPH,    712 OLYMPIA CIRCLE,    NEW ORLEANS, LA 70114-1551
14724696       +EDWIN RAY MIXON III,    4013 AMES BLVD,     MARRERO, LA 70072-6103
14724697       +EDWIN WATSON,    301 CAPT G BOURGEOIS,    LAPLACE, LA 70068-4717
14724698       +EDWIN WILLIAMS,    6100 VICTORIAN DR,    MARRERO, LA 70072-3522
14724700       +EIU, Inc,    383 Lake Avenue,    Metairie, LA 70005-4254
14724701        EKHOSOFT / INEXCON TECHNOLOGIES,     7005 TASCHEREAU, SUITE 195,     BROSSARD, QC J4Z 1A7 Canada
14724702        ELDERLEE INC.,    729 CROSS ROAD,    Oaks Corners, NY 14518
14724703        ELECTRIC MACHINE CONTROLS,     7015 HAISTEN DRIVE,    TRUSSVILLE, AL 35173-2510
14724704       +ELERY EDGARDO ORTEGA QUIROZ,     1308 BOLO CT #7,    BRIDGE CITY, LA 70094-3456
14724705        ELG Metals Southern, Inc.,     Mobile, AL 36601-0955
14724706       +ELIAS NUNEZ,    168 KATHY DR,    LAPLACE, LA 70068-5675
14724707      #+ELIGHT CHARLES,    1017 PAILET, APT 10,     HARVEY, LA 70058-3762
14724708       +ELIZABETH C. GENNARO,    158 E. 7TH STREET,     RESERVE, LA 70084-5419
14724709       +ELIZABETH GAYTAN,    214 ALPHA ST,    BELLE CHASSE, LA 70037-1242
14724710       +ELIZABETH TRAHAN,    207 CAROLYN DR,    DESTREHAN, LA 70047-4022
14724711       +ELLIOT CLARK,    6153 AUGUS AVE,    MARRERO, LA 70072-3509
14724712       +ELLIOTTS BOOTS,    3911 WESTERN AVENUE,     KNOXVILLE, TN 37921-4452
14724713        ELLIPSE LLC,    PO Box 324,    HOUSTON, TX 77001-0324
14724714       +ELLIS E TRAHAN JR,    3501 APOLLO DR APT B313,     METAIRIE, LA 70003-3305
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14724716       +ELLIS NICHOLSON,    450 HOMEWOOD PLACE,     RESERVE, LA 70084-5534
14724717       +ELLIS SEVIN II,    267 VINTAGE DRIVER,     COVIINGTON, LA 70433-9209
14724718       +ELLIS THIERRY,    1631 MURL ST,    NEW ORLEANS, LA 70114-3115
14724719       +ELMER ANWEILER,    3120 NATURE DR,    MARRERO, LA 70072-5922
14724720       +ELROY JAMES,    151 JOHNSON RIDGE LANE,     THIBODAUX, LA 70301-5640
14724722       +ELTON ANTHONY BOUDOIN III,     410 JEAN LAFITTE BLVD,    LAFITTE, LA 70067-5106
14724723       +ELTON GLENN JEFFERSON JR,     1108 MARSHALL DRIVE,    MARRERO, LA 70072-2629
14724724        ELTON JOHNSON,    173 EAST 11TH STREET,     RESERVE, LA 70084
14724725       +ELVIN RAMOS,    3803 ALTON ST,    METAIRIE, LA 70001-1705
14724726      #+ELVIS P HOLDER,    7109 KAYLA CT,    MARRERO, LA 70072-6715
14724727       +ELWOOD LECOMPTE,    5221 OAK DR,    MARRERO, LA 70072-4217
14724728       +EMANUEL ARMAND,    1511 FRANKLIN ST,     GRETNA, LA 70053-3258
14724729       +EMANUEL GUERRA,    14775 LUCIEN STREET,     PORT VINCENT, LA 70726-8141
14724731        EMILY C. WATKINS ELEMENTARY,     SCHOOL,    938 HYW 628,   LAPLACE, LA 70068
14724732       +EMMETT ROBINSON,    3324 BRINGIER ST,     NEW ORLEANS, LA 70114-3211
14724733        EMPCO CANADA LTD,    910 HOPKINS STREET,     WHITBY, ON L1N 6A9 Canada
14724734       +ENDRES MFG. COMPANY INC.,     802 CENTURY AVENUE,    WAUNAKEE, WI 53597-1608
14724737       +ENGELS LENIN ORELLANA,    5045 OAK BAYOU AVE,     MARRERO, LA 70072-4965
14724738       +ENISHA K. MARTIN,    217 CHAD B. BAKER STREET,     RESERVE, LA 70084-5016
14724739       +ENNIS HOUSTON,    1545 SHYLOCK DR,    SLIDELL, LA 70461-4547
14724740       +ENRIQUE MADRID,    5 JEANSONNE CT,    GRETNA, LA 70056-3034
14724747        ENVIRONMENTAL OPERATORS,    PO BOX 3333,     SLIDELL, LA 70459-3333
14724750       +EQUIPCO MANUFACTURINC INC.,     8505 N.W. 74TH STREET,    Miami, FL 33166-2327
14724751       +ERIC ADAMS,    717 WHITNEY AVE,    TERRYTOWN, LA 70056-3827
14724752       +ERIC BROWN,    2498 PAIGE JEANETTE,    HARVEY, LA 70058-2137
14724753        ERIC FLORIAN,    344 EAST 14TH STREET,     RESERVE, LA 70084
14724754        ERIC G. GORDON,    37072 DARROW EXCESS,     DARROW, LA 70725
14724755       +ERIC GREGOIRE,    3020 YORKTOWNE DR,     LAPLACE, LA 70068-2110
14724756       +ERIC J BOURGEOIS JR,    228 SPRUCE ST,     LAPLACE, LA 70068-4700
14724757       +ERIC JOSEPH DAVIS,    1505 LANCASTER DR,     MARRERO, LA 70072-4402
14724758       +ERIC KEATING,    365 HISTORIC MAIN ST,     GARYVILLE, LA 70051-3203
14724759       +ERIC L. LABORDE,    417 BIRCH STREET,     LAPLACE, LA 70068-5501
14724760       +ERIC PAUL GUCCIONE,    124 BRENTWOOD DR,     BELLE CHASSE, LA 70037-2632
14724761       +ERIC S HARRIS,    4032 PAIGE JANETTE,     HARVEY, LA 70058-2164
14724762       +ERIC S. MIRE,    4409 FAITH DRIVE,    NEW IBERIA, LA 70560-9654
14724763       +ERIC TRENT,    9248 CINDY DR,    WESTWEGO, LA 70094-3752
14724764       +ERICHSON COMPANY INC,    3008 18TH STREET,     METAIRIE, LA 70002-4991
14724766       +ERIN D. CARTER,    3009 ESSEX AVE.,    LAPLACE, LA 70068-2244
14724767       +ERM,   ENVIRONMENTAL RESOURCES MANAGEMENT,      840 W SAM HOUSTON PKWY N STE 600,
                 HOUSTON, TX 77024-4613
14724768        ERM Southeast,    PO Box 60414,    Charlotte, NC 28260-0414
14724769       +ERNEST ANDERSON,    2800 MT KENNEDY DR,     MARRERO, LA 70072-5255
14724770       +ERNEST DUBOSE JR.,    200 DIANE DRIVE,     ST. ROSE, LA 70087-3743
14724771       +ERNEST EDWARDS,    15666 RIVERDALE AVE APT E,     BATON ROUGE, LA 70816-1578
14724772       +ERNEST FISHER JR,    243 PERSIMMON ST,     LAPLACE, LA 70068-4665
14724773       +ERNEST GILMORE,    1717 LINCOLN AVE,     MARRERO, LA 70072-3419
14724774       +ERNEST HOLLAND,    156 E 20TH ST,    RESERVE, LA 70084-5217
14724775       +ERNEST MITCHELL,    2728 FAIRFIELD DR,     GRETNA, LA 70056-7734
14724776       +ERNEST MITCHELL,    7244 RUE LOUIS PHILL,     MARRERO, LA 70072-4542
14724777       +ERNEST R ELLIOTT,    315 VALENCIA DRIVE,     LULING, LA 70070-2231
14724779       +ERNEST WELLS JR,    1532 ESTALOTE AVE,     HARVEY, LA 70058-3634
14724780       +ERNESTINE R. MITCHELL,    613 S POTOMAC STREET,     LAPLACE, LA 70068-2839
14724781       +ERRON P. CHAISSON,    5141 EIGHTY ARPENT ROAD,     MARRERO, LA 70072-5145
14724782       +ERVIN REYNAUD,    1112 CINCLAIR LOOP,     LAPLACE, LA 70068-6120
14724783       +ERWIN COOK,    609 MANCHESTER LANE,    LAPLACE, LA 70068-2234
14724785       +ESLAM ODEH,    4632 QUINCY ST,    METAIRIE, LA 70006-5326
14724786       +ESTEBAN CARDENAS-REYNA,    150 PINEWOOD COURT,     NEW ORLEANS, LA 70114-4991
14724787       +ETIENNE PELLEGAL JR,    4606 TENTH ST APT 717,     MARRERO, LA 70072-3079
14724789       +ETS SCHAEFER LLC,    8050 HIGHLAND POINTE PARKWAY,     MACEDONIA, OH 44056-2147
14724790      #+EUGENE ALLEN,    17 HALLE PL,    WAGGAMAN, LA 70094-2164
14724791       +EUGENE BANKS,    151 APRICOT STREET,     LAPLACE, LA 70068-6819
14724792       +EUGENE DAVIES,    2313 HEBERT DRIVE,     LAPLACE, LA 70068-6507
14724793       +EUGENE DAVIS,    1306 ESTALOTE AVE,    HARVEY, LA 70058-3630
14724794       +EUGENE DININO,    119 THOROUGHBRED ROAD,     MONTZ, LA 70068-8933
14724795       +EUGENE DOMINGUE,    273 SCHEXNAYDRE LANE,     DESTREHAN, LA 70047-3710
14724796       +EUGENE MARCEL,    120 LEIGH LANE,    MONTZ, LA 70068-8968
14724797       +EUGENE PIERCE JR,    2800 MT KENNEDY DR APT 1901,     MARRERO, LA 70072-5236
14724800       +EVAN AUGUST LUTZ,    101 BAILEY ESTATES,     BELLE CHASSE, LA 70037-1654
14724801       +EVAN WHIPPLE,    4923 AUGUST LANE,    LAFITTE, LA 70067-5115
14724802       +EVANS DENNIS,    1020 ORCHID,    HARVEY, LA 70058-2523
14724803       +EVERETT BENN,    2824 CASIMERE ST,    NEW ORLEANS, LA 70131-4222
14724804       +EVERGLADES STEEL CORPORATION,     5901 N.W. 74TH AVENUE,     MIAMI, FL 33166-3741
14724805       +EVERGREEN INDUSTRIES INC,     202 FREEDOM DRIVE,    LIBERTY, MS 39645-7205
14724807       +EVODIO ALMAZAN,    144 AGUSTINE PLACE,     LAPLACE, LA 70068-5681
14724808       +EVONIK MATERIALS,    474 West 19th Street,     Reserve, LA 70084-6807
14724810       +EXPEDITED TRANSPORT LLC,    200 VESTAVIA PARKWAY, SUITE 1200,      VESTAVIA, AL 35216-7726
14724811       +EXPRESS EMPLOYMENT PROFESSIONALS,     1470 N. GATEWAY AVENUE,     ROCKWOOD, TN 37854-4143
14724812       +EXPRESS SUPPLY & STEEL LLC,     932 Highway 182,    RACELAND, LA 70394-2903
14724668       +Easter, William David,    1403 Eureka Rd,     Rockwood, TN 37854-5340
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14724671       +Echard Marquette, P.C.,     Mr. Trent Echard, Esquire,    4773 William Flynn Highway,
                 Allison Park, PA 15101-2401
14724681       +Eddy, Matthew A,    712 Emory Heights Rd,     Harriman, TN 37748-5123
14724685       +Edmonds, Danny Lee,    140 Edmonds Lane,     Kingston, TN 37763-4312
14724694       +Edwards, Mark C,    39256 Lees Landing Rd,     Ponchatoula, LA 70454-5926
14724699       +Egan, Donna A,    44438 Lato Ln,    Hammond, LA 70403-3517
14724735       +Endurance American Specialty,     Endurance U.S. Insurance,    750 Third Avenue,    18th Floor,
                 New York, NY 10017-2705
14724736       +Endurance American Specialty Ins Co,     Endurance American Specialty,     Insurance Company,
                 1221 Avenue of the Americas,     New York, NY 10020-1001
14724745       +Entergy Louisiana LLC,     David B Gorney,    Bowen Miclette & Britt,    1100 Poydras Ste 1250,
                 New Orleans, LA 70163-1250
14724746       +Envent Corporation,    3220 East 29th Street,     Long Beach, CA 90806-2321
14724748       +Environmental Protection Agency,     1200 Pennsylvania Avenue, N.W.,     Washington, DC 20460-0003
14724749       +Epic Alabama Shipyard, LLC,     660 Dunlap Drive,    Mobile, AL 36602-8001
14724784       +Escamilla, Joel,    282 Audubon Blvd,    New Orleans, LA 70125-4125
14724788       +Etienne, Raymond Joseph,     107 Warwick Street,    Laplace, LA 70068-5233
14724799       +Euler Hermes N A Insurance Co Agent,     of Kelsan Inc Claim Id 000435311,
                 Euler Hermes North America Insurance Co,      800 Red Brook Blvd,    Owings Mills, MD 21117-5173
14724798       +Euler Hermes N A Insurance Co Agent,     of Kelsan Inc Claim Id 000435311,     Kelsan, Inc.,
                 5109 National Dr,    Knoxville, TN 37914-6512
14724806       +EverGreen Industries, Inc.,     PO Box 526,    Liberty, MS 39645-0526
14724809       +Ewing, Lisa Jeannette,     533 Lakemont Dr,    Rockwood, TN 37854-2432
14724813       +FABACHERS,    532 PETERS RD,    HARVEY, LA 70058-1703
14724816        FABRICATORS SUPPLY LLC,     869 AIRPORT ROAD,    WEST POINT, MS 39773
14724817        FALCON STEEL CO.,    Kaufman, TX 75142
14724818        FARON DUHE,    3036 JEFFERSON HWY,    GARYVILLE, LA 70051
14724819        FARWEST STEEL CORPORATION,     2000 S HENDERSON - RAIL SIDING #4148,     EUGENE, OR 97403
14724822        FEDEX,   PO Box 660481,     DALLAS, TX 75266-0481
14724823        FEDEX FREIGHT,    DEPT CH,    PO Box 10306,    PALATINE, IL 60055-0306
14724824       +FELIPE DIAZ,    2248 KILLINGTON DR,    HARVEY, LA 70058-5435
14724825       +FELIPE O. LOPEZ,    1541 LONDON CROSS APT D,     HARVEY, LA 70058-5344
14724826       +FELIPE PINEDA,    2112 EUCLID ST,    GRETNA, LA 70056-2931
14724828       +FELIX MILLER,    608 CHALMETTE ST,    HARVEY, LA 70058-4430
14724829       +FELIX MILLER JR,    165 ELAINE DR,    AVONDALE, LA 70094-2905
14724830       +FELTON GREEN JR,    17 LOUIS AVE,    JEFFERSON, LA 70121-2605
14724831       +FELTONS CLUTCH SERVICE,     1222 E. 38TH STREET,    CHATTANOOGA, TN 37407-2462
14724833       +FELTUS PECK JR.,    1520 31ST STREET,    KENNER, LA 70065-4413
14724834        FERAS AYYAD,    3833 BAYOU OAKS DR,    HARVEY, LA 70058
14724835       +FERDINAND WASHINGTON,    3608 LA HWY 44,     PAULINA, LA 70763-2444
14724836       +FERNADA M. TYLER,    144 LEWIS STREET,     LAPLACE, LA 70068-6620
14724839       +FERNANDO J. FLORES,    402 MCFARLAND ROAD,     HOUSTON, TX 77060-5426
14724840       +FINNEGAN REZTEK,    6 LEO PLACE,    WAYNE, NJ 07470-7272
14724842        FIRST RIVER CONSULTING,     700 RIVER AVENUE,    PITTSBURGH, PA 15212-5907
14724843       +FISCHER INTL FORWARDERS, INC,     999 EAST TOUCHY AVENUE,    DES PLAINES, IL 60018-2747
14724846       +FISHMAN HAYGOOD, LLP,    Jason W. Burge, Kathryn J. Johnson,,      Brent B. Barriere,
                 201 St. Charles Ave., Suite 4600,     New Orleans, LA 70170-4701
14724848       +FLAVISION PIRIS,    1500 4TH ST STE W,     HARVEY, LA 70058-4475
14724849       +FLEETWOOD SIGNODE,    2222 WINDSOR COURT,     ADDISON, IL 60101-5613
14724852       +FLORENCE HINDES,    313 BRIARMEADES ST,     GRETNA, LA 70056-7226
14724855       +FLORIDA PARISH SCRAP,    11361 HWY 190 WEST,     HAMMOND, LA 70401-4641
14724856        FLORIDA U.C. FUND,    FLORIDA DEPARTMENT OF REVENUE,     5050 W TENNESSEE ST,
                 TALLAHASSEE, FL 32399-0180
14724857       +FLOYD CADRES,    716 ROMAIN ST,    GRETNA, LA 70053-3249
14724858       +FLOYD DAVIS,    2153 MARS ST,    HARVEY, LA 70058-2948
14724859       +FLOYD EUGENE,    P.O. BOX 259,    GARYVILLE, LA 70051-0259
14724860       +FLOYD MANNING,    1913 FRANKLIN ST,    GRETNA, LA 70053-3505
14724861       +FLOYD NAVERO,    1908 JEAN LAFITTE BLVD,     LAFITTE, LA 70067-3608
14724862       +FLOYD SHARP,    426 RIVAS STREET,    SAN ANTONIO, TX 78207-1704
14724863       +FMT SHIPYARD & REPAIR,     3640 PETERS ROAD,    HARVEY, LA 70058-1831
14724871       +FOURNIE LLC,    1421 YARDLEY PLACE,    DeSoto, TX 75115-7427
14724872       +FRALEY AND SCHILLING INC,     1920 SOUTH STATE ROAD 3,    RUSHVILLE, IN 46173-8516
14724873       +FRANCIS COMEAUX,    4225 E. LOYOLA DRIVE,     KENNER, LA 70065-1727
14724874       +FRANCIS F. BENN,    7055 GEN MEYER AVENUE,     NEW ORLEANS, LA 70131-2180
14724875       +FRANCIS OUBRE,    13152 PEAR ST,    VACHERIE, LA 70090-4402
14724877       +FRANK A LESTO,    736 BELLEMEADE BLVD,     GRETNA, LA 70056-7632
14724878       +FRANK A MACERA III,    800 HUEY P LONG AVE,     GRETNA, LA 70053-6128
14724879      #+FRANK BOE,    2335 N. ALBERT STREET,    LUTCHER, LA 70071-5353
14724880        FRANK GARDNER,    292 HOMEWOOD,    RESERVE, LA 70084
14724881       +FRANK GOLOFORO,    313 TRANSCONTINENTAL DR,     METAIRIE, LA 70001-4449
14724882       +FRANK GREEN JR,    722 PAUL MALLARD RD,     LULING, LA 70070-4342
14724883       +FRANK HARVEY,    2704 WILLIAMSBURG,    LAPLACE, LA 70068-2112
14724884       +FRANK HEBERT,    124 AUGUSTINE LANE,    LAPLACE, LA 70068-5681
14724885       +FRANK MUSACCHIA,    3129 CLEO DR,    MARRERO, LA 70072-5907
14724886       +FRANKIE A CREDIDIO,    2186 MARTIN ST,     PAULINA, LA 70763-2411
14724887       +FRANKIE FRANCOIS,    201 APRICOT STREET,     LAPLACE, LA 70068-6823
14724888       +FRANKLIN SWANSON,    1633 CARRIAGE LANE,     HARVEY, LA 70058-5544
14724890       +FRED ALLEN JR,    610 NW 2ND ST,    RESERVE, LA 70084-6900
14724891       +FRED FORREST,    835 WHITNEY AVE,    NEW ORLEANS, LA 70114-1451
14724892       +FRED KEITH,    1909 JULIE ST,    MARRERO, LA 70072-4603
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14724893       +FREDDY A BLANCO - SILVA,    2408 MINNESOTA,     METAIRIE, LA 70003-5428
14724894       +FREDERICK BAILEY,    2612 DEERCROSS,    HARVEY, LA 70058-5025
14724895       +FREDERICK M TURNER JR,    3841 WOODBRIAR LANE,     HARVEY, LA 70058-1938
14724896       +FREDERICK M. TURNER SR.,    3841 WOODBRIAR DRIVE,     HARVEY, LA 70058-1938
14724898       +FREIGHT CRATE, INC.,    300 ROGERS ST.,    Barnesville, GA 30204-1480
14724900        FREUDENBERG OIL & GAS, LLC,     PO Box 92077545,    HOUSTON, TX 77292-0775
14724814       +Fabre, Lisa Ann,    2244 Pine Valley Dr,    Laplace, LA 70068-1613
14724820       +Fauntleroy, John Marc,    28988 Church Of God Road,      Springfield, LA 70462-9038
14724821       +Favors, Anita Numa,    788 Madewood Drive,     LaPlace, LA 70068-3322
14724827       +Felipe, Martin,    Po Box 5023,    Laplace, LA 70069-5023
14724837       +Fernandez, Jose Ramon,    301 Bertolino Drive,     Kenner, LA 70065-2532
14724838       +Fernandez, Wayne P,    504 Turnwood Dr,    Covington, LA 70433-5832
14724841       +First National Bank Omaha,     1620 Dodge St,    Omaha, NE 68197-0002
14724844       +Fischer, Ty M,    224 St Louis St,    Houma, LA 70364-2964
14724845       +Fischer, Wade P,    163 Sunrise Lane,    Houma, LA 70360-3010
14724847       +Flattmann, Joshua William,     16144 West Murray Rd,     Ponchatoula, LA 70454-7619
14724850       +Fleming, Marcus Q,    P. O. Box 210,    Garyville, LA 70051-0210
14724851       +Fleming, Troy M,    199 Riverlands Dr,    Laplace, LA 70068-7107
14724864       +Fobb, Larry James,    P.o. Box 204,    Laplace, LA 70069-0204
14724865       +Folgar, Andres Antonio,    2401 34th Street,     Kenner, LA 70065-3840
14724866       +Forest, Ramsey W,    Po Box 248,    Laplace, LA 70069-0248
14724867       +Forrest, Brock,    20146 Green Farm Rd,    Kentwood, LA 70444-5905
14724868       +Forrester, Joshua B,    324 Barnett Circle,     Harriman, TN 37748-6334
14724869       +Fortier, Jessee L,    2101 Colonial Dr,    LaPlace, LA 70068-1809
14724870       +Fortier, Sean M,    101 Somerset Road,    Laplace, LA 70068-5209
14724876       +Francois, Brittney R,    1022 Windsor St,     apt 1022,    Laplace, LA 70068-5248
14724889       +Franklin, Vegas Sanchez,    181 Azalea Dr,     Laplace, LA 70068-5665
14724897       +Fredricks Janitorial Service,     2717 Concordia Drive,     LaPlace, LA 70068-2211
14724901        Fulsom, James D,    175 Hill Top Loop,    Kingston, TN 37763
14724902        G T Michelli Co, Inc.,    130 Brookhollow,     Harahan, LA 70123
14724903       +G&A ENVIRONMENTAL CONTRACTORS INC,     76 SWIFT STREET EAST,     MCEWEN, TN 37101-4550
14724904       +G. KENDRICK,    803 WEIBLEN PL,    NEW ORLEANS, LA 70124-1761
14724905       +GAGE M. GILL,    40240 LA 3125,    PAULINA, LA 70763-2298
14724906       +GALLAGHER BENEFIT SERVICES, INC.,     2850 WEST GOLF ROAD, 5TH FLOOR,
                 ROLLING MEADOWS, IL 60008-4036
14724907       +GALLANO TRUCKING,    1202 ISPEN RD,    BELVIDERE, IL 61008-8402
14724909       +GARELICK STEEL CO. INC.,    1900 NORTH 2ND STREET,      Minneapolis, MN 55411-3472
14724910       +GARNET CRUMP,    1408 N SUGAR RIDGE,    LAPLACE, LA 70068-6130
14724911       +GARRETT FOWLER,    1063 PRIMROSE DRIVE,    LULING, LA 70070-2117
14724912       +GARRETT HERBERG,    110 SHERWOOD DR,    BELLE CHASSE, LA 70037-2631
14724913       +GARRETT LIRETTE,    118 LIRETTE LANE,    P O BOX 287,     BOUTTE, LA 70039-0287
14724914       +GARRISON L. JOHNSON,    803 EAST EASY STREET,     DESTREHAN, LA 70047-4133
14724915       +GARY A OSTROWSKI,    317 E AIRLINE HWY APT N,     LAPLACE, LA 70068-4113
14724916       +GARY BARRIOS JR,    146 TWO SISTERS CT,    MORGAN CITY, LA 70380-5817
14724917       +GARY BOULET,    615 MONROE ST,    GRETNA, LA 70053-2127
14724918       +GARY CHARLES ROBERTSON,    1202 PAUL FREDRICK,     LULING, LA 70070-4540
14724919       +GARY DANIEL GROS JR,    22 IMOGENE STREET,     WESTWEGO, LA 70094-2120
14724920       +GARY DAVIS,    342 2ND STREET,    LAPLACE, LA 70068-4706
14724921       +GARY EUGENE,    955 LANGWICK DR APT 4207,     HOUSTON, TX 77060-1675
14724922       +GARY JOHNSON,    803 EAST EASY ST,    DESTREHAN, LA 70047-4133
14724923       +GARY L. ALLEN,    1149 ABERDEEN DRIVE,    HARVEY, LA 70058-3918
14724924       +GARY M. PERRET,    320 SALA AVE,    WESTWEGO, LA 70094-3653
14724925       +GARY MCCRAY,    216 MOCKINGBIRD LANE,    ST. ROSE, LA 70087-3808
14724927       +GARY P. VICKNAIR JR.,    39421 JOHN WILD ROAD,     PONTCHATOULA, LA 70454-6869
14724928       +GARY PERRET,    320 SALA AVENUE,    WESTWEGO, LA 70094-3653
14724929       +GARY ROBERT,    4868 ORLEANS WAY LOT 3,    MARRERO, LA 70072-7675
14724930       +GATX RAIL LOCOMOTIVE GROUP LLC,     222 WEST ADAMS ST,     CHICAGO, IL 60606-5312
14724931       +GAUBERT OIL COMPANY INC,    10 RIENZI DRIVE,     THIBODAUX, LA 70301-2990
14724932       +GAUTIER STEEL LTD,    80 Clinton Street,    Johnstown, PA 15901-2200
14724934       +GAVILON FERTILIZER, LLC,    5 SKIDAWAY VILLAGE WALK,      Savannah, GA 31411-2905
14724935       +GAVILON GRAIN, LLC,    5410 EAST CHANNEL ROAD,     CATOOSA, OK 74015-3049
14724936        GAYLON FOBB,    390 HISTORIC EAST ST.,    GARYVILLE, LA 70051
14724937       +GE0RGE L MARTIN JR,    1809 CARTIER DR,    LAPLACE, LA 70068-6312
14724938       +GEM CITY STEEL SUPPLY INC.,     731 SAWYER ROAD,    MARIETTA, GA 30062-2222
14724940       +GENE MATTHEWS,    2601 LEXINGTON DR,    LAPLACE, LA 70068-2370
14724941       +GENERAL INFORMATION SOLUTIONS LLC,     dba BACKTRACK,     8850 TYLER BLVD,   MENTOR, OH 44060-4361
14724942       +GENERAL STEEL COMPANY,    4131 BROADWAY,    MACON, GA 31206-1851
14724945       +GEORGE COOPER,    179 KENNER LANE,    MONTZ, LA 70068-9035
14724946       +GEORGE D. LABOURGEOIS III,     4528 BAYOU DES FAMILLES,     MARRERO, LA 70072-6576
14724947       +GEORGE EMILE EXNICIOUS,    458 MAPLE AVE,     HARVEY, LA 70058-4255
14724948       +GEORGE ESKINE,    901 WESTBANK EXPY,    GRETNA, LA 70053-5626
14724950       +GEORGE JACOBSEN,    3628 JEAN LAFITTE BLVD,     LAFITTE, LA 70067-5306
14724951        GEORGE MILLER, III,    15 N OAKRIDGE CT,    NEW ORLEANS, LA 70128-1132
14724952      #+GEORGE MULLINS,    357 CENTRAL AVE,    RESERVE, LA 70084-5507
14724953        GEORGE WEST,    2648 N COURSEAULT ST,    LUTCHER, LA 70071
14724955       +GEORGETTE DERUYCK,    789 AVE A,    WESTWEGO, LA 70094-4227
14724956       +GERALD BOURGEOIS,    3435 N. ANGELLE,    PAULINA, LA 70763-2237
14724957       +GERALD ELLIS,    335 KENNER AVE,    KENNER, LA 70062-7172
14724958       +GERALD FORD,    49 JUDITH STREET,    WAGGAMAN, LA 70094-2127
14724959       +GERALD J POCHE,    2339 PRIVATEER,    BARATARIA, LA 70036-5715
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14724960        GERALD J. JONES,    8138 JONES STREET,    ST. JAMES, LA 70086
14724961       +GERALD L. RUSS,    451 ELM ST,    LA PLACE, LA 70068-5458
14724962       +GERALD ROBERT CANNON,    3052 SUNRISE BLVD,     SLIDELL, LA 70461-5679
14724963       +GERALD V ELLIS,    713 MEDFORD DR,    LAPLACE, LA 70068-2826
14724964       +GERALD YOUNG SR,    121 DOVE STREET,    LAPLACE, LA 70068-4928
14724965       +GERARD GRAY,    1636 REDWOOD DR,    HARVEY, LA 70058-3545
14724966        GERARD MILTON,    116 CAMBRIDGE DR APT. 4,     LAPLACE, LA 70068
14724967       +GERARDO CACERAS,    522 DUNBAR PLACE,    TERRYTOWN, LA 70056-2819
14724968       +GERARDO MARTINEZ,    621 OAKWOOD DR.,    GRETNA, LA 70056-2932
14724969        GERMAINE BRUER,    363 HOMEWOOD PLACE,    RESERVE, LA 70084
14724970        GERMOND J. WILLIAMS,    441 NW 2ND STREET,     RESERVE, LA 70084
14724971        GERRARD GRAY,    HARVEY, LA 70058
14724972       +GERTRUDE ROSS,    305 WESTWEGO AVE,    BRIDGE CITY, LA 70094-3339
14724973       +GERVIN R MITCHELL,    1606 ESTHER ST APT D,     HARVEY, LA 70058-3642
14724974       +GEXPRO LA,    150 RIVERBEND DRIVE,    ST ROSE, LA 70087-3317
14724975       +GEXPRO TN,    2800 AMNICOLA HWY,    CHATTANOOGA,, TN 37406-3605
14724977       +GILBERT DAMIS,    2713 ROSE DRIVE,    GRETNA, LA 70053-7547
14724978       +GILBERT EDWARDS,    1112 SOUTHLAWN BLVD.,     NEW ORLEANS, LA 70114-1660
14724979       +GILBERT RUBIN JR,    2031 GOLFVIEW DR,    LAPLACE, LA 70068-2019
14724981       +GILDA WILLIAMS,    2425 41ST ST,    HARVEY, LA 70058-3506
14724985       +GIRVEN MULLEN,    9581 WESTBANK EXPRESSWAY,     WESTWEGO, LA 70094-3724
14724987       +GLEN VICKNAIR,    124 VICKNAIR PLACE,    LA PLACE, LA 70068-6707
14724988       +GLENDA COATS,    901 WESTBANK EXPRESSWAY,     GRETNA, LA 70053-5626
14724989       +GLENN BOURGEOIS,    221 CAMELIA STREET,    LA PLACE, LA 70068-3003
14724990        GLENN BRUMFIELD,    1933 MONTEGUT ST,    NEW ORLEANS, LA 70117
14724991        GLENN CONTRERAS,    553 GARYVILLE NRTHRN,     GARYVILLE, LA 70051
14724992       +GLENN HARRILAL,    189 GOSHEN LANE,    RESERVE, LA 70084-5705
14724993       +GLENN J CREPPEL,    4008 COTTONWOOD DR,    MARRERO, LA 70072-4010
14724994       +GLENN J MORRILL,    521 1/2 2ND STREET,    GRETNA, LA 70053-5824
14724995       +GLENN L MUNKRES,    737 HUCKLEBERRY LN,    TERRYTOWN, LA 70056-5223
14724996       +GLENN MIRE,    156 KEATING DRIVE,    RESERVE, LA 70084-6902
14724997       +GLENN P. ONEBENE,    520 OAK ALLEE DRIVE,     LAPLACE, LA 70068-3702
14724998       +GLENN POTTER,    1000 BOLO CT APT D,    BRIDGE CITY, LA 70094-3463
14724999       +GLENN SCOTT,    139 HAHN ST,    HAHNVILLE, LA 70057-2253
14725000       +GLENN WILLIS,    831 GARDEN ROAD,    MARRERO, LA 70072-1441
14725001       +GLENNIS BROOKS,    2037 CARVER DR,    MARRERO, LA 70072-4615
14725002       +GLENNIS R SPARKS,    3469 HWY 20 W,    FREEPORT, FL 32439-2653
14725003       +GLOBE METALLURGICAL INC,     Beverly, OH 45715
14725006       +GOLDIN METALS,    4400 PETERS RD,    HARVEY, LA 70058-1835
14725008       +GOOD YEAR AUTO SERVICE,     225 LAPALCO BLVD,    GRETNA, LA 70056-7112
14725009       +GOODER-HENRICHSEN COMPANY INC.,     2900 South State Street,     Chicago Heights, IL 60411-4843
14725011      #+GOOTEE CONSTRUCTION,    2400 N ARNOULT,    METAIRIE, LA 70001-1813
14725012        GORDON ARATA,    MONTGOMERY BARNETT,    201 ST. CHARLES AVENUE, 40TH FLOOR,
                 NEW ORLEANS, LA 70170-4000
14725014       +GORDON SANDERS JR,    11122 BOUDREAUX RD,     GONZALES, LA 70737-6237
14725015        GORDON W DISOTELL,    5233 BELLE TERRE RD,     MARRERO, LA 70072-4211
14725016       +GPM HYDRAULIC CONSULTING, INC,     797 RIDGE ROAD,    MONROE, GA 30655-1771
14725017       +GRADY L. LEE,    3708 CALIFORNIA AVENUE,    KENNER, LA 70065-2839
14725019        GRAINGER INDUSTRIAL EQUIPMENT,     825 DISTRIBUTORS ROW,    NEW ORLEANS, LA 70123-3274
14725020       +GRAND POINT SALVAGE & REPAIR,     2575 HWY 3125,    PAULINA, LA 70763-2519
14725022       +GRANITE TELECOMMUNICATIONS LCC,     CLIENT ID #311,    100 NEWPORT AV EXT.,
                 QUINCY, MA 02171-2126
14725023       +GRANT STEEL INC.,    2 MEAR ROAD,    Holbrook, MA 02343-1339
14725024       +GRANT WILLIAMS,    417 MARVIN GARDENS,    LA PLACE, LA 70068-4213
14725025       +GRAPHITI ASSOCIATES INC,     408 N 35TH ST, STE C,    SEATTLE, WA 98103-8896
14725028       +GRAYBAR ELECTRIC COMPANY, INC,     1205 DISTRIBUTORS ROW,    HARAHAN, LA 70123-2213
14725029        GRAYLIN ROBINSON,    278 DAFFODIL ST,    MOUNT AIRY, LA 70076
14725036       +GREENLEAF CORPORATION,    18695 GREENLEAF DRIVE,     SAEGERTOWN, PA 16433-4429
14725037       +GREENTREE TRANSPORTATION CO,     100 INDUSTRY DRIVE,    PITTSBURGH, PA 15275-1014
14725038        GREG CHAMPAGNE TAX COLLECTOR,     PO BOX 440,    HAHNVILLE, LA 70057-0440
14725042       +GREGORY EUELL,    3048 GRINELL DR,    MARRERO, LA 70072-5554
14725043       +GREGORY HUNTER,    279 LEVILLAGE DR,    LAROSE, LA 70373-3844
14725044       +GREGORY INDUSTRIES,    1218 15TH STREET S.W.,     CANTON, OH 44706-5236
14725045       +GREGORY J. BROWN JR.,    321 GREENWOOD DRIVE,     LAPLACE, LA 70068-2519
14725046       +GREGORY L. LEWIS,    2114 THALIA STREET,    NEW ORLEANS, LA 70113-2307
14725047       +GREGORY MACLEAN,    17 FAIRWAY VIEW DR,    HAMMOND, LA 70401-8296
14725048        GREGORY MELANCON,    265 EAST 27TH STREET,     RESERVE, LA 70084
14725049       +GREGORY OKEITH HOOPER,    2257 FREIENDSHIP DR,     HARVEY, LA 70058-1309
14725050       +GREGORY P OLINEY,    532 HOMEWOOD PLACE,    RESERVE, LA 70084-5538
14725051       +GREGORY THOMAS ALARIO BERGERON,     625 AVE G,    MARRERO, LA 70072-1825
14725052       +GRESON TECHNICAL SALES AND,     SERVICE, INC.,    8040 EASTEX FREEWAY,    BEAUMONT,, TX 77708-2403
14725059        GTS Inc.,    5253 West Airline Hwy,    2701 YORKTOWN,    Garyville, LA 70051
14725060       +GUICO FARMS,    PO BOX 549,    NATALBANY, LA 70451-0549
14725061        GUIDRYS INDUSTRIAL,    3376 WEST AIRLINE HWY.,     RESERVE, LA 70084
14725063        GULF COAST RESPONDERS, LLC,     171 ICI LANE & HWY 51,    GARYVILLE, LA 70051
14725064       +GULF ENGINE,    2306 ENGINEERS RD UNIT B,     BELLE CHASSE, LA 70037-3170
14725065        GULF ISLAND SERVICES dba,     1625 PARK TEN PLACE, STE 280,    Houston, TX 77084
14725067       +GUNDERSON CONCARRIL SA de C.V.,     4350 NW FRONT AVE,    Portland, OR 97210-1422
14725068       +GUNDERSON, LLC,    4350 NW FRONT AVE,    Portland, OR 97210-1499
14725070       +GUS O NEIL YOUNG,    2112 CLARA ST,    NEW ORLEANS, LA 70113-2902
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14725071       +GUY HAYES III,    2626 DANTE ST,    NEW ORLEANS, LA 70118-3069
14725072        GUY HOLMES,    6453 MILLENDER DR,    MARRERO, LA 70072
14725073       +GUY LAMOTHE,    320 JAMIE BLVD,    AVONDALE, LA 70094-2735
14725074       +GUZMANS MACHINE,    PO Box 554,    LUTCHER, LA 70071-0554
14725075       +GWENDOLYN HENDERSON,    800 WALNUT ST APT 2,     LAPLACE, LA 70068-5134
14724908       +Gardner, Lester,    P O Box 299,    119 Historic West,    Garyville, LA 70051-0299
14724933       +Gautreau, Brad Anthony,    130 Miami Place,     Kenner, LA 70065-4030
14724939       +Gem Drugs LaPlace Inc.,    Andrew Gomila,     932 Carrollwood,    LaPlace, LA 70068-3304
14724943       +Gennaro, Lisa M,    420 Belmont Dr,    Laplace, LA 70068-3424
14724944       +Gentry, Brent Lee,    115 Henry Davis Rd.,     Harriman, TN 37748-7909
14724949       +George Jackson Pltf vs BD LaPlace LLC,     and Arcelormittal Laplace LLC Dfts,
                 Henri M. Saunders, Opposing Counsel,     Saunders and Chabert,     6525 Perkins Road,
                 Baton Rouge, LA 70808-4259
14724954       +Georgel, Charles J,    281 Barringer Dr,     Ponchatoula, LA 70454-3620
14724980       +Gilbert, Michael Lin,    Po Box 111,    Oakdale, TN 37829-0111
14724982       +Gill, Charles Edward,    58577 Hwy 1054,     Amite, LA 70422-3611
14724983       +Gill, Ricky W,    15006 Creekside Drive,     Gonzales, LA 70737-6892
14724984       +Gill, Vernon Keith,    135 Brecheen Lane,     Greensburg, LA 70441-3018
14724986       +Glasper, Donnell,    2912 Yorktowne Dr,    Laplace, LA 70068-2108
14725004       +Goldberg, Jonathan T,    115 Dusty Ln,    Harriman, TN 37748-4325
14725005       +Golden Properties c/o Hero Lands Company,      428 Planters Canal Rd,    Belle Chase, LA 70037-1236
14725007       +Gong Chang MPSI,    Dave Baldea,    PO Box 4030,    CARMEL, IN 46082-4030
14725010       +Goodman, Wesley L,    150 Ingleside Road,     LaPlace, LA 70068-5959
14725013       +Gordon Arata Montgomery Barnett,     McCollam Duplantis & Eagan LLC,     Stephen L. Williamson,
                 201 St. Charles Avenue, 40th Floor,     New Orleans, LA 70170-1000
14725018       +Graham, Gerald David,    62258 Friendship Church Rd,     Amite, LA 70422-6815
14725021       +Granier, Kerry J,    73670 Old Spring Creek Rd,     Kentwood, LA 70444-5760
14725026       +Gray, Jason,    534 Old Rockwood Hwy,    Harriman, TN 37748-7944
14725027       +Gray, Karl E,    2009 Cambridge Dr,    Laplace, LA 70068-2301
14725031       +Green, Joseph Archie,    2229 S. Friendship Dr.,     Harvey, LA 70058-1309
14725032       +Green, Marshall,    1138 Hearn,    Blythville, AR 72315-2648
14725033       +Green, Marshall Zachary,    3792 N State Hwy 239,     Blytheville, AR 72315-7838
14725034       +Green, Romell Ronald,    132 Kenner Ln,    Montz, LA 70068-9034
14725035       +Greene, George D,    1122 South Roane Street,     Unit 1284,    Harriman, TN 37748-7575
14725039       +Greg Leffew,    City Attorney,    PO Box 63,    Rockwood, TN 37854-0063
14725040       +Gregory Champagne Tax Collector,     PO Box 440,    Hahnville, La 70057-0440
14725041       +Gregory Champagne Tax Collector,     260 Judge Edward Dufresne Parkway,     Luling, La 70070-6235
14725054       +Grieshop, Kyle,    141 Villere Drive,    Destrehan, LA 70047-2507
14725055       +Griffin, Katie L,    2101 Landry Ct,    Meraux, LA 70075-2842
14725056       +Grisoli, Damian,    320 W. Lawson St,    Destrehan, LA 70047-4250
14725057       +Grover, Demar,    14 Grigio Loop,    LaPlace, LA 70068-6497
14725058       +Grover, Tina E,    14 Grigio Loop,    LaPlace, LA 70068-6497
14725062        Gulf Coast Dismantling,    P.O. Box 5149,     Pasadena, TX 77508
14725066       +Gulf States Optical Labs, Inc,     For BD LaPlace Acct #42030000520,     313 Coolidge Street,
                 Jefferson, LA 70121-2418
14725069       +Gurdian, Francisco Andres,     2530 Illinois Ave,    Apt B,    Kenner, LA 70062-5550
14725077       +H & E EQUIPTMENT,    2617 ENGINEERS ROAD,     BELLE CHASSE, LA 70037-3110
14725078       +H R CURRY COMPANY INC,    801 INDUSTRIAL BLVD,     NEW KENSINGTON, PA 15068-6428
14725080       +H.J.M. MACHINE,    304 TIME SAVER AVE,    Harahan, LA, LA 70123-3136
14725083       +HAMILTON MARTIN,    4918 AUGUST LANE,    LAFITTE, LA 70067-5114
14725086       +HAMPTON WILLIAMS JR,    1026 BROOKLYN AVE,     PO BOX 6912,    NEW ORLEANS, LA 70174-6912
14725088       +HANNIBAL INDUSTRIES,    3851 SOUTH SANTA FE AVENUE,     Vernon, CA 90058-1712
14725089       +HARBISONWALKER INTERNATIONAL INC,     1305 CHERRINGTON PARKWAY SUITE 100,
                 MOON TOWNSHIP, PA 15108-4355
14725090       +HARBOR STEEL & SUPPLY CORP,     1115 EAST BROADWAY,    MUSKEGON, MI 49444-2333
14725091       +HARDAGE GROUP INC.,    PO Box 208,    Dyersburg, TN 38025-0208
14725092       +HARLEY D. ATKINSON,    167 CREVASSE AVE,     LAPLACE, LA 70068-6645
14725093       +HARMAN ICE,    2727 MIDDLEBROOK PIKE,    KNOXVILLE, TN 37921-5662
14725094       +HAROLD BAILEY,    P.O. BOX 495,    LAPLACE, LA 70069-0495
14725095       +HAROLD LACOUR,    62 CREGAN AVE,    GRETNA, LA 70053-7032
14725100       +HARRIMAN UTILITY BOARD,    PO Box 434,    Harriman, TN 37748-0434
14725099       +HARRIMAN UTILITY BOARD,    300 N. ROANE ST,     HARRIMAN, TN 37748-2038
14725098       +HARRIMAN UTILITY BOARD,    200 N Roane Street,     Harriman, TN 37748-2019
14725101       +HARRIS J WILSON,    PO BOX 22,    121 NW 15TH ST,    RESERVE, LA 70084-0022
14725102      #+HARRISON C. MCDANIEL,    724 WALNUT STREET,     LAPLACE, LA 70068-5122
14725103       +HARRY DIXON JR.,    3013 MT KENNEDY DR,    MARRERO, LA 70072-5531
14725104       +HARRY HOLMES,    1840 TIMBERLANE ESTATES DRIVE,     HARVEY, LA 70058-5131
14725105       +HARRY JESSIE,    132 BISHOP DR.,    AVONDALE, LA 70094-2528
14725106       +HARRY JONES,    99 4TH STREET,    GRETNA, LA 70053-4738
14725107       +HARRY SMITH,    223 DIANNE DRIVE,    SAINT ROSE, LA 70087-3744
14725108       +HARRY TRAHAN,    207 CAROLYN DRIVE,    DESTREHAN, LA 70047-4022
14725109       +HARVEY PERRY,    2544 OAKMERE DR,    HARVEY, LA 70058-2104
14725110       +HARVIN GUITIERREZ,    4868 ORLEANS WAY APT 34,     MARRERO, LA 70072-7670
14725111       +HASTON LEWIS,    4229 HWY. 18,    EDGARD, LA 70049-2716
14725117       +HAYWARD CLOFFER JR,    2128 FERNANDO ST,     MARRERO, LA 70072-4566
14725118       +HAYWARD WILSON III,    333 FIR ST,    LAPLACE, LA 70068-4650
14725120       +HAZEL JESUS MUNOZ,    1530 MURL ST,    NEW ORLEANS, LA 70114-3114
14725121       +HCS TRADING, LLC,    PO Box 466,    HATTIESBURG, MS 39403-0466
14725122       +HCS Trading, LLC.,    David Gene Shemper,     140 Mayfair Road, Suite 800,
                 Hattiesburg, MS 39402-1702
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14725123       +HCS Trading, LLC.,    David Shemper,    PO Box 466,    Hattiesburg, MS 39403-0466
14725124       +HD RECYCLING,    7084 HWY 11,    CARRIERE, MS 39426-7596
14725127       +HECTOR CARNERO,    1012 ORANGE BLOSSOM LN APT B,     HARVEY, LA 70058-4877
14725128       +HEIDI FREDERICK,    5540 EHRET RD,    MARRERO, LA 70072-5312
14725129       +HEIDI SUTTON,    404 REG PARK,    RESERVE, LA 70084-6613
14725130       +HELIX LOGISTICS, LLC,    6734 JOLIET ROAD,     COUNTRYSIDE, IL 60525-4519
14725131       +HEM INC,   PO BOX 1148,    PRYOR,, OK 74362-1148
14725133        HENDERSON STEEL CORPORATION,     HWY. 45 NORTH,    MERIDIAN, MS 39303
14725134       +HENDERSON WILLIAMS,    6071 WINCHESTER PK,     NEW ORLEANS, LA 70128-2719
14725135       +HENRY BAKER,    2112 CONSTANTINE DR,    MARRERO, LA 70072-4560
14725136       +HENRY CHAMPAGNE JR,    623 ROCCAFORTE AVE,     GARYVILLE, LA 70051-3320
14725137       +HENRY CHERAMIE,    1211 MILTON ST,    GRETNA, LA 70053-3422
14725138       +HENRY FOURMAUX III,    58174 EDGEWOOD PLACE,     SLIDELL, LA 70458-8334
14725139       +HENRY G BOURGEOIS,    5505 EHRET ROAD,    MARRERO, LA 70072-5311
14725140       +HENRY GLOSTON JR,    9005 MILAN ST,    KENNER, LA 70062-7821
14725141       +HENRY JOSEPH PARNELL,    2956 CARDINAL DRIVE,     MARRERO, LA 70072-5808
14725142       +HENRY L. GREEN,    349 N. PINE STREET,    GRAMERCY, LA 70052-5606
14725143       +HENRY MALANCON,    203 OAK PARK BLVD,    GARYVILLE, LA 70051-3410
14725144       +HENRY MALANCON JR,    308 DAFFODILL ST,    GARYVILLE, LA 70076-2004
14725145       +HENRY MELTON JR,    1632 NIE PARKWAY,    NEW ORLEANS, LA 70131-1908
14725147       +HERAEUS ELECTRO NITE CO, LLC,     541 S INDUSTRIAL DRIVE,    HARTLAND, WI 53029-2323
14725148       +HERBERT F MOORE,    1740 WESTMINISTER DR,     MARRERO, LA 70072-4431
14725149       +HERBERT GRANT,    1020 MANHATTAN BLVD,    HARVEY, LA 70058-4626
14725150       +HERBERT JENEFER,    125 JOHNSON ST,    POPRT SULPHUR, LA 70083-2335
14725151       +HERBERT S. HILLER,    401 COMMERCE POINT,     HARAHAN, LA 70123-3201
14725152       +HERBERT WILLIAMS,    235 MEADOW DR,    DESTREHAN, LA 70047-3501
14725153       +HERIBERTO HOWELL,    2986 GLENBROOK DRIVE,     GRETNA, LA 70056-7912
14725154       +HERITAGE CRYSTAL CLEAN, LLC LA,     10973 LAIRD LN,    DENHAM SPRINGS, LA 70726-7963
14725155       +HERITAGE CRYSTAL CLEAN, LLC TN,     2175 POINT BLVD, SUITE 375,    ELGIN, IL 60123-9211
14725156       +HERITAGE INTERACTIVE SERVICES,     ATTN FOLGE,    PO BOX 681490,   INDIANAPOLIS, IN 46268-7490
14725157       +HERITAGE LOGISTICS LLC,    58 RIDGEWOOD DR,     LAPLACE, LA 70068-6458
14725158       +HERMAN TRIGGS,    5832 RUE MONTESPAN,    MARRERO, LA 70072-4727
14725159       +HERMAN TRIGGS JR,    4220 LAC COUTURE APT D,     HARVEY, LA 70058-5270
14725160       +HERMAN WALTER,    2001 BODENGER BOULEVARD,     NEW ORLEANS, LA 70114-6013
14725162       +HERO LANDS COMPANY,    428 PLANTERS CANAL ROAD,     BELLE CHASSE, LA 70037-1236
14725165       +HEVER S. ESPANA,    712 BREAUX DRIVE,    LAPLACE, LA 70068-6504
14725167       +HICKMANS METAL RECYCLING,     12360 HICKMAN ROAD,    BILOXI, MS 39532-9430
14725168       +HIDALGO HEALTH ASSOCIATES,     4637 JAMESTOWN AVENUE,    BATON ROUGE, LA 70808-3235
14725169       +HIGH STEEL SERVICE CENTER INC.,     400 STEEL WAY,    LANCASTER, PA 17601-3136
14725170       +HIGHWAY 16 SCRAPYARD,    24186 HWY 16,    AMITE, LA 70422-4852
14725171       +HIGHWAY SAFETY & DESIGN,    473 WEST FAIRGROUND STREET,     MARION, OH 43302-1701
14725174       +HILLARY NGUYEN,    2669 JUPITER STREET,    HARVEY, LA 70058-6210
14725175       +HILTON FRANK,    413 SUGAR PINE STREET,    LAPLACE, LA 70068-4824
14725177        HISAR CELIK C O MPSI ROLLS,     Hisar Celik Dokum San ve Tic AS,
                 Kozyatagi Mah Bayar Cad Gulbahar Sok,     PS Plaza No 17/131 Kat 13 Kadikoy,
                 Instabul, 34742 Turkey
14725181       +HM INSURANCE GROUP, INC,    120 FIFTH AVE, SUITE P6102,     PITTSBURGH, PA 15222-3004
14725183       +HOGAN, MARGARET,    129 GODCHAUX DR,    RESERVE, LA 70084-6246
14725186       +HOIST & CRANE SERVICE GROUP,     4920 JEFFERSON HWY.,    JEFFERSON, LA 70121-3101
14725190       +HOLLY WILSON,    784 DEERFIELD LANE,    GRETNA, LA 70056-4487
14725192       +HOLSTON GASES INC,    222 COUNCIL PLACE,    KNOXVILLE, TN 37920-1710
14725194       +HOMER FIGUEROA,    1800 MIRABEAU AVE,    NEW ORLEANS, LA 70122-3228
14725196       +HOOSIER CRANE SERVICE COMPANY,     3500 CHARLOTTE AVENUE,    ELKHART, IN 46517-1191
14725197       +HOOVER STEEL INC.,    4841 GARGES ROAD,    Schwenksville, PA 19473-2050
14725199       +HORNADY TRANSPORTATION LLC,     1736 HIGHWAY 21 BYPASS,    MONROEVILLE, AL 36460-3065
14725200       +HOTWORK-USA, LLC,    DIVISION OF FOSBEL, INC,     223 GOLD RUSH ROAD,    LEXINGTON, KY 40503-2904
14725201        HOUGHTON CO,    MADISON AND VAN BUREN AVENUES,     VALLEY FORGE, PA 19482
14725203       +HOWARD G COE JR,    2803 BLANCHE ST,    MARRERO, LA 70072-6515
14725204       +HOWARD HAMPTON,    3628 LAKE ARROWHEAD,    HARVEY, LA 70058-5143
14725205      #+HOWARD JOHNSON,    500 HIGHWAY 628,    LAPLACE, LA 70068-6616
14725206       +HOWARD T. HOLIFIELD,    309 WASHINGTON STREET,     ELLISVILLE, MS 39437-2045
14725210       +HUBERT J. REMONDET JR,    268 E. 17TH STREET,     RESERVE, LA 70084-5244
14725211       +HUBERT THORNE CONIS III,    2329 NILE ST,     TERRYTOWN, LA 70056-2942
14725212       +HUBERT THORNE CONIS JR,    2550 DEUTSCH RD,     MARRERO, LA 70072-5707
14725213      #+HUDSON SERVICES,    798 HWY 628,    LAPLACE, LA 70068-5624
14725215       +HUGHES BROTHERS INC.,    210 NORTH 13TH STREET,     Seward, NE 68434-1900
14725216       +HUGHES MACHINE SHOP INC,    22105 HWY 21 NORTH,     BOGALUSA, LA 70427-9013
14725222       +HUMANA DENTAL INS CO,    500 W Main St,    Louisville, KY 40202-2946
14725221        HUMANA DENTAL INS CO,    PO Box 0884,    CAROL STREAM, IL 60132-0884
14725224       +HUNTER T. HARMON,    20 CATHY DRIVE,    LULING, LA 70070-3106
14725228       +HUSSAIN NAZIR ALLY,    119 F ST.,    BELLE CHASSE, LA 70037-2003
14725232       +HWY 51 SCRAP METAL LLC,    65295 HWY 51 NORTH,     P.O. BOX 210,   FLUKER, LA 70436-0210
14725234        HYDRADYNE HYDRAULICS LLC,     P O BOX 974799,    DALLAS, TX 75397-4799
14725235       +HYDRANAMICS INC,    A DIVISION OF CARTER MACHINE,     820 EDWARD STREET,    GALION, OH 44833-2223
14725237       +HYMELS AUTO PARTS SERVI,    501 EAST AIRLINE HIGHWAY,     LA PLACE, LA 70068-5008
14725238       +HYMELS FLORIST,    299 BELLE TERRE, SUITE A,     LAPLACE, LA 70068-2425
14725081       +Hall, Ellis K,    1295 Magnolia Heights,    Vacherie, LA 70090-5507
14725082      #+Halloran Farkas + Kittila LLP,     James G. McMillan, III,    5803 Kennett Pike Suite C,
                 Wilmington, DE 19807-1195
14725084       +Hamilton, Melvin F,    448 Jeffer Dr,    Waggaman, LA 70094-2160
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14725087       +Hampton, Charles E,    130 Meadowlark Dr,     Harriman, TN 37748-4130
14725097       +Harp, Jeff A,    512 Pump House Rd,    Rockwood, TN 37854-3101
14725112       +Hatley, Brandon R,    73 Normandy Drive,     Kenner, LA 70065-2071
14725113       +Haverland, David Allen,    129 Crystal Springs Road,      Rockwood, TN 37854-5556
14725114       +Hawkins, Eddie Edward,    544 Welham Loop,     504,    LaPlace, LA 70068-3518
14725115       +Hayes, Paul C,    P.o. Box 192,    Paulina, LA 70763-0192
14725116       +Haynes, Kimberly D,    8036 Simon Street,     Metairie, LA 70003-6426
14725119       +Hayward, Antoine Maurice,     1725 Creole St,    Laplace, LA 70068-6016
14725125        Hebert, Calvin J,    17358 Hwy. 42,    Livingston, LA 70754
14725126       +Hebert, Trever Joseph,    2532 Highway 182,     Raceland, LA 70394-3761
14725132       +Hembree, Rex A,    102 Gallaher Rd,    Kingston, TN 37763-4720
14725161       +Hernan Mompo,    100 Corporate Center Drive,     Coraopolis, PA 15108-4331
14725164       +Hero Lands Company, LLC,     Smith Kane Holman LLC,     Robert M. Greenbaum, Esquire,
                 112 Moores Road, Suite 300,     Malvern, PA 19355-1002
14725163       +Hero Lands Company, LLC,     Carver Darden,    Francis J Lobrano,     147 Keating Drive,
                 PO Box 208,    Belle Chasse, LA 70037-0208
14725172       +Hill, Christopher A,    104 Nicolle Boulevard,      Avondale, LA 70094-2922
14725173       +Hill, Jacob B,    1000 James Ferry Road,     APT# A18,    Kingston, TN 37763-2904
14725176        Hisar Celik,    Hasan Kutlu,    Kozyatagi Mah. Bayar Cad. Gulbahar Sok.,
                 PS Plaza No 17/131 Kat 13,     Kadikoy,    Istanbul, 34742 Turkey
14725178        Hisar Celik Dokum San.ve Tic. A.S.,      Ozlem Akdeniz,    Kozyatagi Mah. Bayar Cad. Gulbahar Sok.,
                 PS Plaza No 17/131 Kat 13,     Kadikoy,    Instanbul, 34742 Turkey
14725179       +Hisar Celik Dokum Sanayi Ve Ticaret AS,      Bluestone Law Ltd.,     Gabriel T. Bluestone, Esq.,
                 4800 Hampden Lane Suite 200,     Bethesda, MD 20814-2934
14725180        Hisar Celik Dokum Sanayi Ve Ticaret AS,      Ozlem Akdeniz,
                 Kozyatagi Mah. Bayar Cad. Gulbahar Sok.,      PS Plaza No 17/131 Kat 13,     Kadikoy,
                 Instanbul, 34742 Turkey
14725182       +Hockman, Paul,    402 North Chamberlain Avenue,      Rockwood, TN 37854-2368
14725184       +Hogan, Rhonda,    p. o box 189,    paradis, LA 70080-0189
14725185       +Hohs, Thomas Patrick,    11628 Calf Path Dr,     Tampa, FL 33626-3358
14725187       +Holden, Charles,    Po Box 1655,    13031 Lewis Lane,     Independence, LA 70443-4297
14725188       +Hollins, Frederick,    4855 Maryland Street,     St Gabriel, LA 70776-4250
14725189        Hollis, Chase J,    3385 Louisiana 307,     Thibodaux, LA 70301
14725191       +Holmes, Bianca,    814 Windsor Street,     APT 814,    Laplace, LA 70068-5259
14725193       +Holton, Ryan Stewart,    61136 Ruth Holton Rd,      Amite, LA 70422-4776
14725195       +Honeywell Inc,    3079 Premiere Parkway, Suite 100,      Duluth, GA 30097-5245
14725198       +Hoover, Andrew T.,    39386 Louis Hoover Lane,      Ponchatoula, LA 70454-4608
14725202       +Houpy, David Wayne,    708 Gardenia St.,     LaPlace, LA 70068-3050
14725207       +Howard, Eric,    437 Kennedy Street,     Ama, LA 70031-2250
14725208       +Howe, James Edwin,    46 Freeport Drive,     Daufuskielsland, SC 29915-2601
14725209       +Howell, Brandon Michael,     13091 Holly Ct,    Grand Bay, AL 36541-4931
14725214       +Hudson, Robert Thomas,    518 S Jefferson Ave,      Apt 105,   Covington, LA 70433-3447
14725217       +Hughes Machine Shop, Inc,     Hughes Machine Shop,     22105 Highway 21 N,
                 Bogalusa, LA 70427-9013
14725218       +Hughes Machine Shop, Inc,     Wayne M. Aufrecht,     Attorney for Creditor,    417 West 21st Avenue,
                 Covington, LA 70433-3011
14725219       +Hull, Ollie,    2036 Louisa St.,    New Orleans, LA 70117-5914
14725220       +Hulstrom, Teresa Fortner,     10422 Huebner Road,     Apt# 1102,    San Antonio, TX 78240-1384
14725223        Hume, Christopher B,    4482 Hwy 44,     Hester, LA 70743
14725225       +Hunter, Christopher Harris,     150 Basler Cir,     Oliver Springs, TN 37840-3928
14725226       +Hunter, Donald,    119 Alvin Bullen Rd,     Wartburg, TN 37887-4319
14725227       +Huron Valley Steel Corporation,     41000 Huron River Drive,      Belleville, AL 48111-2885
14725229       +Husser, Dustin,    27203 Polo Rd,    Folsom, LA 70437-7849
14725230       +Husser, Shane M,    56534 Simon Husser Rd,     Loranger, LA 70446-3616
14725231       +Hutson, Mark D,    7065 B Hutson Ln.,     Summit, MS 39666-7317
14725236       +HydroChem PSC,    330 WALCOT ROAD,    WESTLAKE, LA 70669-7902
14725239       +I C E SALES & SERVICE LLC,     2801 HWY 306 SUITE B,     DES ALLEMANDS, LA 70030-3301
14725240       +I. BERMAN COMPANY,    1024 SAMPLER WAY,     EAST POINT, GA 30344-1811
14725241       +IAN BELVERSTONE,    2788 LONGBRANCH DRIVE,     MARRERO, LA 70072-5855
14725242        IBI BRAKE PRODUCTS INC,    dba BRAKE PRODUCTS INC,      16751 HILLTOP PARK PLACE,
                 CHAGRIN FALLS, OH 44023-4500
14725243       +IMAD ABDELRAHIM ISA,    1586 ABBEY RD #3,     HARVEY, LA 70058-7316
14725244       +IMON BYRD,    6410 FRANKLIN AVE,    NEW ORLEANS, LA 70122-6524
14725245       +INDEED,INC.,    PO Box 660367,    Dallas, TX 75266-0367
14725247      #+INDUSTRIAL ELECTRONIC SUPPLY,     ELMWOOD INDUSTRIAL PARK,     115 JAMES DRIVE WEST SUITE 120,
                 SAINT ROSE, LA 70087-4031
14725249       +INDUSTRIAL FABRICATION,    AND REPAIR, INC.,     2415 SYCAMORE DR,     KNOXVILLE, TN 37921-1752
14725251       +INDUSTRIAL HEARING CONSERVATION SER,      106 E WATAUGA AVE,     JOHNSON CITY, TN 37601-4628
14725252        INDUSTRIAL ID SOLUTIONS,     8505 PIERRE EMMANUEL,     LAVAL, QC H7Y 2B2 Canada
14725253        INDUSTRIAL PUMP SALES,    2814 ENGINEERS ROAD,      HARVEY, LA 70058
14725254       +INDUSTRIAL SCRAP METALS LLC,     9534 BEACON DRIVE,     Abbeville, LA 70510-0185
14725256       +INDUSTRIAL STEEL SERV. CTR. INC.,     1700 WEST CORTLAND CT.,      Addison, IL 60101-4259
14725257       +INDUSTRIAL VALUATION SERVICES IVS,     14121 HWY. 290 WEST, BUILDING 9,      AUSTIN, TX 78737-9396
14725258       +INFRA METALS CO,    55 Pent Highway,     Wallingford, CT 06492-2315
14725260        INFRA METALS COMPANY IL,     1600 BROADWAY,    Marseilles, IL 61341
14725261       +INFRA METALS COMPANY PA,     580 MIDDLETOWN BLVD.,     Langhorne, PA 19047-1877
14725262       +INFRA-METALS CO,    1 STURGILLS WAY,     New Boston, OH 45662-5179
14725263       +INFRA-METALS COMPANY FL,     5208 24TH AVENUE SOUTH,     Tampa, FL 33619-5365
14725264       +INGRAM BARGE COMPANY,    FOR FREIGHT SHIPMENTS,      4400 HARDING ROAD,    NASHVILLE, TN 37205-2204
14725265       +INGRAM BARGE COMPANY,    FOR SCRAP SHIPMENTS,     4400 HARDING ROAD,     NASHVILLE, TN 37205-2204
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14725266       +INGRID P. DUPLESSIS,    2184 HWY 20,     VACHERIE, LA 70090-5473
14725267       +INSIGHT DIRECT INC.,    6820 S. HARLEM AVE.,     TEMPE, AZ 85283-4318
14725268       +INSTITUTE FOR CAREER DEVELOPMENT,     INC,    1300 EAST 85TH AVENUE,    MERRILLVILLE, IN 46410-8906
14725269        INSTRON CORPORATION,    825 UNIVERSITY AVE,     Norwood, MA 02062-2643
14725271       +INSULATIONS INCORPORATED,     1101 EDWARDS AVENUE,    HARAHAN, LA 70123-2227
14725272       +INTEGRITY EXPRESS LOGISTICS,     4420 COOPER RD, SUITE 400,     BLUE ASH, OH 45242-5660
14725276       +INTERSTATE MECHANICAL SERVICE, LLC,      3200 HENSON ROAD,    KNOXVILLE, TN 37921-5345
14725277        INTERSTATE STEEL & METALS, INC,     2100 N Lewis Avenue,     Tulsa, OK 74110-2117
14725278       +INTSEL STEEL DISTRIBUTORS,     11310 WEST LITTLE YORK,     HOUSTON, TX 77041-4917
14725279       +INTSEL STEEL WEST,    8573 ULSTER STREET,     COMMERCE CITY, CO 80022-5012
14725280       +INTSEL STEEL WEST LLC,     9600 KAISER WAY,    FONTANA, CA 92335-5844
14725281       +IPO SALES LLC,    1206 CRESCENT MIRROR LANE,     KATY, TX 77494-7922
14725282       +IRA BORDERE, JR.,    2300 LAPALCO BLVD APT 4E,     HARVEY, LA 70058-3064
14725283       +IRA CATLIN,    PO Box 292,    LIVINGSTON, LA 70754-0292
14725284       +IRON CITY INDUSTRIAL CLEANING CORP,      dba IRON CITY WORKPLACE SERVICES,    6640 FRANKSTOWN AVE,
                 PITTSBURGH, PA 15206-4156
14725286       +IRVIN ATKINS,    5119 TRAHAN STREET,     MARRERO, LA 70072-7659
14725287       +IRVIN SCIONEAUX, JR,    507 CEDER ST,     LAPLACE, LA 70068-5441
14725288       +IRVIN SCOTT,    813 EAST TERRANCE ST,     NEW SARPY, LA 70047-4319
14725289       +IRVIN SELTZER JR,    1836 BURNLEY DR,     MARRERO, LA 70072-4520
14725291       +ISAAC DOYLE III,    503 RIVER ROAD OAK DR,     NEW ORLEANS, LA 70131-5207
14725292       +ISAAC SPARKS JR,    9416 E CLAIBORNE,     BRIDGE CITY, LA 70094-3704
14725293       +ISAAC WILLIAMS,    901 EAST EASY STREET,     DESTREHAN, LA 70047-4135
14725294       +ISABELLA CARR,    5308 TUSA DR,    MARRERO, LA 70072-5506
14725295       +ISAIAH BYRD,    3625 SIMMS ST,    NEW ORLEANS, LA 70131-2312
14725296        ISIAH JOHNSON,    119 W 15TH ST,    RESERVE, LA 70084
14725297       +ISIDRO M. ARGUETA-REYES,     624 CHICKADEE STREET,    LAPLACE, LA 70068-4512
14725298       +ISRAEL DAVIS,    2328 ALEX KORMAN,    HARVEY, LA 70058-2204
14725299       +ISRAEL GAUTREAUX,    1312 YORKTOWNE DR,     LAPLACE, LA 70068-3603
14725300       +ISRAEL MAGEE,    3772 RED CYPRESS DR,     NEW ORLEANS, LA 70131-8318
14725301        ISRI,   PO Box 75245,    BALTIMORE, MD 21275-5245
14725302        ISSAC WILLIAMS,    846 E. HARDING ST,     NEW SARPY, LA 70078
14725303       +ITW FLEETWOOD SIGNODE,     3624 WEST LAKE AVENUE,    GLENVIEW, IL 60026-1215
14725304       +IVAN B. LEDESMA,    11775 SW 18TH STREET APT 1,     MIAMI, FL 33175-8765
14725305       +IVAN LAGOS,    118 DERRICK RD,    BELLE CHASSE, LA 70037-1110
14725306       +IVES BUSINESS FORMS,    1009 CAMP STREET,     NEW ORLEANS, LA 70130-3909
14725307       +IVORY WILLIAMS JR,    705 COLONY DR APT A,     LAPLACE, LA 70068-3655
14725308       +IZAL WILLIAMS JR,    3138 AUGUSTA ST,     KENNER, LA 70065-4327
14725248       +Industrial Employees,    825 East Pittsburgh Plaza,     East Pittsburgh, PA 15112-1207
14725250       +Industrial Fabrication & Repair Inc.,      Michael F. Thomas,    2415 Sycamore Drive,
                 Knoxville, TN 37921-1752
14725259       +Infra Metals Company GA,     1561 PINE STREET NW,    Atlanta, GA 30318-3622
14725290       +Irving, Thomas Joseph,     1620 Highland Avenue,    Metairie, LA 70001-3608
14725309       +J & J MACHINE & TOOL, INC,     1424 EAST MCCALLA AVENUE,     KNOXVILLE, TN 37915-1396
14725310       +J CRUZ ROBINSON,    3431 W DILL ROAD,     ENGLEWOOD, CO 80110-5208
14725311       +J. P. & Sons Dredging L.L.C.,     8233 River Road,    WAGGAMAN, LA 70094-2320
14725313      #+J3 TRANSPORTATION,    949 SWAN POND CIRCLE ROAD,     HARRIMAN, TN 37748-5109
14725314       +J3 Transportation,    PO Box 1089,    Kingston, TN 37763-1089
14725315       +JACE MICHAEL GROS JR,    5136 OAK DR,     MARRERO, LA 70072-4216
14725316       +JACK BRAUD,    4137 AMES BLVD LOT 50,     MARRERO, LA 70072-6353
14725317       +JACK BRAUD JR,    4137 AMES BLVD LOT 50,     MARRERO, LA 70072-6353
14725318       +JACK L. KEEN,    836 BARBER RAOD,    PARADIS, LA 70080-2420
14725319       +JACK M. CALI,    136 IBERIA STREET,    LAPLACE, LA 70068-5808
14725320       +JACK WILLIE ROBERTS JR.,     157 OAK ARBOR DRIVE,    LAPLACE, LA 70068-7110
14725321        JACKIE JOHN MARKS,    222 1/2 4TH ST,     WESTWEGO, LA 70094
14725322        JACKLIN STEEL SUPPLY COMPANY,     2410 AERO PARK DRIVE,     Traverse City, MI 49686-9180
14725323       +JACKSON INDUSTRIES INC,     279 JAUBERT LANE,    LAPLACE, LA 70068-7008
14725330       +JACKYLE LEE,    1043 WHITHLOW COURT,     LAPLACE, LA 70068-5317
14725331       +JACOB M. DUHE,    203 OAK PARK BLVD,     GARYVILLE, LA 70051-3410
14725332       +JACOB T. CROSS,    13518 PACES POINTE,     GONZALES, LA 70737-6187
14725333       +JACOB TREVINO,    8894 SUNNYSIDE DR,     LAPLACE, LA 70068-6002
14725334       +JACOBE CAVALIER,    459 DAFODIL ST,    MOUNT AIRY, LA 70076-2009
14725335       +JACOBSENS AUTOMOTIVE,    509 19TH ST.,     GRETNA, LA 70053-6533
14725336       +JACQUE A. GURLEY,    101 JUDY COURT,     LAPLACE, LA 70068-7607
14725337      #+JAIME FLORES,    1320 AVENUE D,    MARRERO, LA 70072-3836
14725338       +JAKE BLANCHARD,    41359 SAPPHIRE AVE,     Gonzales, LA 70737-7597
14725339      #+JAKE M. HECKATHORN,    436 BIRCH STREET,     LAPLACE, LA 70068-5502
14725340       +JAKES AUTO PARTS,    5901 HWY. 90,    AVONDALE, LA 70094-5925
14725341       +JAMAAR C JONES,    506 SILVER LILY LN,     MARRER0, LA 70072-1425
14725342       +JAMAL J. GOMEZ,    423 NW THIRD STREET,     RESERVE, LA 70084-6937
14725343       +JAMAL WILLIAMS,    1620 SUMMERSET PLACE,     MARRERO, LA 70072-4413
14725344       +JAMAR BEAUFORD,    1200 WESTWOOD DR,     MARRERO, LA 70072-2419
14725345       +JAMES A BAER JR,    5552 NIAGARA DRIVE,     MARRERO, LA 70072-4911
14725346       +JAMES ANDERSON,    415 WEST B ST,    NORCO, LA 70079-2335
14725347       +JAMES ANDERSON JR,    1000 MARSHALL DR,     MARRERO, LA 70072-2627
14725348       +JAMES ANDREW HAMILTON,     503 AVENUE A,    BELLE CHASSE, LA 70037-2306
14725349       +JAMES B. WILSON,    1635 SECOND ST,    LUTCHER, LA 70071-5510
14725350       +JAMES BROCK II,    117 STAR TERRACE DRIVE,     RESERVE, LA 70084-6733
14725351       +JAMES BROWN JR,    605 EAGLE STREET,     LAPLACE, LA 70068-4915
14725352       +JAMES BRUMFIELD,    1225 LOC LOMAND,     HARVEY, LA 70058-3827
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14725353      #+JAMES BRUNETTE,    603 23RD ST,    GRETNA, LA 70053-6807
14725354       +JAMES BUMGARNER,    50419 JIMONY DR,     TICKFAW, LA 70466-1743
14725355       +JAMES C. HALEY III,    120 RESERVE DRIVE,     RESERVE, LA 70084-6621
14725356       +JAMES CARLOS PEREZ JR,     130 10TH ST.,    WESTWEGO, LA 70094-4912
14725357       +JAMES CHANCEY,    3520 CAMINADA DRIVE,     MARRERO, LA 70072-5324
14725358       +JAMES COWANS,    841 FOX LANE,    ST ROSE, LA 70087-3028
14725359       +JAMES D LIGHTELL,    3725 PRIVATEER BLVD,     BARATARIA, LA 70036-5743
14725363       +JAMES E GLASS,    5805 RUE MONTESPAN,     MARRERO, LA 70072-4726
14725364        JAMES ELMWOOD REPAIR & MAINTENANCE,      P O BOX 2305,   PADUCAH, KY 42002-2305
14725365        JAMES FOY,    180 JOY LANE,    BELLE CHASSE, LA 70037
14725366       +JAMES GILL,    720 ELMIRA ST,    NEW ORLEANS, LA 70114-2409
14725367       +JAMES HALEY,    300 S KENNER AVENUE,     WAGGAMAN, LA 70094-2010
14725368       +JAMES HOUSTON,    1600 PAILET AVE,    HARVEY, LA 70058-3622
14725369       +JAMES HOYT,    482 DAFFODIL ST,    MOUNT AIRY, LA 70076-2008
14725370       +JAMES JACKSON,    415 N MAGNOLIA ST,     GRAMERCY, LA 70052-3641
14725371       +JAMES JOHNSON,    36 CLIFFORD CT,    WAGGMAN, LA 70094-5500
14725372       +JAMES JOUTY,    438 HWY. 628,    LAPLACE, LA 70068-6614
14725373       +JAMES L WALKER,    6105 4TH AVE,    MARRERO, LA 70072-2813
14725374       +JAMES M. WARD,    70421 CHAMBLY COURT,     MADISONVILLE, LA 70447-3241
14725375       +JAMES MARINE HAHNVILLE, LLC,     PO Box 2305,    PADUCAH, KY 42002-2305
14725376       +JAMES MEYERS,    702 OAK TREE RD.,    BELLE CHASSE, LA 70037-2211
14725377       +JAMES MICHAEL JUNEAU,    2520 TAFFY DR,     MARRERO, LA 70072-5744
14725378        JAMES MICHAUD,    268 BYPASS ROAD,    BELLE CHASSE, LA 70037
14725379       +JAMES MOTEN,    2032 CONSTANTINE DR,     MARRERO, LA 70072-4558
14725380       +JAMES OUBRE,    145 RIVERVIEW COURT,     LAPLACE, LA 70068-6637
14725381       +JAMES R. COLEMAN,    3032 APSIN DRIVE,     HARVEY, LA 70058-2176
14725382       +JAMES R. HAYS JR,    2661 ADMIRALS LANDING,     PAULINA, LA 70763-2508
14725383       +JAMES RAMAGOS,    2003 ENGINEERS RD,     BELLE CHASSE, LA 70037-3118
14725384       +JAMES RAY BILLINGS,    516 EVANGELINE CT APT B,     LAPLACE, LA 70068-3918
14725385       +JAMES ROBINSON,    1324 PAILET ST,    HARVEY, LA 70058-3616
14725386       +JAMES SMITH JR.,    1228 HENDEE STREET,     NEW ORLEANS, LA 70114-2627
14725387       +JAMES SPARACELLO,    24408 JONES RD,     SPRINGFIELD, LA 70462-8032
14725388       +JAMES STEWART,    2308 ALEX KORNMAN,     HARVEY, LA 70058-2204
14725389       +JAMES STEWART JR,    220 SPRUCE STREET,     LAPLACE, LA 70068-4700
14725390        JAMES WASHINGTON JR,    220 HOMEWOOD DR,     RESERVE, LA 70084
14725391       +JAMES WILSON,    1635 2ND STREET,    LUTCHER, LA 70071-5510
14725392       +JAMES WILSON JR,    1635 SECOND ST,    LUTCHER, LA 70071-5510
14725393       +JAMIE OSTROWSKI,    317 EAST AIRLINE HWY,     LAPLACE, LA 70068-4113
14725394       +JAMIE R SCURLOCK,    201 PARKER LANE,     RESERVE, LA 70084-6030
14725395       +JANELL KING,    192 APRICOT STREET,    LAPLACE, LA 70068-6820
14725396       +JANI KING OF KNOXVILLE,     10133 SHERRILL BLVD, SUITE 130,     KNOXVILLE, TN 37932-3347
14725397        JANI KING OF NEW ORLEANS D/B/A -,     FOR EMMON ENTERPRISES, LLC,     122 W. PINE STREET,
                 PONCHATOULA, LA 70454-3309
14725398       +JANICE DWYER,    2625 GEMINI ST,    HARVEY, LA 70058-2990
14725399       +JANICE HENRY,    1013 HORACE ST,    NEW ORLEANS, LA 70114-1725
14725400        JANSSEN CASEY,    1250 L&A ROAD,    METAIRIE, LA 70001
14725401       +JARAD GREEN,    484 KILLONA DRIVE,    KILLONA, LA 70057-3072
14725402       +JARED BECNEL,    570 WEST B STREET,    NORCO, LA 70079-2338
14725403       +JARED D. MATHERNE,    618 GIACOMO STREET,     NORCO, LA 70079-2116
14725404       +JARED HOTARD,    3508 MAIN STREET,    LAPLACE, LA 70068-5923
14725405       +JARREN JACKSON,    1936 WILLIAMSBURG DR,     LAPLACE, LA 70068-2823
14725407       +JARROD FREMIN,    179 VICKERS LANE,    MONTZ, LA 70068-9031
14725408       +JARROD HARRIS,    6173 HAPPY STREET,     MARRERO, LA 70072-3528
14725409       +JARROD MULE,    18 MARY ST,    NORCO, LA 70079-2238
14725410       +JARROD PAUL FREMIN,    533 EVANGELINE RD,     MONTZ, LA 70068-8925
14725411       +JASHUA TASSIN,    433 BIRCH STREET,    LAPLACE, LA 70068-5501
14725412       +JASON ARTHUR OBRIEN,    5125 VICTORIA ST,     BARATARIA, LA 70036-5768
14725413       +JASON CARL SHERROD,    1500 CENTRAL AVE,     WESTWEGO, LA 70094-5314
14725415       +JASON EDWARD DEAL,    37140 HIGHWAY 11,     BURAS, LA 70041-4242
14725416       +JASON GAUTHE,    566 LESTER ST,    LAFITTE, LA 70067-5118
14725417       +JASON J. BERTHELOT,    2686 NORTH NOBILE STREET,     PAULINA, LA 70763-2529
14725418       +JASON J. ROUSSEL,    43036 SYCAMORE BEND AVE,     GONZALES, LA 70737-7774
14725419       +JASON JACKSON,    121 WESTOVER LANE,     MONTZ, LA 70068-8961
14725420       +JASON JOSEPH TREME JR,     2809 AMIGO AVE,    MARRERO, LA 70072-5716
14725421       +JASON KELLER JR,    1408 VAN ARPEL DR,     LAPLACE, LA 70068-6237
14725422        JASON KIRKLIN,    3492 LA HWY,    PAULINA, LA 70763
14725423       +JASON M. HINKEL,    107 KENNEDY DR,    GRETNA, LA 70053-5038
14725424       +JASON MALBROUGH,    1894 SECOND ST,    LUTCHER, LA 70071-5513
14725425       +JASON MIALJEVICH,    3341 NORMANDY CT,     MARRERO, LA 70072-5212
14725426       +JASON NIEVES,    2756 RUSSELL DR,    MARRERO, LA 70072-6532
14725428       +JASON ROGERS,    49 RIVER PARK DRIVE,     HAHNVILLE, LA 70057-2440
14725429       +JASON THOMAS,    104 BROWN LANE,    LAPLACE, LA 70068-5671
14725430       +JASON TOOMBS,    5188 OAK BAYOU AVE,     MARRERO, LA 70072-4991
14725431       +JASON TREME,    2809 AMIGO AVENUE,    MARRERO, LA 70072-5716
14725432       +JASON WAKEFIELD,    38440 DUPLESSIS RD,     PRAIRIEVILLE, LA 70769-4227
14725434      #+JAVIER JORDAN,    5243 EAST NEMOURS,     NEW ORLEANS, LA 70129-1234
14725435       +JAY LANDRY,    105 GRAND ISLE ST,    BELLE CHASSE, LA 70037-2513
14725436       +JAY LAUVE,    9412 HWY 23,    BELLE CHASSE, LA 70037-2150
14725437       +JAY M BLANCHARD,    4589 BARATARIA BLVD,     MARRERO, LA 70072-6534
14725438       +JAY PILIPOVICH,    1468 MAPLEWOOD DR,     HARVEY, LA 70058-3810
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14725439       +JAZMINE E. WELLS,    177 S. CHURCH STREET,     GARYVILLE, LA 70051-3304
14725440       +JD FIELDS CO., INC.,    414 N. CAUSEWAY BLVD., SUITE B,     MANDEVILLE, LA 70448-4636
14725441       +JEFF ASBELL EXCAVATING &,     TRUCKING, INC/ dba/ DF RAILGROUP,     9400 STATE HIGHWAY 171,
                 CARL JUNCTION, MO 64834-5174
14725442       +JEFF HUCK,    644 EMERALD AVE,    TERRYTOWN, LA 70056-2944
14725443       +JEFFERSON IRON & METAL,    BROKERAGE, INC,     Attn Director or Officer,
                 3940 MONTCLAIR ROAD #300,     PO Box 131449,    Birmingham, AL 35213-6449
14725445       +JEFFERSON PARISH FIRE DEPT,     HAZMAT DIVISION,    1221 ELMWOOD PARK BLVD, SUITE 701,
                 JEFFERSON, LA 70123-2337
14725446       +JEFFERSON PARISH SEWAGE DEPARTMENT,     1221 ELMWOOD PARK BLVD., SUITE 803,
                 JEFFERSON, LA 70123-2377
14725447       +JEFFERSON PARISH SHERIFFS OFFICE,     BUREAU OF REVENUE AND TAXATION,     SALES/USE TAX DIVISION,
                 PO BOX 248,    GRETNA, LA 70054-0020
14725450       +JEFFERSON PARISH WATER DEPT,     1221 ELMWOOD PARK STE# 909,    JEFFERSON, LA 70123-7156
14725451        JEFFERY ANDERSON,    133 GOOD HOPE ST,    3808 BALMORAL AVE,    NORCO, LA 70079
14725452       +JEFFERY J. CHAMPAGNE JR.,     13275 DIVERSION CANAL ROAD,    ST. AMANT, LA 70774-5100
14725453       +JEFFERY JACKSON,    1005 LULING ESTATES,    LULING, LA 70070-4507
14725454       +JEFFERY LEE CUNNINGHAM,    CUNNINGHAMS AFFORDABLE LAWN SVC,     219 DOUGLAS LN,
                 HARRIMAN, TN 37748-5721
14725456       +JEFFREY COTE,    206 ORMOND BLVD,    DESTREHAN, LA 70047-3603
14725457       +JEFFREY GOODMAN,    8103 SHOAL CREEK DR,    LAUREL, MD 20724-2949
14725458       +JEFFREY P. WILLIAMS,    426 SYCAMORE LOOP,     LAPLACE, LA 70068-4814
14725459       +JENNIFER CAREY,    6221 AUGUST LANE,    MARRERO, LA 70072-3431
14725460       +JERALD BOWMAN JR,    999 LILAC STREET,    LAPLACE, LA 70068-4401
14725461       +JERALD J. PAIGE,    2406 HUEY P LONG AVE,     GRETNA, LA 70053-6829
14725462       +JERAMY S HENRY,    103 PORTRUSH DR,    LAPLACE, LA 70068-1735
14725463       +JERED SWEENEY,    6423 RIVER RD,    WESTWEGO, LA 70094-2557
14725464       +JEREL JONES,    2901 BROOKWOOD ST,    GRETNA, LA 70056-7829
14725465       +JEREMIAH SATOUTE,    1113 TALLOWTREE LANE APT C,     HARVEY, LA 70058-4867
14725466       +JEREMY DANIEL MORRIS,    727 APPLE ST,    NORCO, LA 70079-2423
14725467       +JEREMY GEASON,    3949 HWY 18,    VACHERIE, LA 70090-7076
14725469       +JEREMY PUGH,    1828 HAMPTON DR,    HARVEY, LA 70058-2975
14725470       +JERIMIE ROSE,    2220 EDISON AVENUE,    HARVEY, LA 70058-6305
14725471      #+JERMAINE LEE DUNMORE,    1919 S KIRKWOOD RD APT 79,     HOUSTON, TX 77077-6230
14725472       +JERNONE JOHNSON,    167 EAST 14TH ST,    RESERVE, LA 70084-5259
14725473        JERNONE MCCLURE,    783 SUNNYSIDE DRIVE,    LAPLACE, LA 70068
14725474       +JEROME A. JUSTIN,    1449 MAPLEWOOD DR,    HARVEY, LA 70058-3809
14725475       +JEROME ANTHONY FRISELLA III,     2602 N INDUSTRY ST,    BELLE CHASSE, LA 70037-1218
14725476       +JEROME CRAFT,    1303 GARDEN RD,    MARRERO, LA 70072-2620
14725477       +JEROME GRANGER,    2104 COLOMBO DR.,    HARVEY, LA 70058-3045
14725478        JEROME GREEN,    430 1/2 GILLIGAN ST,    WESTWEGO, LA 70094
14725479       +JEROME HARRIS,    1805 FAMILY CT,    MARRERO, LA 70072-3333
14725480       +JEROME HUNT,    2936 MANHATTEN,    HARVEY, LA 70058-6625
14725481        JEROME ISOM,    119 DEWBERRY STREET,    GARYVILLE, LA 70051
14725482       +JEROME MCCLURE,    510 N. ELM,    METAIRIE, LA 70003-6075
14725484       +JERRY COLTON,    322 WINONA ST,    NATCHITOUCHES, LA 71457-4711
14725486       +JERRY GROS,    4978 MARCEL STREET,    BARATARIA, LA 70036-4786
14725487       +JERRY JONES,    2416 CAMBRIDGE DR,    LAPLACE, LA 70068-2310
14725488       +JERRY L. KRAUSE,    166 PAULA DRIVE,    LAPLACE, LA 70068-5612
14725489       +JERRY LEE,    2540 TAFFY DR,    MARRERO, LA 70072-5744
14725490       +JERRY SHORT JR,    11289 HWY 40 WEST,    INDEPENDENCE, LA 70443-3113
14725491       +JERRY T GALLIANO JR,    3829 HILLCREST ST,     MARRERO, LA 70072-6019
14725493       +JESSE BRUE,    1733 BURNLEY DR,    MARRERO, LA 70072-4521
14725494       +JESSE MOSBEY,    147 WILLOWBROOK DR,    GRETNA, LA 70056-7330
14725495        JESSE PERANIO,    286 CENTRAL AVE,    RESERVE, LA 70084
14725496        JESSE SILAS JR,    338 E 14TH STREET,    EDGARD, LA 70049
14725497       +JESSICA MARGIOTTA,    4923 AUGUST LANE,    LAFITTE, LA 70067-5115
14725498       +JESSICA R. ROWLAND,    648 MAGNOLIA AVENUE,     LAPLACE, LA 70068-3039
14725499       +JESSIE SCIONEAUX,    356 TERRIO DR,    RESERVE, LA 70084-6515
14725500       +JESUS MANUEL TORRES,    511 DOLPHIN ST,    TERRYTOWN, LA 70056-8411
14725501       +JESUS R. ALFARO,    25 DUNLEITH DRIVE,    DESTREHAN, LA 70047-2019
14725502      #+JET CONCRETE SERVICES,    101 HERMAN DR,    BELLE CHASSE, LA 70037-3200
14725503       +JHOP TRUCK LINES LLC,    6303 E 102ND STREET,     Tulsa, OK 74137-7041
14725504       +JILL HILL,    3346 WHISPER LANE,    GRETNA, LA 70056-7787
14725505       +JILL M. MONTZ,    1713 WEST FRISCO,    LAPLACE, LA 70068-2731
14725506       +JIM B BEARDSLEY,    551 SUNSET DRIVE LOT 14,     SLIDELL, LA 70460-5756
14725507       +JIM HEBERT,    124 AUGUSTINE LANE,    LAPLACE, LA 70068-5681
14725508       +JIMMIE MADISON JR,    5109 A PRIVATEER BLVD,     BARATARIA, LA 70036-4719
14725509       +JIMMIE ROBERTSON,    PO BOX 396,    175 NW 13TH ST,    RESERVE4, LA 70084-0396
14725510        JIMMIE TUCKER TRUCKING,    1407 East MLK Drive,     Broken Bow, OK 74728
14725511       +JIMMY C. WALLER,    737 HWY 20,    THIBODAUX, LA 70301-6232
14725512       +JIMMY CANNINO,    42090 JEFFERSON DRIVER,     HAMMOND, LA 70403-2156
14725513       +JIMMY KNIGHT,    3336 BRYSON ST,    NEW ORLEANS, LA 70131-2304
14725514       +JIMMY LE,    2309 LEIGH LANE,    HARVEY, LA 70058-7038
14725515       +JIMMY TERREBONNE,    5382 OLD KERNER,    LAFITTE, LA 70067-5544
14725516       +JIMMY VEGAS,    5137 LEE PLACE,    MARRERO, LA 70072-5954
14725517      #+JIMMY WAYNE FRANKLIN,    3893 CHRISWOOD LN,     HARVEY, LA 70058-2006
14725518       +JIREH S. THOMPSON,    230 S. AIRLINE AVENUE,     GRAMERCY, LA 70052-3638
14725521       +JLE INDUSTRIES, LLC,    Attn Director or Officer,     119 ICMI ROAD, SUITE 210,
                 DUNBAR, PA 15431-2358
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14725520       +JLE Industries, LLC,    Echard Marquette PC,     Trent Echard,    4773 William Flynn Highway,
                 Allison Park, PA 15101-2401
14725519       +JLE Industries, LLC,    Echard Marquette, P.C.,     Mr. Trent Echard, Esquire,
                 4773 William Flynn Highway,     Allison Park, PA 15101-2401
14725522       +JLE Industries, LLC,    119 ICMI Road,     Dunbar, PA 15431-2358
14725523       +JMN SPECIALTIES INC,    1100 VICTORY DR,     WESTWEGO, LA 70094-5447
14725524       +JMS METAL SERVICES AL,    25 College Park Cove,     Jackson, TN 38301-8706
14725525       +JMS METAL SERVICES AR,    25 College Park Cove,     Jackson, TN 38301-8706
14725526       +JMS METAL SERVICES GA,    25 College Park Cove,     Jackson, TN 38301-8706
14725527       +JMS METAL SERVICES KY,    25 College Park Cove,     Jackson, TN 38301-8706
14725528       +JMS METAL SERVICES TX,    25 COLLEGE PARK COVE,     Jackson, TN 38301-8706
14725529       +JMS RUSSEL METALS CORP.,     25 College Park Cove,    Jackson, TN 38301-8706
14725530       +JODY P AUDIFRED,    218 SOMERSET,    LAPLACE, LA 70068-5212
14725531       +JOE LEASURE & SONS, INC,     39 N MADISON AVE,    MADISONVILLE, KY 42431-1929
14725532       +JOE WELCH,    2137 PETERS RD,    HARVEY, LA 70058-1736
14725533       +JOEY ANDERSON, JR,    317 FIR STREET,    LA PLACE, LA 70068-4650
14725534       +JOHANNESSEN TRADING,    6111 BANDINI BLVD.,     CITY OF COMMERCE, CA 90040-3111
14725535       +JOHN A MORICI,    604 OAK ST,    ST ROSE, LA 70087-3735
14725536       +JOHN D. PICOU,    109 SELLERS LANE,    BOUTTE, LA 70039
14725537       +JOHN EARLY,    1520 WAKEFIELD DRIVE,    MARRERO, LA 70072-4415
14725538       +JOHN GAUTREAUX,    2609 CAMBRIDGE,    LAPLACE, LA 70068-2201
14725539        JOHN GOODWIN,    352 MOBILE LANE,    GRAMERCY, LA 70052
14725540       +JOHN GOUDEAU,    5327 ISLAND RD LOT 13,     JARREAU, LA 70749-3317
14725541       +JOHN GROWE, III,    1305 LOC LOMAD DRIVE,     HARVEY, LA 70058-3829
14725542       +JOHN H CARTER CO,    17630 PERKINS RD.,     BATON ROUGE, LA 70810-3842
14725543       +JOHN HAMPTON JR,    581 WELLHAM LOOP,    LAPLACE, LA 70068-3517
14725544       +JOHN J. PEMPEK,    ELECTRICAL CONTRACTORS,     11745 SOUTHWEST HIGHWAY,
                 PALOS HEIGHTS, IL 60463-1038
14725546       +JOHN JANETH,    19 B AIRLIE STREET,    HARVEY, LA 70058-3419
14725547       +JOHN KENDRICK,    162 EAST 17TH STREET,     RESERVE, LA 70084-5242
14725548        JOHN L. HAMPTON,    110 HAMP STREET,    LAPLACE, LA 70068
14725549       +JOHN LAFONT,    5113 WOODCREST DRIVE,    MARRERO, LA 70072-5015
14725550       +JOHN LAWSON,    2286 PETERS ROAD,    HARVEY, LA 70058-1737
14725551       +JOHN LEO,    1113 TALLOWTREE LANE APT C,     HARVEY, LA 70058-4867
14725552       +JOHN M CHAMPAGNE JR,    3921 BRIANT DR,     MARRERO, LA 70072-6015
14725553       +JOHN MCALLISTER,    1400 BELMONT PLACE,     METAIRIE, LA 70001-3713
14725554       +JOHN MOHENG,    178 TERRACE STREET,    DESTREHAN, LA 70047-4312
14725555       +JOHN MOORE,    827 TERRACE ST,    DESTREHAN, LA 70047-4319
14725556       +JOHN P. VOLPE,    110 MARK TWAIN DRIVE APT 21,     RIVER RIDGE, LA 70123-2467
14725557       +JOHN PATRICK LEWIS,    2308 ROCHELLE AVE,     HARVEY, LA 70058-3261
14725558       +JOHN POUNDERS,    2500 LAFAYETTE ST LOT 1,     GRETNA, LA 70053-6777
14725559       +JOHN R YATES JR,    61201 CRESTLINE DR,     LACOMBE, LA 70445-3131
14725561       +JOHN ROBINSON,    2341 S. FRIENDSHIP DR,     HARVEY, LA 70058-1311
14725562       +JOHN SAKASH CO.,    700 WALNUT STREET,     ELMHURST, IL 60126-1517
14725563       +JOHN SHACKELFORD,    820 BOND ST,    HOUMA, LA 70360-5718
14725565       +JOHN SWAFFORD JR,    140 STAR TERRACE DRIVE,     RESERVE, LA 70084-6732
14725566       #JOHN W MCNEELY,    13667 GREENWOOD DR,     WOODBRIDGE, VA 22193-2542
14725567        JOHN W MURRAY,    127 NW 18TH ST,    RESERVE, LA 70084
14725568       +JOHN W STONE OIL DISTRIBUTOR,     87 1ST STREET,    GRETNA, LA 70053-4746
14725569       +JOHN W THOMS,    648 1ST AVENUE,    HARVEY, LA 70058-2732
14725570        JOHN W. BEATON, P. ENG.,     1 GREENSHIELDS CRES.,    ON L0L 1T0 Canada
14725571       +JOHN W. HENRY,    13231 HWY 10,    PITKIN, LA 70656-5029
14725572       +JOHN WALTMAN,    809 GRACE AVE,    HATTIESBURG, MS 39401-2929
14725573       +JOHNATHAN B. JOHNSON,    1953 JASPER LANE APT. B,     LAPLACE, LA 70068-6274
14725574       +JOHNNIE MUNSON,    331 GLENDELLA DR,    AVONDALE, LA 70094-2521
14725575       +JOHNNY ANDRY,    2129 HWY 90 W,    AVONDALE, LA 70094-2748
14725576       +JOHNNY HAMPTON,    1545 ESTHER APT 12,     HARVEY, LA 70058-3653
14725577       +JOHNSON POWER LTD,    2530 BRAGA DRIVE,     BROADVIEW,, IL 60155-3943
14725590       +JOLEEN MARIE DICKEY,    5967 COUNTY RD 185 #16,     JOPLIN, MO 64801-6109
14725592       +JOMO JOSEPH,    712 OLYMPIA CIR,    NEW ORLEANS, LA 70114-1551
14725593       +JON BOLER GIBSON,    176 BUSTER STOCKSTILL RD,     PICAYUNE, MS 39466-9367
14725594       +JONATHAN ANDERSON,    317 FIR STREET,    LAPLACE, LA 70068-4650
14725595       +JONATHAN B. GUIDROZ,    74 MARIE DRIVE,     GRETNA, LA 70053-5755
14725596        JONATHAN BRAUD,    417 AMES BLVD / LOT 50,     MARRERO, LA 70072
14725597        JONATHAN BRENT SHILLING,     5033 PAGE ST,    MARRERO, LA 70072-4912
14725598       +JONATHAN ECHEVERRIA,    8044 1/2 ALHAMBRA AVE,     PARAMOUNT, CA 90723-8422
14725599        JONATHAN JOHNSON,    1953 JASPER LANDE APT. B,     LAPLACE, LA 70068
14725600       +JONATHAN KENDRICK,    162 E. 17TH ST,    RESERVE, LA 70084-5242
14725601       +JONATHAN MAUS,    195 WEST 8TH STREET,     RESERVE, LA 70084-6133
14725602       +JONATHAN RIVERA-AVILES,     3215 LOUISIANA AVE,    LAKE CHARLES, LA 70601-8742
14725603       +JONATHAN ROVIRA,    12395 PENDARVIS LANE,     WALKER, LA 70785-8203
14725604       +JONATHAN TROXLER,    684 ALINE STREET,     LAPLACE, LA 70068-5104
14725606       +JONES BROTHERS TRUCKING, INC,     6681 COMMERCIAL LANE,    MISSOULA, MT 59808-4801
14725607       +JONES WALKER,    201 ST. CHARLES AVE 50TH FLOOR,     NEW ORLEANS, LA 70170-5100
14725613       +JORDAN CARRIERS INC,    170 HWY 61 SOUTH,     NATCHEZ, MS 39120-5279
14725614       +JORDAN D. COOKE,    113 KENNEDY STREET,     ST. ROSE, LA 70087-3111
14725615       +JORDAN LOGISTICS, INC..,     170 HIGHWAY 61 SOUTH,    NATCHEZ, MS 39120-5279
14725616       +JORDAN T FRIEDRICHS,    2673 N NOBILE ST,     PAULINA, LA 70763-2529
14725617        JORDAN ZERINGUE,    717 VANS LANE,    NEW SARPY, LA 70078
14725618       +JORGE A DIAZ,    700 AVE A,    WESTWEGO, LA 70094-4228
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14725619       +JORGE ALBERTO DIAZ,    107 COCHRAN ST,    MESQUITE, TX 75181-3203
14725621       +JORGE DIAZ,    1117 CLEAVIEW PKY,    METAIRIE, LA 70001-3417
14725622       +JORGE F LANZA,    208 TRANSCONTINENTAL,    METAIRIE, LA 70001-4448
14725623       +JORGE LUIS PATZAN,    2701 CONOR COURT,    MARRERO, LA 70072-6271
14725624       +JORGE PINEDA,    1916 RIDGEFIELD DR,    LAPLACE, LA 70068-2604
14725625       +JORY L BERNARD LLC,    1389 SMEDE HWY,    BROUSSARD, LA 70518-8028
14725626       +JOSE A TORRES-HENRIQUEZ,    24 ASHTON COX DR APT #24C,     GRETNA, LA 70053-6725
14725627       +JOSE LUIS ORTEGA TORRES,    425 JUSTICE CT.,    MARRERO, LA 70072-1609
14725628       +JOSE MARTINEZ,    7427 BARATARIA BLVD LOT 49,     MARRERO, LA 70072-7667
14725629       +JOSE PEREZ,    163 KATHY DRIVE,    LAPLACE, LA 70068-5676
14725630       +JOSE RIVAS,    2001 CLAIRE AVE,    GRETNA, LA 70053-7447
14725631       +JOSEPH A HOLMES,    1623THERAD ST,    GRETNA, LA 70053-3348
14725632       +JOSEPH AMEDIO,    1641 BELLE CHASSE HWY,    TERRYTOWN, LA 70056-7055
14725633       +JOSEPH B. WAGUESPACK JR.,     183 TROXCLAIR LANE,    DESTREHAN, LA 70047-4265
14725634       +JOSEPH C. HEBERT,    284 WEST 1ST STREET,    RESERVE, LA 70084-6016
14725635       +JOSEPH CENTANNI,    508 SHORT ST,    KENNER, LA 70062-7155
14725636       +JOSEPH CHARLES WILLIAMS,    3121 BACCHUS DR,    NEW ORLEANS, LA 70131-2107
14725637       +JOSEPH COIG,    4033 S WOODBINE,    HARVEY, LA 70058-2242
14725638        JOSEPH D BIVONA,    116 JOHNNY CT,    LA PLACE, LA 70068-6624
14725639       +JOSEPH DANOS,    4925 DITCHARO STREET / LOT 14,     LAFITTE, LA 70067-5131
14725640       +JOSEPH DARR,    1335 N AIRLINE AVE,    GRAMERCY, LA 70052-3009
14725641       +JOSEPH DARR JR.,    1339 N AIRLINE AVE.,    GRAMERCY, LA 70052-3009
14725642       +JOSEPH DYLAN SWEENEY,    172 RUE ACADIAN,    BELLE CHASSE, LA 70037-4140
14725643       +JOSEPH E. CASIMIER JR,    740 PAILET AVENUE,    HARVEY, LA 70058-4042
14725644        JOSEPH FAZZIO INC.,    2760 CROSS KEYS ROAD,    Glassboro, NJ 08028
14725645       +JOSEPH GUILLORY JR,    1425 MONROE STREET APT A,     GRETNA, LA 70053-3264
14725646       +JOSEPH HOFFMAN,    916 CENTRAL AVE,    WESTWEGO, LA 70094-4748
14725647       +JOSEPH J. THOULION JR.,    805 SECOND STREET,     NORCO, LA 70079-2211
14725648       +JOSEPH JOHNSON,    329 S WOOD DR,    GRETNA, LA 70056-7868
14725649       +JOSEPH JONES,    201 RUE DUBOURG ST,    LAPLACE, LA 70068-3433
14725650        JOSEPH K. WILLIAMS,    2590 LIONEL WASHINGTON ST.,     LUTCHER, LA 70071
14725651       +JOSEPH LAWRENCE,    4012 S INDIGO DRIVE,    HARVEY, LA 70058-5017
14725653       +JOSEPH MONTEGUT,    721 WALNUT,    LAPLACE, LA 70068-5144
14725654      #+JOSEPH NAQUIN,    707 KELLER AVE,    WESTWEGO, LA 70094-4703
14725655       +JOSEPH OLIVIER,    2617 OLIVIER BLVD,    MARRERO, LA 70072-6136
14725656       +JOSEPH P. MANCUSO,    248 EVANGELINE ROAD,    MONTZ, LA 70068-8918
14725657       +JOSEPH PECORARO,    5064 HIGHLAND DR,    MARRERO, LA 70072-5008
14725658       +JOSEPH PERRILLOUX,    271 East 23rd St.,    RESERVE, LA 70084-5203
14725659       +JOSEPH PRESCOTT,    119 KENNEDY ST,    ST ROSE, LA 70087-3111
14725660       +JOSEPH RANSON JR,    1636 WAGNER ST,    NEW ORLEANS, LA 70114-4659
14725661       +JOSEPH REILLY,    147 DANE ROAD,    WAVELAND, MS 39576-3823
14725662       +JOSEPH RICHARDSON,    115 SPUR STREET,    GRAMERCY, LA 70052-3158
14725663       +JOSEPH ROCHE JR,    315 JESSIE ST,    MARRERO, LA 70072-1608
14725664       +JOSEPH ROTH, III,    2104 JEAN LAFITTE BLVD,    LAFITTE, LA 70067-3612
14725665       +JOSEPH SHANO B 111,    11749 HWY 23,    BELLE CHASSE, LA 70037-4205
14725666       +JOSEPH T RYERSON & SON,    10445 AIRLINE HWY,     ST. ROSE, LA 70087-3009
14725668       +JOSEPH TAILOR DAVIS,    2605 ROSE DR,    GRETNA, LA 70053-7545
14725669        JOSEPH TARANTO,    105 CHURCHILL DOWNS DR,    MONTZ, LA 70068-8951
14725670       +JOSEPH TINSON,    GEN DEL BX 34,    POINT A LA HACHE, LA 70082-9999
14725671       +JOSEPH TRAVIS PHILLIPS,    396 HELIS DR,    WESTWEGO, LA 70094-2116
14725672       +JOSEPH WAGUESPACK JR,    183 TROXCLAIR LANE,    DESTREHAN, LA 70047-4265
14725677       +JOSH MATHERNE,    3309 BARATARIA BLVD,    MARRERO, LA 70072-6201
14725678       +JOSHUA A. HARGIS,    107 AQUEDUCT DRIVE,    MONTZ, LA 70068-8949
14725679        JOSHUA AMBROSE,    5256 W. ARBEED STREET,    ST. JAMES, LA 70086
14725680       +JOSHUA B. GIRDLER,    1113 MADEWOOD RD.,    LAPLACE, LA 70068-3419
14725681        JOSHUA B. SCOTT,    912 EAST MCADOO STREET,    NEW SARPY, LA 70078
14725682        JOSHUA D. ARZU,    566 ESPLANADE STREET,    LAPLACE, LA 70068
14725683       +JOSHUA H DAVIS,    1127 LEBOUEF STREET,    NEW ORLEANS, LA 70114-2538
14725684       +JOSHUA J. ADAMS,    39077 SUSAN STREET,    PEARL RIVER, LA 70452-5159
14725685       +JOSHUA KNECHT,    2900 DOREEN LANE,    MARRERO, LA 70072-6257
14725686       +JOSHUA M. WEBER,    517 BARRECA STREET,    NORCO, LA 70079-2319
14725687      #+JOSHUA MICHAEL JERNIGAN,    1901 LAFAYETTE ST. APT 543,     GRETNA, LA 70053-6600
14725688       +JOSHUA MOSBY,    7525 BARATARIA BLVD,    MARRERO, LA 70072-7546
14725689       +JOSHUA R. GROVER,    149 EAST 3RD STREET,    RESERVE, LA 70084-5443
14725690       +JOSHUA REID,    3826 PETERS RD TRAILER #1,    HARVEY, LA 70058-2003
14725691       +JOSHUA SOSA,    3601 PAGE DR,    METAIRIE, LA 70003-1546
14725692       +JOSHUA WAGNER,    74329 THETA AVE,    COVINGTON, LA 70435-5406
14725693       +JOSHUA WILLIAMS,    1232 CARROLLTON AVE,    METAIRIE, LA 70005-2347
14725694       +JOTUN PAINTS, INC.,    9203 HIGHWAY 23,    BELLE CHASSE, LA 70037-2144
14725695       +JOURDON J SHELDON,    19 EAST WOODLAWN,    DESTREHAN, LA 70047-2537
14725696       +JOY J. BYRD,    1017 BEECH STREET,    LAPLACE, LA 70068-5519
14725697       +JOYCE ZENO,    606 BLUEBIRD STREET,    LAPLACE, LA 70068-4906
14725698       +JP Morgan Chase,    PO Box 182051,    Columbus, OH 43218-2051
14725699       +JRC INC,    3007 GOVERNOR JOHN SEVIER HWY EAST,     KNOXVILLE, TN 37914-6424
14725700       +JUAN A PEREZ,    3519 CALIFORNIA AVE,    KENNER, LA 70065-2834
14725701       +JUAN CARLOS DERAS,    4220 EAST LOYOLA,    KENNER, LA 70065-1728
14725702        JUAN LASTRAPES,    1052 1/2 CANDLELIGHT DR,    MARRERO, LA 70072
14725703       +JUAN LUIS MUNOZ LOPEZ,    2916 NORTH MONTEREY CT APT G3,     GRETNA, LA 70056-4688
14725704       +JUAN MANSILLA,    3001 CLEARY AVE APT 115,    METAIRIE, LA 70002-7301
14725705       +JUAN SMITH,    415 MONROE ST,    GRETNA, LA 70053-2044
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14725706       +JUAN SUAREZ,    412 GEORGETOWN DR,    KENNER, LA 70065-4106
14725707       +JUAN TEJADA,    2312 OLD COMPTON RD APT B,     HARVEY, LA 70058-5333
14725708       +JUDAH SADLER,    503 N MARLIN CT,    TERRYTOWN, LA 70056-2824
14725709       +JULES ARMOUR,    2636 DELTA POINT,    MARRERO, LA 70072-6165
14725710       +JULIO ARANA,    850TURQUOISE AVE,    NEW ORLEANS, LA 70124-3543
14725712        JULIUS JONES,    4826 BAYOU DES FAMIL,    MARRERO, LA 70072
14725713       +JULIUS STEEL,    430 FRANKLIN ST,    GRETNA, LA 70053-2021
14725714       +JUSTIN A. ST. GERMAIN,    229 CONCORD DRIVE,     LAPLACE, LA 70068-3315
14725715       +JUSTIN ALLEN WORKMON,    6030 ANNICATION ST,     NEW ORLEANS, LA 70118-5707
14725716      #+JUSTIN FALTERMAN,    177 WEST 1ST STREET,    RESERVE, LA 70084-6013
14725717       +JUSTIN JACKSON,    838 OLYMPIA CIRCLE APT 838,     NEW ORLEANS, LA 70114-1553
14725719      #+JUSTIN M. CLEMENT,    209 BONNIE STREET,    LAPLACE, LA 70068-5637
14725720       +JUSTIN R SCHNYDER,    1609 E FRISCO DR,    LAPLACE, LA 70068-2715
14725721        JUSTIN S. JOHNSON,    20526 HIGHWAY 3125,    PAULINA, LA 70763
14725722       +JYREN J LEWIS,    158 WEST 4TH ST,    EDGARE, LA 70049-2737
14725324       +Jackson, Andrew,    1417 Meeker Loop,    LaPlace, LA 70068-6113
14725325       +Jackson, Brandon,    2025 Paine Dr,    Marrero, LA 70072-4624
14725326       +Jackson, Brent Anthony,    100 Cottage Grove,     LaPlace, LA 70068-6294
14725327        Jackson, Corey Vankee,    PO Box 2505,    Reserve, LA 70084-2505
14725328       +Jackson, Devin T,    216 Third Emanuel Street,     Bridge City, LA 70094-3312
14725329       +Jackson, James Dalton,    507 N Roane St,    Harriman, TN 37748-2104
14725360       +James Darby,    Griffin Law,    Stephen P Giffin, Esq,    4051 Whipple Ave NW Ste 201,
                 Canton, OH 44718-3059
14725444       +Jefferson Iron & Metal Brokerage, Inc.,     Coface North America Insurance Company,
                 650 College Road East, Suite 2005,     Princeton, NJ 08540-6779
14725448       +Jefferson Parish Sheriffs Office Bureau,     of Revenue & Taxation Sales Tax Division,
                 200 Derbigny Street Suite 1200,     Gretna, LA 70053-5871
14725449       +Jefferson Parish Sheriffs Office Bureau,     of Revenue & Taxation Sales Tax Division,
                 PO Box 248,    Gretna, LA 70054-0020
14725455       +Jeffery, Stanford A,    13163 Willow Street,     Vacherie, LA 70090-4415
14725483       +Jerry Arp Trucking,    4750 Kingston Hwy,    Lenoir City, TN 37771-3743
14725545       +John J. Pempek, Inc,    11745 Southwest Highway,     Palos Heights, IL 60463-1079
14725579       +Johnson, Calvin Joseph,    193 Velie St,    Ponchatoula, LA 70454-9000
14725580       +Johnson, Cory Douglas,    130 Unger Hill Rd,     Oakdale, TN 37829-2939
14725581       +Johnson, Gerald James,    36504 Lake Bend Ave.,     Prairieville, LA 70769-3284
14725582       +Johnson, Laverne,    P O Box 187,    Hahnville, LA 70057-0187
14725583       +Johnson, Richard Filmore,     302 Snowhill Rd,    Oakdale, TN 37829-2516
14725584       +Johnson, Roger C,    114 North Second Street,     Amite, LA 70422-2406
14725585       +Johnson, Ronald,    1238 Barkley Drive,    Baton Rouge, LA 70810-3207
14725586       +Johnson, Rudolph,    40 Cynthia Street,    Waggaman, LA 70094-2192
14725587       +Johnson, Timothy L,    28873 Hwy 40,    Independence, LA 70443-3471
14725588       +Johnston, Christopher,    3920 39th St,    New Brighton, PA 15066-2828
14725589       +Johnstone Supply of New Orleans,     Harold Petit,    1400 Edwards Ave,   Harahan, LA 70123-2251
14725591       +Jolley, David L,    103 Lewis St,    Rockwood, TN 37854-3021
14725605       +Jones Brothers Trucking, Inc,     PO Box 4414,    Missoula, MT 59806-4414
14725608       +Jones, Brandon L,    320 Landrum Hill Road,     Lancing, TN 37770-3026
14725609       +Jones, Chad Deitrich,    Po Box 25,    Lutcher, LA 70071-0025
14725610       +Jones, Kerry Lamont,    312 Arlington Dr,    Laplace, LA 70068-3302
14725611       +Jones, Robert,    1609 Cambridge Drive,    Laplace, LA 70068-2801
14725612       +Jones, Terry Lee,    292 Gobey Rd,    Lancing, TN 37770-3300
14725652        Joseph Lopinto,    Sheriff and Ex-Offico Tax Collector,     200 Derbigny St, Suite 1200,
                 Gretna, LA 70053-5871
14725667        Joseph T. Ryerson & Son, Inc,     PO Box 731036,    Dallas, TX 75373-1036
14725673       +Joseph, Gregory,    P.o. Box 157,    Edgard, LA 70049-0157
14725674       +Joseph, Raymond,    P. O Box 780,    Lutcher, LA 70071-0780
14725675        Joseph, Terryjuan R,    170 East 12th Street Extension,     Reserve, LA 70084
14725676       +Josey, Leo Anthony,    4241 Elba St,    New Orleans, LA 70125-2853
14725725        KA-JI Construction, LLC,     47405 Whiskey Lane,    Tickfaw, LA 70466
14725724        KADRINA E. TAPPAN,    968 EARLY STREET,    PARADIS, LA 70080
14725726       +KALEB CLEMENT,    3565 REDWOOD LANE,    PAULINA, LA 70763-2322
14725729       +KANTY C. FAVORITE,    2004 S. SUGAR RIDGE,     LAPLACE, LA 70068-6208
14725730       +KANTY FAVORITE,    2004 S SUGAR RIDGE,    LAPLACE, LA 70068-6208
14725731        KAPELL ANDERSON,    210 DIAMOND RD,    NORCO, LA 70079
14725732       +KAREN GUTIERREZ,    500 FAIRMONT ST.,    HARVEY, LA 70058-4212
14725734       +KARY ALEXIE,    444 JEAN LAFITTE BLVD,    LAFITTE, LA 70067-5106
14725735       +KASIB HAKEEM,    2054 RUE RACINE,    MARRERO, LA 70072-4729
14725736       +KATHERINE RODAS-BEJARANO,     1520 OPELOUSAS AVE,    NEW ORLEANS, LA 70114-2563
14725737       +KATHRYN H TURNER,    1039 SULLIVAN PL,    PEARL RIVER, LA 70452-3465
14725738       +KATHY LIGHTELL,    625 W. HARDING STREET,    DESTREHAN, LA 70047-4218
14725739       +KATHY SESSIONS,    684 S. NIAGARA CIRCLE,    GRETNA, LA 70056-2915
14725740       +KAWANDA L THOMPSON,    39012 BAYOU VIEW AVE,     GONZALES, LA 70737-6274
14725741       +KAYMON JONES,    121 HIGHLAND AVE,    BELLE CHASSE, LA 70037-1931
14725742       +KEACHELL L. RIXNER,    133 BOARDWALK,    LAPLACE, LA 70068-4224
14725743       +KEITH CHARLES LONG,    1901 ESHER PLACE,    MARRERO, LA 70072-6710
14725744       +KEITH FLUKER,    4017 AMES BLVD,    MARRERO, LA 70072-6103
14725745       +KEITH HART,    136 EAST 26 ST,    RESERVE, LA 70084-5114
14725746       +KEITH JOEL LUTZ,    1813 LAKE SALVADOR,    HARVEY, LA 70058-5155
14725747      #+KEITH JOHNSON,    1832 WELLINGTON DR,    MARRERO, LA 70072-4433
14725748       +KEITH JONES,    383 CAPT G BOURGEOIS,    LAPLACE, LA 70068-4717
14725749       +KEITH JOSEPH CHOUEST,    1521 FARRINGTON DR,     MARRERO, LA 70072-4015
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14725750       +KEITH JUAN TURNER,    720 CARROLLWOOD VILL DRIVE APT 292,     GRETNA, LA 70056-3086
14725751       +KEITH KRAMER,    4425 AMES BLVD,    MARRERO, LA 70072-6307
14725753       +KEITH PORTA,    1910 PETERS ROAD,    HARVEY, LA 70058-1731
14725754       +KEITH ROSS,    223 ADONIS WAY,    TERRYTOWN, LA 70056-2516
14725755       +KEITH THIBODEAUX,    1323 PALFREY STREET,    GRETNA, LA 70053-3244
14725756       +KEITH WILLIAMS JR.,    122 KING STREET,    HOUMA, LA 70363-5338
14725757       +KELLY BARRIOS,    600 PETERS RD,    HARVEY, LA 70058-1705
14725758       +KELLY GENERAL CONSTRUCTION CO OF DE,     360 WEST 10TH STREET,    RESERVE, LA 70084-6605
14725759        KELLY MABILE,    153 E 12TH STREET,    RESERVE, LA 70084
14725760       +KELLY ORSAK,    18308 RIVER RD APT. A,    MONTZ, LA 70068-8913
14725761        KELON R. GARDNER JR.,    491 LIL EMILY STREET,    GARYVILLE, LA 70051
14725764       +KELVIN JACKSON,    2520 W CATAWBA ST,    HARVEY, LA 70058-2158
14725765       +KEN WILLIAMS,    421 GILLIGAN ST,    WESTWEGO, LA 70094-4515
14725766       +KENDALL BOVIE,    177 E. 21ST STREET,    RESERVE, LA 70084-5214
14725767       +KENDALL CURTIS,    5841 MILLADRON,    MARRERO, LA 70072-5107
14725768       +KENDALL ESKO,    1208 MAGNOLIA HIGHTS,    VACHERIE, LA 70090-5506
14725770        KENDELL BROWN,    2535 W LEBRAY,    LUTCHER, LA 70071
14725772       +KENNARD BATISTE,    240 FIR STREET,    LAPLACE, LA 70068-4649
14725777       +KENNET C. MONTGOMERY,    712 COLONY DRIVE,    LAPLACE, LA 70068-3626
14725778       +KENNETH BEARD,    218 HOLLYWOOD PARK,    MONTZ, LA 70068-8944
14725779       +KENNETH C. AUGUST,    205 SURREY DRIVE,    LAPLACE, LA 70068-5220
14725780       +KENNETH CAMBRE,    605 PALM ST,    LA PLACE, LA 70068-4023
14725781       +KENNETH CENTOLA,    1005 MADISON STREET,    GRETNA, LA 70053-3123
14725782       +KENNETH D KNUTSON,    1545 126TH ST,    NEW RICHMOND, WI 54017-6665
14725783       +KENNETH DELANEUVILLE,    228 E. 16TH ST,    RESERVE, LA 70084-5248
14725784        KENNETH EUGENE,    158 S FIG ST,    GARYVILLE, LA 70051
14725785       +KENNETH J. NAQUIN JR.,    12474 KINCHEN LANE,    TICKFAW, LA 70466-1708
14725786       +KENNETH LEWIS,    1649 JEFFERSON ST,    LAPLACE, LA 70068-6010
14725787       +KENNETH M PITRE,    5440 BELLE TERRE RD,    MARRERO, LA 70072-4147
14725788       +KENNETH MITCHELL,    310 NW 4TH ST,    RESERVE, LA 70084-6534
14725789       +KENNETH MONCHAUD,    625 MOCKINGBIRD LANE,    ST ROSE, LA 70087-3817
14725790       +KENNETH MUSE,    1828 NEW ORLEANS AVENUE,    HARVEY, LA 70058-3241
14725791       +KENNETH P. SIMS,    2821 BACCHUS DR,    ALGIERS, LA 70131-2103
14725792       +KENNETH SONGY,    734 CENTRAL AVE,    RESERVE, LA 70084-5516
14725793       +KENNITH B. BROWN,    40249 BREN WAY DRIVE,    Ponchatoula, LA 70454-6563
14725794        KENNY BOSSIER,    144 JILL STREET,    LAPLACE, LA 70068
14725795       +KENNY GUERET,    32127 LONGVIEW ST,    PAULINA, LA 70763-2129
14725796       +KENNY PIPE & SUPPLY INC,    125 WEST SCOTT AVENUE,     KNOXVILLE, TN 37917-6223
14725797        KENTUCKY MACHINE & ENGINEERING,     Cadiz, KY 42211
14725801       +KENTWOOD SPRING WATER,    3418 HOWARD AVENUE,    NEW ORLEANS, LA 70113-3307
14725802       +KERMIT MICHAEL,    113 S AIRLINE AVE,    GRAMERCY, LA 70052-3637
14725803        KERON CRAFT,    1120 HENDEE STREET,    NEW ORLEANS, LA 70114-2625
14725804       +KERRY J. CHOPIN,    700 VANS LANE,    DESTREHAN, LA 70047-4112
14725805        KERRY L. TYLER,    8766 HOUMA DR,    LA PLACE, LA 70068-6007
14725806       +KERRY LECOMPTE,    2113 POTOMAC DR,    MARRERO, LA 70072-4806
14725807       +KERRY M. BRIGNAC,    510 PALM STREET,    LAPLACE, LA 70068-4022
14725808       +KERRY RODRIGUE,    5008 MT RUSHMORE APT D,    MARRERO, LA 70072-5654
14725809       +KERRY WARREN,    120 F STREET APT A,    BELLE CHASSE, LA 70037-2004
14725811       +KEVIN AUSBROOKS,    535 BROWN AVENUE,    HARVEY, LA 70058-4106
14725812       +KEVIN BOUDREAUX,    68 MASON AVE,    GRETNA, LA 70053-7025
14725813       +KEVIN COURTNEY BAILEY,    4037 S INDIGO DR,    HARVEY, LA 70058-5045
14725814       +KEVIN HINGLE,    120 RIO VISTA AVE,    JEFFERSON, LA 70121-3924
14725815        KEVIN J. SINGLETON,    2464 W. LEBRAY STREET,    LUTCHER, LA 70071
14725817       +KEVIN LEWIS,    9020 ROUSSEAU ST,    KENNER, LA 70062-7836
14725818       +KEVIN LOWE,    1113 CINCLAIR LOOP,    LA PLACE, LA 70068-6119
14725819       +KEVIN M. TROESCHER JR,    4321 BAYOU OAKS CIR.,     MARRERO, LA 70072-6738
14725820       +KEVIN MICHAEL PUNCH,    4857 JEAN LAFITTE RD,    LAFITTE, LA 70067-5409
14725821       +KEVIN MONTZ,    116 ACTAEA ST,    LAPLACE, LA 70068-6842
14725822       +KEVIN OUBRE,    1608 MAIN STREET,    LA PLACE, LA 70068-5718
14725823       +KEVIN PLAISANCE,    5302 SHARPE RD,    MARRERO, LA 70072-7648
14725824       +KEVIN PONSON,    1116 SOUTHLAWN BLVD,    NEW ORLEANS, LA 70114-1660
14725825        KEVIN PRESTON SR,    921 S. FISKE AVE,    PORTLAND, OR 97203
14725827       +KEVIN STEIN,    6 TURNBERRY DR,    LAPLACE, LA 70068-1600
14725828       +KEVIN STEWART,    1040 ESTALOTE ST APT 5,    HARVEY, LA 70058-3755
14725829       +KEVIN TRAHAN JR,    312 COTTONWOOD DR,    GRETNA, LA 70056-7932
14725830       +KEVIN TWICKLER,    1925 COOPER RD.,    TERRYTOWN, LA 70056-4014
14725831       +KEVIN WILLIAMS,    2505 CAMBRIDGE,    LAPLACE, LA 70068-2311
14725832       +KEVIN WILLIAMS,    535 WILLOW ST,    LAPLACE, LA 70068-5129
14725833       +KEYSTONE LOGISTICS INC,    1657 COMMERCE DRIVE,     SOUTH BEND, IN 46628-1546
14725834       +KGS STEEL INC.,    3725 PINE LANE,    BESSEMER, AL 35022-5642
14725835       +KHANH VAN NGUYEN,    4233 FIELDS ST,    NEW ORLEANS, LA 70131-7502
14725836        KHANHN LUONG,    1819 SQUIREWOOD DR,    HARVEY, LA 70058
14725837       +KHRIS PFISTER,    122 JOHNSON STREET,    SAINT ROSE, LA 70087-3116
14725838       +KIM ACKERMAN,    132 HOLLYWOOD PARK,    LAPLACE, LA 70068-8940
14725839      #+KIM ALEXANDER,    6404 HOWARD AVE,    MARRERO, LA 70072-2702
14725841        KIMCO STEEL SALES LTD.,    1325 sir John Counter Boulevard,     Kingston, ON K7L 4W1 Canada
14725842       +KINDER MORGAN,    4400 RIVER ROAD,    MARRERO, LA 70072-2134
14725843       +KINDER MORGAN BULK TERMINALS, INC,     1001 LOUISIANA ST., SUITE 1000,     HOUSTON, TX 77002-5089
14725844       +KINDRA MARINE INC,    9864 AVENUE N,    CHICAGO, IL 60617-7316
14725845       +KINETICS INDUSTRIES,    C/O J.R. WOODRUFF CO.,    140 STOKES AVENUE,    TRENTON, NJ 08638-3796
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14725846       +KING OF FREIGHT,    110 S. MAIN STREET SUITE 300,      WICHITA, KS 67202-3751
14725848       +KING PRINCE,    2612 DESTREHAN ST APT D,     HARVEY, LA 70058-6411
14725856       +KIPO LLC DBA,    JOHNSTONE SUPPLY OF NO, BR, SLIDELL,      1400 EDWARDS AVENUE,
                 HARAHAN, LA 70123-2251
14725857       +KIRBY DARENSBURG,    278 ST CHARLES ST,     DESTREHAN, LA 70047-4324
14725858       +KIRK A FISHER,    5024 JEAN LAFITTE BL,     LAFITTE, LA 70067-5412
14725859       +KIRK A. GAUDET,    290 WEST THIRD STREET,     EDGARD, LA 70049-2725
14725860       +KIRK E DAVIS,    332 HAMILTON ST,     GRETNA, LA 70053-4708
14725861       +KIRK FAVORITE,    1800 LAURADALE DR,     NEW ORLEANS, LA 70114-4732
14725862       +KIRK GALLAGHER,    P.O. BOX 1570,     HARVEY, LA 70059-1570
14725863       +KIRK J LESASSIER,    633 WHITNEY AVE,     NEW ORLEANS, LA 70114-1343
14725864       +KIRK J. SAUCIER,    116 JOHNNIE COURT,     LAPLACE, LA 70068-6624
14725865       +KIRK JOUTY,    163 JOUTY LANE,    LAPLACE, LA 70068-6635
14725866       +KIRK PAUL USEY,    2003 ENGINEERS RD,     BELLE CHASSE, LA 70037-3118
14725867       +KIRK TASSIN,    142 COLONY RD,    BELLE CHASSE, LA 70037-2359
14725868       +KIRK TRUCKING SERVICE INC,     6629 ROUTE 22,    DELMONT, PA 15626-2407
14725869       +KIRK WASHINGTON,    2820 CONCORDIA,     LAPLACE, LA 70068-2214
14725872       +KME GERMANY GmbH & CO. KG,     c/o KME AMERICA, INC.,     1000 JORIE BLVD, SUITE 111,
                 OAK BROOK, IL 60523-4484
14725874       +KNOX LEE III,    230 CLEMENT STREET,     DESTREHAN, LA 70047-4306
14725875       +KNOXVILLE BOLT & SCREW, INC,     614 SEVIER AVENUE,     KNOXVILLE, TN 37920-1738
14725876       +KOBE D. KELLER,    1408 VAN ARPEL DRIVE,     LAPLACE, LA 70068-6237
14725877        KOBE J. MORRIS,    265 HISTORIC EAST,     GARYVILLE, LA 70051
14725878       +KODIAK METALS RECYCLING NC.,     James Dickinson,    1010 AVENUE S,    DICKINSON, TX 77539-8097
14725879       +KONE CRANES,    Keith Miner,    3115 LAPLACE LANE,     LAPLACE, LA 70068-5966
14725880       +KONECRANES INC.,    1003 DELAPLAIN ROAD,     Georgetown, KY 40324-9581
14725881       +KONECRANES, INC.,    D.B.A. CRANE PRO PARTS,     11420 W THEODORE TRECKER WAY,
                 WEST ALLIS, WI 53214-1137
14725882       +KOSTMAYER CONSTRUCTION,     1080 OLD SPANISH TRAIL, STE 14,     SLIDELL, LA 70458-5002
14725883        KOTHMANN ENTERPRISES INC.,     3616 HOWARD COUNTY AIRPORT ROAD,     BIG SPRING, TX 79720
14725884        KPMG LLP,    DEPT. 0754,    PO Box 120754,    DALLAS, TX 75312-0754
14725885       +KRAIG LUTZ,    321 MAGNOLIA LN,    COVINGTON, LA 70433-4718
14725886        KRESHA BRODEN,    323 E 13TH STREET,     RESERVE, LA 70084
14725888        KRIPKE ENTERPRISES, INC,     Toledo, OH
14725889       +KRISTAL L. PIERCE,    526 CEDAR STREET,     LAPLACE, LA 70068-5417
14725890       +KRISTINE RHODEN,    4216 HUDSON ST,     METAIRIE, LA 70006-2814
14725892       +KT GRANT, INC.,    1577 PLEASANT GROVE RD,     DOLOMITE, AL 35061-1130
14725893       +KURT FALTERMAN,    119 EVANGELINE RD,     MONTZ, LA 70068-8917
14725894       +KURT ROUSSEL,    40422 HWY 3125,    PAULINA, LA 70763-2281
14725895       +KURTLEN ISAAC,    649 FARMINGTON PLACE APT A,     GRETNA, LA 70056-4353
14725896       +KUZMA TESVICH,    138 HUNT ST,    BELLE CHASSE, LA 70037-2616
14725897       +KV ENTERPRISE,    99 TRANQUILITY DRIVE,     MANDEVILLE, LA 70471-6790
14725898       +KY VAN NGUYEN,    1005 CANDLELIGHT CT,     MARRERO, LA 70072-2503
14725899        KYLE BORNE,    3134 BELMONT LANE,     HESTER, LA 70743
14725900       +KYLE W. JOHNSON,    1611 N. AVE. B,     CROWLEY, LA 70526-2761
14725901       +KYLE WOOTON,    5228 CLEMENTINE LANE,     MARRERO, LA 70072-8621
14725902       +KYRON KELLY,    1505 GRANT STREET,     LAPLACE, LA 70068-2934
14725727       +Kane, Richard Joseph,     348 Mead Dr,    Moon Twp, PA 15108-9611
14725728       +Kantrow Spaht Weaver & Blitzer APLC,      Julie M. McCall, Shareholder,    PO Box 2997,
                 Baton Rouge, LA 70821-2997
14725762       +Kelsan Inc,    PO Box 52326,    Knoxville, TN 37950-2326
14725763       +Kelsan, Inc.,    5109 National Dr,     Knoxville, TN 37914-6512
14725771        Kenerly, Christian Levi,     530 N Shady Ln,    Shoreacres, TX 77571-7244
14725773       +Kennedy, Britt K,    628 St Augustine St,     Bogalusa, LA 70427-3362
14725774       +Kennedy, Raymond Edgar,     18556 Hwy 70 E,    Rockwood, TN 37854-6948
14725775       +Kennedy, Robert Lee,     298 Edwards Rd,    Harriman, TN 37748-4715
14725776       +Kennedy, Robert W,    476 Lezlie Drive,     Peosta, IA 52068-9108
14725798       +Kentucky Machine & Engineering, Inc,      590 Glenwood Mill Road,    Cadiz, KY 42211-9344
14725799       +Kentucky Machine & Engineering, Inc.,      Gregory B Allen, President,    590 Glenwood Mill Road,
                 Cadiz, KY 42211-9344
14725800       +Kentucky Machine & Engineering, Inc.,      PO Box 619,    Cadiz, KY 42211-0619
14725826       +Kevin Simmons,    Lawyer Mike Brandner,     3621 Veterans Memorial Blvd,    Metairie, LA 70002-5839
14725840       +Kimble, Glen R,    50534 Hwy 1063,     Independence, LA 70443-3032
14725847       +King of Freight LLC,     110 S. Main St., Ste #300,     Wichita, KS 67202-3751
14725849       +King, Christopher Keith,     40741 Eagle Ln,    Franklinton, LA 70438-8581
14725850       +King, Devin M,    13179 Sycamore Street,     Vacherie, LA 70090-4501
14725851       +King, Devine M,    1783 Hwy 18,    Vacherie, LA 70090-5374
14725852       +King, Gary B,    36804 Chapel Hill Road,     Franklinton, LA 70438-8814
14725853       +King, Gary W,    19498 Sylvest Road,     Franklinton, LA 70438-3336
14725854        King, Mason S,    1783 Louisiana 18,     Vacherie, LA 70090
14725855       +King, Thaddeus Anthony,     1112 hudson st,    kenner, LA 70062-6624
14725870       +Kirkland, Kevin Raynard,     1884 Commodore Point Drive,     Fleming Island, FL 32003-7205
14725873       +Knight, Cecil James,     10950 Jefferson Highway,    Apt F 22,    River Ridge, LA 70123-5708
14725887       +Krieder, James G,    31185 Pea Ridge Road,     Albany, LA 70711-2808
14725903       +L & D SCRAP,    201 E. AVENUE,    ELLISVILLE, MS 39437-2113
14725904       +L & K METALS INC.,    3514 E. OLD SPANISH TRAIL,     NEW IBERIA, LA 70560-8281
14725905       +L & L IRONWORKS LLC,     111 WPA Rd.,    BELLE CHASSE, LA 70037-3101
14725907       +L J DABNEY,    4053 SOUTH DELLS,    HARVEY, LA 70058-2107
14725908       +L&D SCRAP METAL,    201 E AVENUE,     ELLISVILLE, MS 39437-2113
14725909        L. KAHN & SON,    Havana, IL 62644
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14725911       +LA DEPT OF AGRICULTURE & FORESTRY,     DIVISION OF WEIGHTS & MEA.,
                 5825 FLORIDA BLVD, SUITE 1003,     BATON ROUGE, LA 70806-4259
14725912       +LA SCRAP METAL RECYCLING OF B.R.,     Daniel Richard,    2527 S WESTPORT DRIVE,
                 PORT ALLEN, LA 70767-6122
14725913       +LA SCRAP PROCESSORS,    Daniel Richard,    2200 CAMERON STREET,    LAFAYETTE, LA 70506-1504
14725914       +LA WILD, LLC,    182 OAK MARON LANE,    St. Rose, LA 70087-3361
14725917       +LACOREY A. STEVENS,    625 LASALLE DRIVE,    LAPLACE, LA 70068-2050
14725918       +LAD SERVICES OF LOUISIANA LLC,     1043 E. STEPHENSVILLE ROAD,    Morgan City, LA 70380-4420
14725920       +LAFAYETTE STEEL & ALUMINUM SALES,     2407 N 9TH STREET,    Lafayette, IN 47904-1047
14725923       +LAIRD CONTROLS NORTH AMERICA INC,     655 N RIVER ROAD NW SUITE A,    WARREN, OH 44483-2254
14725924       +LAKENYA WEBBER,    109 WARWICK ST,    LAPLACE, LA 70068-5233
14725925       +LAKESHIA ANDERSON,    1656 JEFFERSON ST,    LAPLACE, LA 70068-6009
14725926       +LAKEWAY URGENT CARE,    460 MEDICAL PARK DR, STE 103,     LENOIR CITY, TN 37772-5782
14725927       +LAKIA WILLIAMS,    413 SUGAR PINE ST APPT 5,     LAPLACE, LA 70068-4824
14725928       +LAMAR GRIFFIN,    1529 DELTA RD,    LAPLACE, LA 70068-2905
14725929        LAMAR VINNETTE,    1113 ST CLAIR LOOP,    LAPLACE, LA 70068
14725930       +LAMCO,   3865 BERKLEY ST,     SLIDELL, LA 70458-5203
14725931       +LANCE M. ONCALE,    509 MAIN STREET,    LAPLACE, LA 70068-4513
14725932       +LANCE PABLO,    136 KENNER LANE,    MONTZ, LA 70068-9034
14725933       +LANDON ELECTRIC CO., INC.,     1045 CARDEN FARM DR,    CLINTON, TN 37716-4121
14725934       +LANDSTAR INWAY INC,    13410 SUTTON PARK DRIVE SOUTH,     JACKSONVILLE, FL 32224-5270
14725937       +LANSING L LAURENT JR,    497 VINE DRIVE,    WESTWEGO, LA 70094-4541
14725938       +LAPHAM-HICKEY/OSHKOSH,    2585 West 20th Avenue,     OSHKOSH, WI 54904-8315
14725939       +LAPLACE GLASS,    130 EAST AIRLINE HWY,    LAPLACE, LA 70068-4103
14725941       +LARD OIL COMPANY, INC.,    LUBRICANT PLANT,    914 Florida Blvd SW,
                 Denham Springs, LA 70726-4340
14725942       +LARON C. NUMA,    512 GASSEN STREET,    LULING, LA 70070-4308
14725943       +LARRY ADAMS,    10335 OLD RAMMEL N HOUSTON RD #3201,     HOUSTON, TX 77086-2749
14725944       +LARRY AUSTIN JR,    1345 GARDEN ROAD,    MARRERO, LA 70072-2620
14725945       +LARRY BAKER,    342 ST. JAMES PLACE,    LAPLACE, LA 70068-4217
14725946       +LARRY BEASLEY,    1111 MILTON ST,    GRETNA, LA 70053-3420
14725947       +LARRY BROWN,    2024 GLADSTONE DR,    MARRERO, LA 70072-6720
14725948       +LARRY C WILLIAMS,    1662 NIE PKWY,    NEW ORLEANS, LA 70131-1908
14725949       +LARRY CAMBRE,    425 BELLVIEW STREET,    RIVER RIDGE, LA 70123-2819
14725950       +LARRY D COOKS,    7333 RUE LOUIS PHILLIPPE,    MARRERO, LA 70072-4539
14725951      #+LARRY D JARRELL JR,    949 WHITLOW COURT,    LAPLACE, LA 70068-5315
14725952       +LARRY DIXON JR,    1419 PAILET ST,    HARVEY, LA 70058-3617
14725953       +LARRY E TRICHE JR,    259 FIFTH STREET,    NORCO, LA 70079-2183
14725954       +LARRY FAVORS,    204 FIR STREET,    LAPLACE, LA 70068-4649
14725956       +LARRY GOMEZ,    2612 CARDINAL DR,    MARRERO, LA 70072-5802
14725957       +LARRY HENLEY,    4233 LAC BIENVILLE APT C,    HARVEY, LA 70058-5291
14725958       +LARRY JAMES,    1013 MANHATTAN BLVD APT 22305,     HARVEY, LA 70058-4651
14725959       +LARRY JAMES,    236 BEECH GROVE DR,    RESERVE, LA 70084-5504
14725960       +LARRY JIM OMEARA JR,    4044 CHESTNUT ST,    MARRERO, LA 70072-4008
14725961       +LARRY JOSEPH LEVY,    1800 W HOMESTEAD DR,    NEW ORLEANS, LA 70114-3390
14725962       +LARRY L BROWN,    923 N ROOSEVELT ST,    BOGALUSA, LA 70427-3245
14725963       +LARRY LABRY,    1331 NUMA ST,    NEW ORLEANS, LA 70114-2715
14725964       +LARRY MCKINLEY,    9170 CENTRAL PROJECT,    CONVENT, LA 70723-2706
14725965       +LARRY MERKEL,    5112 AMES BLVD,    MARRERO, LA 70072-6405
14725966       +LARRY PITTS,    64304 ANDERSON ROAD,    ROSELAND, LA 70456-2064
14725967        LARRY ROBERTSON,    651 COURTHOUSE LANE,    HAHNVILLE, LA 70057
14725968       +LARRY ROME,    5135 PERKINS ST,    LAFITTE, LA 70067-5221
14725969       +LARRY ROWAN,    2848 BARATARIA BLVD,    MARRERO, LA 70072-5604
14725970       +LARRY SANDRAS,    1986 JEAN LAFITTE,    LAFITTE, LA 70067-3608
14725971       +LARRY THIBODEAUX,    5144 WARWICK DR,    MARRERO, LA 70072-3638
14725972       +LARRY ZENO JR.,    115 DOVE STREET,    LAPLACE, LA 70068-4911
14725973        LASHANTE Q. SCOTT,    312 8TH STREET,    DESTREHAN, LA 70047
14725975       +LATASHA WHITE,    151 MUSEUM CIR LOT 22,    JONESBORO, GA 30236-2075
14725976       +LAURA B HEBERT,    2865 VICTORIA DR,    MARRERO, LA 70072-6043
14725977       +LAURA F. HEBERT,    999 LILAC STREET,    LAPLACE, LA 70068-4401
14725979       +LAVORIS P. DEWEY,    287 CHAD B. BAKER,    RESERVE, LA 70084-5016
14725980        LAWRENCE A. WILLIAMS JR.,     2485 N. COURSEAULT STREET,    LUTCHER, LA 70071
14725981       +LAWRENCE ALFORD JR,    2010 COLUMBUS ST,    NEW ORLEANS, LA 70116-1717
14725982       +LAWRENCE ANTHONY ROME,    2576 RAMSEY DR,    MARRERO, LA 70072-6119
14725983       +LAWRENCE BIENVENU,    426 CELOTEX PARK,    WESTWEGO, LA 70094-4514
14725984       +LAWRENCE BOLDEN,    1404 YORKTOWNE,    LA PLACE, LA 70068-3605
14725985       +LAWRENCE JACKSON,    1515 MANFIELD ST,    MARRERO, LA 70072-3307
14725986       +LAWRENCE JAMES III,    233 E 10TH STREET,    RESERVE, LA 70084-5325
14725987       +LAWRENCE JAMES JR,    1652 JEFFERSON ST,    LA PLACE, LA 70068-6009
14725988       +LAWRENCE JOHNSON JR,    2501 COLORADO DR,    MARRERO, LA 70072-6126
14725989       +LAWRENCE LEO,    3849 SUE KER DR,    HARVEY, LA 70058-1604
14725990       +LAWRENCE NOTO,    505 EVERGREEN DR,    GRETNA, LA 70053-4805
14725991       +LAWRENCE PALMISANO III,    23 SEVEN OAKS RD,     MARERRO, LA 70072-5059
14725992        LAWRENCE SIMS,    239 EAST 6TH STREET,    EDGARD, LA 70049
14725993       +LAWRENCE WASHINGTON,    1908 ESTALOTE AVE,    HARVEY, LA 70058-3553
14725998       +LEADAR ROLL, INC,    895 SHAWNEE ROAD,    LIMA, OH 45805-3437
14725999       +LEANDRIA JOHNSON,    P O BOX 521,    N W SECOND,    RESERVE, LA 70084-0521
14726000        LECO CORPORATION,    3000 LAKEVIEW AVENUE ST JOSEPH,     MICHIGAN 49085, MI 49085
14726001       +LECO Corporation,    Attn Credit Manager,    3000 Lakeview Ave,    St. Joseph, MI 49085-2319
14726002       +LEE ANN JOSEPH,    279 EAST 22ND STREET,    RESERVE, LA 70084-5208
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14726003        LEE BELVIN JR,    150 STAR TERRACE,    RESERVE, LA 70084
14726004       +LEE MCCLURE,    1932 PAILET,    HARVEY, LA 70058-3520
14726009       +LEETSDALE INDUSTRIAL II,     100 LEETSDALE INDUSTRIAL DRIVE,     LEETSDALE, PA 15056-1042
14726012       +LEGACY LOGISTICS, INC,     1154 HARBOR RIVER COVE,    MEMPHIS, TN 38103-8971
14726013       +LEMOINE MARINE REFRIGERATION,     P O BOX 1028,    HARVEY, LA 70059-1028
14726014       +LENNIE L VALENTINE,    208 WARWICK ST,    LAPLACE, LA 70068-5234
14726016        LEO WILLIAMS,    130 SAULS LN,    BRAITHWAITE, LA 70040-3203
14726017       +LEON PEYRES III,    6500 8TH ST,    MARRERO, LA 70072-1410
14726018       +LEONARD ADDISON,    661 DANDELION DR,    WAGGAMAN, LA 70094-2241
14726019        LEONARD BRIDGEWATER,    1114 ORANGE BLOSSOM LN,     HARVEY, LA 70058-4809
14726020       +LEONARD BYCHURCH,    3905 GRILLETTA CT,    MARRERO, LA 70072-6052
14726021        LEONARD CLAYTON,    3123 REV SAMUAL JONES LANE,     PAULINA, LA 70763
14726023       +LEONARD JAMES,    183 E. 24TH STREET,    RESERVE, LA 70084-5136
14726024       +LEONARD WILLIAMS,    1000 ESTALOTE STREET APT A,     HARVEY, LA 70058-3733
14726025       +LEONCE CREPPEL,    5669 FISHER STREET,    LAFITTE, LA 70067-5531
14726026       +LEOTHA TERRELL SR,    6420 HOWARD STREET,    MARRERO, LA 70072-2737
14726027        LEROY DALCOUR,    15649-A HWY 15,    BRAITHWAITE, LA 70040
14726028       +LEROY M BOSSIER,    152 HICKORY ST,    RESERVE, LA 70084-5600
14726029       +LEROY O BATTISTE,    601 5TH STREE,    DONALDSONVILLE, LA 70346-3905
14726030       +LEROY STEMLEY,    133 WEST 3RD STREET,    LAPLACE, LA 70068-4709
14726031        LEROY WILLIAMS JR,    147 SHERMAN WALKER,    GARYVILLE, LA 70051
14726032        LESLIE B. LAUMAN,    206 PINE STREET LOT 2,     BOUTTE, LA 70039
14726033       +LESLIE LONGMIRE JR,    312 ROTUNDA DR,    AVONDALE, LA 70094-2441
14726035       +LESON CHEVROLET,    1501 WESTBANK EXPRESSWAY,     HARVEY, LA 70058-4491
14726036       +LESTER CEPRIANO,    5348 FISHER STREET,    LAFITTE, LA 70067-5550
14726037       +LESTER CHOPIN,    118 FAVORITE LANE,    EDGARD, LA 70049-2752
14726038       +LESTER EPHERSON JR,    2700 CEDAR LAWN DR,     MARRERO, LA 70072-5414
14726039       +LESTER MCNICHOLAS,    259 BELLE TERE BLVD APT. #8,     LAPLACE, LA 70068-2431
14726040       +LESTER POLK,    1120 ROBINSON AVENUE,    MARRERO, LA 70072-2907
14726043      #+LETETIA MITCHELL,    800 CHIPLEY ST,    WESTWEGO, LA 70094-4817
14726044       +LETITIA SKIDMORE,    2029 LUTHER DR,    MARRERO, LA 70072-4553
14726047       +LEVERN SIMMONS,    2088 LINCOLNSHIRE DR,    MARRERO, LA 70072-4640
14726048       +LEVI BATES,    1500 NATCHEZ LANE,    LAPLACE, LA 70068-2912
14726049       +LEVY W. SIMMONS,    4312 LIZABETH DRIVE,    MARRERO, LA 70072-5475
14726050       +LEWILL GILMORE,    1717 LINCOLN AVENUE,    MARRERO, LA 70072-3419
14726056       +LHOIST NORTH AMERICA,    OF ALABAMA, LLC,    John Beatty,    5600 CLEARFORK MAIN ST,    STE 300,
                 FORT WORTH, TX 76109-3572
14726060        LINCOLN FINANCIAL GROUP,     LINCOLN RETIREMENT SERVICE CO LLC,     PO Box 7876,
                 FORT WAYNE, IN 46801-7876
14726061       +LINCOLN FINANCIAL GROUP,     12730 Coldwater Rd #104,    FORT WAYNE, IN 46845-8670
14726062       +LINDA LEJEUNE,    113 RITCHIE PL,    FRAMERVILLE, LA 71241-7249
14726063       +LINDA ROBINSON,    272 E 14TH STREET,    RESERVE, LA 70084-5260
14726065       +LINKEDIN CORPORATION,    62228 COLLECTIONS CENTER DRIVE,     Chicago, IL 60693-0001
14726066       +LINSEY ECKERT,    818 POLLARD ROAD,    ABILENE, TX 79602-4420
14726067       +LINTON A DUET JR,    120 EAST 69TH ST,    CUT OFF, LA 70345-2947
14726068       +LIONEL COOK,    162 EAST 12TH STREET,    RESERVE, LA 70084-5308
14726071       +LISA FABRE,    PETTY CASH,    138 HIGHWAY 3217,    LAPLACE, LA 70068-8821
14726072       +LITTELL STEEL COMPANY,     100 FALLSTON STREET,    New Brighton, PA 15066-3109
14726074       +LLJ ENVIRONMENTAL CONSTRUCTION,     PO BOX 240,    MARRERO, LA 70073-0240
14726075       +LLOYD DUPARD,    PO BOX 104,    6080 LA HSY 44,    CONVENT, LA 70723-0104
14726076        LLOYD FERDINAND JR,    6888 LA HWY 44,    CONVENT, LA 70723
14726077       +LLOYD R. BINION JR.,    29396 LINDAS HAVEN ROAD,     SPRINGFIELD, LA 70462-6975
14726079       +LLT, L.L.C.,    Larry L. Taylor,    14170 Hickory Drive,    Ponchatoula, LA 70454-6648
14726080       +LLT, LLC,    14170 HICKORY DRIVE,    PONCHATOULA, LA 70454-6648
14726081       +LOBSERVATEUR,    116 NEWSPAPER DRIVE,    LAPLACE, LA 70068-4509
14726082       +LOCKE LORD LLP,    Alan H. Katz,    Brookfield Place,    200 Vesey Street, 20th Floor,
                 New York, NY 10281-1006
14726083        LOGAN A. ROUSSEL,    233 N. MAGNOLIA AVE,    GRAMERCY, LA 70052
14726084       +LOGAN M. ZIMMER,    735 N. PINE STREET,    GRAMERCY, LA 70052-3657
14726085       +LOGGINS LOGISTICS INC,     5706 COMMERCE SQUARE,    JONESBORO, AR 72401-9631
14726086       +LOGISTIC DYNAMICS INC /,     LDI TRUCKING INC,    155 PINEVIEW DRIVE,    AMHERST, NY 14228-2231
14726087       +LOGISTICS SOLUTIONS INTERNATIONAL,     821 DAWSONVILLE HWY, STE 250,     GAINESVILLE, GA 30501-2622
14726088       +LONDERVILLE STEEL ENT,     141156 WOODLAND DRIVE,    Wausau, WI 54401-5602
14726090        LONNIE BROWN,    137 APPOLO ST,    RESERVE, LA 70084
14726091       +LONNIE J DESALVO,    438 BROWN AVENUE,    HARVEY, LA 70058-4105
14726092       +LONNIE LOTT,    2705 S BIRCHFIELD DR,    HARVEY, LA 70058-2032
14726093       +LONNIE TASSIN,    114 JILL STREET,    LAPLACE, LA 70068-6630
14726095       +LORENZO BURNS,    1601 MARINE ST,    MARRERO, LA 70072-3517
14726096       +LORENZO HAIRE,    43 IRIS LANE,    WAGGAMAN, LA 70094-5701
14726097       +LORETTA MATHERNE,    106 KATHY DRIVE,    LAPLACE, LA 70068-5675
14726098       +LORI MISTICH,    733 SECOND AVE,    HARVEY, LA 70058-2632
14726099       +LORRAINE WHITE,    332 PROFIT ST,    MARRERO, LA 70072-1612
14726100       +LOTOYA MCGEE,    4325 IDAHO AVE APT A,    KENNER, LA 70065-2237
14726101      #+LOUIS ANTOINE,    1310 HANCOCK ST,    GRETNA, LA 70053-3233
14726102       +LOUIS BAROUSSE,    167 HOLLYWOOD PARK,    MONTZ, LA 70068-8941
14726103       +LOUIS CERTAIN,    676 HUNTERBROOK,    GRETNA, LA 70056-7920
14726104       +LOUIS COOK III,    732 GOODHOPE STREET,    NORCO, LA 70079-2434
14726105       +LOUIS CURT PANNAGL,    920 POEYFARRE ST APT 171,     NEW ORLEANS, LA 70130-3846
14726106       +LOUIS J. PARRIA III,    2433 PRIVATEER BLVD,     BARATARIA, LA 70036-5717
14726107        LOUIS LIPPS,    131 PEAVINE RD,    LAPLACE, LA 70068
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14726108       +LOUIS MABRY,    1825 WILLIAMSBURG DR,     LAPLACE, LA 70068-2820
14726109       +LOUIS PHENIX III,    316 5TH STREET,     BRIDGE CITY, LA 70094-3208
14726111        LOUISIANA ASSOCIATION OF,     SELF INSURED EMPLOYERS,    PO BOX 4151,    BATON ROUGE, LA 70821-4151
14726112        LOUISIANA ASSOCIATION OF,     BUSINESS & INDUSTRY,    PO BOX 80258,    BATON ROUGE, LA 70898-0258
14726115        LOUISIANA DEPT OF ENV QUALITY,     FINANCIAL SERVICES DIVISION,     ATTN ACCOUNTS RECEIVABLE,
                 PO Box 733676,    DALLAS, TX 75373-3676
14726118       +LOUISIANA MACHINERY CO,     3799 WEST AIRLINE HWY,    RESERVE, LA 70084-5717
14726119       +LOUISIANA MACHINERY CO LLC,     204 ENGINEERS ROAD,    BELLE CHASSE, LA 70037-1127
14726120       +LOUISIANA OFFICE PRODUCTS,     ELMWOOD PARK,    210 EDWARDS AVENUE,    HARAHAN, LA 70123-4204
14726125       +LOUISIANA TRUCK STOP AND GAMING,     150 PINTAIL ST,    ST ROSE, LA 70087-4024
14726126        LOUISIANA WORKFORCE COMMISSION,     LA OWC ASSESSMENTS DEPT 165026,     PO Box 62600,
                 NEW ORLEANS, LA 70162-2600
14726127       +LOUPE CONSTRUCTION & CONS. INC,     148 SHIRLY LANE,    RESERVE, LA 70084-7002
14726130       +LOY GALLICIO JR,    5060 RANDOLP ST,     MARRERO, LA 70072-4923
14726131       +LUCAS REYES,    2296 N FRIENDSHIP DRIVE,     HARVEY, LA 70058-3008
14726133       +LUCIEN EUGENE GALMICHE 111,     5045 PAGE STREET,    MARRERO, LA 70072-4912
14726134       +LUCSHWEITZER HILL,    213 7TH STREET,     GRETNA, LA 70053-5429
14726135       +LUDLUM MEASUREMENTS INC,     501 OAK STREET,    SWEETWATER, TX 79556-3209
14726136       +LUIS ENRIQUE GOMEZ MADRID,     5 JEASONNE CT,    GRETNA, LA 70056-3034
14726137       +LUIS PAZ,    121 MARTIN,    ST ROSE, LA 70087-3352
14726138       +LUIS PAZ-RODRIGUEZ,    2121 WILLIAMS BLVD,     KENNER, LA 70062-5805
14726139       +LUIS RAFAEL RSOENDO-VALERIO,     136 1ST STREET,    ST. ROSE, LA 70087-3848
14726140       +LUKA CVITANOVIC,    P O BOX 264,    3464 HWY 11,    EMPIRE, LA 70050-0264
14726141       +LUKE BILICH,    224 PI STREET,    BELLE CHASSE, LA 70037-1435
14726142       +LUKE W. ONEAL JR.,    506 AMARYLLIS CT.,     LAPLACE, LA 70068-3915
14726143       +LUKE Z DEFELICE JR,    528 FIRST AVE,     HARVEY, LA 70058-2730
14726144       +LYDELLL JULIEN,    126 WEST 2ND ST,     EDGARD, LA 70049-2625
14726145       +LYMAN NEWSHAM,    4760 LENNOX BLVD,     NEW ORLEANS, LA 70131-8353
14726146       +LYNCARL WHITE,    8891 RICHMOND DR APT C,     LAPLACE, LA 70068-2944
14726147       +LYNDA BOWMAN LESTER,     4804 BRANDI STREET,    MARRERO, LA 70072-6610
14726148        LYNELL W. JAMES,    113 HISTORIC WEST ST,     GARYVILLE, LA 70051
14726149      #+LYNN M. CAHILL,    534 OAK ALLEE DRIVE,     LAPLACE, LA 70068-3702
14726150       +LYNN ROMERO TRUCKING,     P.O. BOX 9189,    NEW IBERIA, LA 70562-9189
14726151      #+LYNNETTE M BEVROTTE,     2025 ELLINGTON DR,    MARRERO, LA 70072-4705
14726152       +LYNWELL WILSON,    7825 ALMA ST,    BRIDGE CITY, LA 70094-5601
14726153       +LYONS CONSULTING GROUP, LLC,     20 N. WACKER DRIVE, SUITE 1750,     Chicago, IL 60606-2965
14725915       +Labat, Elsie,    434 Mahogany St,    Laplace, LA 70068-4410
14725919       +Ladd, Ronald,    122 Scarbrough Circle,     Harriman, TN 37748-5610
14725921       +Lagumbay, Kelvin John,     2721 Yorktown Drive,    Laplace, LA 70068-2103
14725922       +Laiche, Norris J,    2155 Martin St.,     Paulina, LA 70763-2412
14725935       +Landstar Ranger,    Attn Dawn Bowers,     13410 Sutton Park Dr S,    Jacksonville, FL 32224-5270
14725936       +Lang, David P,    2241 Darlene Dr,     Covington, LA 70435-5636
14725940       +Laporte, Susie Ruiz,     317 Rosedown,    Laplace, LA 70068-3325
14725974       +Lasserre, Brian John,     13425 Ash Street,    Vacherie, LA 70090-3052
14725978       +Lavelle Law, Ltd.,    Timothy M. Hughes, Attorney,     1933 N. Meacham Rd., Suite 600,
                 Schaumburg, IL 60173-4390
14725994       +Lawson, Freddy Dean,     208 Rockbridge Rd,    Harriman, TN 37748-4329
14725995       +Lay, Daniel Preston,     1310 Riviera Avenue,    New Orleans, LA 70122-1936
14725996       +Lay, Robert Anthony,     p o box 1034,    Luling, LA 70070-1034
14725997       +Leaaf Environmental,     2301 Whitney Ave,    Gretna, LA 70056-7400
14726005       +Lee, Cyron Anthony,    63 East St.,     Norco, LA 70079-2056
14726006        Lee, Kendall Ross,    32402 LA-43,     Independence, LA 70443
14726007       +Lee, William Chester,     268 Ben Henry Rd.,    Harriman, TN 37748-3940
14726008       +Leetsdale Industrial Corporation,      100 Leetsdale Industrial Drive,    Leetsdale, PA 15056-1042
14726010       +Leffew & Leffew,    Greg Leffew,    109 North Front Avenue,     Rockwood, TN 37854-2320
14726011       +Leffew & Leffew,    Greg Leffew, County Attorney,     PO Box 63,    Rockwood, TN 37854-0063
14726015       +Lennix, Kinya Nicole,     66 Derek Lane,    LaPlace, LA 70068-8400
14726034       +Leslie, Joseph S,    294 Evangeline Rd,     Montz, LA 70068-8918
14726041       +Lester, Lynda Dianne,     4804 Brandi St.,    Marrero, LA 70072-6610
14726042       +Lester, Paul Lloyd,    18580 Markwood Dr,     Citronelle, AL 36522-2632
14726045       +Letner, Gage A,    199 Noland Lane,     Harriman, TN 37748-7950
14726046       +Lett, Darrian C,    380 Homewood Place,     Reserve, LA 70084-5532
14726051       +Lewis, Gary Allen,    725 Emma Dr,     Reserve, LA 70084-5569
14726052       +Lewis, Joseph E,    P O Box 2270,    Reserve, LA 70084-2270
14726053       +Lewis, Kewanna Sharelle,     3864 Redbud Lane,    Harvey, LA 70058-2139
14726054       +Lewis, Steven G,    505 Fife Ln,    LaPlace, LA 70068-2348
14726055       +Lexington Insurance Company,     99 High Street,    23rd Floor,    Boston, MA 02110-2320
14726057       +Lhoist North America of Alabama, LLC,      Attn Nancy Ribaudo,    Kelly Hart & Hallman LLP,
                 201 Main Street Suite 2500,     Fort Worth, TX 76102-3194
14726058       +Lhoist North America of Alabama, LLC,      5600 Clearfork Main Street Suite 300,
                 Fort Worth, TX 76109-3572
14726059       +Lifting Technologies LLC,     PO Box 4167,    Missoula, MT 59806-4167
14726064       +Lindley, Desa L,    105 E. Claiborne Sq,     Chalmette, LA 70043-4506
14726070       +Lipscomb, Charles Wayne,     P.o. Box 282,    St. Amant, LA 70774-0282
14726073       +Little, Kyle Dirk,    114 Clearview Dr,     Rockwood, TN 37854-5257
14726078       +Lloyds Syndicates 623/2623 Beazley,      Beazley USA Services Inc.,    30 Batterson Park Road,
                 Farmington, CT 06032-2545
14726094       +Lopez, Russell J,    21465 Averett Road,     Loranger, LA 70446-2057
14726110       +Louis, Laron,    733 Belle Pointe Blvd,     LaPlace, LA 70068-6501
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14726113       +Louisiana Department of Revenue,     for both LaPlace and Harvey sites,     617 North Third Street,
                 Baton Rouge, LA 70802-5432
14726114        Louisiana Department of Revenue,     for both LaPlace and Harvey sites,     PO Box 201,
                 Baton Rouge, LA 70821-0201
14726117       +Louisiana Health Service &Indemnity Co,      dba Blue Cross &Blue Shield of Louisiana,
                 BIELLI & KLAUDER, LLC,     David M. Klauder, Esquire,    1204 N. King Street,
                 Wilmington, DE 19801-3218
14726116        Louisiana Health Service &Indemnity Co,      dba Blue Cross &Blue Shield of Louisiana,
                 Douglas M. Chapoton, Esquire,     5525 Reitz Avenue,    Baton Rouge, LA 70809-3802
14726121       +Louisiana Scrap Metal,    2200 Cameron Street,     Lafayette, LA 70506-1504
14726122       +Louisiana Scrap Metal Recycling,     Baton Rouge,    2527 S. Westport Dr,
                 Port Allen, LA 70767-6122
14726123       +Louisiana Scrap Metal Recycling of,     Baton Rouge Inc,    Attn Daniel Richard,
                 2200 Cameron Street,    Lafayette, LA 70506-1504
14726124       +Louisiana Scrap Processors,     2200 Cameron St.,    Lafayette, LA 70506-1504
14726128        Lousiana Secretary of State,     Commercial Division,    PO Box 94125,
                 Baton Rouge, LA 70804-9125
14726129       +Lousiana Secretary of State,     Commercial Division,    8585 Archives Avenue,
                 Baton Rouge, LA 70809-2421
14726132       +Lucas, Dustin W,    11143 Griffin Lane,     Tickfaw, LA 70466-3623
14726154       +Lyons, David,    131 Shady Brook Lane,    Kingston, TN 37763-6615
14726155       +M & L INDUSTRIES, LLC,    5201 AIRLINE DRIVE,     METAIRIE, LA 70001-5693
14726156       +M & M ELECTRIC SERVICES LLC,     864 HWY. 384,    Lake Charles, LA 70607-8935
14726157       +M Brashem Inc and MBI Rolls LLC,     and Rockwood Water Sewer and Gas,     Connolly Gallagher LLP,
                 Karen C Bifferato, Kelly M Conlan, Chris,      1201 North Market Street, 20th Floor,
                 Wilmington, DE 19801-1165
14726158       +M G TRANSPORT SERVICES, LLC,     2500 CHAMBER CENTER DRIV, Suite 205,
                 FORT MITCHELL, KY 41017-1667
14726159       +M. BRASHEM, INC,    Marvin Brashem, President &,     Jon Ferguson CFO,    14023 NE 8TH STREET,
                 BELLEVUE, WA 98007-4101
14726160       +M. GLOSSER & SONS,    72 MESSENGER STREET,     Johnstown, PA 15902-2189
14726161       +MABEL WILLIAMS,    2232 JEFFERSON,    HARVEY, LA 70058-6313
14726162       +MAC A. MCCLURE,    1605 FARRINGTON ST.,     MARRERO, LA 70072-4017
14726163       +MACK ALEXANDER,    426 CAMELLIA,    LAPLACE, LA 70068-3008
14726164       +MACK LEE JR,    565 GARDENIA ST,    LAPLACE, LA 70068-3015
14726167       +MACS AUTO WRECKING,    10519 AIRLINE HWY.,     ST. ROSE, LA 70087-3012
14726168        MADELINE JEFFERSON,    PO BOX 2797,    HARVEY, LA 70059-2797
14726173       +MAE DONOVAN,    1168 ORANGE BLOSSOM,    HARVEY, LA 70058-4809
14726175       +MAGELLAN MIDSTREAM PARTNERSLP,     5200 RIVER ROAD,    MARRERO, LA 70072-1747
14726176      #+MAGELLAN TRANSPORT LOGISTICS, INC.,     2511 ST. JOHNS BLUFF ROA, SUITE 107,
                 JACKSONVILLE, FL 32246-2344
14726177       +MAGNA REFRACTAIRES INC,     901 NORTH 3RD STREET, STE 218,    MINNEAPOLIS, MN 55401-1051
14726178       +MAGNESITA REFRACTORIES CO.,     425 S. SALEM CHURCH ROAD,    YORK, PA 17408-5955
14726179       +MAGNETECH INDUSTRIAL SERV,     800 NAVE RD SE,    MASSILLON, OH 44646-9476
14726180        MAGNETEK,    21790 NETWORK PLACE,    CHICAGO,, IL 60673-1217
14726182       +MAHTOOK & LAFLEUR, LLC,     600 JEFFERSON STREET, SUITE 1000,    LAFAYETTE, LA 70501-6953
14726183       +MAIKEL DIAZ,    5871 ANDERSON PL,    MARRERO, LA 70072-5237
14726185      ++MAKADA TRANSPORT INC,    ATTN VICKY HAMILTON,     6521 COUNTY LINE ROAD,    SUMMIT MS 39666-7044
               (address filed with court: MAKADA TRANSPORT, INC,       6521 COUNTY LINE ROAD,    SUMMIT, MS 39666)
14726187       +MALCOLM JAMES ALFORD,    11749 HWY 23,    BELLE CHASSE, LA 70037-4205
14726188       +MANNY RANDAZZO KING CAKES,     3515 HULLEN STREET,    METAIRIE, LA 70002-3419
14726189       +MANUEL CHOX,    782 BEHRMAN HWY,    GRETNA, LA 70056-3012
14726190       +MANUEL RODRIGUEZ,    4020 AUBREY PLACE,     MARRERO, LA 70072-6300
14726191       +MANUEL SAGASTUME ENAMORADO,     618 1/2 RICHARD ST,    GRETNA, LA 70053-4826
14726192       +MANUFACTURING REPAIR AND OVERSTOCK,     INCORPORATED,    4122 SOUTH CREEK ROAD,
                 CHATTANOOGA, TN 37406-1021
14726193       +MARC A. WASHINGTON JR.,     336 GREEN ROAD,    REEVES, LA 70658-5923
14726194       +MARC WASHINGTON JR,    104 HAMP ST,    LAPLACE, LA 70068-4613
14726195       +MARCEL K. JOSEPH,    220 REDWOOD STREET,     LAPLACE, LA 70068-4724
14726197       +MARCELLA VASQUEZ,    506 W MARLIN CT,    TERRYTOWN, LA 70056-2827
14726198       +MARCOS A. QUINTERO,    209 KILGORE PLACE,     KENNER, LA 70065-4017
14726199       +MARCUS JACKSON,    50 ROBERT RD,    WAGGAMAN, LA 70094-5802
14726200       +MARCUS M. WREN,    2408 YORKTOWN DRIVE,     LAPLACE, LA 70068-2322
14726201       +MARCUS ROARK,    7822B BARATARIA BLVD,    MARRERO, LA 70072-7551
14726202       +MARCUS TERRELL HARTLEY,     206 WILLIAMS ST.,    CRYSTAL SPRINGS, MS 39059-3155
14726203       +MARGARET LANDRY,    206 BEDFORD STREET,     LAPLACE, LA 70068-5226
14726204       +MARIA RAQUEL PALACIOUS NEVAREZ,     830 DERBIGNY ST.,    GRETNA, LA 70053-6120
14726205       +MARINE INDUSTRIAL GEARS & SERVICES,     2201 ST. JOSEPH LANE,    HARVEY, LA 70058-3528
14726207       +MARIO HENDERSON,    3304 COMMANDER LANE,     KENNER, LA 70065-2610
14726208       +MARION NATHANIEL REAVES,     3860 CHINKAPIN ST,    HARVEY, LA 70058-2021
14726209       +MARITIME COMPLIANCE INTL,     132 LAVERGNE STREET,    NEW ORLEANS, LA 70114-1008
14726210       +MARK A. MORRISON,    17 MORNING GLORY LANE,     WAGGAMAN, LA 70094-2275
14726211       +MARK A. WASHINGTON JR.,     336 GREEN ROAD,    REEVES, LA 70658-5923
14726212        MARK A. YOUNG,    235 POST STREET,    KILLONA, LA 70057
14726213       +MARK ANTHONY WILLIAMS,    6740 MATHER DR,     MARRERO, LA 70072-4554
14726214        MARK BAILEY,    212 ST. CHARLES,    NEW SARPY, LA 70074
14726215       +MARK DAVIS,    4834 OAK DR,    LAFITTE, LA 70067-5244
14726216       +MARK DOMING,    120 LAKE VISTA DRIVE,    LAPLACE, LA 70068-2416
14726217       +MARK FRANCOIS,    104 APPLE CT,    LULING, LA 70070-6100
14726218       +MARK HENRY DAVIS JR,    4834 OAK DR,    LAFITTE, LA 70067-5244
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14726219       +MARK SPICER,    19567 SUNSHINE AVE,    COVINGTON, LA 70433-8874
14726220       +MARKEDIA A. KENT,    171 APRICOT STREET,    LAPLACE, LA 70068-6819
14726222       +MARLENE JOHNSON,    2037 WAGNER STREET,    NEW ORLEANS, LA 70114-6158
14726223       +MARLON BOUDOIN,    509 LEONA ST,    BASTROP, LA 71220-5177
14726226       +MARSHALL HARDEE,    62198UNEEDUS TRACE RD,    AMITE, LA 70422-5105
14726227       +MARSHALL W. MONICA,    100 LANE A,    LAPLACE, LA 70068-6848
14726228       +MARTHA CAMPO,    561 DIPLOMAT ST,    TERRYTOWN, LA 70056-8408
14726229       +MARTIN FELIPE,    122 RIVERSIDE DR,    RESERVE, LA 70084-6619
14726230       +MARTIN JACKSON,    544 MEYERS BLVD,    MARRERO, LA 70072-1504
14726231       +MARTIN LUTHER CAREY,    176 TRAVIS,    AVONDALE, LA 70094-2546
14726238       +MARTY A. THIBODEAUX,    566 MELROSE DRIVE,    LAPLACE, LA 70068-3512
14726239       +MARVIN ADAMS JR,    2024 CHESTER REEVES RD,    MCCOMB, MS 39648-9747
14726240       +MARVIN J JEFFERSON,    3303 LONE OAKS DR APT #E108,     BATON ROUGE, LA 70814-1147
14726241       +MARVIN STRIPLIN,    2728 VICTORIA DR,    MARRERO, LA 70072-6042
14726242       +MARY DAVIES,    2313 HEBERT DR,    LAPLACE, LA 70068-6507
14726243       +MARY FALGOUST,    156 NORTH CHURCH ST,    GARYVILLE, LA 70051-3500
14726244       +MARY KAY BRADY,    121 RIVERSIDE DRIVE,    RESERVE, LA 70084-6620
14726245       +MARY KLEIN,    2908 DOVE AVE,    MARRERO, LA 70072-5816
14726246       +MARY SIMMONS,    1429 CLAIRE AVE,    GRETNA, LA 70053-7435
14726247       +MARY YOUNGER,    153 FIRETHORN,    GRETNA, LA 70056-7849
14726248       +MARZETTET BROOKINS JR,    109 MORGAN CT,    AVONDALE, LA 70094-2539
14726250       +MASON J. LEWIS,    4229 HWY 18,    EDGARD, LA 70049-2716
14726251        MASON P BURKE,    144 ORMOND PLACE DR,    DESTREHAN, LA 70047
14726254       +MASSMAN CONSTRUCTION CO,    4400 WEST 109th STREET,     OVERLAND PARK, KS 66211-1319
14726255       +MATERIAL LOGISTICS MANAGEMENT, INC,     3507 GRAND AVENUE,    PITTSBURGH, PA 15225-1509
14726256       +MATHESON TRI-GAS, INC,    909 LAKE CAROLYN PKWY,     IRVING, TX 75039-4821
14726257       +MATHEW BLANK,    146 HWY 3217,    LAPLACE, LA 70068-8821
14726260       +MATRIX SYSTEMS, INC,    1041 BYERS ROAD,    MIAMISBURGH, OH 45342-5487
14726261       +MATT L KELLER,    696 CENTRAL AVE,    RESERVE, LA 70084-5514
14726262       +MATT MCCOMBER,    PETTY CASH,    790 FT. GIBSON ROAD,    CATOOSA, OK 74015-3043
14726263       +MATTHEW B. MUSKEVITSCH,    598 WILLOWRIDGE DRIVE,     LULING, LA 70070-3227
14726264       +MATTHEW BLANK,    194 SMITH ROAD,    WOODVILLE, MS 39669-3660
14726265       +MATTHEW BOURGEOIS,    233 NORTH ATLANTA STREET,     METAIRIE, LA 70003-6805
14726266        MATTHEW D. SPENCER,    175 LAKEVIEW DRIVE,    LAPLACE, LA 70068
14726267       +MATTHEW GRANIER,    2820 LA 44,    PAULINA, LA 70763-2603
14726268       +MATTHEW HEDRICK IV,    221 HAMILTON RD,    GRETNA, LA 70056-3904
14726269       +MATTHEW ROSS MATHENY,    1916 BRIGHTON PLACE,     HARVEY, LA 70058-1412
14726271       +MAURICE CHIASSON,    4044 CYPRESS ST,    MARRERO, LA 70072-4012
14726273       +MAWSON & MAWSON INC.,    PO Box 248,    LANGHORNE, PA 19047-0248
14726274       +MAXON CORPORATION,    PO BOX 2068,    MUNCIE, IN 47307-0068
14726275       +MAYEUXS AC HEATING INC,    650 ST. CHARLES STREET,     NORCO, LA 70079-2400
14726277       +MBI ROLLS, LLC,    14023 NE 8TH STREET,    BELLEVUE, WA 98007-4101
14726278       +MC NEILUS STEEL INC.,    702 2ND AVENUE SOUTH,     Dodge Center, MN 55927-8903
14726279       +MCC INTERNATIONAL,    dba MILLER CENTRIFUGAL CASTING CO.,     110 CENTRIFUGAL COURT,
                 MCDONALD, PA 15057-2448
14726283       +MCDONOUGH MARINE SERVICE,     1750 CLEARVIEW PARKWAY,    METAIRIE, LA 70001-2422
14726284       +MCDOUGLAS GABRIEL,    535 AVONDALE GARDEN RD,     AVONDALE, LA 70094-2611
14726286       +MCJUNKIN RED MAN CORP,    3520 VIRGINIA AVENUE,     NARROWS, VA 24124-2409
14726288       +MCKENZIE RIVER SOFTWARE LLC DBA,     SMARTCAMCNC,    1144 GATEWAY LOOP STE 220,
                 SPRINGFIELD, OR 97477-7700
14726295       +MCS ENGINEERING,    EASTERN REGIONAL OFFICE,     1881 CODDING ROAD,    ULSTER, PA 18850-7785
14726297       +MEADOW LARK AGENCY, INC.,     2913 MILLENNIUM CIRCLE,    Billings, MT 59102-7444
14726298       +MEAGAN STONE,    152 FOREST DR,    BELLE CHASSE, LA 70037-4130
14726300       +MEDIMA,   5727 Strickler Road,     Clarence, NY 14031-1372
14726301       +MEDLEY STEEL & SUPPLY INC.,     9925 N.W. 116 WAY,    Medley, FL 33178-1101
14726302       +MEGACORP LOGISTICS,    7040 WRIGHTSVILLE AVE,     WILMINGTON, NC 28403-3683
14726303        MEGHAN M. LEWIS,    4229 L A HWY 18,    EDGARD, LA 70049
14726304       +MELCO STEEL INC.,    109 EAST THIRD STREET,    KENNER, LA 70062-7003
14726305       +MELVIN FENROY,    114 BOARDWALK,    LAPLACE, LA 70068-4209
14726306       +MELVIN PERRILLOUX,    10381 GARDEN JONES DR,     HAMMOND, LA 70401-4440
14726307       +MELVINSON TAVERAS,    153 KELLY DR,    SLIDELL, LA 70458-5403
14726310        MERLIN A FRICKEY,    532 1/2 MAPLE AVE,    HARVEY, LA 70058
14726311       +MERLIN GOUGISHA JR,    1008 ROMAINE ST,    GRETNA, LA 70053-3255
14726312       +MESSER LLC,    Formerly Linde LLC,    200 Somerset Corporate Blvd, 7000,
                 Bridgewater, NJ 08807-2882
14726313       +METAL PARTNERS REBAR, LLC,     3933 75TH STREET,    Aurora, IL 60504-8016
14726315       +METAL TRADER INC, TRIAD METAL,     1 Village Road,    Horsham, PA 19044-3800
14726316       +METALICO PITTSBURGH, INC,     3100 GRAND AVENUE,    Pittsburgh, PA 15225-1502
14726317       +METALS SERVICE CENTER INSTITUTE,     4201 EUCLID AVENUE,    Rolling Meadows, IL 60008-2025
14726318       +METALS USA,    PLATES AND SHAPES SOUTHEAST, INC.,     1 FOUNDRY ROAD,    WAGGAMAN, LA 70094-2349
14726319       +METALS USA - SOUTH CENTRAL,     2800 N. 43RD STREET EAST,    MUSKOGEE, OK 74403-1145
14726320       +METALS USA - SOUTHEAST,    1251 WOODLAND AVENUE,     MOBILE, AL 36610-2559
14726321       +METALS USA NORTHEAST,    50 CABOT BOULEVARD EAST,     Langhorne, PA 19047-1802
14726322       +METRO ALLOYS,    1024 SAMPLER WAY,    EAST POINT, GA 30344-1811
14726323       +METRO BOATING,    3028 4 TH STREET,    HARVEY, LA 70058-2828
14726324       +METROPOLITAN LIFE INSURANCE CO.,     4150 N Mulberry Dr,    Kansas City, MO 64116-1779
14726326        METSO MINERAL INDUSTRIES INC,     NAM RECYCLING,    PO BOX 951796,    DALLAS, TX 75395-1796
14726327       +METSO MINERALS INDUSTRIES, INC,     A K A METSO SHREDDER COMPANY,     11451 JONES MALTSBERGER,
                 SAN ANTONIO, TX 78216-2830
14726329       +MHX SOLUTIONS,    22707 S. WILMINGTON AVE.,    CARSON, CA 90745-4321
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14726330       +MI JACK PRODUCTS INC,    TECHNICAL SERVICE INT,L,     1522 MSCLEAD DRIVE,
                 MESQUITE, TX 75149-4502
14726331       +MICHAEL A CHAVEZ,    126 M & M LANE,    GARYVILLE, LA 70051-3008
14726332       +MICHAEL A, FERNANDEZ,    5133 KAREN DRIVE,    MARRERO, LA 70072-4229
14726333       +MICHAEL A. JACKSON,    4507 FRANCISCO VERRET DRIVE,     NEW ORLEANS, LA 70126-4374
14726334       +MICHAEL ANTHONY CHINN,    735 HERITAGE AVE, APT. B,     GRETNA, LA 70056-4116
14726335       +MICHAEL BUDGICK,    750 CENTRAL APT 108,    JEFFERSON, LA 70121-1336
14726336      #+MICHAEL BURNS,    1017 JOYCE ST,    MARRERO, LA 70072-2307
14726337       +MICHAEL BURNUM,    1774 CR 159,    COILA, MS 38923-7240
14726338        MICHAEL C LIPPS,    137 LAPEYROLERIE,    RESERVE, LA 70084
14726339       +MICHAEL CEASAR,    17754 RIVER ROAD,    MONTZ, LA 70068-9014
14726340       +MICHAEL CEASER,    250 NORTH BEND LANE,    MONTZ, LA 70068-8970
14726341       +MICHAEL CELESTIN,    7074 GEN MEYER AVE,    NEW ORLEANS, LA 70131-2150
14726342       +MICHAEL CORONA,    11298 RIVER ROAD,    ST. ROSE, LA 70087-3609
14726343       +MICHAEL D. CHISHOLM,    514 BARRECA,    NORCO, LA 70079-2320
14726344       +MICHAEL D. SANDERS,    437BELLE ALLIANCE DR,    LAPLACE, LA 70068-3211
14726345       +MICHAEL FAGAN,    3720 CIMWOOD DRIVE,    HARVEY, LA 70058-1617
14726346       +MICHAEL FRENCH,    1080 WOODLAND HWY,    BELLE CHASSE, LA 70037-1623
14726347       +MICHAEL J LAROUSSE,    812 EPSILON STREET,    BELLE CHASSE, LA 70037-1433
14726348       +MICHAEL J, CHAUVIN,    735 NORTH MAGNOLIA AVE,    GRAMERCY, LA 70052-3647
14726349       +MICHAEL JACKSON,    637 HOOTER RD,    BRIDGE CITY, LA 70094-3447
14726350        MICHAEL JOHN TOMBOW,    114 VONDURA ST,    ST ROSE, LA 70087
14726351       +MICHAEL JOHNSON,    3221 LENO DRIVE,    VACHERIE, LA 70090-7020
14726352       +MICHAEL JONES,    2111 KENTUCKY AVENUE,    KENNER, LA 70062-5944
14726353       +MICHAEL K DOUCET,    5428 TUSA DR.,    MARRERO, LA 70072-5508
14726354       +MICHAEL KING,    3412 OLE MISS DRIVE,    KENNER, LA 70065-2528
14726355       +MICHAEL KNIGHT,    2905 ELIZABETH ST,    MARRERO, LA 70072-6039
14726357       +MICHAEL L. JENKINS JR.,    23 SUMMERLIN DRIVE,    LAPLACE, LA 70068-8402
14726358       +MICHAEL MATTHEWS,    2349 VICTORIA AVE,    HARVEY, LA 70058-3272
14726359       +MICHAEL MCLIN,    126 TRICHE COURT,    LAPLACE, LA 70068
14726360       +MICHAEL MEUNIER,    110 HOLLYWOOD PARK,    LAPLACE, LA 70068-8940
14726361       +MICHAEL MORGAN,    40412 HWY 3125,    PAULINA, LA 70763-2281
14726362      #+MICHAEL NORTON,    60 OLD CREEK RD,    PICAYUNE, MS 39466-8646
14726363       +MICHAEL POSEY,    8789 SUNNYSIDE DRIVE,    LA PLACE, LA 70068-6003
14726364       +MICHAEL R BURFICT,    142 E 30TH STREET,    RESERVE, LA 70084-5003
14726365       +MICHAEL REYNAUD,    1115 LULING ESTATES,    LULING, LA 70070-4571
14726366       +MICHAEL RICHARDSON,    2001 MEDIAMOLLE DR,    NEW ORLEANS, LA 70114-3433
14726367       +MICHAEL SAULINO,    318 HOLMES BLVD,    TERRYTOWN, LA 70056-2685
14726368       +MICHAEL SHAW,    1224 PAILET ST,    HARVEY, LA 70058-3718
14726369      #+MICHAEL SOILEAU,    11 BELLE HELENE DR,    DESTREHAN, LA 70047-2526
14726370       +MICHAEL STEPHAN,    405 BAYOU ROAD,    BELLE CHASSE, LA 70037-3136
14726371       +MICHAEL T CHRISTIAN,    3700 AGATEWAY DR,    HARVEY, LA 70058-1923
14726372       +MICHAEL T DURONSLET,    2236 COUNTRY CLUB DR,    LAPLACE, LA 70068-1818
14726373       +MICHAEL W. GARLINGTON,    263 S. WILLOW STREET,     GRAMERCY, LA 70052-3126
14726375       +MICHAEL WHITE,    245 ELM STREET,    LAPLACE, LA 70068-4204
14726376       +MICHAEL WICHERS,    1620 HIGHLAND AVENUE,    Metairie, LA 70001-3608
14726377       +MICHAEL WILLIAMS,    100 BRUCE AVENUE,    GRETNA, LA 70056-2729
14726378       +MICHEAL LAURENT,    4857 MILL GROVE LANE,    MARRERO, LA 70072-8614
14726379       +MICHEL CAMBRE,    157 KATHY DR,    LAPLACE, LA 70068-5676
14726380       +MICHELLE ARCENEUAX,    916 STANTON RD,    NEW ORLEANS, LA 70131-3146
14726381        MID CITY STEEL,    WEST PORT, MA 02790-0698
14726382        MID CONTINENT COAL AND COKE CO.,     COLUMBIA ROAD, SUITE 2000,    BIRMINGHAM, AL 35216
14726383        MID STATES STEEL CORPORATION,     2515 INDUSTRIAL PARK ROAD,    Boone, IA 50036-3045
14726385       +MIDSOUTH MACHINE & SERVICE COMPANY,     534 NATIONAL DRIVE,    MARYVILLE, TN 37804-5428
14726386       +MIDWEST BRAKE BOND CO,    26255 GROESBECK HIGHWAY,     WARREN, MI 48089-1587
14726387       +MIDWEST PIPE & STEEL INC,    2001 East Pontiac Street,     Fort Wayne, IN 46803-3600
14726388       +MIGUEL A GIRON-ROMERO,    4748 W NAPOLEON AVE, APT 9,     METAIRIE, LA 70001-2375
14726389       +MIGUEL A. SOTRES,    1808 FRANCIS AVE,    METAIRIE, LA 70003-4654
14726390       +MIGUEL ANGEL JOVEL NAJARRO,     5100 OAK BAYOU AVE,    MARRERO, LA 70072-4961
14726391       +MIGUEL MONTOTO,    243 DUKE DRIVE,    KENNER, LA 70065-3911
14726392       +MIKE MAVROMATIS,    21 DERBES DR,    GRETNA, LA 70053-4941
14726398       +MILLIMAN,    CONSULTANTS & ACTUARIES,    10000 N. CENTRAL EXP.,    DALLAS, TX 75231-4144
14726399       +MILTON HUNTER,    4249 LAC BIENVILLE APT B,    HARVEY, LA 70058-5258
14726402       +MINERAIS U.S. LLC.,    Andrew Cooke,    105 RAIDER BLVD.,    HILLSBOROUGH, NJ 08844-1528
14726403        MINERD & SONS INC.,    101 RED NINE LANE,    LAWRENCE, PA 15055-0581
14726404       +MINERVA HAWKINS,    6173 RAY ST,    MARRER0, LA 70072-3536
14726405       +MINH NGUYEN,    6225 BERKLEY DR,    NEW ORLEANS, LA 70131-4103
14726407       +MISSY R. OUBRE,    158 KATHY DRIVE,    LAPLACE, LA 70068-5675
14726408       +MITCHEL GRANGER,    1129 ABERDEEN DRIVE,    HARVEY, LA 70058-3918
14726409       +MITCHELL BEARD,    107 CHURCHILL DOWNS,    LAPLACE, LA 70068-8951
14726410       +MITCHELL G. DILLON,    62108 WILBUR DILLON ROAD,     ANGIE, LA 70426-1800
14726414       +MITCHELLS CONTRACTING SERVICE, LLC,     618 CAREY CHAPEL ROAD,    RED BANKS, MS 38661-9750
14726415       +ML METALLURGY LLC,    12395 PENDARVIS LN,    WALKER, LA 70785-8203
14726416       +MODERN AMERICAN,    RECYCLING SERVICES, INC.,    PO Box 1160,    AMELIA, LA 70340-1160
14726417       +MODERN MACHINE AND GRINDI,    2001 CLARK ROAD,    DYER, IN 46311-1704
14726418        MODERN METALS RECYCLING, LLC,     5880 One Perkins Place Dr, Ste 6A,    Baton Rouge, LA 70808
14726419        MODERN TRANSPORT NETWORK LLC,     15901 CENTRAL COMMERCE R, SUITE 204,    Plugerville, TX 78660
14726420       +MOHAMMAD MUNAWAR,    3608 TAFT PARK,    METAIRIE, LA 70002-4560
14726421        MONT LEVINE INC.,    AUBURN ST. & BELTLINE EF,    FAIRMONT, WV 26554
14726422       +MONTEL COLEMAN,    729 ANSON ST,    GRETNA, LA 70053-2308
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14726423       +MONTGOMERY TRANSPORT, LLC,     2563 COMMERCE CIRCLE,     BIRMINGHAM, AL 35217-2352
14726424       +MONUMENTAL TRANSPORTATIONS,     165 GROVE PARK,    LAPLACE, LA 70068-6296
14726426       +MOORE MEDICAL,    PO Box 2740,    NEW BRITTAIN, CT 06050-2740
14726429        MORE SRL,   VIA S LUCIA 7,     GEMONA DEL FRIULI, UD 33013 Italy
14726430       +MORGAN PERRIN III,    4814 COULON ST,    LAFITTE, LA 70067-5456
14726431       +MORGAN STEEL,    1207 Riverside Blvd,    MEMPHIS, TN 38106-2502
14726432       +MORRIS E WILLIAMS,    224 EAST 22ND ST,     RESERVE, LA 70084-5207
14726433       +MORRIS KEITH JUDD,    618 MAJESTIC PL,    NEW ORLEANS, LA 70114-4526
14726434       +MORRIS LAICHE,    215 BONNIE ST,    LAPLACE, LA 70068-5637
14726435       +MORRIS WELLS,    812 WAYNE AVE,    BRIDGE CITY, LA 70094-4014
14726436       +MORRIS, NICHOLS, ARSHT & TUNNELL LLP,     Eric D. Schwartz,     1201 N. Market St., 16th Floor,
                 Wilmington, DE 19801-1146
14726437        MORSE STEEL COMPANY,    BNSF SPUR 312006,     BELLINGHAM, WA 98227-0490
14726439       +MOSES REID JR,    138 N W 1ST ST,    RESERVE, LA 70084-6500
14169625       +MOTION INDUSTRIES,    1605 ALTON ROAD,    BIRMINGHAM, AL 35210-3770
14726442       +MOTION INDUSTRIES INC,    5625 SALMEN STREET,     HARAHAN, LA 70123-5548
14726444       +MOUNT OLIVE BABTIST CHURCH,     1700 ESTALOTTE,    HARVEY, LA 70058-3638
14726445       +MRC GLOBAL,    1100 1ST AVENUE,    HARVEY, LA 70058-2502
14726446        MS STEEL PRODUCTS,    Litchfield, IL 62056
14726447       +MSC INDUSTRIAL SUPPLY CO,    524 ELMWOOD PARK BLVD, STE 160,      HARAHAN, LA 70123-6813
14726449       +MSG SERVICES, LLC,    2556 SANDPIPER CIRCLE,     MARRERO, LA 70072-8615
14726450      #+MT SELECT, LLC,    2518 COMMERCE WAY,    BIRMINGHAM, AL 35217-2355
14726452       +MULTIMEDIA TRAINING SYSTEMS INC,     370 BROADMOOR AVENUE,     PITTSBURGH, PA, PA 15228-2584
14726456        MURPHY & MLLER, INC.,    39661 TREASURY CENTER,     CHICAGO, IL 60694-9600
14726457       +MURPHY CLARKS,    217 GOV HALL,    GRETNA, LA 70053-5354
14726458       +MURPHY PETIT,    210 SOUTH CHERRY ST,    GRAMERCY, LA 70052
14726459       +MURPHY TAYLOR,    1508 NATCHEZ LANE,    LAPLACE, LA 70068-2912
14726466       +MY IT, LLC,    6620 RIVERSIDE DRIVE, SUITE 200,     Metairie, LA 70003-7108
14726467       +MYER IRVIN JR.,    708 MEDFORD DRIVE,    LAPLACE, LA 70068-2827
14726469       +MYRON CHAPMAN,    832 B LITTLE FARMS AVE.,     METAIRIE, LA 70003-5914
14726468       +MYRON CHAPMAN,    3205 TULANE DR,    KENNER, LA 70065-4037
14726470       +MYRON HERBERT,    335 CENTRAL AVE P.O. BOX 414,     EDGARD, LA 70049-0414
14726165       +MacPherson & Company,    Christina Marie Ellis, Office Admin,      95 Pelret Industrial Parkway,
                 Berea, OH 44017-2940
14726166       +MacPherson & Company,    PO Box 92,    Berea, OH 44017-0092
14726169       +Madere, Darin J,    2476 N Nobile Street,     Paulina, LA 70763-2528
14726170       +Madere, Glenn Charles,    64 West B St,     Norco, LA 70079-2258
14726171       +Madere, Jarvis Trevis,    94 Carriage Lane,     Apt. C,    Destrehan, LA 70047-3141
14726172       +Madison, Benjamin R,    25009 Spruce Drive,     Amite City, LA 70422-5435
14726174       +Magee, Terry L,    Po Box 341,    Livingston, LA 70754-0341
14726181       +Mahler, Craig E,    436 Devon Drive,    Mandeville, LA 70448-3319
14726184       +Majors, Ryan,    125 Eagle Point Dr,    Rockwood, TN 37854-5631
14726186       +Malancon, Henry,    Po Box 2442,    Reserve, LA 70084-2442
14726196       +Marcell, Hendrick Charles,     p o box 321,    Paulina, LA 70763-0321
14726224       +Marroquin, Daniel Enrique,     381 Fairway Drive,    LaPlace, LA 70068-1913
14726232       +Martin, Candyce Michelle,    1813 Columbia Court,     Laplace, LA 70068-6109
14726233       +Martin, Clarence,    1143 Cohen St,    Marrero, LA 70072-2713
14726234       +Martin, Larry D,    1509 Main Street,    Laplace, LA 70068-4152
14726235       +Martin, Meredith J,    2009 Cambridge Drive,     LaPlace, LA 70068-2301
14726236       +Martin, Randolph J,    2009 Yorktowne Dr,     Laplace, LA 70068-2313
14726237       +Martin, Ronell D,    3104 English Colony,     Laplace, LA 70068-2245
14726249       +Mascarenhas, Leander F,    4008 Transcontinental Drive,      Metairie, LA 70006-2644
14726252       +Mason, Ricardo M,    2549 Virginian Colony Ave,     Laplace, LA 70068-2342
14726253       +Masotto, Matthew Curtis,    460 Starfire Causeway,      Oldsmar, FL 34677-4015
14726258       +Mathieu, Keith Raymond,    156 Central Ave,     Edgard, LA 70049-2530
14726259        Matrix Service,    P. O. Box 971819,    Dallas, TX 75397-1819
14726270       +Matthews, Jeremiah J,    1608 Bayonne Drive,     LaPlace, LA 70068-3116
14726272       +Maus, Jonathan Lee,    42393 pebblestone ave,     Prairieville, LA 70769-6292
14726276       +Mayton, Phillip Dwayne,    128 Fairveiw Road,     Harriman, TN 37748-3604
14726280       +McComber, Matthew Shane,    10619 100th place,     Tulsa, OK 74133-5112
14726281       +McCord, Deirdre,    330 Brocato Lane,    Raceland, LA 70394-3317
14726285       +McGee, Keith J,    4733 Crowder Blvd,    New Orleans, LA 70127-3269
14726287       +McKenna, Duane K,    101 Karen Lynn Rd,     Amite, LA 70422-6751
14726290        McMaster-Carr,    PO Box 7690,    Chicago, IL 60680-7690
14726291        McMaster-Carr Supply Company,     McMaster-Carr,    PO Box 7690,    Chicago, IL 60680-7690
14726293       +McNabb, Michael L,    16069 Clement Road,     Independence, LA 70443-2115
14726294       +McQueen, Andre,    12043 Roddy Rd.,    Apt #5,    Gonzales, LA 70737-1808
14726282       +Mcdonald, Christian C,    404 Travis Dr,     Avondale, LA 70094-2552
14726296       +Meades, Marlene D,    2112 Cartier Drive,     Laplace, LA 70068-6317
14726299       +Mechanical Parts & Services, Inc.,     Gong Chang,    c/o MPSI,    PO Box 4030,
                 Carmel, IN 46082-4030
14726308       +Mendel, Earl J,    48432 Shady Lane,    Tickfaw, LA 70466-2108
14726309       +Mercke, George,    1036 N Haven Dr.,    Ponchatoula, LA 70454-4963
14726314        Metal Processors, Inc.,    Jackson, MS 39225
14726328       +Meunier, Michael A,    110 Hollywood Park,     Montz, LA 70068-8940
14726384       +Midkiff, Ashley Ray,    308 Rosedown Dr.,     LaPlace, LA 70068-3326
14726393       +Miles, Dwayne,    1742 Creole Street,    Laplace, LA 70068-6015
14726394       +Miller, John Alexandru,    323 S Chamberlain Ave,     Rockwood, TN 37854-2213
14726395       +Miller, Travis A,    17103 Gunboat Cir,     Maurepas, LA 70449-5986
14726396       +Millet, Donna B,    122 Terrio Drive,    Reserve, LA 70084-6511
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14726397       +Millet, Ronnie P,    122 Terrio Drive,    Reserve, LA 70084-6511
14726400       +Minerais U.S. LLC,    Norris McLaughlin P.A.,     Melissa A. Pena,
                 400 Crossing Boulevard, 8th Floor,     PO Box 5933,    Bridgewater, NJ 08807-5933
14726401       +Minerais U.S. LLC,    Attn Joseph Cooke,    105 Raider Boulevard, Suite 104,
                 Hillsborough, NJ 08844-1528
14726406       +Minor, Cornell,    2510 Erato St,    New Orleans, LA 70113-3406
14726411       +Mitchell, Andon Michael,    901 Pecan st,    apt 38,    Hammond, LA 70401-2373
14726412       +Mitchell, Ramos,    628 South Golfview Dr,    LaPlace, LA 70068-2015
14726413       +Mitchell, Rodney Stephen,     2113 Greenwood Drive,    Laplace, LA 70068-2042
14726427       +Moore, Dillan L,    124 Edwards Ln,    Spring City, TN 37381-4912
14726428       +Moore, Mark Chiama,    721 Medford Dr.,    Laplace, LA 70068-2826
14726438       +Morton, Robert,    8875 Houma Dr,    LaPlace, LA 70068-6006
14726440       +Mosquito Control Services LLC,     Joseph G Kraynak,    1125 Berkshire Blvd Ste 150,
                 Wyomissing, PA 19610-1218
14726451       +Mt. Airy Terminals LLC,    539 South Main St.,     Findlay, OH 45840-3229
14726454       +Murillo, Javier,    44 Antigua,    Kenner, LA 70065-3586
14726455       +Murphey, Joseph H,    390 Hester Dr.,    Laplace, LA 70068-1904
14726460       +Murphy, Joel C,    2155 Pinehurst Drive,    Laplace, LA 70068-1701
14726461       +Murphy, Justin Charles,    49150 woodhaven Rd,     Tickfaw, LA 70466-3306
14726472        NADIA E. TAYLOR,    263 SOUTH ELM STREET,    GRAMERCY, LA 70052
14726474       +NANCY GALLARDO BUENDIA,    637 TAYLORBROOK DR,     TERRYTOWN, LA 70056-7921
14726475       +NANCY JACCUZZO TRAHAN,    5728 4TH ST., LOT 65,     MARRERO, LA 70072-1604
14726476       +NAPA AUTO PARTS & SUPPLIES,     516 HEMLOCK STREET,    LAPLACE, LA 70068-3923
14726477       +NAPCO STEEL INC.,    1800 ARTHUR DRIVE,    West Chicago, IL 60185-1689
14726479       +NATHAN HOLMES,    617 COOK ST APT R,    GRETNA, LA 70053-3263
14726480       +NATHAN PERRITT,    379 TRAILSWAY DR,    HAHNVILLE, LA 70057-2157
14726481        NATHAN RIDGE,    1204 ORCHID DR,    HARVEY, LA 70058
14726483       +NATHANIEL SIMMONS III,    101 ORMOND BLVD APT C1,     LAPLACE, LA 70068-3740
14726484       +NATHANIEL VESSELL,    1228 LOUISA ST,    NEW ORLEANS, LA 70117-6631
14726485       +NATHANIEL WHITE,    1305 TIFFANY DRIVE,    LAPLACE, LA 70068-6248
14726486       +NATHANIEL WILLIAMS,    183 EAST 10TH STREET,    RESERVE, LA 70084-5323
14726487       +NATHIN B. SCHUESSLER,    2885 ADMIRALS LANDING STREET,     PAULINA, LA 70763-2504
14726488       +NATHIS M. BURL,    318 MARQUEZ STREET,    MT. AIRY, LA 70076-2106
14726489       +NATIONAL ASSOCIATION OF,    CREDIT MANAGEMENT MIDWEST,     3005 TOLLVIEW DRIVE,
                 ROLLING MEADOWS, IL 60008-3726
14726490       +NATIONAL ASSOCIATION OF CREDIT MANAGEMENT,     SOUTHEAST UNIT,     8000 MILLER COURT EAST,
                 NORCROSS, GA 30071-1456
14726491       +NATIONAL ELECTRIC MOTOR,    & SUPPLY CO, INC.,     11048 CLOVERLAND AVENUE,
                 BATON ROUGE, LA 70809-4223
14726492       +NATIONAL FILTER MEDIA,    8895 DEERFIELD DR,    OLIVE BRANCH, MS 38654-3888
14726493       +NATIONAL METAL TRADING,    PO BOX 1235,    WILLOUGHBY, OH 44096-1235
14726494       +NATIONAL OILWELL VARCO, LP dba,     HYDRALIFT AMCLYDE,    10353 RICHMOND,    HOUSTON, TX 77042-4103
14726496       +NCH Corporation,    Credit Dept,    2727 Chemsearch Blvd,    Irving, TX 75062-6454
14726497       +NEIL CAZES,    1375 THIRD ST,    LUTCHER, LA 70071-5518
14726498       +NELSON ESPINALES,    4006 CATHERINE DR APT B,     METAIRIE, LA 70001-5739
14726499       +NELSON FRANK,    621 MAINE ST,    LAPLACE, LA 70068-4515
14726500       +NELSON J. SCHEXNAYDER JR.,     32164 DARREN ROAD,    PAULINA, LA 70763-2120
14726503       +NELVIA ARMSTRONG,    2225 VELVA,    HARVEY, LA 70058-3137
14726505       +NEW GEN PRODUCTS, LLC,    200 UNION BOWER CT., SUITE 210,     Irving, TX 75061-5836
14726508        NEW MILLENNIUM BUILDING SYSTEMS,     100 DIUGUIDS LANE,    Salem, VA 24153
14726507       +NEW MILLENNIUM BUILDING SYSTEMS,     1992 N.W. BASCOM NORRIS DRIVE,     Lake City, FL 32055-4888
14726506       +NEW MILLENNIUM BUILDING SYSTEMS,     3565 HWY. 32 NORTH,    Hope, AR 71801-9704
14726509       +NEW ORLEANS AGGREGATE,    10510 AIRLINE HIGHWAY,     ST. ROSE, LA 70087-3011
14726510       +NEW ORLEANS PUBLIC FACILITY MGMT IN,     900 CONVENTION CENTER BLVD.,
                 NEW ORLEANS, LA 70130-1714
14726511       +NEW WINE DEVELOPMENT,    CORPORATION,    1929 WEST AIRLINE HWY.,     LAPLACE, LA 70068-3353
14726516       +NFL TRUCKING LLC,    1710 EAST PINE STREET,    CENTRAL POINT, OR 97502-2811
14726519       +NICANOR LLORENTE,    2000 MEDIAMOLLE DR,    NEW ORLEANS, LA 70114-3434
14726520       +NICHOLAS COLEMAN,    40050 HWY 3125,    PAULINA, LA 70763-2277
14726521        NICHOLAS GAUDET,    114 RINK PUMP RD,    THIBODEAUX, LA 70301
14726522       +NICHOLAS ROPOLLO,    159 CREVASSE AVE,    LAPLACE, LA 70068-6645
14726523       +NICHOLAS ROPPOLO,    159 CREVASSE AVE,    LAPLACE, LA 70068-6645
14726525       +NICHOLAUS A. JOHNSON,    3430 WENDY STREET,    PAULINA, LA 70763-2359
14726526       +NICK METAL RECYCLING,    22 RAY C. NICKS ROAD,     JAYESS, MS 39641-8065
14726527       +NIDEC INDUSTRIAL SOLUTIONS,     7555 E PLEASANT VALLEY RD, STE 100,     INDEPENDENCE, OH 44131-5557
14726528        NIKEISHA A. THOMPSON,    816 REVERE STREET APT. B,     RESERVE, LA 70084
14726529       +NIVERT METAL SUPPLY INC.,     1100 Marshwood Road,    Throop, PA 18512-1426
14726530       +NOAH LOUIS RIVET,    544 FRANCIS ST,    MARRERO, LA 70072-1324
14726532       +NOL BOUTTE,    27 LANSDOWNE LANE,    DESTREHAN, LA 70047-2015
14726533       +NOLA STEELE FABRICATION & ERECTION,     2713 OAK DR,    HARVEY, LA 70058-4149
14726534       +NOLAN MCINTYRE,    304 PROFIT ST,    MARRERO, LA 70072-1612
14726536       +NOLES LAWRENCE,    406 LEBOUEF ST,    NEW ORLEANS, LA 70114-1318
14726537       +NORFOLK IRON & METAL COMPANY,     1701 EAST SOUTH AVENUE,    EMPORIA, KS 66801-9788
14726543      #+NORMAN LUMBER COMPANY,    PO Box 440031,    ST. LOUIS, MO 63144-4031
14726544       +NORRIS & SON, INC,    4015 CALHOUN AVENUE,    CHATTANOOGA, TN 37407-2536
14726545       +NORRIS CHERAMIE,    4775 JEAN LAFITTE BLVD,    LAFITTE, LA 70067-5407
14726547       +NORTH AMERICAN CONSTRUCTION,     5000 COMMERCE AVENUE,    BIRMINGHAM, AL 35210-4357
14726549       +NORTH AMERICAN STEEL ALLIANCE,     2860 S. RIVER RD,    Des Plaines, IL 60018-6002
14726551       +NORTH SECOND STREET STEEL SUPPLY,     2212 NORTH 2ND STREET,    Minneapolis, MN 55411-2207
14726552       +NORTHERN ILLINOIS STEEL SUPPLY,     24005 S. NORTHERN ILLINOIS DRIVE,     CHANNAHON, IL 60410-5182
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14726553       +NORTHSIDE AUTO & TRUCK SALVAGE,     14249 J. CORE ROAD,     FOLSOM, LA 70437-3104
14726554       +NORTHSIDE RECYCLING,    8106 SUPERIOR DR,     DENHAM SPRINGS, LA 70726-6284
14726556       +NORTHWEST STEEL & PIPE INC.,     4802 S PROCTOR ST,    TACOMA, WA 98409-2715
14726557       +NORTON COMPANY / dba SAINT,     GOBAIN ABRASIVES, INC.,     2015 BENT OAKS BLVD,
                 BILOXI, MS 39531-2414
14726558        NORTON METALS INC.,    1350 LAWSON ROAD,     Ft. Worth, TX 76131-2723
14726559       +NOVARRELL WOODFORK,    6413 ACRE ROAD,    MARRERO, LA 70072-3349
14726561        NYALASHA T. BROWN,    364 HISTORIC MAIN STREET,     GARYVILLE, LA 70051
14726471       +Nabor, Jarrod Lance,    261 Dunleith Drive,     Destrehan, LA 70047-2122
14726473       +Nance, Robert Gary,    1757 Eureka Road,     Rockwood, TN 37854-5346
14726495       +Navigators Specialty Insurance Co,     Navigators Specialty Insurance Company,      One Penn Plaza,
                 New York, NY 10119-3699
14726502       +Nelson, Oscar R,    1933 Yorketowne Dr,     Laplace, LA 70068-2815
14726504       +Nettles, Jermaine,    136 Evergold Lane,     Waggaman, LA 70094-2232
14726512       +Newby, Patrick Ryan,    500 Furnace Ave,     Rockwood, TN 37854-2106
14726513        Newell LTD.,    San Antonio, TX 78283-0808
14726514       +Newman, Nick A,    41267 S Preston Dr,    Hammond, LA 70403-7241
14726515       +Newport, John Thomas,    324 N. patton ave.,     Rockwood, TN 37854-2734
14726517       +Nguyen, John K,    17351 E. Autum Dr.,    Prairieville, LA 70769-5760
14726518       +Nguyen, Tuan Duy,    1217 E Genie St,    Chalmette, LA 70043-2534
14726524       +Nicholas, Jasmine M,    17950 Airline Highway,     Apt 324,    Prairieville, LA 70769-3766
14726531       +Noble, Kelvin L,    242 Tower Drive,    Montz, LA 70068-9038
14726535       +Nolan, Dennis Charles,    120 Chatelain Ct,     New Orleans, LA 70128-2581
14726540       +Norfolk Southern Railway Company,     Attn R. S. McNeill,     1313 North Market Street,
                 Wilmington, DE 19801-6101
14726542       +Norman Lumber Company,    Norman Lumber Co.,     9651 Clayton Road, 2nd Floor,
                 St. Louis, MO 63124-1582
14726546       +Norris McLaughlin P.A.,    Melissa A. Pena,     400 Crossing Boulevard, 8th Floor,     PO Box 5933,
                 Bridgewater, NJ 08807-5933
14726548       +North American Construction Services Ltd,      Donnetta Lawrence Gallups-Ayers,
                 5000 Commerce Avenue,    Birmingham, AL 35210-4357
14726555       +North-South Delivery LLC,     4352 W. Sylvania Ave. Suite M,     Toledo, OH 43623-3441
14726562       +O NEAL STEEL INC,    5910 MIDDLEBROOK PIKE,     KNOXVILLE, TN 37909-1229
14726563       +OAKLEY BARGE LINE INC,    3700 LINCOLN AVENUE,     NORTH LITTLE ROCK, AR 72114-6448
14726564        OBRIEN STEEL SERVICE,    PO Box 5699,    Peoria, IL 61601-5699
14726565       +OBRIEN STEEL SERVICE,    1925 S DARST STREET,     PEORIA, IL 61607-2066
14726566       +OBrien Steel Service Co.,     Gregory Brown,    PO Box 5699,    Peoria, IL 61601-5699
14726567       +OCHSNER HEALTH SYSTEM,    OCCUPATIONAL SERVICES,     735 WEST 5TH STREET,    LAPLACE, LA 70068-5505
14726569       +OCMET, INC.,    1700 NORTH HIGHLAND ROAD,     PITTSBURGH, PA 15241-1375
14726573       +OHIO TRANSPORT CORP,    5593 HAMILTON MIDDLETOWN RD,      MIDDLETOWN, OH 45044-9703
14726574       +OIL SKIMMERS INC,    12800 YORK ROAD, SUITE G,     CLEVELAND, OH 44133-3682
14726577       +OLIVER COMBER JR,    920 RUTH DR,    AVONDALE, LA 70094-2936
14726578        OLIVER H VAN HORN CO INC,     PO Box 733455,    NEW ORLEANS, LA 70150
14726579       +OLIVER J. AUGILLARD,    224 UNION STREET,     LAPLACE, LA 70068-9042
14726581        OLVIN MENDOZA,    44212 BARNETT ST APT C,     METAIRIE, LA 70008
14726582       +OMAR A. RODRIGUEZ,    121 KATHY DRIVE,    LAPLACE, LA 70068-5676
14726583       +OMEGA ENGINEERING INC,    ONE OMEGA DRIVE,     BOX 4047,    STAMFORD, CT 06907-2336
14726584        OMNI SOURCE CORPORATION,    #774408,    4408 SOLUTIONS CENTER,     Chicago, IL 70677-4004
14726586       +ONDREA JONES,    5145 OAK BAYOU AVE,    MARRERO, LA 70072-4993
14726587       +ONE STOP STEEL CORPORATION,     1390 KINGSLAND AVENUE,     St. Louis, MO 63133-1614
14726588       +ONEAL MANUFACTURING SERVICES,     9990 E 56TH STREET,     INDIANAPOLIS, IN 46236-2810
14726589       +ONEAL STEEL AMBRIDGE,    841 NORTH MICHIGAN ROAD,     SHELBYVILLE, IN 46176-9754
14726590       +ONEAL STEEL INC.,    4530 MESSER - AIRPORT HWY.,     BIRMINGHAM, AL 35222-1627
14726591       +ONEIL OUBRE,    158 KATHY DR,    LAPLACE, LA 70068-5675
14726592       +ONEL J. MALBROUGH JR.,    1894 SECOND STREET,     LUTCHER, LA 70071-5513
14726593       +OPTA MINERALS ELYRIA,    955 TAYLOR STREET,     ELYRIA, OH 44035-6233
14726595       +ORACLE CORP,    500 ORACLE PARKWAY,    MS 659804,    REDWOOD SHORES, CA 94065-1677
14726596       +ORIENT MACHINING AND WELDING CORP,     14501 SOUTH WOOD STREET,     HARVEY, IL 60426-1617
14726597       +ORLANDO SANDERS,    610 RAILROAD,    RESERVE, LA 70084-6704
14726598       +ORMEL H. WILLIAMS,    417 SUGAR PINE STREET APT. A,      LAPLACE, LA 70068-4819
14726599       +ORNELL E MCPHERSON,    3805 BIRCHFIELD,     HARVEY, LA 70058-2004
14726601       +OSAHON BOYD,    8230 APPLE ST,    NEW ORLEANS, LA 70118-3006
14726602      #+OSCAR BEASLEY,    216 BROADWAY DR,    GRETNA, LA 70053-5037
14726603       +OSCAR DUPRE, JR,    313 COLEMAN PLACE,    KENNER, LA 70062-7112
14726604       +OSCAR GALLARDO,    14706 CR 722,    SINTON, TX 78387-4419
14726605       +OSCAR GARCIA - SIFUENTES,     609 AVENUE A,    MARRERO, LA 70072-2118
14726606       +OSCAR LINDSEY,    HIGHWAY 996 BOX 176,    NEW ORLEANS, LA 70131-2602
14726608       +OSCARR ORLANDO,    629 ST JOSEPH LANE,    HARVEY, LA 70058-4161
14726609       +OTIS KENNER JR,    1114 E HARDING ST,    DESTREHAN, LA 70047-4227
14726611        OVA DOMINO,    1643 MARINE STREET,    MARRERO, LA 70072
14726613       +OVERHEAD DOOR CO,    7136 BROADWAY,    MERRILLVILLE,, IN 46410-3540
14726612       +OVERHEAD DOOR CO,    OF NEW ORLEANS,    5451 MOUNES STREET,     HARAHAN, LA 70123-3213
14726614       +OVERHEAD DOOR CO,    5730 E ADMIRAL PLC,     TULSA, OK 74115-8615
14726615       +OVERHEAD MATERIAL HANDLING,     25 W NORTH AVE UNIT D,     VILLA PARK, IL 60181-1249
14726616       +OXYLANCE CORPORATION,    2501 27TH STREET NORTH,     BIRMINGHAM, AL 35234-1225
14726617       +OZARK MOUNTAIN STEEL INC.,     715 N. & WESTGATE,    SPRINGFIELD, MO 65802-1025
14726568       +Ockerman, Blaine D,    652 Pine Street,     Norco, LA 70079-2136
14726571       +Official Committee of Unsecured Creditors,      Kelley Drye & Warren LLP,
                 Jason R Adams, Lauren S Schlussel,     101 Park Avenue,     New York, NY 10178-0062
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14726572       +Official Committee of Unsecured Creditors,      Cole Schotz PC,    G David Dean, Patrick J Reilley,,
                 Katherine M Devanney,    500 Delaware Avenue, Suite 1410,      Wilmington, DE 19801-1496
14726575       +Oklahoma Secretary of State,     421 N.W. 13th, Suite 210,     Oklahoma City, OK 73103-3759
14726576       +Oliphant, Raymond,    318 Ormond Meadows Apt A,      Destrehan, LA 70047-4051
14726585       +Omnisource LLC,    7575 W. Jefferson Blvd,     Fort Wayne, IN 46804-4131
14726594        Oracle America, Inc.,    Buchalter PC,     Shawn M Christianson,    55 Second Street, 17th Floor,
                 San Francisco, CA 94105-3493
14726600       +Ortiz, Juan Ramon,    924 Ronson Dr,    Kenner, LA 70065-2941
14726610       +Oubre, Elton J,    PO Box 30,    Lutcher, LA 70071-0030
14726623      ++P C CAMPANA INC,    6155 PARK SQUARE DR,     STE #1,    LORAIN OH 44053-4145
               (address filed with court: P.C. Campana, Inc.,        6155 Park Square Dr., Ste #1,
                 Lorain, OH 44053)
14726618       +P&A GROUP,    17 COURT STREET, SUITE 500,     Buffalo, NY 14202-3204
14726620       +P&S TRANSPORTATION INC,     1810 AVENUE C,    ENSLEY, AL 35218-1552
14726619       +P&S Transportation,    Attn Jake Langley,     PO Box 2487,    Birmingham, AL 35201-2487
14726621       +P&S Transportation, LLC,     P&S Transportation,     Attn Jake Langley,   PO Box 2487,
                 Birmingham, AL 35201-2487
14726622       +P&S Transportation, LLC,     Charley M. Drummond,     400 Century Park South, Suite 224,
                 Birmingham, AL 35226-3925
14726624       +PABLE MEZA RAMIREZ,    304 MARMANDIE AVE,     RIVER RIDGE, LA 70123-1128
14726625       +PABLO MEZA RAMIREA,    304 MARMANDIE AVE,     RIVER RIDGE, LA 70123-1128
14726626       +PABLO MEZA RAMIREZ,    304 MARMANDIE AVE,     RIVER RIDGE, LA 70123-1128
14726627       +PABLO ROMERO,    3008 HERO DR,    GRETNA, LA 70053-7536
14726631       +PAC STAINLESS LTD,    7115 REVENUE DRIVE,     BATON ROUGE, LA 70809-4917
14726634       +PAC-MAN AUTO CRUSHERS INC,     5030 HWY 84 WEST,     Vidalia, LA 71373-3588
14726632       +PACIFIC FOUNDRY COMPANY,     Attn Director or Officer,     136 DURHAM AVENUE,
                 NEW JERSEY, NJ 08840-1372
14726637       +PALA-INTERSTATE LLC,    16347 OLD HAMMOND HIGHWAY,      BATON ROUGE, LA 70816-1730
14726636        PALADIN FREIGHT SOLUTIONS,     PO BOX 241268,    MEMPHIS, TN 38124-1268
14726639       +PANNIER CORPORATION,    207 SANDUSKY STREET,     PITTSBURGH, PA 15212-5854
14726641       +PARKER WILKINS,    932 CHRISTANA PLACE,     GRETNA, LA 70056-7622
14726645       +PARTEK LABORATORIES, INC,     225 SOUTH HOLLYWOOD ROAD,     HOUMA, LA 70360-2716
14726646       +PARTS YOU PULL,    56223 HIGHWAY 51,    Amite, LA 70422-4051
14726647       +PASCAL ROMANO,    701 DOLHONDE STREET,     GRETNA, LA 70053-6121
14726648       +PASKO PIACUN,    4424 LAKE VILLA DR,    METAIRIE, LA 70002-1318
14726650       +PATRICIA RUFFIN,    513 MEYERS BLVD,    MARRERO, LA 70072-1503
14726651       +PATRICK FRAZIER JR,    3128 BIG SHANTY TRL,     MARIETTE, GA 30066-3318
14726652        PATRICK HAYDEL,    122 SOUTH APPLE ST,     GARYVILLE, LA 70051
14726653       +PATRICK KENNETH SCHMIDT,     2528 OKLAHOMA DRIVE,     MARRERO, LA 70072-6133
14726654       +PATRICK M BONVILLION,    108 E STREET APT A,     BELLE CHASSE, LA 70037-2002
14726655       +PATRICK R. LAMBERT,    630 SPRUCE STREET,     NORCO, LA 70079-2142
14726656       +PATRICK SELLERS,    3270 W AIRLINE HWY,     RESERVE, LA 70084-5803
14726657      #+PATRICK WEST,    518 BELLINA LN,    MARRERO, LA 70072-1004
14726658        PATRICK WILLIAMS,    1107 PAUL FREDRICK,     LULING, LA 70070
14726659       +PAUL A BONNET JR,    405 OAK LAWN DRIVE,     METAIRIE, LA 70005-2806
14726660       +PAUL A. HOWARD,    9248 ESTER STREET,    CONVENT, LA 70723-2702
14726662       +PAUL BORDELON,    4520 BAYOU DES FAMILIES,     MARRERO, LA 70072-6576
14726663       +PAUL C. MCCORD,    335 MIDWAY DRIVE,    RIVER RIDGE, LA 70123-2023
14726664       +PAUL COSMA,    916 SHORT STREET,    NEW ORLEANS, LA 70118-2731
14726665       +PAUL DENNIS DUPONT,    933 E LEXINGTON AVE,     TERRYTOWN, LA 70056-4542
14726666       +PAUL E LANDRY JR,    535 GIACOMO ST,    NORCO, LA 70079-2113
14726667       +PAUL J. WHIPPLE,    4923 AUGUST LN.,    LAFITTE, LA 70067-5115
14726668       +PAUL LOTT,    311 ST ANDREWS BLVD,    LAPLACE, LA 70068-1601
14726669       +PAUL MAYHO,    2894 SOUTH BANK ST,    VACHERIE, LA 70090-4054
14726670       +PAUL MAYHO,    P.O. BOX 855,    VACHERIE, LA 70090-0855
14726671      #+PAUL STEWARD,    343 CAROLYN DR,    DESTREHAN, LA 70047-4024
14726674       +PAUL TRANSPORTATION, INC.,     15202 E. Admiral Place,     Tulsa, OK 74116-2321
14726675        PAUL VICTOR,    2429 COURSEAULT,    LUTCHER, LA 70071
14726676       +PAUL WEMPREN,    608 E AIRLINE HWY,    P.O. BOX 1248,     GRAMERCY, LA 70052-1248
14726677       +PAULA BILICH,    224 PI ST,    BELLE CHASSE, LA 70037-1435
14726678       +PAULETTE GIRDLER,    1113 MADEWOOD RD,     LAPLACE, LA 70068-3419
14726680       +PC CONNECTION SALES CORPORATION,     d/b/a CONNECTION,     730 MILFORD ROAD,
                 Merrimack, NH 03054-4612
14726681       +PDM STEEL SERVICE CENTER - SPARKS,     1250 KLEPPE LANE - RAIL SPUR #720,     SPARKS, NV 89431-6420
14726682       +PDM STEEL SERVICE CENTER - STOCKTON,     3535 E. MYRTLE STREET,     Stockton, CA 95205-4721
14726683       +PEAK RYZEX INC,    10330 OLD COLUMBIA ROAD,     COLUMBIA, MD 21046-2133
14726684       +PEDAL VALVES INC,    13625 RIVER ROAD,     LULING, LA 70070-4265
14726685       +PEDRO BELTRAN RODRIGUEZ,     6508 ASHER STREET,    METAIRIE, LA 70003-3245
14726686        PEDRO LUIS GONZALEZ,    2719 HWY 87,    CRYSTAL BEACH, TX 77650
14726687       +PEIFFER WOLF CARR & KANE, APLC,     Brandon M. Wise,     818 Lafayette Ave., Floor 2,
                 St. Louis, MO 63104-3820
14726688       +PELICHEM INDUSTRIAL CLEANING SERVIC,     284 AIRPORT RD,     RESERVE, LA 70084-6948
14726690        PENSION BENEFIT GUARANTY CORP,     DEPARTMENT 77430,     PO Box 77000,   DETROIT, MI 48277-0430
14726692        PEOPLES GAS,    PO Box 2968,    Milwaukee, WI 53201-2968
14726694       +PEORIA BARGE TERMINAL,    1925 S DARST STREET,     PEORIA, IL 61607-2066
14726695       +PERCY BURNS, JR.,    2492 PAIGE JENNETTE,     HARVEY, LA 70058-2137
14726696       +PERCY WARREN,    200 EAST 12TH STREET,     RESERVE, LA 70084-5310
14726703       +PERRY CEASER,    3042 ESSEX ST.,    LA PLACE, LA 70068-2243
14726704       +PERRY DUGAS,    289 FIR STREET,    LA PLACE, LA 70068-4648
14726705       +PERRY HENDERSON,    1708 PAILET APT F,     HARVEY, LA 70058-3647
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14726706       +PERRY MORGAN,    7509 4TH STREET,    MARRERO, LA 70072-1001
14726707        PERSHING TONEY,    181 EAST 30TH ST,     RESERVE, LA 70084
14726709       +PETER ABBATE,    117 N CHURCH ST,    GARYVILLE, LA 70051-3500
14726710       +PETER E. JOHNSON,    612 CUMBERLAND STREET,     RIVER RIDGE, LA 70123-1040
14726712       +PETER NGUYEN,    1341 KING HENRY CT,     MARRERO, LA 70072-2361
14726713       +PETER RILEY,    6737 MATHER DR,    MARRERO, LA 70072-4555
14726715       +PEYTON A. FABRE,    209 GREGORY DRIVE,     LULING, LA 70070-3148
14726717       +PGT TRUCKING, INC,    1 PGT WAY,    MONACA, PA 15061-2255
14726716       +PGT Trucking Inc.,    Coface North America Insurance Company,
                 650 College Road East, Suite 2005,      Princeton, NJ 08540-6779
14726720      #+PHILIP E TEMPLET,    908 HANCOCK ST,     GRETNA, LA 70053-2228
14726721       +PHILIP J MARKEY,    310 EAST 13TH ST,     EDGARD, LA 70049-2054
14726722       +PHILIP J. BETZ,    168 CAROLYN DRIVE,     DESTREHAN, LA 70047-4019
14726723       +PHILIP J. TROXCLAIR,    10133 N KELLY LN,     WAGGAMAN, LA 70094-2043
14726724      #+PHILIP M. PAWLICKI,    4834 CARONDELET STREET,      NEW ORLEANS, LA 70115-4847
14726726       +PHILIP TROXCLAIR / PETTY CASH,     4390 PETERS ROAD,     HARVEY, LA 70058-1809
14726727       +PHILLIP J BRENCKLE,    414 MEYERS BLVD,     MARRERO, LA 70072-1502
14726729       +PHILLIP JOSEPH BRENCKLE JR,     414 MEYERS BLVD,     MARRERO, LA 70072-1502
14726730       +PHILLIP LECOMPTE,    3108 KENTA ST,    MARRERO, LA 70072-5914
14726731        PHILLIP M. ELLIS,    508 LIL HOPE STREET,     GARYVILLE, LA 70051
14726732       +PHILLIP VICKNAIR JR,    29255 CRAIG LANE,     HAMMOND, LA 70403-8568
14726733       +PHONG HOANG NGO,    7278 PARK ST,    WESTMINISTER, CA 92683-4245
14726734       +PHU DO,    2141 BRIGHTON PL,    HARVEY, LA 70058-1417
14726735       +PI&I MOTOR EXPRESS,    908 BROADWAY,     MASURY, OH 44438-1356
14726736       +PI&I Motor Express, Inc,     PO Box 685,    Sharon, PA 16146-0685
14726737       +PICO CHEMICAL CORP,    400 EAST 16TH STREET,     CHICAGO HEIGHTS, IL 60411-3703
14726738       +PIERRE A. DUFRENE,    22245 MOSS STREET,     PONTCHATOULA, LA 70454-5485
14726740       +PINNACLE POLYMERS,    PO DRAWER E,    GARYVILLE, LA 70051-0847
14726741       +PIPE WORKS,    2327 HICKORY AVE,    HARAHAN, LA 70123-1615
14726742       +PIPS IRON WORKS, INC,     900 EBENEZER ROAD,    KNOXVILLE, TN 37923-6201
14726744        PITNEY BOWES GLOBAL FINANCIAL,     SERVICES, LLC,     PO Box 371887,    PITTSBURGH, PA 15250-7887
14726747       +PLS LOGISTICS SERVICES,     3120 UNIONVILLE ROAD,     CRANBERRY TWP, PA 16066-3437
14726749        PLUNKETT ENERGY AND INDUSTRIAL,     SERVICE COMPANIES, LLC,      9723 HWY 62-82,
                 WOLFFORTH, TX 79382
14726751       +PME BABBITT BEARINGS,     518 W CRESCENTVILLE RD,     CINCINNATI, OH 45246-1222
14726752       +PME of Ohio, Inc.,    Jason V Stitt,     Keating Muething Klekamp PLL,
                 1 East Fourth St., Ste. 1400,     Cincinnati, OH 45202-3752
14726753       +PME of Ohio, Inc.,    Michelle McCord,     518 W. Crescentville Rd.,     Cincinnati, OH 45246-1222
14726754       +POINT EIGHT POWER,    1510 ENGINEERS RD,     BELLE CHASSE, LA 70037-3206
14726756       +PONT. METALS & SALVAGE LLC,     attn Ca,    700 SOUTH PETERS ST. 315,,
                 NEW ORLEANS, LA 70130-1605
14726757       +PONTCHARTRAIN LEVEE DISTRICT,     P. O. BOX 426,     LUTCHER, LA 70071-0426
14726758       +PONTCHARTRAIN MATERIAL CO.,     P O BOX 8005,    NEW ORLEANS, LA 70182-8005
14726762       +POSITIVE RESULTS INC,     5637 GALERIA DRIVE 103,     BATON ROUGE, LA 70816-6070
14726764       +POT-O-GOLD,    P. O. BOX 1627,    HAMMOND, LA 70404-1627
14726768       +PRAXAIR,    261 HWY 3142,    HAHNVILLE, LA 70057-2609
14726770       +PREMIER FABRICATION, LLC,     303 COUNTY HWY 8,     CONGERVILLE, IL 61729-9511
14726771       +PREMIER LOGISTICS,    4937 S 45TH W AVE,     TULSA, OK 74107-7301
14726773       +PRESTON ALLEN FRANK,    49 EUGENIE COURT,     NEW ORLEANS, LA 70131-8602
14726774       +PRESTON J VOLPI,    3005 MT BLANC DR,     MARRERO, LA 70072-5500
14726775       +PRESTON L. UPTON,    116 COMEAUX COURT,     LAPLACE, LA 70068-5667
14726776       +PREVENTIVE MAINT.CONSULTANTS,     1041 BERT ST,     LA PLACE, LA 70068-5301
14726778        PRICE STEEL LTD,    13500 156 STREET,     Edmonton, AB T5V 1L3 Canada
14726780        PRIMETALS TECHNOLOGIES MEXICO,     S DE RL DE CV,     CARRETERA A MIGUEL ALEMAN KM26,
                 APODACA, NL 66637 Mexico
14726782       +PRINCETON TMX,    110 WEST BERRY, SUITE 1500,      Fort Wayne, IN 46802-2317
14726783       +PROCESS BARRON,    2770 WELBORN ST.,     PELHAM, AL 35124-1760
14726787       +PROCESS TECHNOLOGY INTL,     4950 S. ROYAL ATLANTA DR SUITE A,      TUCKER, GA 30084-8601
14726788       +PROFESSIONAL PATIO,    213 GREFER LANE,     HARVEY, LA 70058-4143
14726790        PROFORMANCE ENTERPRISE,     1605 HWY 190 DO NOT USE,     HAMMOND, LA 70401
14726792       +PROTERA TECHNOLOGIES, INC.,     1 WESTBROOK CORPORATE CE, SUITE 560,      WESTCHESTER, IL 60154-5733
14726793       +PROTRADE STEEL COMPANY, LTD,     Attn Director or Officer,      5700 DARROW RD, SUITE 114,
                 HUDSON, OH 44236-5026
14726795        PSC,    710 South First St,    Rockwood, TN 37202
14726796       +PUBLIC SERVICE COMPANY OF OK,     PO Box 371496,     Pittsburg, PA 15250-7496
14726798       +PUBLIC SERVICE COMPANY OF OK,     212 E 6th St,     Tulsa, OK 74119-1295
14726799       +PULL A PART,    Rebecca Kim,    4473 TILLY MILL ROAD,     ATLANTA, GA 30360-2107
14726800       +PULLENS AUTO SALVAGE/RECYCLING,     47 PULLENS RD,     CARRIERE MS, MS 39426-7501
14726801       +PULSE TECHNOLOGY,    312 ROBERTS ROAD,     CHESTERTON, IN 46304-1570
14726802       +PUROCLEAN,    1718 ENGINEERS RD STE B,     BELLE CHASSE, LA 70037-3225
14726628       +Pac Man Auto Crushers, Inc,     Travis Warren Brown, President/Owner,      PO Box 917,
                 Ferriday, LA 71334-0917
14726630       +Pac Man Auto Crushers, Inc.,     Travis Brown,     PO Box 1536,    Ferriday, LA 71334-1536
14726629       +Pac Man Auto Crushers, Inc.,     Pac Man Auto Crushers, Inc,
                 Travis Warren Brown, President/Owner,      PO Box 917,    Ferriday, LA 71334-0917
14726635       +Padilla, Rafael A,    1500 Lorene Drive,     #115,    Harvey, LA 70058-3324
14726638       +Palmer, Derwin M,    1404 Van Arpel Dr,     LaPlace, LA 70068-6237
14726640       +Parker Scrap Metal,    68 Parker Town Rd,     McHenry, MS 39561-6041
14726642       +Parker, Robert D,    40125 Rhonda Avenue,     Prairieville, LA 70769-5357
14726643       +Parquet, Hope Marie,    P O box 5048,     LaPlace, LA 70069-5048
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14726644       +Parquet, Lloyd,    602 Giacomo Street Apt.9,     Norco, LA 70079-2173
14726649       +Passman, Eric Steven,    20152 Hwy 1062,     Loranger, LA 70446-3502
14726672       +Paul Tanner,    PO Box 335,    Gonzales, LA 70707-0335
14726673       +Paul Tanner,    Dianne Lorraine Hill, Opposing Counsel,      1401 Hudson Lane, Suite 137,
                 Monroe, LA 71201-6068
14726697       +Perez, Nestor Eduardo,    2038 Colonial Dr,     Laplace, LA 70068-1808
14726698       +Perez-Barrientos, Ruben D,     2100 Belmont Place,     Metairie, LA 70001-1649
14726699       +Perez-Perdomo, Ruben D,     2100 Belmont Pl,    Metairie, LA 70001-1649
14726700       +Perrilloux, Curtis L,    177 Acosta Dr,     Reserve, LA 70084-6510
14726701       +Perrilloux, Tramaine Michael,     178 Chad B Baker St,     Reserve, LA 70084-5013
14726702       +Perrin, Darrell M,    22098 Fletcher Road,     Ponchatoula, LA 70454-5406
14726708       +Personnel Consulting Group, L.L.C.,      110 Veterans Blvd., Suite 535,     Metairie, LA 70005-4933
14726714       +Peterson, McKinley,    10408 Kelli Dr.,     St. Amant, LA 70774-4229
14726718       +Phan, Hong Thanh,    102 Dogwood dr,     Kenner, LA 70065-6639
14726719       +Phil Raygorodetsky,    One Sound Shore Drive,     Ste 200,    Greenwich, CT 06830-7251
14726739       +Pierre, Ashton R,    Po Box 1871,    Laplace, LA 70069-1871
14726743       +Pitney Bowes,    4350 Brownsboro Rd # 137,     Louisville, KY 40207-1667
14726745        Pitney Bowes Purchase Power,     PO Box 371874,     Pittsburgh, PA 15250-7874
14726746       +Pittman, Carl Rene,    4634 Belle Drive,     Apt A,    Metairie, LA 70006-1302
14726748       +Plummer, Tammy Rana,    610 E Michigan St,     Hammond, LA 70401-1967
14726750       +Plunkett Energy and Industrial Service,      Companies LLC,    PO Box 910,
                 Wolfforth, TX 79382-0910
14726755       +Pomares, Jimmy B,    21367 Perrin Ferry Road,     Springfield, LA 70462-8807
14726759       +Port of South Louisiana,     Breazeale Sachse & Wilson LLP,
                 Alan H. Goodman & Richard G. Passler,      909 Poydras Street, Suite 1500,
                 New Orleans, LA 70112-4016
14726760       +Porter, Kinley,    713 Medford,    Laplace, LA 70068-2826
14726761       +Porter, Markese Jerell,     713 Medford Dr.,    Laplace, LA 70068-2826
14726763       +Postlethwaite & Netterville,     8550 United Plaza Blvd, Suite 1001,      Baton Rouge, LA 70809-2256
14726765       +Potter, Gregory,    142 Matt Edmond Rd,     Wartburg, TN 37887-3302
14726766       +Potter, Lendal K,    147 Raines Rd,    Wartburg, TN 37887-3823
14726767       +Prater, Joseph,    113 Cottage Grove,     Laplace, LA 70068-6295
14726772       +Presswood, Brandon Lee,     335 Fairchild st,    Harriman, TN 37748-7241
14726777       +Price Meese Shulman DArminio, P.C.,      Traxys North America LLC,     Ken Jacobi,
                 299 Park Avenue, 38th Floor,     New York, NY 10171-0012
14726779       +Primeaux, John R,    13116 Dale Dr.,     Ponchatoula, LA 70454-6566
14726794       +ProTrade Steel Company, LTD,     Coface North America Insurance Company,
                 650 College Road East, Suite 2005,      Princeton, NJ 08540-6779
14726786       +Process Equipment, Inc,     PO Box 1607,    Pelham, AZ 35124-5607
14726785       +Process Equipment, Inc,     c/o Anthony Bishop,     PO Box 1607,    Pelham, AL 35124-5607
14726784       +Process Equipment, Inc,     c/o Anthony Bishop,     2770 Welborn Street,    Pelham, AL 35124-1760
14726789       +Profit, Eddie,    16094 Derby Ave,    Baton Rouge, LA 70816-3142
14726803        QUAD ENGINEERING INC,    90 SHEPPARD AVE. EAST, SUITE 700,       TORONTO, ON M2N 3A1 Canada
14726804       +QUALITY BOLT AND SCREW,     9454 S. CHOCTAW DRIVE,     BATON ROUGE, LA 70815-8904
14726806       +QUALITY INDUSTRIAL CONST, LLC,     30336 HIGHWAY 3125,     Paulina, LA 70763-2267
14726807       +QUALITY MACHINE MANUFACTURING,     32838 LA 642 N.,     PAULINA, LA 70763-2026
14726808       +QUALITY MACHINE WORKS,    3451 HWY. 3125,     PAULINA, LA 70763-2204
14726809       +QUAN HONG HUYNH,    1913 N VILLAGE GREEN,     HARVEY, LA 70058-7001
14726810       +QUANG NGUYEN,    2308 NORTH HARBER DR,     HARVEY, LA 70058-1334
14726811       +QUANTUM-PM LLC,    642 TIMBERLAKE DRIVE,     CHAPIN, SC 29036-8441
14726812       +QUENTIN O. DURIO,    725 BEINVILLE STREET,     LAPLACE, LA 70068-2021
14726813       +QUICK RECOVERY AUTO SALVAGE,     511 ENGINEERS RD,     BELLE CHASSE, LA 70037-3134
14726815       +QUIN D. BREWER,    236 GRAND BAYOU ROAD,     DES ALLEMANDS, LA 70030-3108
14726816       +QUOC DUC LE,    2006 CLAIRE AVE LOT 4,     GRETNA, LA 70053-7451
14726805       +Quality Cast Industrial Products,     PO Box 1115,     Hermitage, PA 16148-0115
14726814       +Quigley, Dale Christopher,     26015 Oak Alley Drive,     Holden, LA 70744-6217
14726817       +R AND D ENTERPRISES OF GULF REGION,      1400 1ST AVE,    HARVEY, LA 70058-2463
14726818       +R C RATLIFF,    507 JUNG BLVD,    MARRERO, LA 70072-1011
14726819        R G STEEL,    551 ROUTE 551,    PULASKI, PA 16143
14726820       +R&R EXPRESS, INC,    100 COMMERCE DRIVE,     RIDC PARK WEST,     PITTSBURGH, PA 15275-1019
14726821       +RACHEL POWELL,    1800 LAUDERDALE DR,     NEW ORLEANS, LA 70114-4732
14726822       +RACK BUILDERS INC.,    1701 NORTH 16TH STREET,      QUINCY, IL 62301-1403
14726823        RAD COM SYSTEMS CORP,    2931 PORTLAND DRIVE,     OAKVILLE, ON L6H 5S4 Canada
14726824       +RADIAMETRICS TECHNOLOGIES,     1313 G STREET,    LORAIN, OH 44052-3337
14726825       +RADONDO R JONES,    1570 KNOTTINGHAM DR,     LITTLE ELM, TX 75068-5570
14726827       +RAFAEL RODRIGUEZ,    101 CARMEN DR,    AVONDALE, LA 70094-2716
14726828       +RAIL SCALE INC,    111 NATURE WALK PARKWAY SUITE 105,      ST AUGUSTINE, FL 32092-3065
14726829       +RAINBOW CHEVROLET,    2020 WEST AIRLINE HIGHWAY,      LAPLACE, LA 70068-3000
14726831       +RALAEF CORDOVES,    152 W FIRST STREET,     RESERVE, LA 70084-6012
14726832       +RALPH PERRY,    2845 MEMORIAL PARK DR,     NEW ORLEANS, LA 70114-6442
14726833       +RALPH SCHEXNAYDER,    405 OAK AVE,    HARAHAN, LA 70123-4042
14726834       +RALPH SHELBY JR,    217 AVONDALE GARDEN RD,     AVONDALE, LA 70094-2605
14726835       +RAMELLI WASTE,    901 INDUSTRY ROAD,     KENNER, LA 70062-6848
14726838       +RAMON ENRIQUE TEJADA,    113 A CEDAR ST,     BELLE CHASSE, LA 70037-4322
14726839       +RAMON M. JACKSON,    105 FAVORITE LANE,     EDGARD, LA 70049-2753
14726840       +RAMON M. JACKSON,    105 FAVORITE LANE,     VACHERIE, LA 70049-2753
14726841      #+RAMON MCDONALD,    1608 NEWTON ST,    GRETNA, LA 70053-6446
14726842       +RANARD BROWN,    58 LAKE POWELL CT,    harvey, LA 70058-6551
14726844       +RANDAL LUTZ,    2221 TIMBERS DR,    HARVEY, LA 70058-2227
14726845       +RANDALL FRANK,    5104 OAK BAYOU AVE,     MARRERO, LA 70072-4961
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14726846       +RANDALL J FREEMAN,    338 HISTORIC WEST,    GARYVILLE, LA 70051-3210
14726847       +RANDALL NOVA,    1909 CAMBRIDGE,    LAPLACE, LA 70068-2807
14726848       +RANDALL STUART KINCHEN,    24925 VERNON KNICHEN RD,     SPRINGFIELD, LA 70462-8301
14726849       +RANDELL THOMAS,    248 REDWOOD ST,    LA PLACE, LA 70068-4724
14726851       +RANDOLPH JONES,    131 EAST 13TH ST,    RESERVE, LA 70084-5301
14726852       +RANDOLPH MARTIN,    2009 YORKTOWNE DR,    LAPLACE, LA 70068-2313
14726853       +RANDOLPH RUSSELL,    3157 REV SAMUEL JONES,     PAULINA, LA 70763-2426
14726854       +RANDOLPH SIMON,    2300 LAPLACO BLVD APT 3A,     HARVEY, LA 70058-3063
14726855       +RANDY AGEE,    829 HONEYSUCKLE DR,    GRETNA, LA 70056-5221
14726856       +RANDY ALLEN,    1853 DOGWOOD DR,    HARVEY, LA 70058-3538
14726857       +RANDY BELLOW,    208 HOLLYWOOD PARK,    MONTZ, LA 70068-8944
14726858       +RANDY CAUSIN,    3805 LAKE HURON DRIVE,    HARVEY, LA 70058-5523
14726859       +RANDY KEATING,    106 MARY STREET,    NORCO, LA 70079-2240
14726860        RANDY MCCLUNG,    3519 ST JOSEPH ST,    PAULINA, LA 70763
14726861       +RANDY MILLER,    12430 TAYLORWOOD LN,    HOUSTON, TX 77070-5129
14726862       +RANDY SYLVAN,    299 ELM ST,    LAPLACE, LA 70068-4204
14726863       +RANDY TRAHAN,    206 HOLLYWOOD PARK,    MONTZ, LA 70068-8944
14726864       +RANELDO K. EVANS,    371 EAST 22ND STREET,     RESERVE, LA 70084-5210
14726865       +RASHON WEATHERSTRAND,    114 CAZENAVE ST,    PORT SULPHUR, LA 70083-2328
14726866       +RASMUSSEN EQUIPMENT,    2220 ENGINEERS ROAD,     BELLE CHASSE, LA 70037-3115
14726867       +RAY DANTZLER,    10108 ED BROWN RD,    TICKFAW, LA 70466-4103
14726868       +RAY J POCHE,    214 HIGHLAND CREST DR,    COVINGTON, LA 70435-3913
14726870       +RAY ROUSSEL,    148 EAST 1ST ST.,    RESERVE, LA 70084-5450
14726871       +RAY TROSCLAIR,    127 HELTZ ST,    GARYVILLE, LA 70051-3309
14726873       +RAYANNA M. TEMPLE,    2408 S SUGARRIDGE RD,     LAPLACE, LA 70068-6259
14726874       +RAYDELL SCOTT,    160 MARIGOLD ST,    MOUNT AIRY, LA 70076-2115
14726875       +RAYFIELD JOHNS,    528 BETSY ROSS CT,    LAPLACE, LA 70068-2372
14726876       +RAYMOND C. WASHINGTON,    125 EAST 9TH STREET,     EDGARD, LA 70049-2223
14726877       +RAYMOND COWPERTHWAITE,    7201 WESTBANK EXPWY,     MARRERO, LA 70072-2477
14726878       +RAYMOND ETIENNE,    107 WARWICK ST,    LA PLACE, LA 70068-5233
14726879       +RAYMOND MORAN,    305 WESTWEGO AVENUE,    BRIDGE CITY, LA 70094-3339
14726882        RAYMONTE C. DANTZLER,    10108 ED BROWN ROAD,     HAMMOND, LA 70401
14726883       +RAYON CRAFT,    3837 DEERUN LANE,    HARVEY, LA 70058-2120
14726884        RE STEEL SUPPLY CO.,    2000 Eddystone Industrial Park,     Eddystone, PA 19022
14726920        RE-STEEL DISTRIBUTION LTD,     2000 EDDYSTONE INDUSTRIAL PARK,    Eddystone, PA 19022
14726885       +REBEKKAH MARIE ABREO,    4061 S WOODBINE ST,     HARVEY, LA 70058-2242
14726886       +REBEKKAN MARIE ABREO,    4061 S WOODBINE ST,     HARVEY, LA 70058-2242
14726888       +RED D ARC,    18180 SWAMP ROAD,    PRAIRIEVILLE, LA 70769-3312
14726889        RED WING STORE - BATON ROUGE,     8729 SIEGEN LANE,    BATON ROUGE, LA 70810-1945
14726890       +REDWICK CARRINGTON,    844 E. LAWSON STREET,     DESTREHAN, LA 70047-4259
14726891       +REED TRANSPORT SERVICES, INC.,     615 S. WARE BLVD,    Tampa, FL 33619-4444
14726893       +REFRACTORIES INC,    PO Box 87267,    HOUSTON, TX 77287-7267
14726897       +REGINALD FERRYGOOD,    103 N W 13TH STREET,     RESERVE, LA 70084-6744
14726898       +REGINALD PERRILLOUX,    106 NW 1ST ST,    RESERVE, LA 70084-6500
14726899       +REGINALD PERRILLOUX JR,    706 CARNATION COURT,     LAPLACE, LA 70068-3913
14726900       +REINALDO P APARICIO,    6056 BECKER ST,    MARRERO, LA 70072-5265
14726901       +RELADYNE RELIABILITY SERVICES, INC.,     DBA//CIRCOR RELIABILITY SERVICES,     3713 PROGRESS ST NE,
                 Canton, OH 44705-4437
14726903       +RELIABLE FIRE EQUIPMENT COMPANY,     12845 SOUTH CICERO AVENUE,     ALSIP, IL 60803-3083
14726904       +RELIANCE STEEL GROUP,    350 South Grande Avenue,     Los Angeles, CA 90071-3406
14726905       +RELIANT RECYCLING INC,    P. O. Box 909,    305 Dickson Road - 7,     HOUMA, LA 70363-7310
14726906       +RELYANT,    5660 NEW NORTHSIDE DRIVE,    ATLANTA, GA 30328-5800
14726907       +REMOND FORBES,    836 LACEY LANE,    GRETNA, LA 70056-8689
14726908       +RENALDO ANDERSON,    113 1/2 DOVE STREET,    LAPLACE, LA 70068-4911
14726909       +RENARD J. MARKEY,    128 ZACHARY DRIVE,    BOUTTE, LA 70039-3047
14726910       +RENDY AUSTIN,    141 ADAM STREET,    KILLONA, LA 70057-3057
14726911       +RENE MICHAEL HENRY,    2909 MONICA LANE,    MARRERO, LA 70072-6588
14726912       +REPOLEN WHITE,    1437 LINCOLN AVE,    MARRERO, LA 70072-2735
14726913        REPUBLIC SERVICES,    808 L&A ROAD,    METAIRIE, LA 70001
14726914       +REPUBLIC SERVICES #264,    73 W NOBLESTOWN ROAD,     Carnegie, PA 15106-1668
14726915       +REPUBLIC SERVICES #721,    13701 SOUTH KOSTNER,     Crestwood, IL 60418-3900
14726916        RESCAR, INC.,    39265 DOYLE DR,    GONZALES, LA 70737-6353
14726917       +RESCO PRODUCTS INC,    ONE ROBINSON PLAZA, SUITE 300,     6600 STEUBENVILLE PIKE,
                 PITTSBURGH, PA 15205-1008
14726918       +RESERVE TELECOMMUNICATIONS,     105 RTC DRIVE,    RESERVE, LA 70084-6616
14726919       +RESOURCE POWER GROUP,    1140 PETERS ROAD,     HARVEY, LA 70058-1715
14726922       +REUEL GRIFFITH,    2312 VICTORIA AVE,    HARVEY, LA 70058-3273
14726923        REUNING MCKIM, INC,    PO Box 188,    SAXONBURG, PA 16056-0188
14726924       +REX M. HOWELL,    549 MATTHEW STREET,    LAFITTE, LA 70067-5117
14726931      #+RFX, INC,    57 Litlefield St,    Avon, MA 02322-1934
14726932      #+RFX, Inc.,    57 Littlefield Street,    Avon, MA 02322-1934
14726935        RHI US Ltd and Magnesita,    Refractories Company,     Ballard Spahr LLP,
                 Matthew G Summers, Chantelle D McClamb,     919 Market Street, 11th Floor,
                 Wilmington, DE 19801
14726936       +RHONDA HOGAN,    PO Box 189,    Paradis, LA 70080-0189
14726937       +RICCI J MACERA,    4815 15TH STREET,    MARRERO, LA 70072-3729
14726938        RICCO H. WHEAT,    50 SAWGRASS DRIVE,    ST. ROSE, LA 70087
14726939       +RICHARD A. LABAT,    434 MAHOGANY STREET,    LAPLACE, LA 70068-4410
14726940       +RICHARD A. ROBINSON,    1515 RASTON DRIVE,     HAMMOND, LA 70403-6234
14726941       +RICHARD BOWSER,    733 CAMELIA AVE.,    LAPLACE, LA 70068-3049
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14726942       +RICHARD COMBER,    624 WILLOWBROOK DR,     GRETNA, LA 70056-7926
14726944       +RICHARD DO,    800 S KENNER AVE,    WAGGAMAN, LA 70094-2020
14726945       +RICHARD FORET,    105 OAK RIDGE DR,    LA PLACE, LA 70068-5951
14726946       +RICHARD GOMEZ,    436 AVENUE D,    MARRERO, LA 70072-2026
14726947       +RICHARD GOUGE DBA,    RICKS TRUCK REPAIR,     2495 OLD HARRIMAN HWY,
                 OLIVER SPRING, TN 37840-2737
14726948       +RICHARD J. CAMBRE,    194 EAST 9TH STREET,     RESERVE, LA 70084-5328
14726949       +RICHARD KELLER,    179 East 11th st lot B,     Reserve, LA 70084-5317
14726950       +RICHARD MACKENZIE,    105 WARWICK ST,     LAPLACE, LA 70068-5233
14726951       +RICHARD MARINO,    1209 CARROLLWOOD AVE,     LAPLACE, LA 70068-3309
14726952       +RICHARD PENWRIGHT,    7518 MISTLETOE STREET,     METAIRIE, LA 70003-6243
14726953       +RICHARD R. MARTIN,    216 EAST 28TH STREET,     RESERVE, LA 70084-5103
14726954       +RICHARD ROBIN,    7 SOMBRERO LANE,    SAINT ROSE, LA 70087-3535
14726955       +RICHARD T. SMITH,    11232 RODDY ROAD #20,     GONZALES, LA 70737-3000
14726956       +RICHARD TYLER,    736 MOCKINGBIRD LANE,     ST. ROSE, LA 70087-3818
14726957       +RICHARD WATLER JR.,    3616 LAKE TIMBERLANE,     GRETNA, LA 70056-8309
14726958       +RICHARD WHITEFIELD,    4464 PARK SHORE DR,     MARRERO, LA 70072-6076
14726959       +RICHARD ZELLER,    145 AUGUSTINE LANE,     LAPLACE, LA 70068-5682
14726961       +RICHER PAK,    3512 ACADEMY DR,    METAIRIE, LA 70003-1610
14726962       +RICHIE V. GEORGE,    411 ORANGE LOOP,     LAPLACE, LA 70068-4417
14726964      #+RICK J. BLEAKLEY,    29 RIDGEWOOD DRIVE,     LAPLACE, LA 70068-6459
14726965       +RICKETTA LEE,    243 BELLE TERRE BLVD. APT. 4,     LAPLACE, LA 70068-3175
14726966       +RICKIE J DOUCET,    6204 EVELINA ST,     MARRERO, LA 70072-5334
14726967       +RICKY BAILEY,    5424 FAITH DR,    MARRERO, LA 70072-4110
14726968        RICKY BROOKS,    3524 HWY 44,    PAULINA, LA 70763
14726969       +RICKY CARL SOUTHALL,    229 PI STREET,     BELLE CHASSE, LA 70037-1436
14726970       +RICKY DIGGS JR.,    3538 LA HWY 44,    PAULINA, LA 70763-2443
14726971       +RICKY HAMPTON,    710 COOK ST,    GRETNA, LA 70053-3273
14726972       +RICKY JOSEPH TAMBURO,    5116 AUGUST AVE,     MARRERO, LA 70072-3604
14726973       +RICKY MADERE,    PO BOX 2181,    110 TONI DR,    RESERVE, LA 70084-2181
14726974        RICKY ROSS JR,    2303 N ALBERT ST,    LUTCHER, LA 70071
14726976       +RICKY TASSIN,    437 BIRCH ST,    LAPLACE, LA 70068-5501
14726977       +RICKY TROXLER,    229 ALICE ST,    AMA, LA 70031-2015
14726978        RICO LUMAR,    368 EAST 14TH STREET,     RESERVE, LA 70084
14726979       +RIGHT AWAY MAINTENANCE CO LLC,     DBA RAMCO LLC,    2545 WEST PARK AVENUE,     GRAY, LA 70359-3609
14726980       +RILEY DARNELL DAVIS,    1852 BUCCOLA AVENUE,     MARRERO, LA 70072-3326
14726981       +RIPS SAFETY TRAINING & CONSULT LLC,      19417 RIP ROAD,    VACHERIE, LA 70090-3230
14726982       +RITCHARD J HERRING,    4933 JENIC LANE,     BARATARIA, LA 70036-4711
14726983       +RIVER BARGE WORKS, LLC,     3021 HWY 190 WEST,    PORT ALLEN, LA 70767-3951
14726984       +RIVER BIRCH INC,    RIVER BIRCH LANDFILL,     2000 SOUTH KENNER ROAD,    AVONDALE, LA 70094-2061
14726985       +RIVER BIRCH LANDFILL,    2000 SOUTH KENNER ROAD,     AVONDALE, LA 70094-2061
14726986       +RIVER CONSTRUCTION CO.,     202 WPA ROAD,    BELLE CHASSE, LA 70037-5000
14726987       +RIVER PARISH CONTRACTORS INC,     4007 West Airline Hwy.,     RESERVE, LA 70084-5713
14726989       +RIVER PARISHES OIL CO,     15731 AIRLINE HWY,    NORCO, LA 70079-2464
14726990       +RIVER REGION CHAMBER,    OF COMMERCE,     390 BELLE TERRE BLVD.,    LaPlace, LA 70068-2435
14726991       +RIVER RENTAL TOOLS,    109 DERRICK ROAD,     BELLE CHASSE, LA 70037-1109
14726992        RIVERBEND TRANSPORT,    23460 NETWORK PLACE,     CHICAGO, IL 60673-1234
14726993        RIVERLANDS TERMINIX,    PO Box 369,    LAPLACE, LA 70069-0369
14726995       +RMI, INC.,    P O BOX 549,    PRAIRIEVILLE, LA 70769-0549
14726997        ROANE CO PUBLIC UTILITY,     123 POST OAK VALLEY RD,     KINGSTON, TN 37763
14726998       +ROANE CO PUBLIC UTILITY,     PO Box 837,    Kingston, TN 37763-0837
14726999       +ROANE CO PUBLIC UTILITY,     123 Post Oak Valley Road,     Rockwood, TN 37854-4839
14727000       +ROANE COUNTY NEWS,    204 FRANKLIN STREET,     KINGSTON, TN 37763-2625
14727005       +ROANE COUNTY TRUSTEE,    WILMA J EBLEN,     200 E RACE STREET, SUITE 4,     KINGSTON, TN 37763-2860
14727007       +ROANE METALS GROUP, LLC,     284 CARDIFF VALLEY ROAD,     Rockwood, TN 37854-4135
14727008       +ROANE TRANSPORTATION SERVICES, LLC,      284 CARDIFF VALLEY ROAD,    Rockwood, TN 37854-4135
14727010       +ROBBY HYMEL,    1340 ALLO AVE,    MARRERO, LA 70072-3942
14727011       +ROBEERT MORTON JR,    8875 HOUMA DR,     LAPLACE, LA 70068-6006
14727012       +ROBERT A ROBICHAUX JR,     727 AVENUE E,    MARRERO, LA 70072-1927
14727013       +ROBERT AHLBORN,    46 MASON STREET,    GRETNA, LA 70053-7025
14727014       +ROBERT ARCHAMBAULT,    145 STANDISH STREET,     Duxbury, MA 02332-5027
14727016       +ROBERT BRADLEY,    3712 WOODBRIAR ST,     HARVEY, LA 70058-1935
14727018       +ROBERT BROWN,    172 JANET ST,    SAINT ROSE, LA 70087-3745
14727017       +ROBERT BROWN,    1118 L B LANDRY ST,     NEW ORLEANS, LA 70114-2655
14727019       +ROBERT BURKE,    5141 OAK BAYOU AVE,     MARRERO, LA 70072-4992
14727021       +ROBERT E ABADIE III,    514 BELLIANA LANE,     MARRERO, LA 70072-1004
14727022       +ROBERT FERRYGOOD,    102 NW 13TH STREET,     RESERVE, LA 70084-6743
14727023       +ROBERT G. WEBB,    221 DESTIN DRIVE,     MARY ESTHER, FL 32569-1809
14727024       +ROBERT GILBERT JR,    11 AZALEA COURT,     LULING, LA 70070-3216
14727025       +ROBERT GILMORE,    1829 HARVARD AVE,     TERRYTOWN, LA 70056-5108
14727026       +ROBERT GRIFFITH,    228 PINE ST,    PO BOX 152,    BOUTTE, LA 70039-0152
14727027       +ROBERT GUCCIONE,    499 LAROUISSINI,     WESTWEGO, LA 70094-4961
14727028       +ROBERT HAMILTON,    117 COOKIE LANE,     LAKE CHARLES, LA 70615-3003
14727029       +ROBERT HILL,    809 GOVERNOR HALL ST,     GRETNA, LA 70053-5453
14727031       +ROBERT J. CONNOLLY,    37346 308TH STREET,     BELLEBUE, IA 52031-9657
14727032       +ROBERT J. OSHINSKI,    151 MICHAEL STREET LOT E5,     AMA, LA 70031-2151
14727034       +ROBERT JOHNSON,    1933 MATHIS ST,    HARVEY, LA 70058-3228
14727033        ROBERT JOHNSON,    112 MORON CT,    AVONDALE, LA 70094
14727035       +ROBERT KAIGLER,    2680 SATURN STREET,     HARVEY, LA 70058-2922
14727036       +ROBERT L JORDEN,    3621 MONROE ST,    NEW ORLEANS, LA 70118-3335
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14727037       +ROBERT L PERKINS,    3 JACQUELINE ST APT B,     HARVEY, LA 70058-3427
14727038       +ROBERT L. HASSELL,    211 DEVON RD,    LAPLACE, LA 70068-5205
14727039       +ROBERT L. REYNOLDS,    119 RESERVE DRIVE,     RESERVE, LA 70084-6622
14727040       +ROBERT LEBOUEF,    736 AVENUE B,    MARRERO, LA 70072-2018
14727041       +ROBERT LEE DAVIS,    1018 TECHE ST,    NEW ORLEANS, LA 70114-5736
14727042       +ROBERT LEGENDRE,    4032 14TH ST,    MARRERO, LA 70072-3915
14727043       +ROBERT LINDSEY,    HWY 996 BOX 176,    NEW ORLEANS, LA 70131-2602
14727044       +ROBERT LORANT JR,    140 JOE PARQUET CR14,     LA PLACE, LA 70068-4212
14727045       +ROBERT M BOZZELLE JR,    1000 ORCHILD DR,     HARVEY, LA 70058-2523
14727047       +ROBERT M. SWANCEY,    304 LONGVIEW DRIVE,     DESTREHAN, LA 70047-5022
14727048       +ROBERT MCTYRE,    2224 KANSAS AVENUE,    KENNER, LA 70062-5941
14727049       +ROBERT PERRIN,    26 DAVENPORT ST,    WESTWEGO, LA 70094-2161
14727050       +ROBERT POLLARD,    4112 LAC DU BAY DR,     HARVEY, LA 70058-6516
14727051       +ROBERT REFRIGERATION SERVICE,     1028 W HARIMAW CRT,     METAIRIE, LA 70001-6230
14727052       +ROBERT RICKS,    118 ST NICHOLAS ST,    LULING, LA 70070-5108
14727053       +ROBERT SEARS III,    1651 SHEPARD ST,    ALGIERS, LA 70114-6101
14727054       +ROBERT TAYLOR III,    389 E. 26TH STREET,     RESERVE, LA 70084-5122
14727055        ROBERT UNFRIED,    2041 Incrociato,    New Braunfels, TX 78132-4441
14727056       +ROBERT VAUGHN,    1724 EUNICE DRIVE,    HARVEY, LA 70058-4334
14727059       +ROBERT W. HAYWOOD,    504 RIDGEVIEW DRIVE,     CARRIERE, MS 39426-7634
14727060       +ROBERT WALKER,    5808 ST. JOHN AVE.,    MARRERO, LA 70072-4714
14727061       +ROBERT WILLIAMS,    2640 DESTREHAN AVR APT B,     HARVEY, LA 70058-6438
14727062       +ROBERT WILLIS,    15067 HWY 16,    AMITE, LA 70422-4619
14727064       +ROBERTO A. ROMERO,    850A HIGHWAY 628,     LAPLACE, LA 70068-5629
14727065       +ROBERTO C. TORRES,    2913 NIAGARA STREET,     CORPUS CHRISTI, TX 78405-2032
14727066       +ROBERTO G. OLGUIN,    166 RIVERVIEW CT.,     LAPLACE, LA 70068-6636
14727067       +ROBERTO MARTINEZ SANTOS,     329 10TH STREET,    NEW ORLEANS, LA 70124-1256
14727072       +ROCHESTER IRON AND METAL, INC.,     Michele Morgan,    1552 E. LUCAS STREET,
                 ROCHESTER, IN 46975-8342
14727074       +ROCKWOOD,    110 N Chamberlain Ave,    Rockwood, TN 37854-2399
14727075       +ROCKWOOD CITY RECORDER,    BECKY RUPPE,     110 N. CHAMBERLAIN AVENUE,    ROCKWOOD, TN 37854-2309
14727076       +ROCKWOOD WATER, WASTEWATER, AND NATURAL,      GAS SYSTEM,    110 NORTH CHAMBERLAIN AVE.,
                 ROCKWOOD, TN 37854-2309
14727080       +RODNEY CASIMIER,    2461 REGENCY PLACE,     GRETNA, LA 70056-3040
14727081       +RODNEY J. ENCLADE,    559 JEAN LAFITTE BLVD.,     LAFITTE, LA 70067-5109
14727082       +RODNEY MARSHALL,    4117 GIBSON ST,    NEW ORLEANS, LA 70122-1623
14727083       +RODNEY POCHE,    450 HWY 628,    LAPLACE, LA 70068-6614
14727084       +RODNEY SCHEXNAYDER,    2479 JASMINE ST,     NEW ORLEANS, LA 70122-4851
14727085       +RODNEY WALKER,    6113 2ND ST,    MARRERO, LA 70072-2805
14727086        RODRICK A. LEE,    149 E. 21ST STREET,     RESERVE, LA 70084
14727087       +ROEHL FLATBED & SPECIALIZED,     1916 29TH STREET,    MARSHFIELD, WI 54449-5401
14727091       +ROGER BATISTE,    122 BATISTE LANE,    LA PLACE, LA 70068-4607
14727092       +ROGER CATOIRE,    186 W 8TH STREET,    RESERVE, LA 70084-6130
14727093       +ROGER J. BORNE III,    457 EVANGELINE ROAD,     MONTZ, LA 70068-8923
14727094       +ROGER MATHIS,    1841 PLAZA,    MARRERO, LA 70072-3347
14727095       +ROGER S. KELLEY,    426 BRENDA DRIVE,    DENHAM SPRINGS, LA 70726-2108
14727096       +ROGERS COUNTY TREASURER,     JASON CARINI,    200 S LYNN RIGGS BLVD,    CLAREMORE, OK 74017-7808
14727097       +ROGERS DAVIS,    566 ROBINSON AVE,    MARRERO, LA 70072-1625
14727098       +ROGERS DAVIS JR,    566 ROBINSON AVE,    MARRERO, LA 70072-1625
14727099       +ROGERS PETROLEUM,    1634 W. FIRST NORTH ST.,     MORRISTOWN, TN 37814-3709
14727100       +ROGERS STUBBERFIELD JR.,     700 MEDFORD DRIVE,    LAPLACE, LA 70068-2827
14727102       +ROHAN DAVIS,    1912 N SUGAR RIDGE,    LAPLACE, LA 70068-6230
14727103      #+ROHAN DELANO BURNETT,    6301 RIVERSIDE DR APT 101B,      METAIRIE, LA 70003-7240
14727104       +ROIN RICHARD,    169 KENNER LANE,    MONTZ, LA 70068-9035
14727106       +ROLAND A BERGERON,    125 GARDENIA LN,     BELLE CHASSE, LA 70037-2310
14727107       +ROLAND BROWN,    3016 YORKTOWNE DR.,    LA PLACE, LA 70068-2110
14727108       +ROLAND BROWN JR,    3016 YORKTOWNE DR,     LAPLACE, LA 70068-2110
14727109       +ROLAND KELLER,    PO BOX 2624,    163 E. 23RD ST,    RESERVE, LA 70084-5201
14727110       +ROLANDO CUEVAS JR,    111 LAMBADA ST APT 3,     BELLE CHASSE, LA 70037-1745
14727111       +ROLEY BARTHELEMY,    514 AVENUE A,    MARRERO, LA 70072-2117
14727112       +ROLL TOOLING SPECIALISTS,     60 MT. CARMEL ROAD,    CAMDEN, TN 38320-6400
14727113       +ROMALIS WILLIAMS,    2521 LEXINGTON DFR,     LAPLACE, LA 70068-2344
14727116       +ROMERO MALANCON,    2281 BALL PARK DR,     VACHERIE, LA 70090-5437
14727118       +ROMES RECYCLING LLC,    63238 HIGHWAY 10,     BOGALUSA, LA 70427-8776
14727119       +RON M MARSHALL JR,    PO BOX 491,    343 HISTORIC EAST ST,     GARYVILLE, LA 70051-0491
14727120       +RON RICHARD GIROD,    2721 SIEGLIND CT,     MARRERO, LA 70072-6554
14727121       +RONALD A BROWN,    1423 PAILET AVE,    HARVEY, LA 70058-3617
14727122       +RONALD A CAMPBELL,    804 AVENUE A APT 4,     MARRERO, LA 70072-2141
14727123       +RONALD A. DUFRENE,    2552 JEAN LAFITTE BLVD.,     LAFITTE, LA 70067-5202
14727124       +RONALD ALLEN,    1938 OCONNER ST#7,    GRETNA, LA 70053-3547
14727125       +RONALD ANTHONY BROWN JR,     1423 PAILET STREET,    HARVEY, LA 70058-3617
14727126       +RONALD BOURGEOIS JR,    PO BOX 984,    2284 N. ALBERT ST,     LUTCHER, LA 70071-0984
14727127        RONALD BRADFORD,    2341 ALEX KARMEN BLVD,     HARVEY, LA 70058
14727128       +RONALD BURAS JR,    535 JEAN LAFITTE HWY,     LAFITTE, LA 70067-5109
14727129       +RONALD CHADWICK JR.,    45302 RIVERDALE HEIGHTS,     ROBERT, LA 70455-2206
14727130       +RONALD DARENSBOURG,    217 WARWICK,    LAPLACE, LA 70068-5235
14727131       +RONALD GORDON JR,    131 NW 1ST ST,    RESERVE, LA 70084-6501
14727132       +RONALD J. CHILTON,    396 CAROLYN DRIVE,     DESTREHAN, LA 70047-4023
14727133       +RONALD JAMES BREAUX,    76272 ROBINSON RD,     FOLSOM, LA 70437-3640
14727134       +RONALD JONES,    160 BISHOP DR,    AVONDALE, LA 70094-2528
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14727135       +RONALD LEWIS,    3112 PRIMWOOD DR,    HARVEY, LA 70058-1629
14727136       +RONALD NAVARRE JR,    36 SAWGRASS DR,    LAPLACE, LA 70068-6410
14727137       #RONALD R GRAVES,    1900 WESTVIEW BLVD APT 412,     CONROE, TX 77304-1930
14727138       +RONALD SCHEXNAYDER,    2517 CYPRESS LAWN DR,     MARRERO, LA 70072-5417
14727139       +RONALD WALKER,    444 2ND AVE,    HARVEY, LA 70058-2832
14727140       +RONALD WILLIAMS,    261 EAST 23RD STREET,     RESERVE, LA 70084-5203
14727141       +RONDELL DIGGS,    724 PLYMOUTH DRIVE,    LAPLACE, LA 70068-2336
14727142       +RONNIE CARTER RILEY,    2232 JEFFERSON AVE.,     HARVEY, LA 70058-6313
14727143        RONNIE I. PANIAGUA-GARCIA,     1633 CRAWFORD STREET,    METAIRIE, LA 70003
14727144       +RONNIE M. TURNER,    186 WEST 1ST ST,    EEDGARDY, LA 70049-2617
14727145       +RONNIE VERRETT,    214 MITCHELL LANE,    DES ALLEMANDS, LA 70030-4154
14727146      #+RONTEGO GORDON,    1321 YORKTOWN DRIVE,     LAPLACE, LA 70068-3602
14727147       +RONY E ACOSTA,    2003 ENGINEERS RD,    BELLE CHASSE, LA 70037-3118
14727148        RONYELL D. WASHINGTON,     229 MULBERRY STREET,    GRAMERCY, LA 70052
14727149       +ROOSEVELT JOHNSON,    28 CATHEY DRIVE,    NORCO, LA 70079-2020
14727150       +RORY MARSE,    1101 AVENUE A,    MARRERO, LA 70072-3943
14727151        ROSE MARY SILVESTRI,    47 WEST 8 STREET,     NORCO, LA 70079
14727153       +ROSETTA STONE LTD,    135 WEST MARKET STREET,     HARRISONBURG, VA 22801-3710
14727155       +ROTO ROOTER PLUMBING CO,     1430 W FULLERTON AVE.,    ADDISON, IL 60101-4358
14727159        ROXANNE M. THOMAS,    184 PHOENIX LANE,     LAPLACE, LA 70068
14727160       +ROY A. HEBERT,    132 MILLET DRIVE,    RESERVE, LA 70084-6627
14727161       +ROY A. MITCHELL,    P. O. BOX 394,    VACHERIE, LA 70090-0394
14727162       +ROY D. MCWHORTER II,    560 CAMELIA AVENUE,     LAPLACE, LA 70068-3010
14727163        ROY HEBERT JR,    103 AUGUASTA LN,    LAPLACE, LA 70068
14727164       +ROY J. MITCHELL,    6418 BURTON STREET,     ST. JAMES, LA 70086-7306
14727165        ROY PIDGEON,    110 A 3rd Street,    GARYVILLE, LA 70051
14727166       +ROY WILLIAMS,    821 BARATARIA BLVD,    MARRERO, LA 70072-1839
14727167       +ROYAL PHOENIX,    3509 BOYD STREET,    NEW ORLEANS, LA 70131-4127
14727168       +RUAN TRANSPORTATION MGMT. SYSTEM,     666 GRAND AVENUE,     Des Moines, IA 50309-2506
14727169       +RUBEN REYES,    2784 COLONY CT,    MARRER0, LA 70072-6058
14727170       +RUBICON REFRACTORIES, INC,     5028 COLUMBIA AVENUE,    HAMMOND, IN 46327-1758
14727171       +RUDDY CHIRINO,    1329 DOGWOOD DR,    HARVEY, LA 70058-3801
14727172        RUDY HILL,    155 CROSSOVER LANE,    PHOENIX, LA 70042
14727174       +RUELCO INC.,    1209 DISTRIBUTORS ROW,    NEW ORLEANS, LA 70123-2213
14727175       +RUFFIN MCSHELLUM,    8301 BERN ST,    METAIRIE, LA 70003-6717
14727176       +RUFFUS ALLEN,    402 ALLIANCE,    KENNER, LA 70062-7062
14727177       +RUPERT DINVAUT III,    2412 N. SUGAR RIDGE,     LAPLACE, LA 70068-6263
14727179       +RUSS GROS,    4517 PATRIOT ST,    MARRERO, LA 70072-4349
14727180       +RUSSEL METALS,    975 NORTH MEADE STREET,     Appleton, WI 54911-4905
14727181        RUSSEL METALS INC.,    1900 Minnesota Court,     Mississauga, ON L5N 3C9 Canada
14727182       +RUSSELL BROWN, SR.,    1313 PAILET AVENUE,     HARVEY, LA 70058-3615
14727183       +RUSSELL CHARLES GOURGEOT,     329 BROWN THRASHER LOOP SOUTH,     MADISONVILLE, LA 70447-3035
14727184       +RUSSELL J. LOUPE,    257 WEST 2ND STREET,     RESERVE, LA 70084-6025
14727185       +RUSSELL L. MARSE JR.,    137 NORTH BETTY LANE,     AVONDALE, LA 70094-2712
14727186       +RUSSIAN FERRO ALLOYS, INC.,     4215 EDISON LAKES PKWY, SUITE 140,     MISHAWAKA, IN 46545-1425
14727188       +RYAN BORDELON,    649 BERTUCCI,    MARRERO, LA 70072-1341
14727189       +RYAN BOWEN,    119 RHO ST,    BELLE CHASSE, LA 70037-1415
14727190       +RYAN DANIELS,    5267 HUNTERS PARK AV,    BATON ROUGE, LA 70817-2062
14727191       +RYAN DELATTE,    710 3RD AVE,    HARVEY, LA 70058-2602
14727192       +RYAN FRANK,    413 BIRCH STREET,    LAPLACE, LA 70068-5501
14727193       +RYAN P. LOUQUE JR.,    1215 N. ANITA AVENUE,     GONZALES, LA 70737-2660
14727194       +RYANT DETIEGE,    1656 MAPLEWOOD DR,    HARVEY, LA 70058-3543
14727195       +RYDELL BIENAIME,    6621 MANCHESTER ST,     NEW ORLEANS, LA 70126-1743
14727196        RYERSON - SOUTH PROCUREMENT,     3115 SOUTH ZERO STREET,     FT. SMITH, AR 72908-6839
14726830       +Rainey, Samuel Ray,    20046 Hickory Lane,     Amite, LA 70422-3934
14726836       +Ramirez, Adolfo,    Po Box 16,    Laplace, LA 70069-0016
14726837       +Ramirez, Gregorio,    Po Box 2772,    Laplace, LA 70069-2772
14726843       +Randal L. Gaines, Esq.,     7 Turnberry Drive,    LaPlace, LA 70068-1617
14726872       +Ray, David B,    804 Brown Ave,    Kingston, TN 37763-3103
14726880       +Raymond, Coy Ray,    634 Elm Ave,    Rockwood, TN 37854-2819
14726881       +Raymond, Tyler James,    634 Elm Ave,    Rockwood, TN 37854-2819
14726887       +Rebstock, Daren Joseph,     1517 Ellerslie Ave,    Laplace, LA 70068-2701
14726892       +Reese, Ryan Jason,    909 Gassen St,    Luling, LA 70070-4317
14726894       +Refractory Sales & Service Co, Inc.,     1750 Highway 150,     Bessemer, AL 35022-4044
14726895       +Refractory Sales&Service Co Incorporated,      Kevin Keene,    3601 N I 35,
                 Gainesville, TX 76240-1939
14726902       +Reliable Fire Equipment,     d/b/a Reliable Fire & Security,     Reliable Fire & Security,
                 12845 S. Cicero Ave,    Alsip, IL 60803-3083
14726921       +Retif, John Louis,    308 Tania Ave,    Gramercy, LA 70052-3534
14726927       +Rexel USA, Inc.,    John D. Demmy,    SAUL EWING ARNSTEIN & LEHR LLP,
                 1201 North Market Street, Suite 2300,      P.O. Box 1266,    Wilmington, DE 19899-1266
14726925       +Rexel USA, Inc.,    Rexel USA, Inc., d/b/a Gexpro,     14951 Dallas Parkway,
                 Dallas, TX 75254-7892
14726926       +Rexel USA, Inc.,    Ben L. Aderholt,    Coats Rose,    9 Greenway Plaza, Suite 1000,
                 Houston, TX 77046-0900
14726928       +Rexel USA, Inc., d/b/a Gexpro,     14951 Dallas Parkway,     Dallas, TX 75254-7892
14726929       +Reynolds, Shawn L,    108 Stringfield Rd,     Oakdale, TN 37829-3006
14726930       +Reynolds, Teddy Aaron,     2300 Cypress St,    Lutcher, LA 70071-5415
14726933       +Rhea, Tami Jean,    301 West Broadway Street,     Lenoir City, TN 37771-2802
14726960       +Richards, Monte L,    165 West 6th Street,     Reserve, LA 70084-6122
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14726963       +Richoux, Bryan J,    14765 Kraft Lane,     Ponchatoula, LA 70454-6919
14726994       +Rixner, Danny R,    P O Box 903,    Garyville, LA 70051-0903
14726996       +Roach, Matthew A,    2911 Harriman Hwy,     Harriman, TN 37748-4251
14727001       +Roane County Tennessee Trustee,     PO Box 296,    Kingston, TN 37763-0296
14727003       +Roane County Tennessee Trustee,     Leffew & Leffew,     Greg Leffew,   109 North Front Avenue,
                 Rockwood, TN 37854-2320
14727002       +Roane County Tennessee Trustee,     Leffew & Leffew,     Greg Leffew, County Attorney,   PO Box 63,
                 Rockwood, TN 37854-0063
14727004       +Roane County Trustee,    200 E. Race Street, Suite 4,      Kingston, TN 37763-2860
14727006       +Roane County Trustee,    PO Box 296,    Kingston, TN 37763-0296
14727009       +Rob Archambault,    One Sound Shore Drive,     Ste 200,    Greenwich, CT 06830-7251
14727015       +Robert Armstrong,    Joseph H. Jolissaint,     9191 Siegen Lane, Bldg 4, Suite B,
                 Baton Rouge, LA 70810-2239
14727030       +Robert J Armstrong, III,    Louisiana Workforce Commission,      District 8 Docket # 19-00057,
                 7425 Strathmore Drive,    New Orleans, LA 70128-2426
14727046       +Robert M Robinson,    952 PAUL ACUFF LANE,     Loudon, TN 37774-6376
14727057       +Robert W. Drouant,    Attorney at Law,     3900 Canal Street,    New Orleans, LA 70119-6003
14727058       +Robert W. Drouant,    Attorney,    PO Box 24994,     New Orleans, LA 70184-4994
14727068       +Roberts, Bryan F,    531 Randall Fugate Rd,     Spring City, TN 37381-6062
14727069       +Robinson, James,    1752 Greenwood Drive,     Laplace, LA 70068-2726
14727070       +Robinson, Larry O,    2008 Yorktowne,    Laplace, LA 70068-2314
14727071       +Robinson, Wayne Jermain,    562 Greenwood Dr,     LaPlace, LA 70068-2724
14727073       +Rochester Iron and Metal, Inc.,     1552 E. Lucas St.,     Rochester, IN 46975-8342
14727077       +Rodas, Luis A,    2408 Houma Boulevard,     Apt 427,    Metairie, LA 70001-6591
14727078       +Roderick, Victor Albert,    674 Hillendale Rd,     Crossville, TN 38572-3130
14727079       +Rodgers, Shannon Francis,     7040 Camberley Drive,     New Orleans, LA 70128-2204
14727088       +Roehl Transport,    Vicki Lew Selz,    Credit Manager,     1916 E 29th St,
                 Marshfield, WI 54449-5401
14727089       +Roehl Transport,    PO Box 750,    Marshfield, WI 54449-0750
14727090       +Roehl Transport Inc,    1916 E 29th St,     Marshfiled, WI 54449-5401
14727101       +Rogers, Darryl H,    13257 Vitrano Lane,     Independence, LA 70443-2305
14727105       +Rolack, David L,    1409 Yorktowne Dr,     Laplace, LA 70068-3604
14727114       +Rome, Daniel,    337 Bertolino Drive,    Kenner, LA 70065-2532
14727115       +Rome, Shelley K,    440 Maple Loop,    Laplace, LA 70068-4426
14727117       +Romero, Elias,    1915 5th Avenue,    APT #3,    New Brighton, PA 15066-2339
14727152       +Rose, William A,    20116 Raborn Lane,     Ponchatoula, LA 70454-5179
14727154       +Ross, Overton Matthew,    P.o. Box 2192,     Laplace, LA 70069-2192
14727156       +Rouillier, Christopher Michael,     44047 Rita Lambert Rd.,     St Amant, LA 70774-3455
14727157        Roussel, Kevin Mark,    4096 Belmont Lane,     Hester, LA 70743
14727158       +Rownd, Harry R,    15 White Drive,    Hammond, LA 70401-1025
14727173       +Rue, Marcus A,    488 Woody Lane,    Kingston, TN 37763-6335
14727178       +Rush, David,    91 B Carriage Lane,    Destrehan, LA 70047-3197
14727187       +Russian Ferro-Alloys, Inc,     Douglas Anderson,     4220 Edison Lakes Parkway, Suite 210,
                 Mishawaka, IN 46545-1440
14727197       +S & B INDUSTRIAL CONTRACTING INC,     109 SACK LANE,     BOYERS, PA 16020-1617
14727198       +S & S MECHANICAL SERVICES,     PO Box 610,    SORRENTO, LA 70778-0610
14727199       +S D MYERS LLC,    180 SOUTH AVENUE,    TALMADGE, OH 44278-2864
14727201       +S.E.S., LLC,    1507 BEESON ST,    ALLIANCE, OH 44601-2142
14727200       +S.E.S., LLC,    Scott Stedman,    1507 Beeson St,     Alliance, OH 44601-2142
14727202       +S.I. METALS AND SUPPLY,    3243 French Road,     De Pere, WI 54115-7700
14727203       +SABEL STEEL SERVICES INC.,     6051 HIGHWAY 90 WEST,     THEODORE, AL 36582-1646
14727204       +SADIEN N. SADAIAPPEN,    843 BARRECA STREET,     NORCO, LA 70079-2427
14727205       +SAFE T SYSTEMS INC,    2051 CASTAIC LANE,     KNOXVILLE, TN 37932-1557
14727209        SAGINAW PIPE COMPANY INC.,     1980 HIGHWAY 31 SOUTH,     SAGINAW, AL 35137
14727210        SALIT STEEL NIAGARA LTD,    7771 Stanley Avenue,      Niagara Falls, ON L2E 6V6 Canada
14727211       +SALVADOR MAJORIA,    6220 LESLIE ST,    METAIRIE, LA 70003-3231
14727212       +SALVADOR T ORGANO II,    3752 SCOFIELD ST,     METAIRIE, LA 70002-1558
14727213       +SALVADORE MICHAEL COOK,    5108 MOUNT SHASTA DR,      MARRERO, LA 70072-5638
14727215       +SAMER TAMIMI,    715 NAVARRE AVE,    NEW ORLEANS, LA 70124-2705
14727216       +SAMUEL ALEXANDER,    6609 CHENAULT ST,     MARRERO, LA 70072-2612
14727217       +SAMUEL CRABTREE JR,    819 BELLEMEADE BLVD,     GRETNA, LA 70056-7633
14727218       +SAMUEL E. WARREN JR.,    1901 S. SUGAR RIDGE,     LAPLACE, LA 70068-6209
14727219       +SAMUEL HEDRINGTON,    1308 MONROE ST,    GRETNA, LA 70053-3239
14727220       +SAMUEL MCDONALD,    5133 TOUCHARD LANE,     LAFITTE, LA 70067-3125
14727221       +SAMUEL RIDGLEY JR,    44 DUFFY ST,    WAGGAMAN, LA 70094-2151
14727222       +SAMUEL SANDER,    220 MARMANDIE AVE,    RIVER RIDGE, LA 70123-1126
14727223       +SAMUEL VINNETT,    146 E OAKLAND ST,    ST ROSE, LA 70087-3230
14727224       +SAMUEL WILLIAMS,    1545 ESTHER ST APT 11,     HARVEY, LA 70058-3653
14727225       +SANDAS JAMES TURNER JR,    1758 L B LANDRY AVENUE,      NEW ORLEANS, LA 70114-6165
14727227       +SANDIFERS AUTO CRUSHERS,    7006 OSYKA-PROGRESS ROAD,      MAGNOLIA, MS 39652-8229
14727228       +SANDRA POCHE,    450 HWY 628,    LAPLACE, LA 70068-6614
14727229       +SANDY R. REID,    1370 3RD STREET,    LUTCHER, LA 70071-5516
14727230       +SANTOS CALIX,    1201 LAKE AVE APT 237,     METAIRIE, LA 70005-1978
14727231       +SAP AMERICA, INC.,    3999 WEST CHESTER PIKE,     Newtown Square, PA 19073-2305
14727232       +SARAH A. VIZCAINO,    210 PAUL A. DRIVE,     LAPLACE, LA 70068-5651
14727235        SB LONE STAR DIVERSIFIED, LLC,     546 MADISON AVE.,     North Zulch, TX 77872
14727236        SCHENECTADY STEEL CO INC.,     18 Mariaville Road,     Schenectady, NY 12306-1398
14727237       +SCHILLI TRANSPORTATION SERVICES INC,     3535 BRADY LANE,     LAFAYETTE, IN 47909-5107
14727240       +SCHRIEVER AUTO PARTS,    3017 W. PARK AVE.,     GRAY, LA 70359-3507
14727241       +SCHRON M. LABRANCHE,    8880 HOUMA DRIVE,     LAPLACE, LA 70068-6005
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14727242       +SCHUFF STEEL COMPANY,    3020 E. Camelback Rd,     Phoenix, AZ 85016-4422
14727243        SCHWEITZER ROLLING TECHNOLOGY, INC.,     7 FERNCROFT DRIVE,    TORONTO, ON M1N 2X3 Canada
14727244       +SCION INC.,    21555 MULLIN AVENUE,    Warren, MI 48089-3091
14727245       +SCIONEAUX LLC,    643 CENTRAL AVENUE,    RESERVE, LA 70084-5515
14727246       +SCOTT A. HIMEL,    182 TIMBERMILL LOOP,    GARYVILLE, LA 70051-3507
14727247        SCOTT A. MADERE,    148 CORNLAND DRIVE,    RESERVE, LA 70084
14727248       +SCOTT A. RUSIS,    7808 PORTOSUENO AVE.,    BRADENTON, FL 34209-3348
14727249       +SCOTT ANTHONY RYALS,    3323 SHERBROOK LANE,    HARVEY, LA 70058-7460
14727250       +SCOTT ARMATURE,    2805 ENGINEERS ROAD,    BELLE CHASSE, LA 70037-3152
14727252       +SCOTT ARMATURE, LLC,    2821 ENGINEERS ROAD,    BELLE CHASSE, LA 70037-3152
14727253       +SCOTT BAUDOIN,    909 SOLON ST,    GRETNA, LA 70053-3344
14727255       +SCOTT GASPAR,    2217 BARTON DRIVE,    MARRERO, LA 70072-5139
14727256       +SCOTT GLENN COMPANY, LLC,    PO Box 660088,    BIRMINGHAM, AL 35266-0088
14727258       +SCOTT N CHIASSON,    4044 CYPRESS,    MARRERO, LA 70072-4012
14727259       +SCOTT TRIST,    802 SHORT STREET,    KENNER, LA 70062-7215
14727260       +SCOTTIE L BECNEL,    404 LAFITTE ST,    BRIDGE CITY, LA 70094-3330
14727261       +SCOTTIE SCHOUEST JR,    3769 PRIVATEER BLVD,    BARATARIA, LA 70036-5743
14727262       +SCR Spikes LLC dba Birmingham Rail &,     Locomotive,    Birmingham Rail & Locomotive,
                 5205 5th Avenue North,    Lipscomb, AL 35020-2754
14727263       +SCRAP CONNECTION,    Stacey Griffin,    1954 HIGHWAY 182,    HOUMA, LA 70364-3934
14727264       +SEAN CHRISTIAN SALASSI,    501 BERTUCCI ST,    MARRERO, LA 70072-1339
14727265       +SEAN CROY,    1815 CEDARWOOD AVE,    TERRYTOWN, LA 70056-2752
14727266       +SEAN GAUTHREAUX,    2609 CAMBRIDGE DRIVE,    LAPLACE, LA 70068-2201
14727267        SEAN MCELWEE,    1364 DOGWOOD DR,    HARVEY, LA 70058-3802
14727268       +SEAPORT STEEL, INC.,    3660 EAST MARGINAL WAY S,     Seattle, WA 98134-1130
14727269       +SEBASTIAN DEMATTEO,    3725 MARION ST UNIT 1,     METAIRIE, LA 70002-4643
14727270       +SEBASTIAN J MALIN,    957 PATTON ST,    WESTWEGO, LA 70094-3713
14727279       +SERGE NGANGO-NGOLLO,    117 CYPRESS LOOP,    WESTWEGO, LA 70094-4025
14727280       +SERVICE STEEL & PIPE,    1130 FULLERTON STREET,     SHREVEPORT, LA 71107-7112
14727281       +SERVICE STEEL WAREHOUSE COMPANY LP,     8415 CLINTON DRIVE,    HOUSTON, TX 77029-3613
14727282       +SETCO INC,    1803 NW SEMINOLE AVENUE,    Idabel, OK 74745-6176
14727283       +SETH PATRICK DESALVO,    420 SADDLER ROAD,    MARRERO, LA 70072-1629
14727284       +SETH ROME,    2202 GAUDET LANE,    PAULINA, LA 70763-2728
14727286        SHAIRO I JACKSON JR,    18451 LEE DR,    LAPLACE, LA 70068
14727287       +SHANE LEBOEUF,    229 HISTORIC WEST STREET,    GARYVILLE, LA 70051-3209
14727288       +SHANE REMONDET,    425 GOODHOPE ST,    NORCO, LA 70079-2349
14727289       +SHANNON A. MCFALL,    211 HOLLYWOOD PARK,    MONTZ, LA 70068-8945
14727290        SHANNON C. AUCOIN,    5227 PRIVATEER BLVD,    BARATARIA, LA 70036
14727291       +SHANNON CASILLAS,    2011 ALMONASTER STREET,    NEW ORLEANS, LA 70117-6901
14727292       +SHANNON J. BREAUD,    178 CENTRAL AVENUE,    RESERVE, LA 70084-6000
14727293       +SHANNON VENTURA,    256 RUTH DR,    AVONDALE, LA 70094-2806
14727295        SHARRONE SCOTT,    16672 HWY 90,    DES ALEMANDS, LA 70030
14727296       +SHAUN M. VANCAMP,    2167 OAK TREE DRIVE,    LAPLACE, LA 70068-1917
14727297      #+SHAWANDA MARIE GAINES,    2339 BROOKLYN AVE,    HARVEY, LA 70058-3130
14727300       +SHAWN GERHART,    432 HOMEWOOD PL,    RESERVE, LA 70084-5534
14727301       +SHAWN JAMES LESTER,    3874 PRIVATEER BLVD,    BARATARIA, LA 70036-5744
14727302       +SHAWN K PEASE,    134 JEAN MARIE ST,    RESERVE, LA 70084-5618
14727303       +SHAWN LEWIS JR.,    158 W. 4TH STREET,    EDGARD, LA 70049-2737
14727304       +SHAWN PLAISANCE,    4080 JEAN LAFITTE BLVD,    LAFITTE, LA 70067-5314
14727305       +SHAYNE COOKE,    113 KENNEDY ST,    ST ROSE, LA 70087-3111
14727306       +SHAYNE MILTON COOKE,    113 KENNEDY ST,    ST ROSE, LA 70087-3111
14727310       +SHELTON C. WILLIAMS JR.,    2209 S. KING AVENUE,     LUTCHER, LA 70071-5232
14727311       +SHELTON VALENTINE,    115 WEST 4TH ST,    EDGARD, LA 70049-2732
14727313       +SHEN JOSEPH,    3298 HIGHWAY 18 WEST,    DONALDSONVILLE, LA 70346-7606
14727314        SHENELL M. BROWN,    364 E. 13TH STREET,    RESERVE, LA 70084
14727315       +SHEPARD STEEL CO INC.,    110 MEADOW STREET,    Hartford, CT 06114-1598
14727316       +SHERIFFS OFFICE,    ST JOHN THE BAPTIST PARISH,     PO BOX 1600,   LAPLACE, LA 70069-1600
14727317       +SHERMAN SMITH,    2461 POINTMERE DRIVE,    HARVEY, LA 70058-2152
14727318       +SHERMAN WATKINS,    135 APRICOT DRIVE,    LAPLACE, LA 70068-6819
14727322        SHUGART MFG. INC.,    OLD YORK ROAD,    CHESTER, SC 29706
14727323       +SHURCO LLC,    2309 SHURLOK ST,    YANKTON, SD 57078-1210
14727324       +SIDNEY ANDERSON JR,    2749 OAK LEAF DR,    MARRERO, LA 70072-6603
14727326       +SIDNEY R. JOSEPH,    8896 SUNNYSIDE DRIVE,    LAPLACE, LA 70068-6002
14727327        SIGNAL METAL INDUSTRIES,    PO Box 171178,    IRVING, TX 75017-1178
14727334       +SIGNODE CORPORATION,    3650 W LAKE AVE,    GLENVIEW, IL 60026-1279
14727335        SILVANA REINA,    2513 LEXINGTON APR B,    KENNER, LA 70062
14727338       +SIM NELLON,    2028 FISH COURT,    MARRERO, LA 70072-4636
14727341        SIMONE M GAMBLE,    PO BOX 2205,    HARVEY, LA 70059-2205
14727343       +SIOUX CITY FOUNDRY,    801 DIVISION STREET,    SIOUX CITY, IA 51105-2644
14727344       +SIRENA C. JULIEN,    146 W. 15TH STREET,    WALLACE, LA 70090-5226
14727346       +SIXTO SOUTO,    3540 WALL BLVD,    NEW ORLEANS, LA 70114-4954
14727347       +SKKB ENTERPRISES, LLC,    2742 CLAIRE AVENUE,     GRETNA, LA 70053-7508
14727349       +SLADE MILLER,    1784 CAROL SUE AVE APT 2-1,    TERRYTOWN, LA 70056-5174
14727350       +SLIGO, INC.,    3460 HOLLENBERG DRIVE,    Bridgeton, MO 63044-2455
14727352       +SMARTWAY TRANSPORTATION, INC,     10901 GRANADA LANE,    OVERLAND PARK, KS 66211-1470
14727353       +SME SALES & SERVICE, INC.,    328 ALEY HILL ROAD,     BEAVER FALLS, PA 15010-5727
14727354       +SMITH SERVICES INC,    4 TURNPIKE INDUSTRIAL PK,     PRINCETON, WY 24739
14727360        SMS Concast Canada Inc. Accumold,     PO Box 248,    Huron Park, ON N0M 1Y0 Canada
14727362       +SNOWCREEK TRUCKING,    27043 E. SNOWCREEK,    AMITE, LA 70422-4949
14727363        SOLLON SCOTT III,    50456 ROCHESTER DR,    MARRERO, LA 70072
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14727364        SOLS PIPE YARD INC.,    403 TRANSPORT & CARGO STREET,      MONROE, LA 71203
14727365       +SONNY CHARLES SPRUNK,    117 IOTA STREET,     BELLE CHASSE, LA 70037-1711
14727366       +SONNY HEMARD,    100 RESERVE DRIVE,    RESERVE, LA 70084-6621
14727367       +SOPUS PRODUCTS,    630 W PRIEN LAKE ROAD, SUITE B 272,      LAKE CHARLES, LA 70601-0700
14727368       +SOURCE PRODUCTION EQUIP,    113 TEAL STREET,     ST. ROSE, LA 70087-4022
14727369       +SOUTH ATLANTIC LLC,    1907 SOUTH 17 STREET, SUITE 2,      Wilmington, NC 28401-6680
14727370       +SOUTH ATLANTIC LLC,    1907 SOUTH 17TH STREET,     Wilmington, NC 28401-6680
14727372       +SOUTHERN CHEM INDUSTRIES,     PO Box 222,    LAPLACE, LA 70069-0222
14727373       +SOUTHERN HAULERS CO., L.L.C.,     P.O. BOX 9182,    YOUNGSTOWN, OH 44513-0182
14727374       +SOUTHERN PIPE SUPPLY CO INC,     2800 WEST AIRLINE HIGHWAY,     LAPLACE, LA 70068-2922
14727375       +SOUTHERN POWER SYSTEMS,    8437 JOOR ROAD,     BATON ROUGE, LA 70818-5602
14727377        SOUTHERN RECYCLING, LLC,    3636 S I 10 SERVICE RD W STE 101,      METAIRIE, LA 70001-6418
14727378       +SOUTHERN REFRIGERATION INC,     1505 KUEBEL,    HARAHAN, LA 70123-2274
14727379        SOUTHERN STEEL & PIPE INC.,     Montgomery, AL 36111
14727381        SOUTHERN SURPLUS SERVICES LLC,     3021 HWY 190 W. PORT ALLEN,     PORT ALLEN, LA 70767
14727382       +SOUTHERN SYNERGY,    1105 BERT STREET,     LAPLACE, LA 70068-3072
14727383       +SOUTHERN TANK & MFG. INC.,     1501 HAYNES AVENUE,     OWENSBORO, KY 42303-1019
14727384       +SOUTHLAND FIRE & SAFETY,    EQUIPMENT, INC,     15712 RIVER ROAD,    NORCO, LA 70079-2249
14727386       +SPARTA STEEL & EQUIPMENT CORP.,     9875 CHESTNUT AVE. S.E.,     EAST SPARTA, OH 44626-9765
14727388       +SPENCER WILLS,    112 SAINT JUDE STREET,     MARRERO, LA 70072-5730
14727393       +SPRAYING SYSTEMS CO,    11944 JUSTICE AVE, SUITE E,      BATON ROUGE, LA 70816-2395
14727395       +SPS COMMERCE, INC.,    333 SOUTH 7TH STREET,     Minneapolis, MN 55402-2421
14727397       +ST JOHN THE BAPTIST PARISH,     PO Box C,    Garyville, LA 70051-0843
14727396       +ST JOHN THE BAPTIST PARISH,     UTILITIES,    PO BOX C,    GARYVILLE, LA 70051-0843
14727398       +ST JOHN THE BAPTIST PARISH,     1811 W. Airline Hwy.,     LaPlace, LA 70068-3336
14727399        ST JOHN THE BAPTIST PARISH,     SALES AND USE TAX OFFICE,     PO Box 2066,    LAPLACE, LA 70069-2066
14727401       +ST ROSALIE SCHOOL,    617 2ND AVENUE,     HARVEY, LA 70058-2798
14727403       +ST. JOHN MOSQUITO CONTROL,     1000 LABARRE RD.,    METAIRIE, LA 70001-5900
14727404       +ST. JOHN PARISH BUSINESS ASSOCATION,      PO Box 873,    LAPLACE, LA 70069-0873
14727405       +ST. JOHN PARISH ROADS & BRIDGE,     1801 W. AIRLINE HIGHWAY,     LAPLACE, LA 70068-3345
14727409       +ST. JOHN SHERIFF DEPT,    1801 AIRLINE HWY,     LAPLACE, LA 70068-3344
14727413        STACEY EFFERSON,    2033 CORNEL DR,    MARRERO, LA 70072
14727414       +STACY G. ALLEE,    44463 EDWARD GUIDRY ROAD,     ST. AMANT, LA 70774-4030
14727418       +STANELY SMITH,    816 MORNINGSIDE DR,     GRETNA, LA 70056-4505
14727419       +STANLEY D. BEARD,    1883 PLANTATION STREET,     LAFITTE, LA 70067-3625
14727420       +STANLEY HENDERSON,    14421 CREIGHTON RD,     CONROE, TX 77302-6039
14727421       +STANLEY M DEEKE,    3800 BRIANT DR,    MARRERO, LA 70072-6046
14727422       +STANLEY M. SISK,    329 COUSSAN ROAD,     LAFAYETTE, LA 70507-3217
14727423       +STANLEY SMITH,    PO BOX 392,    6166 BABIN WILSON,     CONVENT, LA 70723-2300
14727424       +STANLEY STEWART,    161 W 13TH STREET,     RESERVE, LA 70084-6213
14727425       +STANLEY THIBODEAUX,    9622 BARATARIA BLVD,     MARRERO, LA 70072-7587
14727426       +STAR GLASS INCORPORATED,    1000 WESTBANK EXP,     GRETNA, LA 70053-5629
14727427       +STATE MACHINERY,    160 WEST AIRLINE HWY,     KENNER, LA 70062-6851
14727429        STATE OF LOUISIANA,    DIVISION OF ADMINISTRATION,      STATE LAND OFFICE,    PO BOX 44124,
                 BATON ROUGE, LA 70804-4124
14727436        STATE POLICE,    RIGHT TO KNOW,    PO Box 66168,    BATON ROUGE, LA 70896-6168
14727439       +STCS LLC,    802 SHORT STREET, BLDG C,     KENNER, LA 70062-7201
14727440       +STEEL & PIPE SUPPLY,    555 Poyntz Avenue,     Manhattan, KS 66502-0126
14727441       +STEEL DUST RECYCLING, LLC,     13209 HWY 96,    MILLPORT, AL 35576-2456
14727443       +STEEL LOGISTICS, INC,    1201 MARINE VIEW STREET,      PORTAGE, IN 46368-1297
14727444       +STEEL MANUFACTURERS ASSOCIATION,     1150 CONNECTICUT AVENUE, SUITE 1125,
                 WASHINGTON, DC 20036-4169
14727445       +STEEL OF AMERICA,    Leetsdale Industrial Park, Suite 1,      LEETSDALE, PA 15056
14727448       +STEELFAB INC.,    8623 OLD DOWD ROAD,     CHARLOTTE, NC 28214-8022
14727451       +STEINERT US LLC,    1830 AIRPORT EXCHANGE BLVD.,      ERLANGER, KY 41018-3172
14727453       +STEPHEN FABRE,    572 PINE STREET,    NORCO, LA 70079-2134
14727454       +STEPHEN GUIDRY,    PO BOX 2847,    255 W. 3RD STREET,     RESERVE, LA 70084-2847
14727455       +STEPHENS HARRIS ASSOCIATES, INC.,     PO Box 23309,     NEW ORLEANS, LA 70183-0309
14727456      #+STERICYCLE INC,    28161 N KEITH DR,    LAKE FOREST, IL 60045-4528
14727457        STERICYCLE, INC,    PO Box 6575,    CAROL STREAM, IL 60197-6575
14727458       +STERLING MESSENGER,    301 JEAN LAFITTE BLVD,     LAFITTE, LA 70067-5105
14727459       +STERLING MILLER,    300 TRAVIS DRIVE,     AVONDALE, LA 70094-2550
14727460        STERLING STEWART,    202 CHAD B BAKER,     RESERVE, LA 70084
14727462       +STEVE TURNAGE,    230 ENGINEERS RD,    BELLE CHASSE, LA 70037-1127
14727463        STEVEN BOURGEOIS,    419 REGS PARK ROAD,     RESERVE, LA 70084
14727464       +STEVEN CAMBRE,    253 S CHURCH ST,    GARYVILLE, LA 70051-3305
14727465       +STEVEN CHAPRON,    2528 LONG BRANCH DRIVE,     MARRERO, LA 70072-5851
14727466       +STEVEN DALE HORN,    8325 ONE MILE ROAD EXT,     IRVINGTON, AL 36544-3583
14727467       +STEVEN DUHE,    350 EVANGELINE DRIVE,     MONTZ, LA 70068-8920
14727468       +STEVEN FLETCHER,    1767 HOLIDAY DR,    NEW ORLEANS, LA 70114-3453
14727469        STEVEN GRANGER,    5 DIANNE PLACE,    ST ROSE, LA 70087
14727470       +STEVEN J. ELLIS JR.,    1507 GRANT STREET,     LAPLACE, LA 70068-2934
14727471       +STEVEN M. GERACI,    176 RIVERVIEW CT.,     LAPLACE, LA 70068-6636
14727473       +STEVEN RUIZ,    1908 CAMEO LANE,    TERRYTOWN, LA 70056-2706
14727474       +STEVEN W. JACKSON,    213 FLORIDA STREET APT. C,      HAMMOND, LA 70403-3975
14727475       +STEVIE BUSH,    1329 31ST STREET,    KENNER, LA 70065-4461
14727476       +STEWART M BEATTY II,    1009 VELMA ST,     METAIRIE, LA 70001-3254
14727477       +STEWART SMITH,    2232 PINE VALLEY DRIVE,     LAPLACE, LA 70068-1613
14727481        STONE STEEL CORPORATION,    BALTIMORE, MD 21225
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14727482    ++++STOWERS MACHINERY CORP.,    6301 OLD RUTLEDGE PIKE,      PO BOX 14802,    KNOXVILLE TN 37924-4831
               (address filed with court: STOWERS MACHINERY CORP.,        PO BOX 14802,    6301 RUTLEDGE PIKE,
                 KNOXVILLE, TN 37901-2503)
14727483       +STOWERS RENTAL SUPPLY,    A K A STOWERS MACHINERY CORPORATION,      215 INTERCHANGE DIVE,
                 CROSSVILLE, TN 38571-2412
14727486       +STRICKLAND TRADING, INC,    B. Wallace,     101 Carnoustie,    Shoal Creek, AL 35242-5949
14727489       +STUART D. SANCHEZ,    5120 WOODCREST DR.,     MARRERO, LA 70072-5016
14727490       +STUDDARD SCRAP METAL RECYCLING,     P.O.BOX 100,     PATTERSON, LA 70392-0100
14727491       +STUPAR, SCHUSTER & BARTELL, S.C.,     Michael P. Stupar,     633 West Wisconsin Avenue,
                 Milwaukee, WI 53203-1955
14727492        SUDDEN SERVICE INC,    2851 MISSOURI,    WEST MEMPHIS, AR 72301
14727494       +SULZER TURBO SERV NO INC,     PO Box 6212,    NEW ORLEANS, LA 70174-6212
14727495       +SUNBELT TRANSFORMER,    PO BOX 1500,    TEMPLE, TX 76503-1500
14727496       +SUNFLOWER CONSTRUCTION,    3948 SUNFLOWER LANE,      Plano, TX 75025-2021
14727497       +SUNLINE COMMERCIAL CARRIERS INC,     2525 SPUR 54,     HARLINGEN, TX 78552-3402
14727498       +SUNSOURCE,    5109 TARAVELLA,    MARRERO, LA 70072-4242
14727499       +SUPERBOLT, INC,    PO BOX 683,    CARNEGIE, PA 15106-0683
14727500       +SUPERIOR PILING INC.,    7247 SOUTH 78TH AVENUE,      Bridgeview, IL 60455-1091
14727501    ++++SUPERIOR SUPPLY & STEEL,    318 S CITIES SERVICE HWY,      SULPHUR LA 70663-6406
               (address filed with court: SUPERIOR SUPPLY & STEEL,        318 NORTH CITIES SERVICE HWY,
                 SULPHUR, LA 70663)
14727502       +SUZANNE GALLAWAY,    2956 CARDINAL DR,     MARRERO, LA 70072-5808
14727503       +SYLVESTER JOHNSON,    609 MAIN STREET,     LAPLACE, LA 70068-4515
14727504       +SYLVESTER JOSEPH BROWN,    906 22ND ST,     GRETNA, LA 70053-6806
14727505        SYLVESTER LEBLANC,    716 MOCKINGBIRD LANE,     ST ROSE, LA 70087
14727506       +SYLVIA LEAVEY,    411 ORANGE LOOP,    LAPLACE, LA 70068-4417
14727507       +SYMONE L. MCKINNEY,    9998 SUNNYSIDE DRIVE,     LAPLACE, LA 70068-2914
14727207       +Safety Shoe Distributors, LLP,     9330 Lawndale Avenue,     Houston, TX 77012-2705
14727208       +Safety-Kleen/ CleanHarbors,     600 Longwater Drive,     PO Box 9149,   Norwell, MA 02061-9149
14727214       +Sam Farahnak,    One Sound Shore Drive,     Ste 200,    Greenwich, CT 06830-7251
14727226       +Sanders, Christopher Lee,     108 Apollo St,    Reserve, LA 70084-6722
14727233       +Sarvey, James M,    173 Shannon Rd,    Aliquippa, PA 15001-5705
14727234       +Savoie, Lisa M,    2129 Golfview Drive,     Laplace, LA 70068-2026
14727238       +Schouest, Dudley Alfred,    2416 W. Sunnymeade Dr.,      Harvey, LA 70058-2143
14727239       +Schrader, Errett Merle,    6222 Royal Palms Dr,      Gonzales, LA 70737-8567
14727251       +Scott Armature Sales &,    Storage, LLC,     2825 Engineer South Road,
                 Belle Chase, LA 70037-3152
14727257       +Scott Mullen,    4515 Meadowdale,    Metairie, LA 70006-4133
14727271        Secretary Of State,    Commercial Division,     PO Box 94125,    Baton Rouge, LA 70804-9125
14727272        Secretary of State Dept of Business,     Services Limited Liability Div,
                 501 S. Second St. Rm. 351,     Springfield, IL 627756
14727273       +Securities & Exchange Commission,     G Jeffrey Boujoukos Regional Director,
                 1617 JFK Boulevard Ste 520,     Philadelphia, PA 19103-1805
14727275       +Securities & Exchange Commission NY Office,      Marc Berger Regional Director,
                 200 Vesey St Ste 400,    Brookfield Place,     New York, NY 10281-8004
14727277       +Sedlock, Scott,    144 Dunleith Dr.,    Destrehan, LA 70047-2025
14727278       +Sentimore, Kendrick,    2225 Cambridge Road,     LaPlace, LA 70068-2305
14727285       +Shadden, Arthur D,    821 South Patton Avenue,     Rockwood, TN 37854-2506
14727312       +Shelton, Michael,    122 Island View Lane,     Rockwood, TN 37854-5546
14727320       +Short, Jarrod,    11647 Sedgemoore Dr N,     Jacksonville, FL 32223-1351
14727321       +Shorts, Tremane M,    119 Apricot Street,     LaPlace, LA 70068-6819
14727329       +Signal Metal Industries Inc.,     Ian Connor Bifferato,     1007 North Orange Street, 4th Floor,
                 Wilmington, DE 19801-1242
14727332       +Signal Metal Industries, Inc.,     Attn Ryan K. Robinson,     850 East Pioneer Drive,
                 Irving, TX 75061-7796
14727330       +Signal Metal Industries, Inc.,     Attn Yelena Archiyan,     c/o Akerman LLP,
                 2001 Ross Avenue, Suite 3600,     Dallas, TX 75201-2938
14727333       +Signal Metal industries, Inc.,     Ryan K. Robinson,     850 East Pioneer Drive,
                 Irving, TX 75061-7716
14727336       +Silvestri, Anthony Paul,    1077 Balsam St,     Laplace, LA 70068-5512
14727337       +Silvey, Anthony Scott,    746 Fairview Rd,     Harriman, TN 37748-3610
14727339       +Simmons, Hewlett W,    78330 Highway 1053,     Kentwood, LA 70444-6546
14727340       +Simmons, Jeffery Wendell,     78444 Hwy 1053,    Kentwood, LA 70444-6548
14727342        Sims, Brian K.,    2454 Stonebridge Dr,     Baton Rouge, LA 70810-6989
14727348       +Skyles, Clifton Julius,    20464 Vineyard Rd,     Hammond, LA 70401-4070
14727351       +Sliker, Charles F,    112 Harrinson Ave,     Harriman, TN 37748-8657
14727355       +Smith, Claude A,    631 Fairway Dr,    Laplace, LA 70068-2005
14727356       +Smith, Corbin Tom,    103 Lorelei Circle,     Slidell, LA 70458-9036
14727357       +Smith, Kenneth Wayne,    29355 Catholic Hall Rd,      Hammond, LA 70403-8381
14727358       +Smith, Kythian,    430 Riverview St,    Oakdale, TN 37829-3126
14727359       +Smith, Raymond David,    18514 Acadiana Ln.,     Loranger, LA 70446-2466
14727361       +Snipes, SJ,    425 Woodlane Dr,    Rockwood, TN 37854-6035
14727376       +Southern Power Systems, Inc.,     8501 Joor Road,     Baton Rouge, LA 70818-5604
14727385       +Southwestern Graphite Co,     2564 Hwy 12,    Dequincy, LA 70633-6009
14727389       +Spencer, Jamar G,    1253 Angus Dr,    Harvey, LA 70058-3819
14727390       +Spencer, Kelvin A,    300 East Lake Dr.,     Slidell, LA 70461-5644
14727391       +Spera Law Group, LLC,    Vincent Trombatore, Esq.,      3110 Canal Street,
                 New Orleans, LA 70119-6202
14727392       +Spoons-Wood, Judith Michele,     41496 Rue Maison,     Ponchatoula, LA 70454-7084
14727394       +Spriggs, Michael Ryan,    2144 Church St.,     Vacherie, LA 70090-5441
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14727400       +St John the Baptist Parish Sales,     and Use Tax Office,    1704 Chantilly Dr. Ste 101,
                 LaPlace, LA 70068-2428
14727402       +St. Germain, Amie Leigh,     128 Yellowstone St,    Kenner, LA 70065-1037
14727406       +St. John Parish Tax Collector,     1801 W. Airline Hwy,    Laplace, La 70068-3345
14727407       +St. John Parish Tax Collector,     PO Box 1600,    Laplace, La 70069-1600
14727412       +St. Martin, Donald Joseph,     130 Mattie St,    LaPlace, LA 70068-4173
14727415        Standard Crane & Hoist, LLC,     c/o Stephen Conroy Law Firm,     Stephen K. Conroy,
                 3501 N. Causeway Boulevard, Suite 500,     Metairie, LA 70002-3691
14727417       +Standard Laboratories, Inc,     1138 McGhee Lane, Suite 2,    Jacksboro, TN 37757-4120
14727430       +State of Louisiana Department of,     Environmental Quality,    Office of Environmental Compliance,
                 602 N. Fifth Street,    Baton Rouge, LA 70802-5312
14727431        State of Louisiana Department of,     Environmental Quality,    Office of Environmental Compliance,
                 P.O. Box 4312,    Baton Rouge, LA 70821-4312
14727432        State of Louisiana Office of the,     Attorney General,    Office of Attorney General Jeff Landry,
                 Christopher Lento,    PO Box 94005,    Baton Rouge, LA 70804-9005
14727433        State of Tennessee Department of State,     312 Rosa L. Parks Ave 6th Fl,
                 Nashville, TN 37243-1102
14727434       +State of Tennessee Dept of Revenue,     500 Deaderick St,    Nashville, TN 37242-0002
14727438       +Stauffer Manufacturing Company,     361 E Sixth Street,    Red Hill, PA 18076-1118
14727442        Steel Fab Inc of Dublin GA,     902A Smith Street,    Dublin, GA 31021
14727447       +Steele, James D,    189 Dakota Trail,    Rockwood, TN 37854-3656
14727449       +Stegall, Curtis M,    230 North 3rd Street,     Kingston, TN 37763-2894
14727450       +Stehling, Wendy Ann,    25 Monte Carlo Drive,     Kenner, LA 70065-2028
14727452       +Stephan, Lawrence P,    389 Fairway Drive,     Laplace, LA 70068-1913
14727461       +Steve Deckoff,    One Sound Shore Drive,    Ste 200,    Greenwich, CT 06830-7251
14727478       +Stewart, Calvin,    Po Box 2508,    Reserve, LA 70084-2508
14727479       +Stewart, David,    1900 Longwood Crt,    Laplace, LA 70068-2616
14727480       +Sticker, Richard G,    27333 Sticker Lane,     Ponchatoula, LA 70454-6191
14727484       +Strader, Dallas,    112 N Patton Ave,    Rockwood, TN 37854-2730
14727485       +Strauss, Ronald R,    21395 Rogers Hill Ro,     Covington, LA 70435-6727
14727487       +Strickland Trading, Inc.,     101 Carnoustie,    Shoal Creek, AL 35242-5949
14727488       +Strong, David G,    12339 Post Oak Road,    Hammond, LA 70403-2019
14727508       +T & H TRUCKING INC,    1106 W 111TH PL,    CHICAGO, IL 60643-4512
14727509       +T & W STEEL COMPANY INC.,     1612 SOUTHWEST JEFFERSON,    Lees Summit, MO 64081-3106
14727511       +TA SERVICES INC,    241 REGENCY PARKWAY,    MANSFIELD, TX 76063-5090
14727510       +TA Services,    Attn Jake Langley,    PO Box 2127,    Birmingham, AL 35201-2127
14727512       +TA Services, LLC,    TA Services,    Attn Jake Langley,    PO Box 2127,
                 Birmingham, AL 35201-2127
14727513       +TA Services, LLC,    Charley M. Drummond,     400 Century Park South, Suite 224,
                 Birmingham, AL 35226-3925
14727514        TABATHIA GAUTHIER,    8089 JUNG BLVD APT C,     MARRERO, LA 70072
14727515       +TABETHA GRAVES,    120 AUGUSTINE LANE,    LAPLACE, LA 70068-5681
14727516      #+TAINO TRUCKING LLC,    67 PHILLIP CT,    CHALMETTE, LA 70043-1715
14727517       +TAKIYAH DUNBAR,    1813 S. SOWN RD,    LAPLACE, LA 70068-6211
14727518        TALLGRASS FREIGHT CO, LLC,     5800 HILLTOP ROAD, SUITE 202,    SHAWNEE, KS 66226
14727519       +TAMIRA THIELE,    139 HOLLYWOOD PARK,    MONTZ, LA 70068-8941
14727520       +TAMMY PRUITT,    1004 WILKER NEAL AVE,    METAIRIE, LA 70003-6708
14727521       +TAMPA BAY STEEL CORPORATION,     6901 EAST 6TH AVENUE,    Tampa, FL 33619-3300
14727523       +TANYA BENNETT,    2532 BUCCANEER DR,    MARRERO, LA 70072-6410
14727524       +TANYA PAYNE,    3529 AMES BLVD,    MARRER0, LA 70072-5633
14727525       +TANYON THOMAS,    805 BELLEMEADE BLVD,    GRETNA, LA 70056-7633
14727526       +TANZA ROBERTSON,    2648 NORTH NOBILE,    PAULINA, LA 70763-2529
14727527       +TAPCO,    TRAFFIC & PARKING CONTROL CO, INC.,     5100 WEST BROWN DEER ROAD,
                 BROWN DEER, WI 53223-2322
14727528        TASHA J. WASHINGTON,    220 HOMEWOOD PLACE,     RESERVE, LA 70084
14727529       +TAT V LE,    1913 CAROL SUE AVE,    GRETNA, LA 70056-4205
14727532       +TAYLOR A. LEGRANGE,    3535 APOLLO DRIVE,     METAIRIE, LA 70003-3372
14727535       +TAYLOR M. GORMAN,    480 CAROLYN DRIVE,    DESTREHAM, LA 70047-4025
14727536        TAYLOR MACHINE WORKS INC,     650 NORTH CHURCH AVENUE,    LOUISVILLE,, MS 39339
14727537      #+TAYLOR R. FALGOUST,    2727 NORTH NOBILE,     PAULINA, LA 70763-2527
14727539       +TAZMAN S. ANDERSON,    613 EAGLE STREET,    LAPLACE, LA 70068-4915
14727540       +TDI GROUP, LLC,    700 BLAW AVENUE,    PITTSBURGH, PA 15238-3216
14727541       +TEA SVETLANOVIC,    6069 BELT LINE RD APT 2054,     DALLAS, TX 75254-7844
14727542       +TECH USA, LLC,    8334 VETERANS HIGHWAY, 2nd Floor,     Millersville, MD 21108-2524
14727546       +TECHNOS INC,    7016 FM3009,    SCHERTZ, TX 78154-3220
14727547       +TED LAURENT,    2509 ARIZONA DRIVE,    MARRERO, LA 70072-6105
14727548       +TEN M VENDING,    15642 RIVER ROAD,    NORCO, LA 70079-2267
14727549        TENCARVA MACHINERY CO,    PO BOX 35705,    GREENSBORO, NC 27425-5705
14727550       +TENNESSEE ASSOCIATED ELEC,     214 W MORELIA AVE,    KNOXVILLE, TN 37917-5151
14727553        TENNESSEE DEPARTMENT OF TRANSPORTATION,     HIGHWAY BEAUTIFICATION,     505 DEADRICK ST,
                 NASHVILLE, TN 37243-0333
14727556       +TENNESSEE SLING CENTER,    3010 WILLIAMS STREET, SUITE 104,     Chattanooga, TN 37410-1029
14727557       +TENNESSEE STEEL HAULERS INC,     2607 BRICK CHURCH PIKE,    NASHVILLE, TN 37207-4409
14727559       +TENOVA INC.,    100 CORPORATE CENTER DRIVE,     CORAPOLIS, PA 15108-4333
14727561       +TERCHELLE DORSEY,    57705 FORT ST,    PLAQUEMINES, LA 70764-3321
14727562       +TERENCE J. ROSE,    114 CEDAR ROW,    THIBODAUX, LA 70301-6270
14727563      #+TERESA LOMONACO,    3801 IRWIN KUNTZ DR,    HARVEY, LA 70058-2128
14727564       +TERRANCE Q. MARSHALL JR.,     193 SHADOW BROOK LANE,    LAPLACE, LA 70068-5646
14727565        TERRANCE T. LINTON,    117 SHERMAN WALKER,     GARYVILLE, LA 70051
14727566       +TERRANCE TRELL VIDEAU,    6508 RUE LOUIS PHILIPI,     MARRERO, LA 70072-4627
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14727567       +TERRELL J LUKE,    5515 FOURTH ST APT 1,     MARRERO, LA 70072-1743
14727568       +TERRELL JACKSON,    264 W 8TH STREET,    VACHERIE, LA 70090-5037
14727569       +TERREN COOK,    278 CHAD B BAKER,    RESERVE, LA 70084-5015
14727570       +TERRENCE JUDE THOMAS,    3809 DEERRUN LANE,     HARVEY, LA 70058-2120
14727571       +TERRENCE PLACIDE,    139 EAST 30TH STREET,     RESERVE, LA 70084-5004
14727572       +TERRENCE TAFT,    4633 RIVERVIEW DRIVE,    HOOVER, AL 35244-3718
14727573        TERRENCE WOLFE,    329 MELIUS DR,    RESERVE, LA 70084
14727574      #+TERRI HEBERT,    309 CARDINAL ST,    LAPLACE, LA 70068-4807
14727575       +TERRI LYNN RANDALL,    422 ORANGE LOOP,    LAPLACE, LA 70068-4418
14727576       +TERRI RANDALL,    422 ORANGE LOOP,    LAPLACE, LA 70068-4418
14727578       +TERRY BROWN,    507 CHALMETTE,    HARVEY, LA 70058-4427
14727580       +TERRY J. RODRIGUE,    106 KATHY DRIVE,    LAPLACE, LA 70068-5675
14727581       +TERRY J. RODRIGUE JR.,    131 LAWRENCE STREET,     LAPLACE, LA 70068-6641
14727582       +TERRY JOHN LEONARD JR,    2020 ELM ST,    HARVEY, LA 70058-4210
14727583       +TERRY L. SCOTT,    356 FEDERAL DR,    AVONDALE, LA 70094-2433
14727584      #+TERRY M KUCHLER,    2137 18TH ST,    KENNER, LA 70062-6295
14727585       +TERRY RISING,    2416 WILLIAMSBURG STREET,     LAPLACE, LA 70068-2332
14727586       +TERRY ROCHE,    1316 PALFREY ST,    GRETNA, LA 70053-3245
14727592       +TERRYL J TOLLIVER,    5028 RANDOLPH ST,    MARRERO, LA 70072-4923
14727595       +TEXAS IRON & METAL COMPANY,     865 LOCKWOD,    Houston, TX 77020-7994
14727598       +THADDAUS M. WILLIAMS,    9008 ROUSSEAU STREEET,     KENNER, LA 70062-7836
14727599       +THADDUES R. SMITH,    8200 SUNBURY LANE #1501S,     HOUSTON, TX 77095-2417
14727600       +THANH HOANG NGO,    2276 N HARPER DR,    HARVEY, LA 70058-1332
14727601       +THANH HUU CHAU,    2 HERMITAGE DR,    MARRERO, LA 70072-5033
14727602       +THE A588 & A572 STEEL COMPANY,     133 SABAGO LAKE DRIVE,    Sewickley, PA 15143-9374
14727604       +THE COEUR DALENES COMPANY,     3900 EAST BROADWAY,    Spokane, WA 99202-4527
14727607       +THE DAVID J JOSEPH COMPANY,     2 PENN CENTER WEST, SUITE 301,     PITTSBURGH, PA 15276-0113
14727605        THE DAVID J JOSEPH COMPANY,     BROKERAGE SERVICES DIVISION,    Attn Director or Officer,
                 PO Box 632960,    CINCINNATI, OH 45263-2960
14727606       +THE DAVID J JOSEPH COMPANY,     1014 DOUGLAS ST, 2ND FLOOR,    Omaha, NE 68102-1813
14727608        THE EVERETT STEEL COMPANIES,     Tacoma Rail Track 223,    TACOMA, WA 98421
14727609        THE J. M. SMUCKER COMPANY,     39198 TREASURY CENTER,    Chef loc,    CHICAGO, IL 60694-9100
14727610        THE J.M. SMUCKER COMPANY - OLD GENT,     39198 TREASURY CENTER,     locale 209,
                 CHICAGO, IL 60694-9100
14727611       +THE LAMBERT FIRM, PLC,    Cayce Peterson, Hughes P Lambert,     701 Magazine Street,
                 New Orleans, LA 70130-3629
14727612       +THE MCGINNIS LUMBER CO, INC,     905 22ND AVENUE,    MERIDIAN, MS 39301-5026
14727613       +THE MEDICINE SHOPPE,    932 CARROLLWOOD AVENUE,     LAPLACE, LA 70068-3304
14727614        THE PERSONNEL CONSULTING GROUP,     VETERANS BLVD, SUITE 535,     Metairie, LA 70005
14727615       +THE REYNOLDS COMPANY,    700A ELMWOOD PARK BOULEVARD,     HARAHAN, LA 70123-3336
14727616       +THE SHERWIN WILLIAMS COMPANY,     HARRIMAN TN,    228 S. ROANE STREET,    HARRIMAN, TN 37748-7435
14727617       +THE THREE CS PROPERTIES INC,     141 1-310 SERVICE RD,    ST ROSE, LA 70087-3135
14727620       +THE WARREN COMPANY,    2201 LOVELAND AVE.,     ERIE, PA 16506-2020
14727621       +THEODORE GARTON,    21 SULLIVAN PLACE,    ALGIERS, LA 70131-3729
14727622       +THEODORE H. MONTGOMERY,    22709 114TH PL SE,     KENT, WA 98031-2645
14727623       +THEODORE W THOMAS,    2301 NEWTON ST,    GRETNA, LA 70053-6851
14727624        THERAN M JOHNSON,    PO BOX 872905,    NEW ORLEANS, LA 70187-2905
14727625       +THERESA GARRISON,    2800 MT KENNEDY DR,     MARRERO, LA 70072-5255
14727626        THERMO ELECTRON NORTH AMERICA LLC,     PO Box 742775,    ATLANTA, GA 30374-2775
14727627       +THIBODEAUX & SON SCRAPYARD,     4612 MARINA RD,    NEW IBERIA, LA 70560-7928
14727628       +THIEN T NGUYEN,    2511 HOLIDAY DRIVE,    NEW ORLEANS, LA 70131-5117
14727629       +THIRON L. CARR,    2401 EXCHANGE ALLEY,    LUTCHER, LA 70071-5355
14727630       +THOMAS A WILLIAMS,    555 MICHAEL ST,    MARRERO, LA 70072-1329
14727631        THOMAS A. HOYAL,    2499 EASY LEBRAY,    LUTCHER, LA 70071
14727632       +THOMAS A. NASSER,    1212 W. WESTCHESTER WAY,     MUSTANG, OK 73064-2303
14727633        THOMAS A. PITTMAN,    174 STOUT STREET,    GARYVILLE, LA 70051
14727634       +THOMAS ADAMS,    1900 ESTHER ST,    HARVEY, LA 70058-3512
14727635       +THOMAS BREAUX,    5228 OAK DR,    MARRERO, LA 70072-4218
14727636       +THOMAS D. BOYD,    12386 PATTERSON ROAD,     TITUSVILLE, LA 16354-3742
14727637       +THOMAS DANIELS,    5267 HUNTERSPARK AVE,     BATON ROUGE, LA 70817-2062
14727638       +THOMAS FLUENCE,    P. O. BOX 563,    GRAMERCY, LA 70052-0563
14727639       +THOMAS G. MOREL,    2012 ORMOND BLVD,    DESTREHAN, LA 70047-2002
14727640       +THOMAS GELPI,    916 RICHARD ST,    GRETNA, LA 70053-4832
14727641       +THOMAS JONES,    2425 41ST STREET,    HARVEY, LA 70058-3506
14727642       +THOMAS L ROBINSON,    814 5TH AVENUE,    HARVEY, LA 70058-2673
14727643       +THOMAS LAVIGNE JR,    6820 BAMBERRY ST,    NEW ORLEANS, LA 70126-2712
14727644       +THOMAS LYNN MARTIN,    6116 FOURTH AVENUE APT 212,     MARRERO, LA 70072-2814
14727645       +THOMAS M. FOSTER,    620 CAMELIA AVE,    LAPLACE, LA 70068-3012
14727646       +THOMAS REARDON JR,    526 MARION ST,    HARVEY, LA 70058-4248
14727647       +THOMAS U BROWN,    1053 MARVIN CT,    HARVEY, LA 70058-4913
14727648       +THOMAS WIBEL,    1508 AVENUE A,    MARRERO, LA 70072-3814
14727656       +THORNTON, MUSSO, & BELLEMIN, INC.,     4788 WAYWOOD DRIVE,    ZACHARY, LA 70791-2464
14727660       +TIGER TRAILERS, INC,    3029 COUNTY ROAD 3320,     Cookville, TX 75558-3021
14727661       +TILDEN PEREZ JR,    5517 PERRIN ST P O BOX614,     LAFITTE, LA 70067-0614
14727663       +TIMMY ALLEN LABRANCHE JR,    3105 MARY DRIVE,     MARRERO, LA 70072-6027
14727664       +TIMOTHY ALBRITTON,    313 CAMELIA AVE.,    LAPLACE, LA 70068-3005
14727665       +TIMOTHY BOUZIGARD,    135 HOLLYWOOD PK DR,     LAPLACE, LA 70068-8941
14727666      #+TIMOTHY BOUZIGARD JR,    311 CLAYTON DR,     NORCO, LA 70079-2321
14727667        TIMOTHY COLEMAN,    245 HISTORIC EAST,    GARYVILLE, LA 70051
14727668       +TIMOTHY D MATHERNE,    710 CENTRAL AVE,    WESTWEGO, LA 70094-4744
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14727669       +TIMOTHY JOHN SASSO,    3037 LILLIE ST,    MARRERO, LA 70072-5523
14727670       +TIMOTHY JOHN SCHOTSCH,     115 MARK TWAIN DR APT 16,    RIVER RIDGE, LA 70123-2456
14727671       +TIMOTHY PARKER JR,    6850 KLUG PINES RD LOT45,     SHREVEPORT, LA 71129-2422
14727672       +TIMOTHY R WHITE,    3530 WEST HOUSTON,    PARIS, TX 75460-3578
14727674       +TIMOTHY RISING,    613 PENN DRIVE,    LAPLACE, LA 70068-3631
14727675       +TIMOTHY ROBINSON,    1531 BELLE POINTE,    LAPLACE, LA 70068-2901
14727676      #+TIMOTHY SCOTT,    219 DIAMOND ROAD,    NORCO, LA 70079-2029
14727677       +TIMOTHY STOUT,    632 GARYVILLE NORTHE,    GARYVILLE, LA 70051-3407
14727678       +TIMOTHY THOMAS,    777 MADEWOOD DR,    LAPLACE, LA 70068-3321
14727679       +TIMOTHY VIDAL,    1524 NEWTON ST,    GRETNA, LA 70053-6444
14727680       +TIMOTHY W LEE,    125 DEREK LANE,    LAPLACE, LA 70068-6487
14727681       +TIMPTHA LAURENT,    410 MONCLA AVE,    BELLE CHASSE, LA 70037-2315
14727682       +TIMS TIRE SERVICE,    1688 HARRIMAN HWY,    HARRIMAN, TN 37748-4264
14727683       +TINA BAUDOIN,    909 SOLON ST,    GRETNA, LA 70053-3344
14727684        TJM & CO,    PO Box 2120,    KENNER, LA 70063-2120
14727685       +TMI,    9910 Dupont Circle Dr East Suite 200,     Fort Wayne, IN 46825-1616
14727686      #+TMS INTERNATIONAL, LLC,     Attn Director or Officer,    12 MONONGAHELA AVENUE,
                 GLASSPORT, PA 15045-1315
14727687       +TMS International, LLC,     c/o Jennifer Hall, Equire,    1155 Business Center Drive, Suite 200,
                 Horsham, PA 19044-3454
14727688       +TMS International, LLC,     Elliott Greenleaf PC,    Rafael X Zahralddin-Aravena Eric M Sutty,
                 1105 N. Market Street, Suite 1700,     Wilmington, DE 19801-1228
14727689       +TMS International, LLC,     c/o Eric M. Sutty, Esquire,    Elliott Greenleaf, P.C.,
                 1105 North Market Street, Suite 1700,     Wilmington, DE 19801-1228
14727690       +TN DEPT ENV CONSERVATION,     10TH FLOOR WILLIAM R SNODGRASS TN T,     NASHVILLE, TN 37243-0001
14727691       +TN DEPT OF ENVIR CONSERV,     DIVISION OF REMEDIATION,    4TH FLOOR ANNEX,    401 CHURCH STREET,
                 NASHVILLE, TN 37243-0001
14727692       +TN Dept of Envt and Conservation,     c/o TN Attorney General,    Bankruptcy Division,
                 PO Box 20207,    Nashville, TN 37202-4015
14727693       +TOAN G HUYNH,    3181 PRIMWOOD DRIVE,    HARVEY, LA 70058-1630
14727694       +TOAN NGUYEN,    1124 WARREN DR,    HARVEY, LA 70058-4347
14727695       +TOBY MILLER,    430 W. BEECH ST.,    PONTCHATOULA, LA 70454-3636
14727697       +TODD TREADAWAY,    1965 BELLE CHASSE HWY,    GRETNA, LA 70056-7114
14727698       +TODD WALKER JR,    2708 MARISHA CT,    MARRERO, LA 70072-6344
14727699       +TODD WILLIAMS,    821 BARATARIA BLVD.,    MARRERO, LA 70072-1839
14727702       +TOKAI CARBON GE LLC,    Kelly Correll,    6210 AUDREY KELL ROAD, SUITE 270,
                 CHARLOTTE, NC 28277-4945
14727704       +TOM HOUSTON LANEY,    405 BAYOU ROAD,    BELLE CHASSE, LA 70037-3136
14727705       +TOMMIE L ROBINS,    513 TURTLE CREEK,    ST ROSE, LA 70087-3829
14727706       +TOMMIE WILLIAMS,    1325 COOK ST,    GRETNA, LA 70053-2466
14727707        TOMMY L. THOMAS,    337 ENGLISH COLONY,    LAPLACE, LA 70068
14727708       +TOMMY LEPINE,    2817 PRITCHARD RD,    MARRERO, LA 70072-6009
14727710       +TOMMY WAYNE JOHNSON,    4008 NORTH INDIGO DRIVE,     HARVEY, LA 70058-5013
14727711      #+TONI BORNE,    2410 JEAN LAFITTE BLVD,    LAFITTE, LA 70067-5200
14727712       +TONY BENNETT ENTERPRISES INC,     124 EAST AIRLINE HWY,    LAPLACE, LA 70068-4103
14727713       +TONY BYCHURCH,    2844 DOVE AVE,    MARRERO, LA 70072-5814
14727714       +TONY COULTER JR,    4925 DITCHARO ST LOT 6,     LAFITTE, LA 70067-5131
14727715       +TONY J VIOLA,    4412 BAYOU DES FAMILLIES,     MARRERO, LA 70072-6574
14727716        TONYS TOWING,    302 ALMEDIA ROAD,    ST ROSE, LA 70087
14727718       +TORQUE, INC,    201 CASTLEBERRY CT.,    MILFORD, OH 45150-1193
14727720       +TORREY PARQUET,    110 ROSE ST,    LAPLACE, LA 70068-6632
14727721       +TORY CARGO,    1128 PAILET AVE,    HARVEY, LA 70058-3739
14727724       +TOWLIFT INC,    1395 VALLEY BELT RD,    BROOKLYN HEIGHTS, OH 44131-1474
14727726       +TRAC-WORK, INC.,    640 HWY 3185,    THIBODAUX, LA 70301-7433
14727727       +TRAMAINE DESHUN CHAPMAN,     2908 E ST BERNARD HWY APT D,    MERAUX, LA 70075-2419
14727728       +TRAVELERS,    TRACER SYSTEM,    ONE TOWER SQUARE 9 CR,    HARTFORD, CT 06183-0001
14727730       +TRAVELERS INDEMNITY CO.,     NATIONAL ACCT INSTALLMENT PMTS,    ONE TOWER SQUARE 9 CR,
                 HARTFORD, CT 06183-0001
14727732       +TRAVION BUTLER,    304 NW 2ND STREET,    RESERVE, LA 70084-6502
14727733       +TRAVION T. BOURGEOIS,     8890 SUNNYSIDE DRIVE APT #8,    LAPLACE, LA 70068-6002
14727735       +TRAVIS L. CAMBRE,    741 MADEWOOD DRIVE,    LAPLACE, LA 70068-3321
14727736       +TRAVIS M. SHARLOW,    104 W. 2ND STREET,    LAPLACE, LA 70068-4702
14727737       +TRAVIS SIMMONS,    2200 WASHINGTON AVE.,    HARVEY, LA 70058-3163
14727738       +TRAVIS WILLIAMS,    3636 LAKE TIMBERLANE,    GRETNA, LA 70056-8309
14727739       +TRAXYS,    825 THIRD AVENUE,    NEW YORK, NY 10022-9522
14727743       +TREDARRIAN BURSE,    1335 THEARD ST,    GRETNA, LA 70053-2430
14727744       +TREMAINE J. BAILEY,    3001 YORKTOWN DRIVE,     LAPLACE, LA 70068-2109
14727745       +TREMAINE R. AUSBON,    700 BAYOU PAUL LANE,     ST. GABRIEL, LA 70776-5402
14727746       +TRENT MALLARD JR,    367 E 27TH ST,    RESERVE, LA 70084-5111
14727747       +TREVIN WILLIAMS,    421 S CHRUCH ST,    GARYVILLE, LA 70051-3307
14727749      #+TREVOR A. FORET,    220 RIVER POINT DRIVE,     DESTREHAN, LA 70047-4009
14727753       +TRI COUNTY PARTS & EQUIPMENT,     1099 INDUSTRIAL BLVD,    CROSSVILLE, TN 38555-5400
14727754       +TRI STATE HYDRAULICS,     1310 CUSHMAN STREET,    CHATANOOGA, TN 37406-3626
14727757       +TRI-MISS SERVICES,    416 W. WOODROW WILSON,     JACKSON, MS 39213-7524
14727756       +TRIDENT TRANSPORT LLC,     1428 CHESTNUT ST, SUITE 114,    CHATTANOOGA, TN 37402-4431
14727758        TRINITY INDUSTRIES INC. - RAIL CAR,     HIGHWAY 21,    MADISONVILLE, LA 70447
14727761       +TRINITY MARINE,    1050 TRINITY ROAD,    ASHLAND CITY, TN 37015-3908
14727763       +TRIO COMPRESSED AIR,    2624 ENGINEER ROAD,     BELLE CHASE, LA 70037-3111
14727767       +TRIPLE-S STEEL,    6000 JENSEN DRIVE,    HOUSTON, TX 77026-1113
14727768       +TRIPLE-S STEEL KNOXVILLE,     4800 BEVERLY ROAD,    KNOXVILLE, TN 37918-2607
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14727772       +TROY A SEVIN SR,    102 CREGAN AVE,    GRETNA, LA 70053-7006
14727773       +TROY BERGERON,    2708 ACADIANA TRACE,    MARRERO, LA 70072-5895
14727775      #+TROY GROS,    15 TURNBERRY DR,    LAPLACE, LA 70068-1617
14727776       +TROY MALBROUGH,    1214 LUTCHER AVE,    LUTCHER, LA 70071-5125
14727777       +TROY PERRIN,    2446 JEAN LAFITTE,    LAFITTE, LA 70067-5200
14727778       +TROY SEVIN,    3434 PETERS ROAD,    HARVEY, LA 70058-1827
14727779       +TROY WILLIAMS,    2240 PETERS ROAD,    HARVEY, LA 70058-1737
14727780       +TRUCK PRO, LLC,    dba HEAVY DUTY PARTS - STORE #163,      6145 RIVER ROAD,
                 HARAHAN, LA 70123-5129
14727781       +TRUDY LEPINE,    1217 MAYWOOD ROAD,    LAPLACE, LA 70068-3421
14727782       +TRW METALLURGICAL ENGINEERING,     CONSULTING LLC,     3530 WEST HOUSTON,    PARIS, TX 75460-3578
14727783       +TT BARGE CLEANING INC,    P.O. BOX 1287,     DONALDSONVILLE, LA 70346-1287
14727786       +TULSA CRANE WERX,    7500 S. 81ST WEST PLACE,      TULSA, OK 74131-2821
14727787       +TULSA PORT OF CATOOSA,    5350 CIMARRON ROAD,      CATOOSA, OK 74015-3027
14727791       +TYLER FRECHETTE,    181 E 1ST STREET,    RESERVE, LA 70084-5451
14727792       +TYLER PAUL SEVIN,    2532 TAFFY DR,    MARRERO, LA 70072-5744
14727793       +TYLOR M. OUBRE,    158 KATHY DRIVE,    LAPLACE, LA 70068-5675
14727794       +TYRAN DENYS,    2153 SAUVAGE AVE,    MARRERO, LA 70072-4736
14727795       +TYRON ANTHONY MOUZON,    2404 PARK LANE,     TERRYTOWN, LA 70056-3045
14727796       +TYRON DOWNING,    1127 LULING ESTATE,    LULING, LA 70070-4571
14727797      #+TYRONE FIDELIS WILSON,    1300 COOK ST APT A,      GRETNA, LA 70053-2407
14727798       +TYRONE HUDSON,    3893 GREENBRIAR LANE,     HARVEY, LA 70058-2008
14727799       +TYRONES DETAILING & WRECKER SER.,     191 W. 5TH ST.,     LAPLACE, LA 70068-4505
14727522       +Tanner, Robert D,    44129 Easy Street,     Hammond, LA 70403-5208
14727530       +Tate, Danny E,    18507 Providence Estates Rd,      Amite City, LA 70422-4582
14727531       +Tate, Michael B,    3119 Albany Street,     Kenner, LA 70065-4322
14727534        Taylor Leasing and Rental,     P.O. BOX 906,    Louisville, MS 39339-0906
14727538       +Taylor, Thomas Christopher,     46641 Durbin Rd.,     Tickfaw, LA 70466-3743
14727543       +Tech USA, LLC,    Site Tech Staffing, Inc,     8334 Veterans Highway,
                 Millersville, MD 21108-2524
14727544       +Technical Environmental Services,     5133 Taravella Road,     Marrero, LA 70072-4242
14727545       +Technical Environmental Services, Inc.,      Noel Pooley,    5133 Taravella Road,
                 Marrero, LA 70072-4242
14727551       +Tennessee Attorney Generals Office,     TN Dept of Envt and Conservation,
                 c/o Bankruptcy Division,     PO Box 20207,    Nashville, TN 37202-4015
14727552       +Tennessee Department of Revenue,     c/o Attorney General,     TDOR,    PO Box 20207,
                 Nashville, TN 37202-4015
14727558       +Tenova Inc.,    Hernan Mompo,    100 Corporate Center Drive,     Coraopolis, PA 15108-4333
14727560       +Tenova Inc.,    Michael J Ferrigno,    4643 S Ulster St., Suite 900,      Denver, CO 80237-2853
14727577       +Terrio, Kent Paul,    155 West 1st Street,     Reserve, LA 70084-6013
14727587       +Terry Taft,    One Sound Shore Drive,    Ste 200,     Greenwich, CT 06830-7251
14727588       +Terry, Charles A,    11047 S. Bayouview,     Gonzales, LA 70737-6561
14727589       +Terry, James E,    51473 Finch Lane,    Independence, LA 70443-2521
14727590       +Terry, Polly Aycock,    420 N Chamberlain Ave,      Rockwood, TN 37854-2315
14727591       +Terry, Shane Patrick,    787 West Bates,     Rockwood, TN 37854-3202
14727596        Tezcan Galvanizli Yapi Elemanlari Sanayi,      ve Ticaret AS,    Bilge Gunalan,    Arslanbey OSB.,
                 2.Cadde No 6, Kartepe-41285,     Kocaeli, 41285 Turkey
14727597       +Thacker, John P,    275 Shady Road,    Oliver Springs, TN 37840-4205
14727603       +The City of Tulsa-Rogers Country,     Port Authority,     5350 Cimarron Road,
                 Catoosa, OK 74015-3038
14727619       +The Travelers Indemnity Company and Its,      Property Casualty Insurance Affiliates,     Travelers,
                 Account Resolution - Michael Gauntlett,      One Tower Square 0000-FP15,
                 Hartford, CT 06183-0001
14727618       +The Travelers Indemnity Company and Its,      Property Casualty Insurance Affiliates,
                 Travelers - Account Resolution,     One Tower Square 0000-FP15,     Hartford, CT 06183-0001
14727649       +Thomas, Brian C,    7410 Newcastle Dr,    New Orleans, LA 70126-1622
14727650       +Thomas, Dathan D,    1200 Cambridge Dr,     apt b,    LaPlace, LA 70068-3665
14727651       +Thomas, Dwayne,    2741 Salem St,    Kenner, LA 70062-4927
14727652       +Thomas, Michael Warren,    8799 Houma Dr,     LaPlace, LA 70068-6008
14727653       +Thomas, Royal Anthony,    361 A Brocato Ln,     Raceland, LA 70394-3318
14727654       +Thompson, Glen R,    47379 N Cherry Street,     Hammond, LA 70401-7232
14727655       +Thompson, Jesse W,    209 Co Rd 801,    Etowah, TN 37331-5276
14727658       +Thornton, Musso, Bellemin, Inc.,     4788 Waywood Dr.,     Zachary, LA 70791-2464
14727657       +Thornton, Musso, Bellemin, Inc.,     Ross A. Dooley,     8440 Jefferson Hwy., Suite 301,
                 Baton Rouge, LA 70809-7654
14727659       +Thornton, Robert,    245 Louise Court,    Gretna, LA 70056-7800
14727662       +Tilley, Jason,    1531 James Ferry Rd,    Kingston, TN 37763-7017
14727673       +Timothy R. White,    3530 West Houston Street,      Paris, TX 75460-3578
14727701       +Tokai Carbon GE LLC,    Amy Pritchard Eilliams,      Troutman Sanders LLP,
                 301 S. College Street, Suite 3400,     Charlotte, NC 28202-0902
14727700       +Tokai Carbon GE LLC,    Troutman Sanders LLP,      Amy Pritchard Williams,
                 301 S. College Street, Suite 3400,     Charlotte, NC 28202-0902
14727703       +Tokia Caribon GE LLC,    Attn Jay McCloy,     6210 Ardey Kell Road, Suite 270,
                 Charolette, NC 28277-4945
14727719       +Torres, Kevin G,    2203 Pine Valley,    Laplace, LA 70068-1614
14727723       +Touchet, Brennan James,    116 Capri Court,     Houma, LA 70364-1077
14727725       +Trac-Work, Inc.,    PO Box 550,    Ennis, TX 75120-0550
14727729       +Travelers,    Travelers Property Casualty,     Company of America,    One Tower Square 9 CR,
                 Hartford, CT 06183-0001
14727731       +Travelers Indemnity Company,     ONE TOWER SQUARE 9 CR,     HARTFORD, CT 06183-0001
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14727742       +Traxys North America LLC,    Price Meese Shulman & DArminio PC,      Rick A. Steinberg,
                 50 Tice Boulevard, Suite 380,     Woodcliff Lake, NJ 07677-7681
14727741       +Traxys North America LLC,    Rick A. Steinberg, Esq.,     Price Meese Shulman & DArminio, P.C.,
                 50 Tice Boulevard, Suite 380,     Woodcliff Lake, NJ 07677-7681
14727740       +Traxys North America LLC,    Daniel C. Kerrick Esq.,     Hogan McDaniel,    1311 Delaware Avenue,
                 Wilmington, DE 19806-4717
14727748       +Trevino, Joseph P,    10 Devereux,    Destrehan, LA 70047-3200
14727750       +Trew, Joseph Wesley,    319 Fairchild St,     Harriman, TN 37748-7241
14727755       +Triche, Rory J,    193 W 2nd St.,    Reserve, LA 70084-6023
14727759       +Trinity Industries Leasing Company,     Baker Botts L.L.P.,     Omar J. Alaniz,
                 2001 Ross Avenue, Suite 900,     Dallas, TX 75201-2917
14727762       +Trinity Rail,    2525 STEMMONS FREEWAY,     Dallas, TX 75207-2400
14727764       +Trio Compressed Air Systems, LLC,     2624 Engineers Road,    Belle Chasse, LA 70037-3111
14727765       +Trio Compressed Air Systems, LLC,     Robert W. Drouant,    Attorney at Law,     3900 Canal Street,
                 New Orleans, LA 70119-6003
14727766       +Trio Compressed Air Systems, LLC,     Robert W. Drouant,    Attorney,    PO Box 24994,
                 New Orleans, LA 70184-4994
14727769       +Triumph Commercial Finance,     600 SW Jefferson Suite 204,     Lees Summit, MO 64063-3988
14727770       +Troxclair, Bryan J,    1882 Lutcher Ave,     Lutcher, LA 70071-5430
14727771       +Troxclair, Philip J,    10133 N. Kelly Lane,     Waggaman, LA 70094-2043
14727784        Tube City IMS, LLC,    Glassport, PA 15045
14727785       +Tuco, Brandon,    1901 Yorktown Drive,     LaPlace, LA 70068-2815
14727788       +Turley, David B,    121 Mercury Lane,    Reserve, LA 70084-6720
14727789       +Turley, Derek Kapell,    246 East 13th St,     Edgard, LA 70049-2053
14727790       +Turpin, Christopher Preston,     615 Siluria St,    Harriman, TN 37748-2124
14727800       +ULISES MARTINEZ,    2622 HYMAN PL,    NEW ORLEANS, LA 70131-3666
14727801       +ULYSES C SMITH,    1006 VAN TRUMP ST,    GRETNA, LA 70053-3540
14727806       +UNIFIRST CORPORATION,    2744 LEXINGTON AVENUE,     KENNER, LA 70062-5372
14727807       +UNION PACIFIC RAILROAD,    12567 COLLECTION CENTER,     CHICAGO, IL 60693-0001
14727808        UNION PACIFIC RAILROAD,    PO Box 843465,     DALLAS, TX 75284-3465
14727812       +UNITED RAIL SERVICE, LLC,    801 SOUTH MAIN STREET,     SOMERSET, KY 42501-2270
14727819        UNITED STEELWORKERS OF AMERICA,     PO Box 644485,    PITTSBURGH, PA 15264-4485
14727820        UNITEDHEALTHCARE,    22703 NETWORK PLACE,     CHICAGO, IL 60673-1227
14727821       +UNIVERSAL COIL MANUFACTURING,     2605 N. CONCORD RD,    BELLE CHASSE, LA 70037-3104
14727822        UNIVERSAL INDUSTRIAL SALES,     435 N.1200 W.,    LINDON, UT 84042
14727823       +UNIVERSAL SUPPLY & EQUIPMENT,     DBA / CIS,    600 TIME SAVER AVENUE,    HARAHAN, LA 70123-3144
14727824       +UNIVERSAL TRUCKLOAD INC,    12755 EAST NINE MILE ROAD,     WARREN, MI 48089-2621
14727825        UPS,   PO BOX 650690,    DALLAS, TX 75265-0690
14727826       +URIEL YOUNG,    611 HOMEWOOD PL,    WESTWEGO, LA 70094-4826
14727828        US Attorney for Delaware,    David C Weiss c/o Ellen Slights,      1007 Orange St Ste 700,
                 PO Box 2046,    Wilmington, DE 19899-2046
14727829       +US DOL-OSHA,    9100 BLUEBONNET CENTRE,     BATON ROUGE, LA 70809-2953
14727830       +US TREASURY - NAS JRB NEW ORLEANS,     ATTN EN,    400 RUSSELL AVE. BLDG 552,
                 BELLE CHASSE, LA 70143-5077
14727831       +USC CASTINGS, LLC,    30,000 IL ROUTE 9,     MACKINAW, IL 61755-9571
14727832       +UTAH PACIFIC BRIDGE & STEEL,     50 NORTH GENEVA ROAD,    Lindon, UT 84042-1114
14727804        Underwriters at Lloyds London,     Alesco,    67 Lombard Street,    London, EC3V 9LJ United Kingdom
14727805       +Unfried, Robert F,    2041 Incrociato,     New Braunfels, TX 78132-4441
14727809       +Union Pacific Railroad Company,     Tonya W Conley, Lila L Howe,
                 1400 Douglass Street, Stop 1580,     Omaha, NE 68179-1001
14727810       +Union Pacific Railroad Company,     Tonya W. Conley,    UPRR,    1400 Douglas Street, Stop 1580,
                 Omaha, NE 68179-1001
14727811       +United Motor Freight,    3800 West Marginal Way S.W.,     Seattle, WA 98106-1155
14727816       +United Steelworkers,    Cohen, Weiss and Simon LLP,     Richard M Seltzer, Melissa S Woods,
                 900 Third Avenue, 21st Floor,     New York, NY 10022-4869
14727817       +United Steelworkers,    David R Jury, Anthony Resnick,     60 Boulevard of the Allies, Room 807,
                 Pittsburgh, PA 15222-1209
14727818       +United Steelworkers,    Law Office of Susan E Kaufman LLC,      Susan E Kaufman,
                 919 North Market Street, Suite 460,     Wilmington, DE 19801-3014
14727827       +Ursin, Davarian,    1 Summerton Dr,    A-3,    St Rose, LA 70087-3459
14727833       +VAHLE, INC.,    1167 BRITTMOORE,    HOUSTON, TX 77043-5003
14727834       +VALBRUNA SLATER STAINLESS, INC,     2400 TAYLOR STREET WEST,     Fort Wayne, IN 46802-4613
14727838        VALK MANUFACTURING COMPANY,     New Kingstown, PA 17072
14727839       +VALLEY IRON INC.,    BNSF SPUR #5753-2473 ORANGE AVE,     FRESNO, CA 93725
14727840       +VALLEY JOIST LLC - NV,    255 LOGAN LANE,     Fernley, NV 89408-4677
14727841       +VALLEY JOIST LLC EAST DIV,    3019 GAULT AVE NORTH,     FT. PAYNE, AL 35967-3827
14727842       +VALVE AND FILTER CORPORATION,     5270 MARSHALL STREET,    ARVADA, CO 80002-3966
14727843       +VAN TRAN,    709 MACARTHUR AVE,    HARVEY, LA 70058-2624
14727848       +VECTA ENVIROMENTAL SERVICE LLC,     P.O. BOX 1787,    GONZALES, LA 70707-1787
14727849       +VELDA REFUGE,    2467 PAIGE JANETTE,    HARVEY, LA 70058-2136
14727850       +VELORIS HOLMES,    2701 ARTS ST,    NEW ORLEANS, LA 70122-4610
14727851       +VEOLIA WATER SOLUTIONS &,    TECHNOLOGIES NORTH AMERICA INC,
                 4760 WORLD HOUSTON PARKWAY STE 100,     HOUSTON, TX 77032-2591
14727858       +VERNON ADAMS,    1222 CHILO ST,    GRETNA, LA 70053-3618
14727859       +VERNON ALEXANDER,    50 BARRECA ST,    NORCO, LA 70079-2220
14727860       +VERNON ANDERSON,    50 BARRECA STREET,     NORCO, LA 70079-2220
14727861       +VERNON CHARLES ALLEN,    5813 ST JOHN AVE,     MARRERO, LA 70072-4713
14727864       +VESUVIUS USA,    1404 NEWTON DRIVE,    CHAMPAIGN, IL 61822-1069
14727868       +VICTOR BUSTILLOS,    4868 ORLEANS WAY LOT 47,     CROWN POINT, LA 70072-7670
14727869       +VICTOR CARONNA,    4041 DEER PARK,    HARVEY, LA 70058-2118
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14727870       +VICTOR CULPEPPER ENVIRONMENTAL, LLC,     25 MONTE CARLO DR.,     KENNER, LA 70065-2028
14727871       +VICTOR MOAWAD,    309 COTTONWOOD DR,    GRETNA, LA 70056-7931
14727872       +VICTOR NUNEZ,    133 AUGUSTINE LANE,    LAPLACE, LA 70068-5682
14727873        VICTOR OLIVARES-GRULLON,    17821 CELTIC DR,     MARRERO, LA 70072
14727874       +VICTORY STEEL CO.,    6400 BECKLEY ROAD,    Baltimore, MD 21224-6501
14727875      #+VIJAY H. GOHIL,    5044 CARILLON LANE,    FL 34786-3116
14727877       +VINCENT GARCIA,    4961 SW 94 AVE,    COOPER CITY, FL 33328-3410
14727878       +VINCENT GILMORE,    1724 JULIE ST,    MARRERO, LA 70072-3338
14727879       +VINCENT JONES,    3717 BURNTWOOD DR,    HARVEY, LA 70058-1610
14727880       +VINCENT W. DAVIS,    123 E. 13TH STREET,    RESERVE, LA 70084-5301
14727881       +VINCO IRONWORKS,    2101 WASHINGTON AVE,    HARVEY, LA 70058-3157
14727883       #VINSON & ELKINS, LLP,    2001 ROSS AVENUE, SUITE 3700,     DALLAS, TX 75201-2975
14727884       +VITAL HEALTH SCREENINGS,    18448 WILDLIFE WAY,     BATON ROUGE, LA 70817-3992
14727885       +VONDELL BATISTE,    904 JEFFREY COURT APT. C,     LAPLACE, LA 70068-3706
14727886       +VOODOO DISPOSAL,    416 FAIRFIELD AVE,    GRETNA, LA 70056-7034
14727887       +VU HOANG NGO,    122 CAMERON DRIVE,    GRETNA, LA 70056-7349
14727835       +Valdez, Francisco j,    742 Abels Valley Road,     Rockwood, TN 37854-5416
14727836       +Valenti, Nace Nunzio,    15209 Brandon Drive,     Ponchatoula, LA 70454-6482
14727837        Valero St. Charles Refinery,     P.O. Box 5518,    Norco, LA 70079
14727844       +Vanatta, Casey Bryant,    2152 Champion Drive,     LaPlace, LA 70068-1806
14727845       +Vardis Partners, Inc,    PO Box 1183,    Osterville, MA 02655-5183
14727846       +Variste, Antonio Joseph,    39290 Legacy Lake Drive,     Gonzales, LA 70737-6649
14727847       +Vaughn, Ernest ONeal,    Po Box 1582,    Ponchatoula, LA 70454-1582
14727862       +Verrette, Brian P,    13 Greenwood Drive,    Destrehan, LA 70047-2129
14727863        Vertex Recovery Management,     11266 Highway 23,    Belle Chasse, LA 70037-4306
14727865       +Vicki Lew Selz,    Credit Manager,    1916 E 29th St,    Marshfield, WI 54449-5401
14727866       +Vicknair, Jake R,    44423 Pecan Oaks Dr,    Sorrento, LA 70778-3319
14727867       +Vicknair, James A,    409 Greenwood Dr,    Laplace, LA 70068-3228
14727876       +Villagomez, Jose Adolfo,    83359 Pierre Cemetery Road,     Folsom, LA 70437-7318
14727882       +Vineyard, Billy Joel,    900 east wheeler st,     Rockwood, TN 37854-3153
14727888       +W&W-AFCO STEEL LLC,    9035 W. Market Street,     US 421 West,    COLFAX, NC 27235-9620
14727889        W&W-AFCO STEEL LLC,    1112 West 29th Street,     San Angelo, TX 76903
14727890       +W.W. Grainger, Inc.,    401 South Wright Road W4W.R47,     Janesville, WI 53546-8729
14727892       +WADE J.PLAISANCE JR.,    402 ELM STREET,    LOCKPORT, LA 70374-2174
14727893       +WADE MANNING,    327 MOUNT CARMEL ROAD,    CARRIERE, MS 39426-3500
14727894       +WAGEWORKS INC,    1100 PARK PLACE,    SAN MATEO, CA 94403-1599
14727895       +WALDEMAR S NELSON CO IN,    1200 ST. CHARLES AVENUE,     NEW ORLEANS, LA 70130-4395
14727897        WALI WENDELL WILLIAMS,    318 LITTLE HOPE STREET,     GARYVILLE, LA 70051
14727898       +WALKER NATIONAL INC,    d/b/a/ WALKER MAGNETIC GROUP INC,      2195 WRIGHT BROTHERS AVENUE,
                 COLUMBUS, OH 43217-1157
14727905       +WALLACE MARTIN JR.,    525 HERITAGE COVE,    LAPLACE, LA 70068-2356
14727909       +WALTER A BODDEN,    2116 JAMES DR,    MARRERO, LA 70072-4805
14727910       +WALTER EUGENE GORDON JR,    4137 AMES BLVD LOT 29,     MARRERO, LA 70072-6349
14727911       +WALTER GORDON JR,    817 AVENUE B,    MARRERO, LA 70072-2001
14727912       +WALTER JAMES,    812 CLAIBORNE DR,    JEFFERSON, LA 70121-2714
14727913       +WALTER L MAGGARD,    322 JOHNSON ST,    ST ROSE, LA 70087-3120
14727914       +WALTER LEE MAGGARD JR,    322 JOHNSON ST,    ST ROSE, LA 70087-3120
14727915       +WALTER T. BERNARD,    2524 LEXINGTON DRIVE,     LAPLACE, LA 70068-2343
14727916       +WALTER W WILLIAMS,    204 CYNTHIA CIRCLE,    RESERVE, LA 70084-6824
14727918      #+WANDA J. WATTS,    460 ST. CHARLES,    NORCO, LA 70079-2360
14727919       +WANDA J. ZAJICEK,    311 LORRAINE STREET,    DESTREHANS, LA 70047-5345
14727920       +WARIS AQUIL SABREE,    2088 TUSKEGEE DR,    MARRERO, LA 70072-4656
14727921       +WARIS SABREE,    2088 TUSKAGEE DR,    MARRERO, LA 70072-4656
14727922       +WARREN C WILLIAMS,    2900 YORKTOWN DR,    LAPLACE, LA 70068-2108
14727923       +WARREN DIXON,    112 NW 18TH STREET,    RESERVE, LA 70084-6800
14727924       +WARREN E. JOSEPH,    1417 CARTIER DRIVE,    LAPLACE, LA 70068-6242
14727925       +WARREN ELLIOT MARSE,    409 ST JOSEPH LANE,     HARVEY, LA 70058-4159
14727926       +WARREN JOSEPH,    1417 CARTIER DRIVE,    LAPLACE, LA 70068-6242
14727927       +WARREN PIERRE,    3247 HWY 18,    EDGARD, LA 70049-2603
14727928       +WARREN T. IRVIN,    250 DEVON RD,    LAPLACE, LA 70068-5206
14727929       +WARREN WILSON,    1709 ELLERSLIE AVE.,    LAPLACE, LA 70068-2705
14727931       +WASHING EQUIPMENT OF TN,    2100 MIDDLEBROOK PIKE,     KNOXVILLE, TN 37921-5844
14727934       +WASTE CONNECTIONS OF TN, INC,     2400 Chipman St,    Knoxville, TN 37917-6115
14727933       +WASTE CONNECTIONS OF TN, INC,     LOUDON DISTRICT,    2400 CHIPMAN STREET,
                 KNOXVILLE, TN 37917-6115
14727936      #+WASTE MANAGEMENT OF,    PO Box 9001054,    Louisville, KY 40290-1054
14727937       +WASTE PRO,    920 KENNER AVE,    KENNER, LA 70062-7230
14727938       +WATCO SUPPLY CHAIN SERVICES, LLC,     315 W 3RD ST,    PITTSBURG, KS 66762-4706
14727942       +WAYLON FRANK,    1903 GLENDALE DR,    LAPLACE, LA 70068-3154
14727943       +WAYMAN FROST,    531 MOCKINGBIRD LANE,    ST ROSE, LA 70087-3815
14727944       +WAYMAN L. FROST,    531 MOCKINGBIRD LANE,    ST.ROSE, LA 70087-3815
14727945       +WAYNE ALFORD,    916 1/2 S STANTON,    NEW ORLEANS, LA 70131-3146
14727946       +WAYNE BORDELON,    163 RENPASS AVENUE,    HARAHAN, LA 70123-5015
14727947        WAYNE FISHER,    2000 REDWOOD ST,    LAPLACE, LA 70068
14727948       +WAYNE GREENUP,    2225 LEVY GAUDET ST.,    LUTCHER, LA 70071-5225
14727949       +WAYNE LEWIS,    2216 STATE AVE,    HARVEY, LA 70058-3265
14727951       +WAYNE MATHERNE JR,    162 KATHY DRIVE,    LAPLACE, LA 70068-5675
14727952       +WAYNE MITCHELL,    138 HOLLYWOOD PARK,    MONTZ, LA 70068-8940
14727953       +WAYNE MORRIS,    2006 MURL ST,    NEW ORLEANS, LA 70114
14727954       +WAYNE QUINN,    3204 JASON LANE,    GRETNA, LA 70056-8630
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14727955       +WAYNE TOWNSEND,    36119 WILD ROAD,    PEARL RIVER, LA 70452-2323
14727956       +WAYNISHA BASS,    1917 FAITH PLACE APT E,    TERRYTOWN, LA 70056-4253
14727957       +WB SCRAP LLC,    5000 PARIS ROAD,    CHALMETTE, LA 70043-8301
14727958       +WC OF LOUISIANA,    SOUTH LOUISIANA DISTRICT,     500 BRIDGE CITY AVENUE,
                 BRIDGE CITY, LA 70094-3519
14727959       +WC OF LOUISIANA,    500 Seven Oaks Blvd,    Bridge City, LA 70094-3502
14727965       +WENDEL B. GILLAN,    5204 BURKE DRIVE,    METAIRIE, LA 70003-2536
14727966       +WENDELL FREDERICK,    2785 HIGHLAND DR N,    GRETNA, LA 70056-7712
14727967       +WENDELL GREEN JR,    2561 W CATAWBA DR,    HARVEY, LA 70058-2157
14727968       +WENDY WALL,    620 BERGER ST,    MARRERO, LA 70072-1132
14727970       +WES WALKER,    2332 PAILET AVENUE,    HARVEY, LA 70058-3561
14727971      ++WESCO DISTRIBUTION,    ATTN RANDY THOMAS,    3011 LAUSAT ST,    METAIRIE LA 70001-5923
               (address filed with court: WESCO DISTRIBUTION,       3011 LAUSAT STREET,    METAIRIE, LA 70001)
14727973       +WEST CENTRAL STEEL INC.,    105 19th Street NW,     WILLMAR, MN 56201-2426
14727974        WEST GULF MARINE INC.,    6000 HARBORSIDE DRIVE,     GALVESTON, TX 77554
14727977       +WESTERN EXPRESS INC,    7135 CENTENNIAL PLACE,     NASHVILLE, TN 37209-1033
14727978        WESTFIELD STEEL INC.,    530-A STATE ROAD 32 WEST,     Westfield, IN 46074
14727979       +WHEELER STAGGER,    1042 GEMENI DRIVE,    RESERVE, LA 70084-6734
14727982       +WHITNEY VICKNAIR JR.,    145 EAST 12TH ST,     RESERVE, LA 70084-5309
14727984       +WILBERT BRADFORD,    515 S. ATLANTA STREET,     RIVER RIDGE, LA 70123-1009
14727985       +WILBERT STURDIVANT,    2244 ROCHELLE STREET,     HARVEY, LA 70058-3259
14727986       +WILBERT WALKER, JR,    2119 5TH ST,    LUTCHER, LA 70071-5535
14727987       +WILDCAT LOGISTICS LLC,    9448 HWY. 112,    BACONTON, GA 31716-7328
14727988       +WILFRED A. WYMAN,    2705 JEAN LAFITTE BLVD.,     LAFITTE, LA 70067-5207
14727989       +WILFREDO FAJARDO,    1744 SHIRLEY DR,    NEW ORLEANS, LA 70114-4704
14727991       +WILLBANKS STEEL CORPORATION,     1155 N.E. 28TH STREET,    Ft. Worth, TX 76106-7241
14727992       +WILLIAM ALLEN RANDALL LORENZO JR,     2713 BAYOU CARENCRO,    MARRERO, LA 70072-6571
14727993        WILLIAM BROWN III,    1161 FRIEDRICHS RD APT 44,     TERRYTOWN, LA 70056
14727994       +WILLIAM D. POOLSON,    1600 HACKBERRY AVE.,     METAIRIE, LA 70001-3320
14727995      #+WILLIAM DAVID BORNE,    2410 JEAN LAFITTE BLVD,     LAFITTE, LA 70067-5200
14727996       +WILLIAM E. HOWARD JR,    162 JEAN MARIE STREET,     RESERVE, LA 70084-5618
14727997       +WILLIAM GIANELLONI,    3820 LAKE PROVIDENCE DRIVE,     HARVEY, LA 70058-5179
14727998      #+WILLIAM J BOURGEOIS,    347 HISTORIC WEST,     GARYVILLE, LA 70051-3210
14727999       +WILLIAM JOHNSON JR,    11047 PERCH DR,    THEODORE, AL 36582-8400
14728000        WILLIAM JONES,    1638 MARINE ST,    MARRERO, LA 70072
14728001       +WILLIAM KIRKSEY,    417 BELLE ALLIANCE,    LAPLACE, LA 70068-3211
14728002       +WILLIAM L. SHARON JR,    2641 ADMIRALS LANDING STREET,     PAULINA, LA 70763-2508
14728003       +WILLIAM LEBLANC,    4103 LAC COUTURE,    HARVEY, LA 70058-6514
14728004       +WILLIAM LINDNER,    111 VICTORIA DRIVE,    BELLE CHASSE, LA 70037-1609
14728005       +WILLIAM MAYS,    1712 TIMBERLANE ESTATES DR.,     HARVEY, LA 70058-5129
14728007       +WILLIAM NELLON,    921 N CLAIBORNE PKWY,    BRIDGE CITY, LA 70094-3705
14728008      #+WILLIAM NEWTON,    532 DUNBAR PL,    TERRYTOWN, LA 70056-2819
14728009       +WILLIAM P. FAIRCHILD III,     179 THOROUGHBRED AVE,    MONTZ, LA 70068-8933
14728010       +WILLIAM P. FAIRCHILD IV,    179 THOROUGHBRED AVE,     MONTZ, LA 70068-8933
14728011       +WILLIAM PAYNES,    2249 11TH ST,    HARVEY, LA 70058-3106
14728012       +WILLIAM R. BARBER,    335 EISENHOWER,    ST. ROSE, LA 70087-3127
14728013       +WILLIAM R. MOURET,    926 MINDEN AVE,    KENENR, LA 70062-6838
14728015       +WILLIAM SCHELL III,    5284 PITRE DR,    CROWN POINT, LA 70072-7632
14728016       +WILLIAM SCOTT,    6644 RUE LOUIS PHILLIPPE,     MARRERO, LA 70072-4629
14728017       +WILLIAM SHANO III,    927 RUPP ST,    GRETNA, LA 70053-2145
14728018       +WILLIAM SHARON,    2641 ADMIRALS LANDING,    PAULINA, LA 70763-2508
14728019       +WILLIAM SUMLIN,    609 DEERFIELD RD APT A,     TERRYTOWN, LA 70056-4454
14728020       +WILLIAM THOMASON,    9947 PATTERSON RD,    NEW ORLEANS, LA 70131-2525
14728021       +WILLIAM TRAHAN JR,    233 DEVON ROAD,    LAPLACE, LA 70068-5205
14728022       +WILLIAM WHITNEY,    187 LOUISIANA ST,    WESTWEGO, LA 70094-4163
14728023       +WILLIAM WOLJEVACH,    27925 LAKE CYPRESS DRIVE WEST,     PERKINSTON, MS 39573-7804
14728024       +WILLIAMS DOOR COMPANY, INC.,     220 SHERWAY RD,    KNOXVILLE, TN 37922-2217
14728040       +WILLIE BROADWATER,    617 VIC A PITRE DR,    WESTWEGO, LA 70094-5031
14728041       +WILLIE GRAY,    455 CENTRAL AVE,    RESERVE, LA 70084-5509
14728042       +WILLIE HARRIS JR,    6189 BOUTTE ST,    MARRERO, LA 70072-3526
14728043       +WILLIE MARSHALL JR,    648 MAGNOLIA ST,    LAPLACE, LA 70068-3039
14728044       +WILLIE NOEL,    3837 SHANNON DR,    HARVEY, LA 70058-1912
14728045       +WILLIE ROCHE,    6228 5TH AVE,    MARRERO, LA 70072-2820
14728047       +WILLIE TAYLOR,    2061 WATERS DRIVE,    MARRERO, LA 70072-4632
14728046       +WILLIE TAYLOR,    401 SOPHIE ST BLD 101,    LAFAYETTE, LA 70501-4582
14728048       +WILLIE TAYLOR III,    1016 ROMAIN ST,    GRETNA, LA 70053-3255
14728049       +WILSON GOFFNER,    1633 PAILET,    HARVEY, LA 70058-3621
14728050        WILSON GRAYMAN,    140 LAYMAN ST,    AVONDALE, LA 70094
14728051       +WILSON WADE,    920 PORTER ST,    GRETNA, LA 70053-3528
14728055       +WINKLE INDUSTRIES INC,    2080 WEST MAIN STREET,     ALLIANCE, OH 44601-2187
14728058      #+WOMACK MACHINE SUPPLY CO,     2011 8TH STREET,    HARVEY, LA 70058-4097
14728059       +WOMBLE BOND DICKINSON LLP,     Kevin J. Mangan,    1313 North Market Street, Suite 1200,
                 Wilmington, DE 19801-6103
14728060       +WOMBLE BOND DICKNSON US LLP,     Kevin J. Mangan, Nicholas T. Verna &,     S. Alexander Faris,
                 1313 North Market Street, Suite 1200,     Wilmington, DE 19801-6103
14728067       +WORKCARE, INC.,    300 S. HARBOR BLVD,    ANAHEIM, CA 92805-3713
14728069       +WORLDWIDE EXPRESS,    2323 VICTORY AVE, SUITE 1600,     DALLAS, TX 75219-7696
14728070       +WORLDWIDE INTEGRATED SUPPLY,     CHAIN SOLUTIONS,    3611 109ST STREET,    URBANDALE, IA 50322-8102
14728074       +WTI TRANSPORT,    7300 COMMERCE DRIVE,    TUSCALOOSA, AL 35401-0441
14727896       +Waldo, Jeffery Ray,    788 Eagle Furnace Rd,     Rockwood, TN 37854-5728
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                              Form ID: 309D                Total Noticed: 4765


14727899       +Walker, Dawaun Lavell,    106 Derek Lane,    LaPlace, LA 70068-6486
14727900       +Walker, Herbert E,    41413 AMITY RD,    PONCHATOULA, LA 70454-4760
14727901       +Walker, John M,    1704 Madewood Road,    LaPlace, LA 70068-2618
14727902       +Walker, Scott Michael,    13248 Brickyard Rd,     Independence, LA 70443-4236
14727903       +Walker, Steven,    P.o. Box 33,    New Sarpy, LA 70078-0033
14727904       +Wall, David G,    16049 Hwy 16,    Amite, LA 70422-4611
14727906       +Wallace, Tanner D,    13109 Drude Dr,    Ponchatoula, LA 70454-6559
14727907       +Wallace, Zachary,    13109 Drude Dr,    Ponchatoula, LA 70454-6559
14727908       +Waller, Jason R,    77159 Hilburn Road,    Kentwood, LA 70444-6571
14727917       +Waltman, David Paul,    PO Box 277,    Loranger, LA 70446-0277
14727930       +Warrick, Gavin Lee,    1517 Eureka Rd,    Rockwood, TN 37854-5342
14727932       +Washington, Qwendolyn W,    410 Coles Landing,     LaPLace, LA 70068-2955
14727939       +Watson, Albert,    1617 Cambridge Dr,    LaPlace, LA 70068-2801
14727940       +Watson, Raymond Keith,    212 Surrey Street,    Laplace, LA 70068-5219
14727941       +Watson, William,    621 Magnolia Ave,    Laplace, LA 70068-3040
14727950       +Wayne M. Aufrecht,    Attorney for Creditor,    417 West 21st Avenue,     Covington, LA 70433-3011
14727960       +Weaver, Calvin,    8333 Panola St,    New Orleans, LA 70118-2928
14727961       +Weaver, Matthew Dwayne,    288 DeArmond Rd,    Kingston, TN 37763-6416
14727962       +Weber, Andrew,    541 NW 2nd St,    Reserve, LA 70084-6508
14727963        Wells Fargo Bank NA,    ITS Texas Service Center,     PO Box 2577,    Waco, TX 76702-2577
14727964       +Wells, Timothy R,    317 Riggs Chapel Rd,    Harriman, TN 37748-7354
14727969        Wenger, Shane William,    317 Talbot Drive,    Luling, LA 70070-4421
14727975       +Westchester Fire Insurance Company,     and its affiliated sureties,
                 McElroy Deutsch Mulvaney & Carpenter LLP,     Michael R Morano,     1300 Mount Kemble Ave.,
                 Morristown, NJ 07960-8000
14727976       +Westchester Fire Insurance Company,     and its affiliated sureties,
                 McElroy Deutsch Mulvaney & Carpenter LLP,     Gary D Bressler, David W Giattino,
                 300 Delaware Avenue, Suite 770,     Wilmington,, DE 19801-6600
14727980       +White, Eric Eugene,    934 Kingston Ave,    Rockwood, TN 37854-5018
14727981       +White, Jonathan David,    400 Heritage Hills Court,     apt 9,    Rockwood, TN 37854-2579
14727983       +Wicks, George R,    5350 Roane State Highway,     Rockwood, TN 37854-4355
14727990       +Wilkey, Wesley Dameron,    703 Highpoint Rd,    Evensville, TN 37332-3009
14728025       +Williams, Amandzo Jeffery,    189 Apricot St,     LaPlace, LA 70068-6819
14728026       +Williams, Billy,    246 Fir Street,    LaPlace, LA 70068-4649
14728027       +Williams, Brandon D,    2605 Lionel Washington Street,     Lutcher, LA 70071-5311
14728028       +Williams, Darnell D,    2225 Levy Gaudet Street,     Lutcher, LA 70071-5225
14728029       +Williams, David Jasper,    271 Cates Rd,    Rockwood, TN 37854-5235
14728030       +Williams, James Alton,    1732 Carrollwood Drive,     Apt 1A,    LaPlace, LA 70068-2527
14728031       +Williams, James Bryan,    700 Heritage Hills Apt 56,     Rockwood, TN 37854-2575
14728032       +Williams, Jarrell,    3272 Ann St,    Vacherie, LA 70090-7022
14728033       +Williams, Johnny B,    607 Susan Dr,    Hammond, LA 70403-3443
14728034       +Williams, Michael S,    120 Volanta Avenue,    Fairhope, AL 36532-3225
14728035       +Williams, Parrish C,    119 Derek Lane,    Laplace, LA 70068-6487
14728036       +Williams, Quindrell R,    14748 Emory Rd,    New Orleans, LA 70128-2137
14728037       +Williams, Randy James,    115 Aspen Dr,    Harriman, TN 37748-5912
14728038       +Willie Benson,    Ted Williams,    212 Laurel Street,    Baton Rouge, LA 70801-1803
14728039       +Willie Benson,    Dept of Labor, Case No 2017-LHC-1209,     4155 Essen Lane, Apt 242,
                 Baton Rouge, LA 70809-2153
14728052       +Wilson, Bryant K,    5420 Bundy Road,    New Orleans, LA 70127-3034
14728053       +Wilson, Johnna Jacklyn,    13398 E Adams Rd,    Hammond, LA 70403-2126
14728054       +Wilson, Shondel O,    409 Kensington Blvd,    Slidell, LA 70458-2254
14728056       +Witts, Tracy W,    900 East Wheeler Street,    Apt. 203,    Rockwood, TN 37854-3153
14728057       +Womack Machine Supply Co,    13835 Senlac Dr,     Farmers Branch, TX 75234-8822
14728061       +Woods, Alton,    447 Glendwild Dr,    Baton Rouge, LA 70815-7211
14728062       +Woods, James E,    29845 N. James Chapel Road,     Albany, LA 70711-4209
14728063       +Woods, Patrick B,    389 Cofer Circle,    Harriman, TN 37748-4349
14728064        Woolf McClane Bright Allen &,     Carpenter PLLC,    Robert P. Noell,    PO Box 900,
                 Knoxville, TN 37901-0900
14728065        Woolf McClane Bright Allen &,     Carpenter PLLC,    Robert P. Noell,    900 Riverview Tower,
                 900 S. Gay Street,    Knoxville, TN 37902-1810
14728066       +Woolfork, Adrian F,    2109 Williamsburg Dr,    LaPlace, LA 70068-2325
14728068       +Works, Gaylen T,    128 N Kingston Ave,    Rockwood, TN 37854-2709
14728071       +Wragge IV, Charles J,    364 Spruce Street,    Norco, LA 70079-2154
14728072       +Wright, William E,    3104 Greenhill Dr,    Flatwoods, KY 41139-1406
14728073       +Wrublesky, Walter S,    1924 Marshall Road,    Monaca, PA 15061-1350
14728075       +XL Insurance America Inc.,    Regulatory Office,     505 Eagleview Boulevard,    Suite 100,
                 Exton, PA 19341-1199
14728076       +XPRESS RECYCLING INC,    5030 HWY 84 W,    VIDALIA, LA 71373-3588
14728077       +Xpress Recycling, Inc.,    Travis Brown,    PO Box 1536,    Ferriday, LA 71334-1536
14728078       +YATS ELECTRICAL SERVICE LLC,     1908 MISSISSIPPI AVENUE,     METAIRIE, LA 70062-6044
14728079       +YECENIA TEJEDA,    2715 CLAIRE AVE,    GRETNA, LA 70053-7507
14728080       +YENNYFFERD LOPEZ,    4024 N WOOD BINE ST,    HARVEY, LA 70058-2241
14728081       +YOGI WEGMANN,    1449 SPANISH OAKS DR,    HARVEY, LA 70058-3054
14728082       +YOLANDA F. WILLIAMS,    258 CHAD B. BAKER,    RESERVE, LA 70084-5015
14728083       +YOLANDA J CHAFFIN,    551 SUNSET DR LOT 14,    SLIDELL, LA 70460-5756
14728084       +YOLANDA S SCOTT,    2441 VIRGINIAN COLONY,    LAPLACE, LA 70068-2364
14728085       +YURI KEITH JONES,    2484 PAIGE JANETTE,    HARVEY, LA 70058-2137
14728086       +YUSNEY CARDOSO-CEDENO,    470 HOMEWOOD PLACE,     RESERVE, LA 70084-5536
14728087       +ZACHARY LEE,    2524 EASTVIEW DR,    HARVEY, LA 70058-5035
14728089       +ZDZISLAW SMOLINSKI JR,    4301 SAPPHIRE LANE,     GRANBURY, TX 76049-6619
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14728092        ZEN-NOH GRAIN,    886 HWY 44,    CONVENT, LA 70723
14728090       +ZENAR CORPORATION,    7301 SOUTH 6TH STREET,    OAK CREEK, WI 53154-2047
14728091       +ZENGISTICS,    3300 N INTERSTATE 35, SUITE 450,    Austin, TX 78705-1800
14728093       +ZEPHYRAIN VICKNAIR,    132 EVANGELINE RD,    MONTZ, LA 70068-8916
14728094       +ZERUAH Z MELECIO,    1834 SW 3RD ST,    GRAND PRAIRIE, TX 75051-4013
14728096       +ZIRCOA INC,    31501 SOLON ROAD,    SOLON, OH 44139-3526
14728097       +ZIYAD ABDELRAHIM ISA,    1586 ABBEY ROAD APT B,    HARVEY, LA 70058-7310
14728088       +Zalin, William A,    252 Chelsea St,    Enon Valley, PA 16120-2404
14728095       +Ziegeler, Charles,    43477 R Daigle Rd,    Gonzales, LA 70737-7824
14728098       +Zumstein, Bryan Eugene,    445 Old Poplar Springs Rd,    Kingston, TN 37763-6907

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: cward@polsinelli.com Mar 11 2020 21:22:22         Christopher A. Ward,    Polsinelli PC,
                 222 Delaware Avenue, Suite 1101,    Wilmington, DE 19801
aty            +EDI: BDMKLAUDER.COM Mar 12 2020 01:23:00       David M. Klauder,     Bielli & Klauder, LLC,
                 1204 N. King Street,    Wilmington, DE 19801-3218
tr              EDI: BGLMILLER Mar 12 2020 01:23:00      George L. Miller,      1628 John F. Kennedy Blvd.,
                 Suite 950,    Philadelphia, PA 19103-2110
cr              E-mail/Text: bncctnotifications@pbgc.gov Mar 11 2020 21:22:31
                 Pension Benefit Guaranty Corporation,    Office of the General Counsel,       1200 K Street, NW,
                 Suite 340,    Washington, DC 20005-4026
intp           +E-mail/Text: landrys@ag.louisiana.gov Mar 11 2020 21:22:33         State Of Louisiana,
                 Department of Justice,    1885 North 3rd Street,     Baton Rouge, LA 70802-5146
14723282       +E-mail/Text: debbie@aaa-supply.com Mar 11 2020 21:22:57         AAA SUPPLY CORPORATION,
                 608 ROUTE 41,    Schererville, IN 46375-1216
14723403        E-mail/Text: randy@allfax.com Mar 11 2020 21:22:28         ALLFAX SPECIALTIES INC.,
                 130 JAMES DRIVE EAST,    ST. ROSE, LA 70087
14723591        E-mail/Text: mhb@ascindustries.com Mar 11 2020 21:22:32         ASC INDUSTRIES, LTD,
                 1406 W. 175TH STREET,    E HAZEL CREST, IL 60429
14723468       +E-mail/Text: awcbilling@awcok.com Mar 11 2020 21:23:00         AMERICAN WASTE CONTROL, INC,
                 1420 WEST 35TH STREET,    TULSA, OK 74107-3814
14723567       +E-mail/Text: admin@bayoumachine.com Mar 11 2020 21:22:24         ARCHIE COULON,    2104 PETERS ROAD,
                 HARVEY, LA 70058-1735
14723616       +EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    c/o Bankruptcy,     4331 Communications Dr,
                 Flr 4W,    Dallas, TX 75211-1300
14723613        EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    PO Box 5080,    CAROL STREAM, IL 60197-5080
14723614        EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    PO Box 5091,    CAROL STREAM, IL 60197-5091
14723615        EDI: CINGMIDLAND.COM Mar 12 2020 01:23:00       AT&T,    PO Box 6463,
                 CAROL STREAM, IL 60197-6463
14723612        EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    19,    PO Box 5019,
                 CAROL STREAM, IL 60197-5019
14723600       +EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    account ending 1261,     PO Box 105262,
                 Atlanta, GA 30348-5262
14723601       +EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    account ending 1262,     PO Box 105414,
                 Atlanta, GA 30348-5414
14723602       +EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    account ending 8002,     PO Box 105068,
                 Atlanta, GA 30348-5068
14723606       +EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    account ending 1265,     PO Box 5080,
                 Carol Stream, IL 60197-5080
14723607       +EDI: CINGMIDLAND.COM Mar 12 2020 01:23:00       AT&T,    account ending 1941,     PO Box 6463,
                 Carol Stream, IL 60197-6463
14723609       +EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    account ending 7905,     PO Box 5091,
                 Carol Stream, IL 60197-5091
14723610       +EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    account ending 9963,     PO Box 5001,
                 Carol Stream, IL 60197-5001
14723608       +EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    account ending 6318,     PO Box 5019,
                 Carol Stream, IL 60197-5019
14723603        EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    PO Box 105262,    Atlanta, GA 30348-5262
14723604        EDI: ATTWIREBK.COM Mar 12 2020 01:23:00       AT&T,    PO Box 105414,    Atlanta, GA 30348-5414
14723347       +E-mail/Text: ndiv.bkrpt.notice@airgas.com Mar 11 2020 21:22:42         Airgas USA, LLC,
                 6055 Rockside Woods Blvd,    Independence, OH 44131-2301
14723769       +E-mail/Text: kristi.green@bnsf.com Mar 11 2020 21:22:49         BNSF Railway Company,
                 Suzanne Wellen,    2500 Lou Menk Drive, AOB-3,     Fort Worth, TX 76131-2828
14723945       +E-mail/Text: ron.peppe@canamgroupinc.com Mar 11 2020 21:22:38         CANAM STEEL CORPORATION FL,
                 140 SOUTH ELLIS ROAD,    JACKSONVILLE, FL 32254-3547
14723946       +E-mail/Text: ron.peppe@canamgroupinc.com Mar 11 2020 21:22:38         CANAM STEEL CORPORATION MD,
                 4010 CLAY ST,    Point Of Rocks, MD 21777-2016
14723947       +E-mail/Text: ron.peppe@canamgroupinc.com Mar 11 2020 21:22:38         CANAM STEEL CORPORATION MO,
                 2000 WEST MAIN STREET,    WASHINGTON, MO 63090-1008
14724028        E-mail/Text: cbreeze@certex.com Mar 11 2020 21:22:32         Certex USA Inc,    11949 FM 529,
                 Houston, TX 77041
14724095       +E-mail/Text: lguidry@chetm.com Mar 11 2020 21:22:39         CHET MORRISON,    3434 PETERS ROAD,
                 HARVEY, LA 70058-1827
14724134        E-mail/Text: sancheza@cintas.com Mar 11 2020 21:23:13         CINTAS CORPORATION 544,
                 PO Box 88005,    CHICAGO, IL 60680-1005
14724213       +EDI: COMCASTCBLCENT Mar 12 2020 01:23:00       COMCAST,     PO Box 3001,
                 Southeastern, PA 19398-3001
14724212       +EDI: COMCASTCBLCENT Mar 12 2020 01:23:00       COMCAST,     Bankruptcy Department,
                 One Comcast Center,    Philadelphia, PA 19103-2833
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                              Form ID: 309D                Total Noticed: 4765


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(continued)
14724215        EDI: COMCASTCBLCENT Mar 12 2020 01:23:00      COMCAST CABLE,    PO BOX 71211,
                 CHARLOTTE, NC 28272-1211
14724216       +E-mail/Text: comedbankruptcygroup@exeloncorp.com Mar 11 2020 21:22:55        COMED,    PO Box 6111,
                 Carol Stream, IL 60197-6111
14724218       +E-mail/Text: comedbankruptcygroup@exeloncorp.com Mar 11 2020 21:22:55        COMED,
                 ComEd Bankruptcy Department,    3 Lincoln Centre,    Oakbrook Terrace, IL 60181-4204
14724229       +E-mail/Text: jwheelock@cs-no.com Mar 11 2020 21:22:36       CONNECTOR SPECIALIST INC,
                 175 JAMES DRIVE EAST,    ST ROSE, LA 70087-4006
14724231        E-mail/Text: credit@connerindustries.com Mar 11 2020 21:22:51        CONNER INDUSTRIES, INC.,
                 PO Box 200298,    DALLAS, TX 75320-0298
14724240       +E-mail/Text: clifford.lamberg@contractorssteel.com Mar 11 2020 21:22:40
                 CONTRACTORS STEEL COMPANY,    36555 AMRHEIN RD,    Livonia, MI 48150-1182
14724305        E-mail/Text: cls-bankruptcy@wolterskluwer.com Mar 11 2020 21:22:58        CT CORPORATION,
                 PO BOX 4349,   CAROL STREAM, IL 60197-4349
14724023       +E-mail/Text: bankruptcynotices@enablemidstream.com Mar 11 2020 21:23:14
                 CenterPoint Energy, Inc.,    1111 Louisiana Street,    Houston, TX 77002-5228
14724223       +E-mail/Text: comedbankruptcygroup@exeloncorp.com Mar 11 2020 21:22:55
                 Commonwealth Edison Company,    ComEd Bankruptcy Department,    1919 Swift Drive,
                 Oak Brook, IL 60523-1502
14724243       +E-mail/Text: lbankruptcy@cookcountytreasurer.com Mar 11 2020 21:22:50        Cook County Treasurer,
                 118 North Clark Street Room 112,    Chicago, IL 60602-1590
14724507       +E-mail/Text: DOSDOC_BANKRUPTCY@STATE.DE.US Mar 11 2020 21:23:19        Delaware Secretary of State,
                 Franchise Tax,    401 Federal Street,   PO Box 898,    Dover, DE 19903-0898
14724506       +E-mail/Text: DOSDOC_BANKRUPTCY@STATE.DE.US Mar 11 2020 21:23:19        Delaware Secretary of State,
                 Divisions of Corporations,    John G. Townsend Bldg,    401 Federal street Suite 4,
                 Dover, DE 19901-3639
14724721       +E-mail/Text: tparker@elsfreight.com Mar 11 2020 21:23:19       ELS, LLC,    210 HAMP DRIVE,
                 KENLY, NC 27542-7597
14724730        E-mail/Text: wps_bankruptcy@bradycorp.com Mar 11 2020 21:22:30        EMEDCO INC,    PO Box 369,
                 BUFFALO, NY 14240
14724741       +E-mail/Text: credit7@entergy.com Mar 11 2020 21:22:27       ENTERGY,    PO Box 8108,
                 Baton Rouge, LA 70891-8108
14724744       +E-mail/Text: credit7@entergy.com Mar 11 2020 21:22:27       ENTERGY,    L-JEF-359,
                 4809 Jefferson Hwy., Ste. A,    New Orleans, LA 70121-3138
14724765       +E-mail/Text: shetrick@econsteel.com Mar 11 2020 21:23:20       ERIE CONCRETE & STEEL SUPPLY,
                 1301 CRANBERRY ST,    Erie, PA 16501-1567
14724743       +E-mail/Text: credit7@entergy.com Mar 11 2020 21:22:27       Entergy,    Entergy Credit Dept,
                 Jon Majewski,    Blgd 1, L-JEF-359,   4809 Jefferson Hwy,    Jefferson, LA 70121-3122
14724853        EDI: FLDEPREV.COM Mar 12 2020 01:23:00      FLORIDA DEPARTMENT OF REVENUE,
                 5050 W TENNESSEE STREET,    TALLAHASSEE, FL 32399-0120
14724854        EDI: FLDEPREV.COM Mar 12 2020 01:23:00      Florida Department of Revenue,     Reemployment Tax,
                 5050 W Tennessee Street,    Tallahassee, FL 32399-0110
14725030       +E-mail/Text: bankruptcynotice@greatwide-tm.com Mar 11 2020 21:22:36
                 GREATWIDE CHEETAH TRANSPORTATION LL,    2150 CABOT BLVD,    LANGHORNE, PA 19047-1852
14725076       +E-mail/Text: mcardini@he-equipment.com Mar 11 2020 21:22:52       H & E Equipment Services, Inc,
                 7500 Pecue Lane,    Baton Rouge, LA 70809-5107
14725233       +E-mail/Text: dbreaux@hydra-dyne.com Mar 11 2020 21:23:20       HYDRADYNE HYDRAULICS,
                 2801 PETERS ROAD,    HARVEY, LA 70058-1812
14725270       +E-mail/Text: joyg@insul-tech.net Mar 11 2020 21:22:43       INSULATION TECHNOLOGIES,
                 120 HERMAN DRIVE,    BELLE CHASSE, LA 70037-3204
14725273        EDI: IRS.COM Mar 12 2020 01:23:00      Internal Revenue Service,     Attn Susanne Larson,
                 31 Hopkins Plz Rm 1150,    Baltimore, MD 21201
14725285       +E-mail/Text: bankruptcy2@ironmountain.com Mar 11 2020 21:22:50
                 IRON MOUNTAIN INFORMATION MGMT, INC,    745 ATLANTIC AVENUE,    BOSTON, MA 02111-2735
14725255       +E-mail/Text: diplaisance@gisy.com Mar 11 2020 21:23:13       Industrial Scrap Metals, LLC,
                 c/o Diane Plaisance,    PO Box 820,   Galliano, LA 70354-0820
14725871       +E-mail/Text: jcassano@kleinsteel.com Mar 11 2020 21:23:00       KLEIN STEEL SERVICE,
                 105 VANGUARD PARKWAY,    Rochester, NY 14606-3100
14726185        E-mail/Text: vhamilton@yourempiregroup.com Mar 11 2020 21:22:32        MAKADA TRANSPORT, INC,
                 6521 COUNTY LINE ROAD,    SUMMIT, MS 39666
14726289       +E-mail/Text: 4payment@correspondence.mcmaster.com Mar 11 2020 21:23:12
                 MCMASTER CARR SUPPLY COMPANY,    6100 FULTON IND. BLVD,    ATLANTA, GA 30336-2853
14726325       +E-mail/Text: litigationintake@metlife.com Mar 11 2020 21:23:01
                 METROPOLITAN LIFE INSURANCE CO.,    PO Box 804466,    Kansas City, MO 64180-4466
14726448       +E-mail/Text: creditdept3rdpartyBKR@mscdirect.com Mar 11 2020 21:22:36
                 MSC Industrial Supply Company,    75 Maxess Road,    Melville, NY 11747-3151
14726465       +E-mail/Text: bankruptcy.notice@mutualofomaha.com Mar 11 2020 21:22:51
                 MUTUAL OF OMAHA INSURANCE COMPANY,    3300 Mutual of Omaha Plaza,     OMAHA, NE 68175-0002
14726464       +E-mail/Text: bankruptcy.notice@mutualofomaha.com Mar 11 2020 21:22:51
                 MUTUAL OF OMAHA INSURANCE COMPANY,    EMPLOYER FICA REIMBURSEMENT,     3300 MUTUAL OF OMAHA PLAZA,
                 OMAHA, NE 68175-1004
14726463       +E-mail/Text: bankruptcy.notice@mutualofomaha.com Mar 11 2020 21:22:51
                 MUTUAL OF OMAHA INSURANCE COMPANY,    ST DISABILITY CLAIMS FUNDING,
                 3300 MUTUAL OF OMAHA PLAZA,    OMAHA, NE 68175-1004
14726462        E-mail/Text: bankruptcy.notice@mutualofomaha.com Mar 11 2020 21:22:51
                 MUTUAL OF OMAHA INSURANCE COMPANY,    PAYMENT PROCESSING CENTER,     PO Box 2147,
                 OMAHA, NE 68103-2147
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                               Form ID: 309D                Total Noticed: 4765


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(continued)
14726292       +E-mail/Text: 4payment@correspondence.mcmaster.com Mar 11 2020 21:23:12
                 McMaster-Carr Supply Company,    1901 Riverside Parkway,     Douglasville, GA 30135-3150
14726541       +E-mail/Text: ebn@exchange.nscorp.com Mar 11 2020 21:22:52        NORFOLK SOUTHERN RR,
                 PO Box 532797,    ATLANTA, GA 30353-2797
14726560       +E-mail/Text: rzimmerman@nulite.com Mar 11 2020 21:22:28        NU LITE ELECTRICAL WHOLESALERS,
                 850 EDWARDS AVENUE,    HARAHAN, LA 70123-3123
14726538       +E-mail/Text: ebn@exchange.nscorp.com Mar 11 2020 21:22:53        Norfolk Southern Railway Co.,
                 Attn T. Elsen,    Three Commercial Place,    Norfolk, VA 23510-2108
14726539       +E-mail/Text: ebn@exchange.nscorp.com Mar 11 2020 21:22:53        Norfolk Southern Railway Company,
                 Norfolk Southern Railway Co.,    Attn T. Elsen,     Three Commercial Place,
                 Norfolk, VA 23510-2108
14726570       +E-mail/Text: USTPRegion03.WL.ECF@USDOJ.GOV Mar 11 2020 21:22:44
                 Office of the United States Trustee DE,     Linda J Casey,    844 King St Ste 2207,     Lockbox 35,
                 Wilmington, DE 19801-3519
14726633       +E-mail/Text: CRM@Pacific-Steel.com Mar 11 2020 21:22:58        PACIFIC STEEL & RECYCLING,
                 1900 20TH STREET N.,    NAMPA, ID 83687-6895
14726689        E-mail/Text: bncctnotifications@pbgc.gov Mar 11 2020 21:22:31
                 Pension Benefit Guarantee Corp,     Office of the General Counsel,     1200 K Street NW Suite 340,
                 Washington, DC 20005-4026
14726691        E-mail/Text: bncctnotifications@pbgc.gov Mar 11 2020 21:22:31
                 Pension Benefit Guaranty Corporation,     C Wayne Owen Jr, Simon J Torres,     1200 K Street, N.W.,
                 Office of the General Counsel,     Washington, DC 20005-4026
14726693       +E-mail/Text: pgsbankruptcy@tecoenergy.com Mar 11 2020 21:22:55         Peoples Gas,
                 702 North Franklin St,    Tampa, FL 33602-4429
14726869       +E-mail/Text: bknotices@professionalcredit.com Mar 11 2020 21:22:51         RAY KLEIN, INC.,
                 D/B/A PROFESSIONAL CREDIT SERVICE,     PO Box 7548,    Springfield, OR 97475-0039
14727206       +E-mail/Text: bankruptcy@safety-kleen.com Mar 11 2020 21:22:39         SAFETY KLEEN CORP,
                 6617 PLEASANT RIDGE ROAD,    KNOXVILLE, TN 37921-1019
14727308       +E-mail/Text: lindsey.springer@shell.com Mar 11 2020 21:23:13         SHELL ENERGY NORTH AMERICA,
                 PO Box 7247-6355,    Philadelphia, PA 19170-0001
14727319       +E-mail/Text: akif_nizam@shi.com Mar 11 2020 21:22:55        SHI INTERNATIONAL CORP.,
                 290 DAVIDSON AVE.,    SOMERSET, NJ 08873-4145
14727345       +E-mail/Text: pattersond@siskin.com Mar 11 2020 21:22:56        SISKIN STEEL & SUPPLY COMPANY,
                 1901 RIVERFRONT PARKWAY,    CHATTANOOGA, TN 37408-1037
14727371       +E-mail/Text: ar@southernalloy.com Mar 11 2020 21:23:17        SOUTHERN ALLOY CORP,
                 HENRY W. NUNNELLEY,    P.O. BOX 1168,    SYLACAUGA, AL 35150-1168
14727380       +E-mail/Text: cwebb@studweld.com Mar 11 2020 21:22:54        SOUTHERN STUD WELD INC,
                 3645 CONFLANS ROAD,    IRVING, TX 75061-6362
14727387        E-mail/Text: ramona@spectrumsystems.com Mar 11 2020 21:23:14         SPECTRUM SYSTEMS INC,
                 3410 WEST NINE MILE RD.,    PENSACOLA, FL 32526-7808
14727411       +E-mail/Text: a.deroche@stjohnsheriff.org Mar 11 2020 21:22:28         ST. JOHN THE BAPTIST PARISH,
                 SHERIFFS OFFICE,    1801 W AIRLINE HIGHWAY,    LAPLACE, LA 70068-3345
14727416       +E-mail/Text: mhadden@standardcrane.com Mar 11 2020 21:22:40        STANDARD CRANE HOIST LLC,
                 14694 AIRLINE HIGHWAY,    DESTREHAN, LA 70047-4335
14727435        EDI: WADEPREV.COM Mar 12 2020 01:23:00       STATE OF WASHINGTON,     DEPARTMENT OF REVENUE,
                 PO Box 47464,    Olympia, WA 98504-7464
14727437       +E-mail/Text: gwainwright@stauffersafety.com Mar 11 2020 21:22:42         STAUFFER GLOVE SAFETY,
                 PO Box 45,    RED HILL, PA 18076-0045
14727446       +E-mail/Text: pam@steelserviceco.com Mar 11 2020 21:22:44        STEEL SERVICE COMPANY,
                 24412 AMAH PARKWAY,    Claremore, OK 74019-4304
14727493       +E-mail/Text: dpreston@sugarsteel.com Mar 11 2020 21:23:18        SUGAR STEEL CORPORATION,
                 2521 State Street,    Chicago Heights, IL 60411-4300
14727274       +E-mail/Text: secbankruptcy@sec.gov Mar 11 2020 21:22:43        Securities & Exchange Commission,
                 100 F St NE,    Washington, DC 20549-2001
14727307       +E-mail/Text: lindsey.springer@shell.com Mar 11 2020 21:23:13         Shell Energy,    1000 Main,
                 Houston, TX 77002-6336
14727410       +E-mail/Text: a.deroche@stjohnsheriff.org Mar 11 2020 21:22:28         St. John The Baptist Parish,
                 Water Waste Treatment,    1801 W Airline Hwy Att T Miles,     LaPlace, LA 70068-3345
14844398       +E-mail/Text: REV_Bankruptcy_General@state.de.us Mar 11 2020 21:22:49         State of Delaware,
                 Division of Revenue,    820 N. French Street, 8th Floor,     Wilmington, DE 19801-3509
14727428        EDI: FLDEPREV.COM Mar 12 2020 01:23:00       State of Florida Department of Revenue,
                 5050 W Tennessee Street,    Tallahassee, FL 32399-0120
14727533       +E-mail/Text: bosburne@taylorlubricants.com Mar 11 2020 21:23:20         TAYLOR ENTERPRISES INC,
                 2586 SOUTHPORT RD,    Spartanburg, SC 29302-2982
14727554       +E-mail/Text: tdor.bankruptcy@tn.gov Mar 11 2020 21:22:29        TENNESSEE DEPT OF REVENUE,
                 ANDREW JACKSON STATE OFF. BLDG,     500 DEADERICK STREET,    NASHVILLE, TN 37242-0001
14727593        E-mail/Text: pacer@cpa.state.tx.us Mar 11 2020 21:22:53        TEXAS COMPTROLLER OF,
                 PUBLIC ACCOUNTS,    PO Box 149348,    Austin, TX 78714-9348
14727594        E-mail/Text: pacer@cpa.state.tx.us Mar 11 2020 21:22:53
                 Texas Comptroller of Public Accounts,     111 East 17th Street,     Austin, TX 78774
14727722        E-mail/Text: jwells@tql.com Mar 11 2020 21:22:51        TOTAL QUALITY LOGISTICS, LLC,
                 4289 IVY POINTE BLVD.,    CINCINNATI, OH 45245-0002
14727760       +E-mail/Text: dvidal@gpd.com Mar 11 2020 21:22:56        TRINITY INDUSTRIES LEASING COMPANY,
                 2525 STEMMONS FREEWAY,    Dallas, TX 75207-2401
14727802       +EDI: UMBFINANCIAL.COM Mar 12 2020 01:23:00       UMB BANK, N.A.,     1010 GRAND BLVD.,
                 Kansas City, MO 64106-2202
14727814        E-mail/PDF: sluna@ur.com Mar 12 2020 08:36:32        UNITED RENTALS,    10385 AIRLINE HWY,
                 ST. ROSE, LA 70087-3007
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14727813       +E-mail/PDF: sluna@ur.com Mar 12 2020 08:36:32      UNITED RENTALS,   10224 KINGSTON PIKE,
                 KNOXVILLE, TN 37922-3221
14727856       +EDI: VERIZONCOMB.COM Mar 12 2020 01:23:00      VERIZON WIRELESS,   Bankruptcy Administration,
                 500 Technology Dr, Suite 550,    Weldon Spring, MO 63304-2225
14727852       +EDI: VERIZONCOMB.COM Mar 12 2020 01:23:00      VERIZON WIRELESS,   PO Box 15124,
                 Albany, NY 12212-5124
14727855       +EDI: VERIZONCOMB.COM Mar 12 2020 01:23:00      VERIZON WIRELESS,   PO Box 660108,
                 Dallas, TX 75266-0108
14727854       +EDI: VERIZONCOMB.COM Mar 12 2020 01:23:00      VERIZON WIRELESS,   William M Vermette,
                 22001 Loudoun County Pkwy,    Ashburn, VA 20147-6105
14727935       +E-mail/Text: rmcbknotices@wm.com Mar 11 2020 21:22:57      WASTE MANAGEMENT OF,
                 TENNE-KNOXVILLE,    2552 WESTERN AVENUE,   KNOXVILLE, TN 37921-4528
14727971        E-mail/Text: rathomas@wesco.com Mar 11 2020 21:22:32      WESCO DISTRIBUTION,
                 3011 LAUSAT STREET,    METAIRIE, LA 70001
                                                                                              TOTAL: 115

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
aty              Polsinelli PC
14724418         DARRYL EVERSON,    1400 TIFFANY DRIVE,    LA
14725361         James Darvy et al v Corporation Trust Co,      d/b/a Bayou Steel Group LLC,
                  Stark County Court of Common Please,     case No 2019-CV-01321
aty*            +Peter J Keane,    Pachulski Stang Young & Jones LLP,      919 N. Market Street,    17th Floor,
                  Wilmington, DE 19801-3034
cr*             +Anvil Attachments, LLC,    P.O. Box 216,     Slaughter, LA 70777-0216
intp*           +Kurtzman Carson Consultants LLC,     www.kccllc.net,     222 N. Pacific Coast Highway,    Suite 300,
                  El Segundo, CA 90245-5614
14723552*       +ANVIL ATTACHMENTS LLC,    PO BOX 216,    SLAUGHTER, LA 70777-0216
14723624*        ATMOS ENERGY,    PO BOX 790311,    ST. LOUIS, MO 63179-0311
14724022*        CENTERPOINT ENERGY SERVICES INC,     PO Box 733609,     DALLAS, TX 75373-3609
14724136*       +CIRCLE, LLC,    1204 ENGINEERS ROAD,    BELLE CHASSE, LA 70037-3219
14724208*      ++COLUMBIA GAS,    290 W NATIONWIDE BLVD 5TH FL,     BANKRUPTCY DEPARTMENT,     COLUMBUS OH 43215-4157
                (address filed with court: COLUMBIA GAS OF PENNSYLVANIA,        PO BOX 742537,
                  CINCINNATI, OH 45274-2537)
14724209*      ++COLUMBIA GAS,    290 W NATIONWIDE BLVD 5TH FL,     BANKRUPTCY DEPARTMENT,     COLUMBUS OH 43215-4157
                (address filed with court: COLUMBIA GAS OF PENNSYLVANIA,        PO Box 742537,
                  Cincinnatti, OH 45274)
14724214*        COMCAST,   PO Box 3001,    SOUTHEASTERN, PA 19398-3001
14724217*        COMED,   PO Box 6111,    CAROL STREAM, IL 60197-6111
14724562*       +DICKINSON & ASSOCIATES, INC.,     One North LaSalle Street, Suite 800,     Chicago, IL 60602-3987
14724742*        ENTERGY,   PO Box 8108,    BATON ROUGE, LA 70891-8108
14724832*       +Feltons Clutch Service, Inc.,     1222 E 38th Street,     Chattanooga, TN 37407-2462
14725079*       +H&E EQUIPMENT SERVICES INC,     7500 PECUE LANE,     BATON ROUGE, LA 70809-5107
14725275*       +Internal Revenue Service,    Centralized Insolvency Operation,      2970 Market St,
                  Philadelphia, PA 19104-5002
14725274*        Internal Revenue Service,    Centralized Insolvency Operation,      PO Box 7346,
                  Philadelphia, PA 19101-7346
14725312*        J. P. & SONS DREDGING, LLC,     8233 RIVER ROAD,     WAGGAMAN, LA 70094-2320
14725578*       +Johnson Power Ltd.,    2530 Braga Drive,     Broadview, IL 60155-3943
14726441*       +MOTION INDUSTRIES,    1605 ALTON ROAD,    BIRMINGHAM, AL 35210-3770
14726425*       +Monumental Transportations LLC,     165 Grove Park,     LaPlace, LA 70068-6296
14726679*      ++P C CAMPANA INC,    6155 PARK SQUARE DR,     STE #1,    LORAIN OH 44053-4145
                (address filed with court: PC CAMPANA INC,       LANCE PIPE DIVISION,    1374 EAST 28TH DRIVE,
                  LORAIN, OH 44055)
14726797*        PUBLIC SERVICE COMPANY OF OK,     PO BOX 371496,     Pittsburg, PA 15250-7496
14727309*        SHELL ENERGY NORTH AMERICA,     PO Box 7247-6355,     PHILADELPHIA, PA 19170-6355
14727408*        ST. JOHN PARISH TAX COLLECTOR,     PO Box 1600,    LAPLACE, LA 70069-1600
14727815*        UNITED STATES TREASURY,    INTERNAL REVENUE SERVICE,      CINCINNATI, OH 45999-0009
14727853*        VERIZON WIRELESS,    PO Box 15124,    ALBANY, NY 12212-5124
14723284      ##+AARON FRAZIER,    3057 SORBONNE DR,    MARRERO, LA 70072-5562
14723363      ##+ALBERT ROBINSON,    PO BOX 2050,    272 EAST 14TH ST,     RESERVE, LA 70084-5260
14723365      ##+ALBERT STAMPS,    2001 ESTALOTE AVENUE,    HARVEY, LA 70058-3554
14723433      ##+ALVIN BIRDLOW JR,    1029 PORTER ST,    GRETNA, LA 70053-3529
14723438      ##+ALVIN GIROD,    13333 FLEUR DE LIS DRIVE,     GONZALES, LA 70737-6573
14723441      ##+ALVIN KENDALL COUTO,    2700 WHITNEY AVE APT 421,      HARVEY, LA 70058-3350
14723483      ##+AMY N. CAMP,    411 N 3RD STREET,    MCGEGEE, AR 71654-2009
14723493      ##+ANDREW M. MENDOZA,    157 MADELINE COURT,     LAPLACE, LA 70068-5516
14723520      ##+ANTHONY DIXON,    4700 BALD EAGLE PK,    MARRERO, LA 70072-5579
14723585      ##+ARTHUR DEVORE JR,    1115 WILTZ LANE,    NEW ORLEANS, LA 70114-1874
14723619      ##+ATLAS COPCO COMPRESSORS,    1800 OVERVIEW DRIVE,      ROCK HILL, SC 29730-7463
14723391       ##All Scrap Metals, LLC,    7 Veterans Memorial Blvd.,      Kenner, LA 70062-4981
14723707      ##+BENNIE DAVIS,    1104 ORANGE BLOSSOM,    HARVEY, LA 70058-4809
14723734      ##+BIANCA KNIGHT,    1101 DUPAS ST APT 7,    GRETNA, LA 70053-3734
14723825      ##+BRANDON ELLITT,    5137 PAGE STREET,    MARRERO, LA 70072-4914
14723826      ##+BRANDON HABIS,    533 DEBBIE DR,    WESTWEGO, LA 70094-4634
14723852      ##+BRIAN BOURQUE,    109 BURGUIERES LANE POB 397,     DESTREHAN, LA 70047-0397
14723859      ##+BRIAN K. JENKINS,    24445 SANDERS ROAD,     COVINGTON, LA 70435-4077
14723867      ##+BRIGGS EQUIPMENT,    TRUCK DIVISION,    221 RESEARCH DRIVE,     JEFFERSON, LA 70123-5212
14723912      ##+BUSHWICK METALS LLC,    560 NORTH WASHINGTON AVENUE,      Bridgeport, CT 06604-2900
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            ***** BYPASSED RECIPIENTS (continued) *****
14723935      ##+CAMDENTON STEEL SUPPLY INC.,     1900 RISLER ROAD,    Sedalia, MO 65301-1212
14723990      ##+CARNELL CLOFER,    704 COLONY CT. APT #A,     LAPLACE, LA 70068-3653
14723995      ##+CAROL RIPP,    2528 JEANNE,    MARRERO, LA 70072-6440
14724046      ##+CHARLES DOMINGUE,    930 PHOSPHOR AVE,    METAIRIE, LA 70005-2020
14724126      ##+CHRISTOPHER YOUNG,    27 ASHTON COX DR APT B,     GRETNA, LA 70053-6746
14724191      ##+COAST ELECTRIC INC,    2301 VELVA AVE,    HARVEY, LA 70058-3139
14724377      ##+DANIELLE M. BERGERON,    5801 GEN HAIG STREET,     NEW ORLEANS, LA 70124-3735
14724423      ##+DARRYL SIMONEAUX,    PO BOX 673,    616 E RAILROAD AVE,    GRAMERCY, LA 70052-0673
14724460      ##+DAVID ROBERTSON JR,    210 N RICHARDSON ST,     HAMMOND, LA 70401-2933
14724482      ##+DEALERS ELECTRICAL SUPPLY,     213 GUNTHER LANE,    BELLE CHASSE, LA 70037-3157
14724491      ##+DEBORAH COSTON,    6116 SINGLETON DR,    MARRERO, LA 70072-3520
14724510      ##+DELMA GAUDET,    1915 ENGINEERS RD,    BELLE CHASSE, LA 70037-3120
14724529      ##+DENZAL HOUSTON,    1631 ESTHER ST,    HARVEY, LA 70058-3605
14724530      ##+DEOLLIE KEYS,    3030 WASHINGTON STREET,     KENNER, LA 70065-4447
14724595      ##+DONALD LEE MOORE JR,    5092 ROCHESTER DR.,     MARRERO, LA 70072-5556
14724715      ##+ELLIS JAMES BRYANT,    1708 PAILET AVE APT C,     HARVEY, LA 70058-3647
14724778      ##+ERNEST RATLIFF,    2835 RIDGEVIEW TRL,    JONESBORO, GA 30238-8880
14724815      ##+FABRICARI, LLC,    6 EAST THIRD ST,    KENNER, LA 70062-7025
14724899      ##+FREIGHT KING LLC,    5757 S RAPP STREET,     LITTLETON, CO 80120-1930
14724926      ##+GARY MURRAY,    238 RUE ST JOHN,    VACHERIE, LA 70090-3560
14724976      ##+GILBERT ACKERSON,    1536 LAKE CALAIS CT,     BATON ROUGE, LA 70808-9015
14725053      ##+GRID LINE TRANSPORTATION INC,     2130 SHERWOOD LAKE DR., UNIT 4,     SCHERERVILLE, IN 46375-2706
14725085      ##+HAMP WILLIAMS JR,    1026 BROOKLYN AVE,     NEW ORLEANS, LA 70114-5704
14725096      ##+HAROLD TAYLOR,    2040 LUTHER DR,    MARRERO, LA 70072-4552
14725146      ##+HENRY SCOTT,    357 TRAVIS DR,    AVONDALE, LA 70094-2549
14725166      ##+HHE SERVICES INC. DBA HUBER,     A SUB OF SUPREME INTERG TECH INC,     728 HILL STREET,
                  JEFFERSON, LA 70121-1018
14725246      ##+INDUSTRIAL & MARINE EQUIP. CO, INC,     DBA SPARTAN ACQ. CORP.,    525 ELMWOOD PARK BLVD,
                  NEW ORLEANS, LA 70123-3307
14725362      ##+JAMES DAVIS,    4133 COPERNICUS ST,    NEW ORLEANS, LA 70114-3415
14725406      ##+JARRET CANTRELLE,    541 MATHEW STREET,     LAFITTE, LA 70067-5117
14725414      ##+JASON D. KINLEY,    203 CAMBRIDGE COURT,     NEW ORLEANS, LA 70131-4011
14725427      ##+JASON P. JACKSON,    120 JUDY COURT,    MONTZ, LA 70068-7606
14725433      ##+JASPER COOK,    908 SUMNER ST,    NEW ORLEANS, LA 70114-1432
14725468      ##+JEREMY GOUDEAU,    5652 PERRIN ST,    LAFITTE, LA 70067-5526
14725485      ##+JERRY COTTON,    260 ST CHARLES STREET,     DESTREHAN, LA 70047-4324
14725492      ##+JERRY W SHORT,    14389 HWY 16 EAST,    AMITE, LA 70422-4647
14725560      ##+JOHN ROBIN,    32 SADDLE UP TRAIL,    CARRIERE, MS 39426-7759
14725564      ##+JOHN STUARD,    268 JANET DRIVE,    SAINT ROSE, LA 70087-3747
14725620      ##+JORGE ALEXANDER CABALLERO,     942 AVENUE C,    WESTWEGO, LA 70094-4321
14725711      ##+JULIUS CARTER,    1962 LONGWOOD CT.,    LAPLACE, LA 70068-2616
14725718      ##+JUSTIN KNEUPPER,    131 PEAK RUN,    YOUNGSVILLE, LA 70592-5867
14725723      ##+KADEA M. MORRIS,    1043 WHITLOW COURT,     LAPLACE, LA 70068-5317
14725733      ##+KAREN LYNETTE WALKER,    534 4TH STREET,     GRETNA, LA 70053-5924
14725752      ##+KEITH MATHERNE JR,    209 RIVER OAKS,    DESTREHAN, LA 70047-3532
14725769      ##+KENDALL WASHINGTON,    432 BIRCH ST LOT C,     LAPLACE, LA 70068-5502
14725810      ##+KEVIN A KEATING,    731 58TH STREET,    WACO, TX 76710-4334
14725816      ##+KEVIN JORDAN,    1210 PHOENIX SQUARE APT 8A,     HAMMOND, LA 70403-3988
14725891      ##+KRYSTAL BORDELON,    105 CHURCHILL DOWN,     MONTZ, LA 70068-8951
14725906      ##+L & W SUPPLY,    4400 YORK STREET,    METAIRIE, LA 70001-1204
14725910       ##LA Department of Revenue,     PO Box 80519,    Baton Rouge, LA 70898-0519
14725955      ##+LARRY GILMORE,    4429 SKYVIEW DR,    NEW ORLEANS, LA 70126-3862
14726022      ##+LEONARD GREEN III,    1903 GLENDALE DRIVE APT #10,     LAPLACE, LA 70068-3154
14726069      ##+LIONEL CROSS,    314 8TH STREET,    GRETNA, LA 70053-5438
14726089      ##+LONG LAW FIRM,    4041 ESSEN LANE, SUITE 500,     BATON ROUGE, LA 70809-7319
14725916      ##+Lacardio Francis,    PO BOX 1731,    313 S RIVE POINTE,    LAPLACE, LA 70068-2958
14726206      ##+MARIO FRAZZELLA,    513 PAILET AVE,    HARVEY, LA 70058-4115
14726221      ##+MARKEITH GAINES,    3300 PRETON PLACE APT D43,     NEW ORLEANS, LA 70131-4207
14726225      ##+MARSHALL D. GORDON,    2001 VAN ARPEL DRIVE,     LAPLACE, LA 70068-6338
14726356      ##+MICHAEL L RUFFIN,    1031 PAILET AVE APT#B,     HARVEY, LA 70058-3765
14726374      ##+MICHAEL WAYNE WILLIAMS,     1912 JAMES DRIVE,    MARRERO, LA 70072-4828
14726443      ##+MOTION INDUSTRIES INC,    2956 INDUSTRIAL PARKWAY,     KNOXVILLE, TN 37921-1754
14726453      ##+MUNSON W LAGARDE,    3703 FRENCHMAN ST,     NEW ORLEANS, LA 70122-3705
14726478      ##+NATASHA DAVIS,    515 JANICE LANE,    LAPLACE, LA 70068-5680
14726482      ##+NATHANIEL EVANS JR,    32 ASTER LN,    WESTWEGO, LA 70094-2206
14726501      ##+NELSON PONCHIE,    220 RIDGEWAY ST APT A,     THIBODAUX, LA 70301-5128
14726550      ##+NORTH AMERICAN STEEL ALLIANCE,     C/O MILES DONOVON,    2250 POINT BLVD., SUITE 3,
                  ELGIN, IL 60123-7837
14726580      ##+OLIVER JOHNSON,    2037 WAGNER,    NEW ORLEANS, LA 70114-6158
14726607      ##+OSCAR VELASQUEZ,    31 SHEARWATER DR,    LAPLACE, LA 70068-6450
14726661      ##+PAUL BELLOW,    12471 DECK BLVD,    GEISMAR, LA 70734-3132
14726711      ##+PETER J MITCHELL,    P.O. BOX 103,    ST. JAMES, LA 70086-0103
14726725      ##+PHILIP MITCHELL, JR.,    4229 LAC COUTURE APT B,     HARVEY, LA 70058-5226
14726728      ##+PHILLIP J. ODDO,    02203 SILVER FALLS DRIVE,     KINGWOOD, TX 77339-1754
14726769   ##++++PRECISION METALS INC,    175 SKYLANE RD,     ST SIMONS ISLAND GA 31522-3712
                (address filed with court: PRECISION METALS INC,       100 SKYLANE ROAD,
                  ST SIMONS ISLAND, GA 31522)
14726781      ##+PRIMETALS TECHNOLOGIES USA LLC,     MORGAN,    50 PRESCOTT STREET,    WORCESTER, MA 01605-2652
14726791      ##+PROLER SOUTHWEST INC.,    Linh Nguyen,    P.O. BOX 53028,    HOUSTON, TX 77052-3028
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             ***** BYPASSED RECIPIENTS (continued) *****
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14726850       ##+RANDOLPH DENNIS,    248 CHAD B BAKER,    RESERVE, LA 70084-5015
14726896       ##+REGINALD D. HARALSON,    21049 S BANK LANE,     VACHERIE, LA 70090-4051
14726934       ##+RHI US LTD,    9245 CALUMET AVE., SUITE 100,     MUNSTER, IN 46321-4178
14726943       ##+RICHARD DAVIS,    1323 LUVERNE DRIVE,    WYLIE, TX 75098-8607
14726975       ##+RICKY SUIRE,    110 SOUTHWARK DR.,    LAFAYETTE, LA 70508-7494
14726988       ##+RIVER PARISH CONTRACTORS INC,     Shawn Becnel,    4007 West Airline Hwy,    PO Box 2650,
                   RESERVE, LA 70084-2650
14727020       ##+ROBERT D MURRAY,    116 G STREET,    BELLE CHASSE, LA 70037-2006
14727063       ##+ROBERT ZILMAR RICHARDSON,    2500 LAFAYETTE ST LOT 3,     GRETNA, LA 70053-6777
14727254       ##+SCOTT G. BOURCQ,    3729 ASHTON DRIVE,    DESTREHAN, LA 70047-5057
14727276       ##+SEDALIA STEEL SUPPLY,    1900 RISSLER ROAD,     Sedalia, MO 65301-1212
14727294       ##+SHARON EUGENE,    1508 lLAFRENIERE DR,    LAPLACE, LA 70068-2728
14727298       ##+SHAWN A CLARK,    557 WILLOWBROOK DR,    GRETNA, LA 70056-7923
14727299       ##+SHAWN CHESS,    1516 STELLA PL,    MARRERO, LA 70072-3634
14727325       ##+SIDNEY GOUDEAU,    5652 PERRIN ST,    LAFITTE, LA 70067-5526
14727472        ##STEVEN MATTHEWS,    2348 VICTORIA AVE,    HARVEY, LA 70058
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14727579       ##+TERRY HEBERT,    1034 CEDRE DR,    WESTWEGO, LA 70094-4534
14727696       ##+TODD J. CRUSE,    632 PAILET AVENUE,    HARVEY, LA 70058-4118
14727709       ##+TOMMY THOMPSON,    3417 W LOYOLA DRIVE,    KENNER, LA 70065-2415
14727717       ##+TORI MANGER,    628 MONROA ST,    GRETNA, LA 70053-2128
14727734       ##+TRAVIS CAMBRE,    155 JOUTY LANE,    LAPLACE, LA 70068-6635
14727751       ##+TRI COASTAL TRADING LLC,    Attn Director or Officer,     11931 WICKCHESTER,    Suite 201,
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14727774       ##+TROY EVERSON,    2216 VANAPREAL DRIVE,    LAPLACE, LA 70068-6341
14727752       ##+Tri Coastal Trading LLC,    Attn Ted Ruggiero,     11931 Wickchester,    Suite 201,
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14727857       ##+VERNELL COLLINS,    3809 INWOOD DR,    HARVEY, LA 70058-1916
14727891       ##+WADE A. THOMPSON,    1111 W. MYRTLE STREET,     CABOT, AR 72023-2805
14727972       ##+WESLEY W. POWE,    648 MAGNOLIA AVE,    LAPLACE, LA 70068-3039
14728006       ##+WILLIAM MCCARTER,    378 SHADOW LN,    LAPLACE, LA 70068-2624
14728014       ##+WILLIAM REECE,    935 CONTI ST,    NEW ORLEANS, LA 70112-3409
                                                                                               TOTALS: 3, * 27, ## 127

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’++++’ were corrected as required by the USPS Locatable Address Conversion System (LACS).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 13, 2020                                             Signature: /s/Joseph Speetjens

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The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 11, 2020 at the address(es) listed below:
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              Albert Kass     on behalf of Interested Party    Kurtzman Carson Consultants LLC
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              Albert Kass     on behalf of Claims Agent    Kurtzman Carson Consultants LLC
               ECFpleadings@kccllc.com, ecfpleadings@kccllc.com
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              Karen C. Bifferato    on behalf of Creditor    MBI Rolls, LLC kbifferato@connollygallagher.com
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The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
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              S. Alexander Faris     on behalf of Plaintiff Troy Fleming alexander.faris@wbd-us.com,
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              S. Alexander Faris     on behalf of Plaintiff Jarrod Nabor alexander.faris@wbd-us.com,
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The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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              Shanti M. Katona    on behalf of Debtor    Bayou Steel BD Holdings, L.L.C. skatona@polsinelli.com,
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              Shanti M. Katona    on behalf of Defendant    Bayou Steel BD Holdings II, L.L.C.
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              Shanti M. Katona    on behalf of Defendant    Bayou Steel BD Holdings, L.L.C.
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              Shanti M. Katona    on behalf of Debtor    BD Bayou Steel Investment, L.L.C. skatona@polsinelli.com,
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              Shawn M. Christianson    on behalf of Creditor    Oracle America, Inc. schristianson@buchalter.com,
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